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       Eastern Livestock Bankruptcy                                                          June 04, 2014
                                                                                ACCOUNT NO:     110034-01
                                                                                 INVOICE NO:             2




       re: Brian MacAllister
                                                                                            DRAFT STATEMENT

                [ ]Bill & Mail this statement as is/as modified
                [ ]Return to ______ for letter
                [ ]Prepare for sending VIA EMAIL
                [ ]HOLD/Do not send
                [ ]Send only previous balance
                [ ]Close File (only closed if paid in full or balance is written off)
                [ ]Pay this invoice from TRUST
                [ ] Other: ______________________________




                Reproduction of documents                                                               1.60
                TOTAL EXPENSES THRU 04/30/2014                                                          1.60

                TOTAL CURRENT WORK THIS STATEMENT                                                       1.60

                PREVIOUS BALANCE                                                                     $981.40



 09/30/2013     Payment--Thank you                                                                   -433.39    1


                BALANCE DUE                                                                          $549.61

                                  AGE OF OUTSTANDING STATEMENTS
              0-30             31-60        61-90       91-180                          181-360       361+
              1.60              0.00         0.00         0.00                             0.00      548.01
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49        Pg 2 of
                                                    323


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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110034-07
                                                                                INVOICE NO:             2




       re: University Wodds Apartments (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 02/04/2014
        ADS    Review/analyze
                             (.30). Review/analyze
                                            and analysis of note
               receivable (.20). Draft, revise and finalize
               complaint (.60). File to J. Kennedy (.10).                    175.00      1.20                 2
               Amanda D. Stafford                                                        1.20       210.00

               FOR CURRENT SERVICES RENDERED                                             1.20       210.00

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE                        TOTAL
    Amanda D. Stafford                                     1.20    $175.00                      $210.00




               Reproduction of documents                                                              3.70
               TOTAL EXPENSES THRU 04/30/2014                                                         3.70



 02/04/2014    Pacer Service Center docket retrieval                                                  1.00    2
               Pacer Service Center docket retrieval                                                  1.00

               TOTAL ADVANCES THRU 04/30/2014                                                         1.00

               TOTAL CURRENT WORK THIS STATEMENT                                                    214.70

               PREVIOUS BALANCE                                                                    $100.00
Case 10-93904-BHL-11        Doc 2591-1          Filed 06/06/14   EOD 06/06/14 15:33:49   Pg 3 of
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110034-07
                                                                      INVOICE NO:             2
       re: University Wodds Apartments (Note)




 09/30/2013    Payment--Thank you                                                         -44.45   1


               BALANCE DUE                                                               $270.25

                              AGE OF OUTSTANDING STATEMENTS
            0-30           31-60        61-90       91-180               181-360         361+
          214.70            0.00         0.00         0.00                  0.00         55.55
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49        Pg 4 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110034-09
                                                                                INVOICE NO:             1




       re: Providence Property Management (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 01/25/2014
        ADS    Review and analyze documents and
               correspondence              (.80). Draft/revise
               complaint (1.0). Draft email to DSI with request
               for further information regarding certain
               transfers (.30).                                              175.00      2.10                 1

 02/04/2014
        ADS    Review/analyze documents
                              .30). Review/analyze
                                                    (.30). Draft,
               revise and finalize complaint (.50). File to J.
               Kennedy (.10).                                                175.00      1.20                 3

 02/05/2014
        ADS    Process request for original ELC file. Diary for
               follow up on receipt of same.                                 175.00      0.10                 2

 02/20/2014
        ADS    Review/analyze
                                                                             175.00      0.40                 4
               Amanda D. Stafford                                                        3.80       665.00

               FOR CURRENT SERVICES RENDERED                                             3.80       665.00

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE                        TOTAL
    Amanda D. Stafford                                     3.80    $175.00                      $665.00
Case 10-93904-BHL-11       Doc 2591-1     Filed 06/06/14   EOD 06/06/14 15:33:49   Pg 5 of
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      Eastern Livestock Bankruptcy                                          June 04, 2014
                                                               ACCOUNT NO:     110034-09
                                                                INVOICE NO:             1
      re: Providence Property Management (Note)




              Reproduction of documents                                               1.20
              TOTAL EXPENSES THRU 04/30/2014                                          1.20

              TOTAL CURRENT WORK THIS STATEMENT                                     666.20


              BALANCE DUE                                                          $666.20
Case 10-93904-BHL-11           Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 6 of
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       Eastern Livestock Bankruptcy                                                          June 04, 2014
                                                                                ACCOUNT NO:     110034-11
                                                                                 INVOICE NO:             3




       re: Phillips, David A. (Note)
                                                                                        DRAFT STATEMENT

                [ ]Bill & Mail this statement as is/as modified
                [ ]Return to ______ for letter
                [ ]Prepare for sending VIA EMAIL
                [ ]HOLD/Do not send
                [ ]Send only previous balance
                [ ]Close File (only closed if paid in full or balance is written off)
                [ ]Pay this invoice from TRUST
                [ ] Other: ______________________________



                                                                                 Rate   HOURS
 10/24/2013
        JPK     Reviewed email from T. Volke. Respond to T.
                Volke on documents.                                           175.00      0.20                48

 10/29/2013
        JPK     Additional work on obtaining original documents.
                Reviewed                                                      175.00      0.20                47

 10/31/2013
        JPK     Follow up on original documentation.                          175.00      0.20                49
                Jay P. Kennedy                                                            0.60      105.00

 10/31/2013
        ADS     Review email from T. Volk and J. Kennedy
                regarding                          Draft email
                to Liz Lynch
                                   Diary for follow up on
                response.                                                     175.00      0.20                50

 11/04/2013
        ADS     Email from and email to Liz Lynch regarding
                original loan documents.                                      175.00      0.20                51

 11/05/2013
        ADS     Email correspondence with Liz Lynch regarding
                original loan documents; obtain FedEx account
                information and transmit to Liz Lynch for receipt
                of loan documents.                                            175.00      0.50                52

 11/06/2013
        ADS     Receive and review original loan file; draft
                memorandum to J. Kennedy regarding
                                                                              175.00      0.70                53
Case 10-93904-BHL-11           Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 7 of
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       Eastern Livestock Bankruptcy                                           June 04, 2014
                                                                 ACCOUNT NO:     110034-11
                                                                  INVOICE NO:             3
       re: Phillips, David A. (Note)


                                                                  Rate   HOURS
                Amanda D. Stafford                                         1.60        280.00

                FOR CURRENT SERVICES RENDERED                              2.20        385.00

                                        RECAPITULATION
    TIMEKEEPER                                     HOURS HOURLY RATE               TOTAL
    Jay P. Kennedy                                    0.60    $175.00             $105.00
    Amanda D. Stafford                                1.60     175.00              280.00




                Reproduction of documents                                                 7.00
                TOTAL EXPENSES THRU 04/30/2014                                            7.00



 11/05/2013     Overnight mail FEDERAL EXPRESS                                          22.02    22
 11/08/2013     Overnight mail FEDERAL EXPRESS                                          14.32    23
                Overnight mail                                                          36.34

                TOTAL ADVANCES THRU 04/30/2014                                          36.34

                TOTAL CURRENT WORK THIS STATEMENT                                      428.34

                PREVIOUS BALANCE                                                   $10,273.93



 09/30/2013     Payment--Thank you                                                   -1,778.00   1
 12/31/2013     Payment--Thank you                                                   -3,781.40   2
                TOTAL PAYMENTS                                                       -5,559.40

                BALANCE DUE                                                          $5,142.87

                                 AGE OF OUTSTANDING STATEMENTS
            0-30              31-60        61-90        91-180       181-360          361+
          428.34               0.00         0.00      1,399.54          0.00       3,314.99
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      Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                              ACCOUNT NO:     110034-12
                                                                               INVOICE NO:             1




      re: Thompson, Gary (Note)
                                                                                      DRAFT STATEMENT

              [ ]Bill & Mail this statement as is/as modified
              [ ]Return to ______ for letter
              [ ]Prepare for sending VIA EMAIL
              [ ]HOLD/Do not send
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              Reproduction of documents                                                             2.80
              Mailing expense                                                                       0.48
              TOTAL EXPENSES THRU 04/30/2014                                                        3.28

              TOTAL CURRENT WORK THIS STATEMENT                                                     3.28


              BALANCE DUE                                                                          $3.28
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 9 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110034-13
                                                                                INVOICE NO:             3




       re: Hustbourne Landings (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 01/24/2014
        JLW    Review draft discovery requests.                              175.00      1.00                44
               Jennifer L. Watt                                                          1.00      175.00

 09/30/2013
        ADS    Draft, revise and finalize preliminary witness and
               exhibit list and file same with court (1.0).
                                           with J. Kennedy (.30).            175.00      1.30                35

 10/04/2013
        ADS    Review defendant's pretrial compliance.                       175.00      0.20                36

 10/21/2013
        ADS    Review                                                        175.00      0.20                37

 12/31/2013
        ADS    Begin drafting requests for production and
               interrogatories to defendant.                                 175.00      0.60                38

 01/22/2014
        ADS    Draft email to David Brangers regarding
               discovery deadline (.20). Begin drafting
               discovery requests to defendant (.90).                        175.00      1.10                39

 01/23/2014
        ADS    Draft/revise and finalize requests for production,
               interrogatories and requests for admission to
               defendant. Email to Jay Kennedy for review.                   175.00      5.40                40

 01/25/2014
        ADS    Receive and review check copies from Liz
               Lynch (.30). Review and revise discovery
               requests (.90).                                               175.00      1.20                41
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14       EOD 06/06/14 15:33:49     Pg 10 of
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       Eastern Livestock Bankruptcy                                                   June 04, 2014
                                                                         ACCOUNT NO:     110034-13
                                                                          INVOICE NO:             3
       re: Hustbourne Landings (Note)


                                                                          Rate   HOURS

 01/28/2014
        ADS    Draft email to D. Brangers regarding amending
               scheduling order.                                        175.00     0.10                  42

       ADS     Telephonic conference with D. Brangers
               regarding scheduling order and proposed
               agreed judgment; draft/revise and finalize
               motion for relief from judgment/order and
               proposed order.                                          175.00     0.50                  43

 01/29/2014
        ADS    Receive/review Order granting motion for relief
               from judgment/order, setting aside scheduling
               order.                                                   175.00     0.10                  47

 02/05/2014
        ADS    Attention to discovery completion deadline and
               review case management order. Process
               request for original ELC file. Diary for follow up
               on receipt of same.                                      175.00     0.20                  45

 02/10/2014
        ADS    Review/analyze f
                                                                        175.00     0.10                  46
               Amanda D. Stafford                                                 11.00      1,925.00

               FOR CURRENT SERVICES RENDERED                                      12.00      2,100.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                     TOTAL
    Jennifer L. Watt                                     1.00    $175.00                   $175.00
    Amanda D. Stafford                                  11.00     175.00                  1,925.00




               Reproduction of documents                                                         2.20
               TOTAL EXPENSES THRU 04/30/2014                                                    2.20

               TOTAL CURRENT WORK THIS STATEMENT                                             2,102.20

               PREVIOUS BALANCE                                                             $3,721.55



 09/30/2013    Payment--Thank you                                                              -684.21   1
 12/31/2013    Payment--Thank you                                                            -1,629.85   2
Case 10-93904-BHL-11       Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 11 of
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      Eastern Livestock Bankruptcy                                         June 04, 2014
                                                              ACCOUNT NO:     110034-13
                                                               INVOICE NO:             3
      re: Hustbourne Landings (Note)


              TOTAL PAYMENTS                                                     -2,314.06

              BALANCE DUE                                                        $3,509.69

                             AGE OF OUTSTANDING STATEMENTS
           0-30           31-60        61-90       91-180        181-360           361+
       2,102.20            0.00         0.00       574.43           0.00          833.06
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 12 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110034-14
                                                                                INVOICE NO:             2




       re: Jenny-Ann Enterprises (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/24/2013
        ADS    Prepare for pretrial.                                         175.00      0.10                21

 09/25/2013
        ADS    Attend pretrial status conference.                            175.00      0.20                22

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order.
                                                                             175.00      0.10                23

 10/26/2013
        ADS    Draft/revise Motion for Default Judgment,
               calculate judgment figures, draft//revise Affidavit
               of Attorneys' Fees and Costs Incurred,
               draft/revise Affidavit in Support of Default
               Judgment (1.3). Draft email to Liz Lynch with
               affidavit for execution (.30).                                175.00      1.60                24

 11/01/2013
        ADS    Receive email from Liz Lynch regarding
                                                revise and
               augment affidavit; draft email to Liz Lynch
               regarding                                                     175.00      0.30                25

 11/29/2013
        ADS    Receive original signed affidavit in support of
               default judgment.                                             175.00      0.10                26

 12/23/2013
        ADS    Receive and review default judgment; update
                                     diary for follow up on
               status of collection.                                         175.00      0.20                27
               Amanda D. Stafford                                                        2.60      455.00
Case 10-93904-BHL-11        Doc 2591-1      Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 13 of
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       Eastern Livestock Bankruptcy                                            June 04, 2014
                                                                  ACCOUNT NO:     110034-14
                                                                   INVOICE NO:             2
       re: Jenny-Ann Enterprises (Note)


                                                                   Rate   HOURS

               FOR CURRENT SERVICES RENDERED                                2.60       455.00

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE              TOTAL
    Amanda D. Stafford                                  2.60    $175.00            $455.00




               Reproduction of documents                                                  0.50
               Mailing expense                                                            1.18
               TOTAL EXPENSES THRU 04/30/2014                                             1.68

               TOTAL CURRENT WORK THIS STATEMENT                                       456.68

               PREVIOUS BALANCE                                                      $1,187.75



 12/31/2013    Payment--Thank you                                                      -849.15    1


               BALANCE DUE                                                            $795.28

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180           181-360           361+
          456.68             0.00         0.00       338.60              0.00            0.00
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49         Pg 14 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110034-15
                                                                                INVOICE NO:             2




       re: K & S Livestock (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/05/2013
        ADS    Extensive review of
               (1.3). Draft demand letter (.50). Calculate
               indebtedness (.20). Research defendant's
               current whereabouts (.50).                                    175.00      2.50                  2

 12/09/2013
        ADS    Receive/review returned certified mail (.20).
               Draft new demand letter; review, revise, and
               sign same (1.0). Calendar defendant's
               response deadline (.10).                                      175.00      1.30                  3
               Amanda D. Stafford                                                        3.80       665.00

               FOR CURRENT SERVICES RENDERED                                             3.80       665.00

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE                        TOTAL
    Amanda D. Stafford                                     3.80    $175.00                      $665.00




               Reproduction of documents                                                              5.20
               Mailing expense                                                                       14.00
               TOTAL EXPENSES THRU 04/30/2014                                                        19.20



 09/06/2013    Pacer Service Center docket retrieval                                                  1.10     10
 10/04/2013    Pacer Service Center docket retrieval                                                  0.60      8
 11/05/2013    Pacer Service Center docket retrieval                                                  0.50      6
 11/05/2013    Pacer Service Center docket retrieva                                                   0.10      7
Case 10-93904-BHL-11         Doc 2591-1      Filed 06/06/14   EOD 06/06/14 15:33:49   Pg 15 of
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       Eastern Livestock Bankruptcy                                             June 04, 2014
                                                                   ACCOUNT NO:     110034-15
                                                                    INVOICE NO:             2
       re: K & S Livestock (Note)


 11/18/2013    Pacer Service Center docket retrieval                                     0.50    9
               Pacer Service Center docket retrieval                                     2.80

               TOTAL ADVANCES THRU 04/30/2014                                            2.80

               TOTAL CURRENT WORK THIS STATEMENT                                       687.00

               PREVIOUS BALANCE                                                        $87.50



 12/31/2013    Payment--Thank you                                                      -64.75    1


               BALANCE DUE                                                            $709.75

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180           181-360          361+
          687.00             0.00         0.00        22.75              0.00           0.00
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110034-18
                                                                                INVOICE NO:             2




       re: Parker, Tobin (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 04/16/2014
        JPK    Confer with M. Stafford. Prepared for mediation
               pre-conference. Review                                        175.00      0.60                65

 04/17/2014
        JPK    Prepare for upcoming mediation. Participate in
               mediation conference with J. Van Winkle.
               Reviewed             with M. Stafford.                        175.00      0.90                64

 04/18/2014
        JPK    Preparation for mediation. Confer with J.
               Knauer                                    Email
               from M. Strynski regarding mediation procedure.
               Prepared mediation document package.                          175.00      0.70                71

 04/21/2014
        JPK    Meet with M. Stafford to review documents
               (.30). Reviewed and revised mediation
               statement (.50). Call with J. Van Winkle (.20).
               Meet with J. Knauer (.10).                                    175.00      1.10                68

 04/22/2014
        JPK    Prepare for and participate in mediation session
               (3.5). Meet with J. Knauer (.50). Document
               settlement agreement (.10). Confer with M.
               Stafford (.40).                                               175.00      4.50                67

 04/23/2014
        JPK    Reviewed proposed settlement agreement with
               M. Stafford. Follow up on settlement.                         175.00      0.30                66
               Jay P. Kennedy                                                            8.10    1,417.50
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14      EOD 06/06/14 15:33:49   Pg 17 of
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       Eastern Livestock Bankruptcy                                                 June 04, 2014
                                                                       ACCOUNT NO:     110034-18
                                                                        INVOICE NO:             2
       re: Parker, Tobin (Note)


                                                                        Rate   HOURS
 09/06/2013
        ADS    Email to Liz Lynch
                                                                      175.00     0.10                29

 09/10/2013
        ADS    Review/analyze documents
                      .60). Lengthy telephone conference with
               Liz Lynch regarding                     (1.1).         175.00     1.70                30

 09/11/2013
        ADS    Telephonic conference with Liz Lynch regarding

                                                                      175.00     0.90                31

 09/12/2013
        ADS    Emails from Liz Lynch with documents
                                                                      175.00     0.20                32

 09/15/2013
        ADS    Analyze potential claims against Parker
               regarding                       (.30). Draft
               lengthy email to J. Knauer and J. Kennedy
               regarding same and settlement (1.2).                   175.00     1.50                33

 09/17/2013
        ADS    Email from and email to opposing counsel
               regarding mediation and settlement.                    175.00     0.20                34

 09/23/2013
        ADS    Conference with Trustee and J. Kennedy
               regarding settlement
                                 (1.3). Review
                       provided by Liz Lynch (.50). Substantial
               legal research
                                   (1.6).                             175.00     3.40                35

 09/27/2013
        ADS    Review notes
                                  discuss research results with
               Jay Kennedy. Emails with opposing counsel.
               Email to Liz Lynch with document request.              175.00     0.60                36

 10/01/2013
        ADS    Email from opposing counsel; draft email to
               Dustin DeNeal regarding October mediation
               dates. Telephonic conference with D. DeNeal
               regarding November mediations.                         175.00     0.40                37
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14       EOD 06/06/14 15:33:49   Pg 18 of
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       Eastern Livestock Bankruptcy                                                   June 04, 2014
                                                                         ACCOUNT NO:     110034-18
                                                                          INVOICE NO:             2
       re: Parker, Tobin (Note)


                                                                          Rate   HOURS
 10/21/2013
        ADS    Review file for status; draft email to Defendants'
               attorney regarding mediation.                            175.00     0.30                38

       ADS     Meeting with J. Watt regarding ca
                                                                        175.00     0.20                39

 10/28/2013
        ADS    Attend telephonic pretrial status conference.            175.00     0.40                40

 10/31/2013
        ADS    Email from and email to Defendants' attorney
               regarding mediation. Review                              175.00     0.20                41

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                   175.00     0.10                42

 12/02/2013
        ADS    Email correspondence with opposing counsel
               regarding mediation.                                     175.00     0.20                43

 12/06/2013
        ADS    Office conference with Jim Knauer regarding
                                                                        175.00     0.10                44

 01/03/2014
        ADS    Draft email to Jay Kennedy regarding                     175.00     0.10                45

 01/11/2014
        ADS    Email to and email from opposing counsel
               regarding mediation. Email from and email to
               Jay Kennedy regarding pretrial conference.               175.00     0.30                46

 01/13/2014
        ADS    Prepare for, conduct and participate in
               telephonic status conference.                            175.00     0.40                47

 01/14/2014
        ADS    Email from and email to opposing counsel
               regarding informal document exchange prior to
               mediation.                                               175.00     0.20                48

 01/22/2014
        ADS    Review notice of continue telephonic pretrial
               conference and calendar same.                            175.00     0.10                49

 02/05/2014
        ADS    Process request for original ELC file. Diary for
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14       EOD 06/06/14 15:33:49   Pg 19 of
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       Eastern Livestock Bankruptcy                                                   June 04, 2014
                                                                         ACCOUNT NO:     110034-18
                                                                          INVOICE NO:             2
       re: Parker, Tobin (Note)


                                                                          Rate   HOURS
               follow up on receipt of same.                            175.00     0.10                50

 02/12/2014
        ADS    Email correspondence with opposing counsel
               regarding mediation.                                     175.00     0.10                51

 02/20/2014
        ADS    Receive original ELC file for Tobin Parker; begin
               review and analysis of documents.                        175.00     0.40                52

 02/21/2014
        ADS    Email from and email to Defendant's counsel
               regarding mediation status and scheduling.
               Draft email to J. Kennedy and Trustee regarding
               scheduling of mediation.                                 175.00     0.20                53

 03/24/2014
        ADS    Continue working on scheduling mediation.                175.00     0.30                55

 03/25/2014
        ADS    Multiple emails to and from opposing counsel
               regarding mediation and pretrial conference;
               draft email to court vacating pretrial conference;
               email from court regarding same.                         175.00     0.40                56

 03/26/2014
        ADS    Attention to scheduling of mediation. Multiple
               email correspondence with opposing counsel
               regarding same.                                          175.00     0.40                57

 03/27/2014
        ADS    Work on scheduling mediation for April 2014.
               Email correspondence with opposing counsel
               regarding same.                                          175.00     0.20                58

 03/28/2014
        ADS    Receive and review multiple email
               correspondence regarding scheduling of
               deposition. Review email confirmation from
               Margy Van Winkle scheduling mediation for
               April 22, 2014.                                          175.00     0.20                54

 03/31/2014
        ADS    Email from and email to Margy Van Winkle
               regarding pre-mediation conference call.                 175.00     0.20                59

 04/03/2014
        ADS    Review Minute Entry/Order regarding vacation
               of pretrial conference; update
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14         EOD 06/06/14 15:33:49   Pg 20 of
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       Eastern Livestock Bankruptcy                                                    June 04, 2014
                                                                          ACCOUNT NO:     110034-18
                                                                           INVOICE NO:             2
       re: Parker, Tobin (Note)


                                                                           Rate   HOURS
                                                                         175.00     0.10                60

 04/09/2014
        ADS    Review and analysis of documents

               (1.8). Review/analyze
                                   (1.2). Assignment to legal
               assistant to scan files for production to
               defendant's counsel in preparation for mediation
               (.10). Review
                          (.30). Draft email to Beth Royalty
               requesting additional files (.30). Conduct final
               review of documents and email same to
               defendant's counsel (.10).                                175.00     3.80                62

 04/11/2014
        ADS    Email from B. Royalty with documents
               requested from off-site ELC files; review
               documents produced.                                       175.00     0.20                61

       ADS     Review Mediator's engagement letter; draft
               email to mediator with name of client
               representative who will be attending mediation,
               calendar pre-mediation conference call.                   175.00     0.60                63

 04/17/2014
        ADS    Review and analyze                               in
               preparation for mediation (1.0). Draft

                                        (1.4). Telephonic
               conference with Liz Lynch regarding
                                  (.50). Voicemail to and
               telephonic conference with
                                      (.50). Voicemail to and
               telephonic conference with

                                                (.40).
               Participate in pre-mediation conference with
               Van Winkle and defendant's counsel (1.3).
               Office conference with Jim Knauer regarding

               (.40). Begin drafting mediation statement (1.5).          175.00     7.00                69

 04/18/2014
        ADS    Continue drafting Confidential Mediation
               Statement (5.2). Review, revise and finalize
               same (1.9). Draft email to mediator with
               mediation statement (.20).                                175.00     7.30                70
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                                                                       ACCOUNT NO:     110034-18
                                                                        INVOICE NO:             2
       re: Parker, Tobin (Note)


                                                                        Rate   HOURS
       ADS     Email from matt Strzynski regarding client's
               availability for mediation.                            175.00     0.10                   74

 04/21/2014
        ADS    Telephone call with mediator and voicemail to
               mediator regarding                        (.30).
               Telephone call and email correspondence with
               Liz Lynch regarding                        in
               preparation for mediation (.20). Preparation for
               mediation (.80).                                       175.00     1.30                   72

 04/22/2014
        ADS    Prepare for and conduct mediation (3.8).
               Review mediator's draft settlement agreement
               and confer with opposing counsel regarding
               anticipated objections to same (.50).                  175.00     4.30                   73
               Amanda D. Stafford                                               38.80        6,790.00

               FOR CURRENT SERVICES RENDERED                                    46.90        8,207.50

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE                    TOTAL
    Jay P. Kennedy                                      8.10    $175.00                 $1,417.50
    Amanda D. Stafford                                 38.80     175.00                  6,790.00




               Reproduction of documents                                                       13.52
               TOTAL EXPENSES THRU 04/30/2014                                                  13.52

               TOTAL CURRENT WORK THIS STATEMENT                                             8,221.02

               PREVIOUS BALANCE                                                            $2,268.12



 12/31/2013    Payment--Thank you                                                           -1,633.55   1


               BALANCE DUE                                                                 $8,855.59

                                AGE OF OUTSTANDING STATEMENTS
            0-30             31-60        61-90       91-180               181-360             361+
        8,221.02              0.00         0.00       634.57                  0.00              0.00
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       Eastern Livestock Bankruptcy                                                           June 04, 2014
                                                                                 ACCOUNT NO:     110034-24
                                                                                  INVOICE NO:             2




       re: Hume, Michael (Note)
                                                                                             DRAFT STATEMENT

                 [ ]Bill & Mail this statement as is/as modified
                 [ ]Return to ______ for letter
                 [ ]Prepare for sending VIA EMAIL
                 [ ]HOLD/Do not send
                 [ ]Send only previous balance
                 [ ]Close File (only closed if paid in full or balance is written off)
                 [ ]Pay this invoice from TRUST
                 [ ] Other: ______________________________



                                                                                  Rate      HOURS
 05/17/2013
        ADS      Follow up with J. Kennedy on Colorado local
                 counsel.                                                      175.00          0.10                 3

 09/08/2013
        ADS      Work on judgment collection and obtaining local
                 counsel.                                                      175.00          0.30                 2
                 Amanda D. Stafford                                                            0.40       70.00

                 FOR CURRENT SERVICES RENDERED                                                 0.40       70.00

                                               RECAPITULATION
    TIMEKEEPER                                            HOURS HOURLY RATE                           TOTAL
    Amanda D. Stafford                                       0.40    $175.00                          $70.00


                 TOTAL CURRENT WORK THIS STATEMENT                                                        70.00

                 PREVIOUS BALANCE                                                                       $375.66



 12/31/2013      Payment--Thank you                                                                      -271.95    1


                 BALANCE DUE                                                                            $173.71

                                  AGE OF OUTSTANDING STATEMENTS
               0-30            31-60        61-90       91-180                           181-360          361+
              70.00             0.00         0.00       103.71                              0.00           0.00
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110034-25
                                                                                INVOICE NO:             2




       re: Belleau Woods (Note)
                                                                                           DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate      HOURS
 02/04/2014
        ADS    Review/analyze documents
                              review/analyze
                                and analysis of
               Draft, revise and finalize complaint. File to J.
               Kennedy.                                                      175.00          0.80                  4
               Amanda D. Stafford                                                            0.80       140.00

               FOR CURRENT SERVICES RENDERED                                                 0.80       140.00

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE                            TOTAL
    Amanda D. Stafford                                     0.80    $175.00                          $140.00


               TOTAL CURRENT WORK THIS STATEMENT                                                        140.00

               PREVIOUS BALANCE                                                                       $1,075.00



 09/30/2013    Payment--Thank you                                                                       -477.84    1


               BALANCE DUE                                                                             $737.16

                                AGE OF OUTSTANDING STATEMENTS
            0-30             31-60        61-90       91-180                           181-360          361+
          140.00              0.00         0.00         0.00                              0.00         597.16
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110034-26
                                                                                INVOICE NO:             2




       re: Breitsprecher Livestock, LLC (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/05/2013
        ADS    Extensive review of

                                          2.4). Draft email to
               Liz lynch regarding
               (.30). Begin drafting demand letter (.80). Draft
               email to J. Kennedy (.20).                                    175.00      3.50                2

 11/06/2013
        ADS    Review/revise/finalize/sign demand letter (1.3).
               Calendar response deadline (.20).                             175.00      1.50                3

 11/14/2013
        ADS    Receive and review signed return receipt of
               demand letter from Breitsprecher.                             175.00      0.10                4

 12/11/2013
        ADS    Voicemail from and email correspondence with
               Brian Lalor, defendant's attorney.                            175.00      0.30                5

 01/07/2014
        ADS    Draft EMT Jay Kennedy and Jim Knauer
               regarding                                                     175.00      0.20                6

 04/10/2014
        ADS    Review/analyze
               legal research on Iowa exemptions.                            175.00      0.30                7
               Amanda D. Stafford                                                        5.90    1,032.50

               FOR CURRENT SERVICES RENDERED                                             5.90    1,032.50
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                                                                        INVOICE NO:             2
       re: Breitsprecher Livestock, LLC (Note)


                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                TOTAL
    Amanda D. Stafford                                   5.90    $175.00             $1,032.50




               Reproduction of documents                                                      7.50
               Mailing expense                                                               13.80
               TOTAL EXPENSES THRU 04/30/2014                                                21.30

               TOTAL CURRENT WORK THIS STATEMENT                                           1,053.80

               PREVIOUS BALANCE                                                            $140.00



 12/31/2013    Payment--Thank you                                                           -103.60    1


               BALANCE DUE                                                                $1,090.20

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180               181-360            361+
        1,053.80             0.00         0.00        36.40                  0.00             0.00
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                                                                                INVOICE NO:             3




       re: Buckhorn Cattle (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/15/2013
        JPK    Review and revise Trustee's response to
               counterclaim. Met with M. Stafford.                           175.00      0.50                19

       JPK     Reviewed email from J. Isaac and M. Stafford.
               Reviewed document and file response.                          175.00      0.30                20

 04/30/2014
        JPK    Participated in pretrial conference (.50). Met
               with M. Stafford (.20). Met with J. Knauer (.20).
               Reviewed                      .10). Reviewed
                                      (.10).                                 175.00      1.10                45
               Jay P. Kennedy                                                            1.90      332.50

 09/30/2013
        ADS    Review counterclaim filed by defendant (.20).
               Attention to Joint Pretrial Statement deadline;
               multiple emails with Ivana Shallcross (.20).
               Draft and file Agreed Motion for Extension of
               Time to File Pretrial Statement (.80). Calendar
               new deadlines; draft and file Notice of Extension
               of Time to File Responsive Pleading to
               counterclaim (.50).                                           175.00      1.70                18

 10/15/2013
        ADS    Review/analyze counterclaim and potential
               affirmative defenses (.80). Draft/revise Reply to
               Counterclaim and Affirmative Defenses (1.5).
               Draft email to J. Kennedy regarding same (.20).               175.00      2.50                21

 10/16/2013
        ADS    Review/analyze Minute Entry/Order, update
                                                                             175.00      0.10                22
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                                                                            INVOICE NO:             3
       re: Buckhorn Cattle (Note)


                                                                            Rate   HOURS

 10/21/2013
        ADS    Review                  draft email to I. Shallcross
               regarding joint pretrial statement. Receive and
               review email from I. Shallcross regarding same.            175.00     0.30                23

       ADS     Meeting with J. Watt regarding
                                                                          175.00     0.20                24

       ADS     Draft Joint Motion for Extension of Time to File
               JOint Pretrial Statement. Draft email to
               opposing counsel with draft Motion; Email from
               opposing counsel regarding motion; file motion
               for extension of time with bankruptcy court.
               Update                  and calendar.                      175.00     0.50                25

 10/23/2013
        ADS    Review order on motion to extend time to file
               joint pretrial statement. Calendar new deadline.           175.00     0.10                30

 10/25/2013
        ADS    Voicemail from and voicemail to I. Shallcross.
               Draft email to I. Shallcross regarding Joint
               Pretrial Statement, preparation of Trustee's
               statement, and provide I. Shallcross with
               sample pretrial statements.                                175.00     0.40                26

 10/26/2013
        ADS    Review complaint, answer, counterclaim, and
               trustee's response to counterclaim (.60).
               Draft/revise Joint Pretrial Statement (.90). Draft
               email to I. Shallcross with pretrial statement
               (.20). Diary for follow up on response from I.
               Shallcross (.10).                                          175.00     1.80                27

 10/28/2013
        ADS    Attend telephonic pretrial status conference.              175.00     0.40                28

       ADS     Email correspondence with I. Shallcross.
               Review final pretrial statement; file pretrial
               statement with court, and update
                                                                          175.00     0.50                29

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                     175.00     0.10                31

 12/09/2013
        ADS    Review file for case status.                               175.00     0.20                32
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       Eastern Livestock Bankruptcy                                                   June 04, 2014
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                                                                          INVOICE NO:             3
       re: Buckhorn Cattle (Note)


                                                                          Rate   HOURS

 01/13/2014
        ADS    Prepare for, conduct and participate in
               telephonic status conference.                            175.00     0.40                33

 01/22/2014
        ADS    Review notice of continued telephonic pretrial
               and calendar deadline to file case management
               order.                                                   175.00     0.10                34

 02/05/2014
        ADS    Process request for original ELC file. Diary for
               follow up on receipt of same.                            175.00     0.10                35

 02/12/2014
        ADS    Telephonic conference with Ivana Shallcross
               regarding case management order and
               document status (.30). Draft proposed case
               management order and email same to
               Shallcross (.70). Diary for follow up (.10).             175.00     1.10                36

 02/19/2014
        ADS    Email from Ivana Shallcross with approval of
               case management order for filing; telephonic
               conference with court deputy to obtain final
               pretrial conference and trial date and time;
               incorporate same into CMO. Upload CMO to
               court.                                                   175.00     0.40                37

 02/21/2014
        ADS    Receive/review entered case management
               order.                                                   175.00     0.10                38

 03/04/2014
        ADS    Draft/revise and finalize Plaintiff's preliminary
               witness and exhibits list and file same with court
               (.60). Review case management order and
               assignment to legal assistant to schedule dates
               and reminders (.30). Draft email to

                           (.20). Email correspondence with
               opposing counsel regarding witness and exhibit
               lists (.20).                                             175.00     1.30                39

 03/05/2014
        ADS    Receive/review notice of deficiency regarding
               witness and exhibit list; revise trustee's
               preliminary witness and exhibit list and file same
               with court.                                              175.00     0.40                40
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                                                                       INVOICE NO:             3
       re: Buckhorn Cattle (Note)


                                                                       Rate   HOURS

 03/26/2014
        ADS    Prepare for and conduct telephonic status
               conference. Work on production of documents
               to opposing counsel.                                  175.00     0.40                41

 04/03/2014
        ADS    Attention to discovery (.40). Telephone calls
               with

                                          (.50). Email
               correspondence with Beth Royalty to
                                            (.20). Telephonic
               conference with                 and voicemail
               to
                                        (.50). Review

                                        prepare documents for
               transmittal to opposing counsel (.30) Draft
               email to and receive email from opposing
               counsel regarding document production (.20).          175.00     2.10                42

 04/04/2014
        ADS    Analyze
                                                                     175.00     0.20                43

 04/16/2014
        ADS    Telephone call with Liz Lynch regarding
                                                      (.40).
               Email correspondence with Ivana Shallcross
               regarding extending discovery deadline (.40).
               Draft motion to extend discovery deadline and
               proposed order (1.1).                                 175.00     1.90                44

 04/18/2014
        ADS    Review order granting motion for extension of
               time to file discovery.                               175.00     0.10                49

 04/29/2014
        ADS    Attention to discovery deadline (.20).
               Review/analyze                           (1.3).
               Draft email to B. Royalty requesting documents
               (.30). Legal research on bailment law in
               Kentucky and liability of bailee (2.5).               175.00     4.30                46

 04/30/2014
        ADS    Confer with J.Kennedy regarding discovery and
               amendment of complaint (1.4). Telephonic
               conference with I. Shallcross regarding
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                                                                     INVOICE NO:             3
       re: Buckhorn Cattle (Note)


                                                                     Rate   HOURS
               deposition of Steve Kitchens (.60). Attend
               telephonic pretrial (.40). Draft letter to I.
               Shallcross regarding extension of discovery
               deadline (.40).                                     175.00     2.80                  47

       ADS     Review Minute Entry/Order re: Continued
               Telephonic Pretrial Conference.                     175.00     0.10                  48
               Amanda D. Stafford                                            24.60      4,305.00

               FOR CURRENT SERVICES RENDERED                                 26.50      4,637.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                TOTAL
    Jay P. Kennedy                                       1.90    $175.00              $332.50
    Amanda D. Stafford                                  24.60     175.00             4,305.00




               Reproduction of documents                                                   28.90
               TOTAL EXPENSES THRU 04/30/2014                                              28.90

               TOTAL CURRENT WORK THIS STATEMENT                                        4,666.40

               PREVIOUS BALANCE                                                        $1,569.02



 12/31/2013    Payment--Thank you                                                       -1,139.60   1


               BALANCE DUE                                                             $5,095.82

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180             181-360            361+
        4,666.40             0.00         0.00       426.62                0.00             2.80
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                                                                              ACCOUNT NO:     110034-28
                                                                               INVOICE NO:             1




      re: C & L Cattle (aka C & L Farms) (Note)
                                                                                      DRAFT STATEMENT

              [ ]Bill & Mail this statement as is/as modified
              [ ]Return to ______ for letter
              [ ]Prepare for sending VIA EMAIL
              [ ]HOLD/Do not send
              [ ]Send only previous balance
              [ ]Close File (only closed if paid in full or balance is written off)
              [ ]Pay this invoice from TRUST
              [ ] Other: ______________________________




              Reproduction of documents                                                             1.50
              TOTAL EXPENSES THRU 04/30/2014                                                        1.50

              TOTAL CURRENT WORK THIS STATEMENT                                                     1.50


              BALANCE DUE                                                                          $1.50
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                                                                                INVOICE NO:             3




       re: ECC/Olim (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/04/2013
        JPK    Confer with M. Stafford. Follow up on
               garnishment pleadings.                                        175.00      0.30                49

 10/16/2013
        JPK    Reviewed receipt of funds with M. Stafford.
               Work on preference claim calculation.                         175.00      0.30                41
               Jay P. Kennedy                                                            0.60      105.00

 09/03/2013
        ADS    Revise and finalize Subpoena in Adversary
               Proceeding; draft letter to Your Community
               Bank regarding Subpoena.                                      175.00      0.70                36

 09/10/2013
        ADS    Telephone conference with James Richard at
               Your Community Bank regarding subpoena;
               receive/review letter from Michael Oyler,
               attorney for Your Community Bank.                             175.00      0.30                37

 09/27/2013
        ADS    Receive response to Subpoena to Your
               Community Bank (.20). Review bank
               statements, deposit slips and canceled checks
               for ECC and OLIM (1.1).                                       175.00      1.30                38

 09/30/2013
        ADS    Continue review of bank records (.50). Draft,
               revise, and finalize motion and order for final
               order in garnishment and proposed order (1.3).
               Obtain addresses for Tommy and Patsy Gibson
               (.30). Assignment to assistant to draft motion
               for final order in garnishment regarding OLIM,
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                                                                         ACCOUNT NO:     110034-33
                                                                          INVOICE NO:             3
       re: ECC/Olim (Note)


                                                                          Rate   HOURS
               LLC funds; revise and finalize same (.60).
               Assignment to legal assistant to file motions
               with court (.40).                                        175.00     2.80                39

 10/01/2013
        ADS    Review/analyze OLIM, LLC checks (.30).
               Obtain Heritage Life and Prudential LIfe
               Insurance Co. registered agents (.20). Begin
               drafting Verified Motion to Enforce Judgment,
               proposed orders, and interrogatories (.70).              175.00     1.20                42

 10/02/2013
        ADS    Telephonic conference with K. Goss and law
               clerk at bankruptcy court regarding motion to
               reopen case (.40). Draft motion to reopen
               adversary proceeding and order; file same with
               court (.90). Draft email to K. Goss regarding
               filing of motion (.30). Diary for follow up (.10).       175.00     1.70                43

 10/04/2013
        ADS    Obtain copy of bank records for Liz Lynch;
               assignment to legal assistant. Email from and
               email to Liz Lynch regarding                             175.00     0.20                44

       ADS     Draft/revise/finalize Motion to Enforce Judgment
               through Proceedings Supplemental, proposed
               orders, and interrogatories (3.1). File pleadings
               with court and serve on defendants and
               garnishee-defendants (.50). Diary for follow up
               (.10).                                                   175.00     3.70                45

 10/07/2013
        ADS    Voicemail from Kristin Goss regaring pending
               motions; telephone conference with Jay
               Kennedy regarding same.                                  175.00     0.20                40

 10/08/2013
        ADS    Receive and review final orders in garnishment
               regarding Your Community Bank (.30). Multiple
               email correspondence with attorney for Your
               Community Bank, M. Oyler, regarding orders
               and payment (.50). Assignment to legal
               assistant to serve pleadings; draft and file
               Certificate of Service regarding final orders in
               garnishment (.50).                                       175.00     1.30                46

 10/09/2013
        ADS    Receive and process garnishment check from
               Your Community Bank, confirm calculation of
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14       EOD 06/06/14 15:33:49   Pg 34 of
                                                  323


                                                                                           Page: 3
       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110034-33
                                                                         INVOICE NO:             3
       re: ECC/Olim (Note)


                                                                         Rate   HOURS
               total received.                                         175.00     0.50                47

 10/16/2013
        ADS    Voicemail from K. Goss regarding Motion for
               Proceeding Supplemental; telephonic
               conference with Judge Lorch's changes and
               draft email to K. Goss regarding same.                  175.00     0.20                48

 10/20/2013
        ADS    Review order reopening case.                            175.00     0.10                50

 10/28/2013
        ADS    Telephonic conference with K. Goss regarding
               revisions to order to answer interrogatories.           175.00     0.20                51

 10/29/2013
        ADS    Telephonic conference with Maureen Meede,
               paralegal with Prudential and Hartford insurance
               companies.                                              175.00     0.20                52

 11/04/2013
        ADS    Receive and review letter from Prudential
               Financial (.20). Revise motion to enforce
               judgment, order, and interrogatories and file
               amended pleadings with court (1.1).                     175.00     1.30                53

 11/21/2013
        ADS    Voicemail from and telephonic conference with
               paralegal at Prudential regarding status of order
               to answer interrogatories. Review filed order;
               amend same and upload to court. Draft email
               to court on status of order. Telephonic
               conference with K. Goss regarding status of
               order.                                                  175.00     0.40                54

 12/16/2013
        ADS    Email correspondence with court regarding
               entry of order on motion for proceeding
               supplemental.                                           175.00     0.20                56

 12/23/2013
        ADS    Receive and review Order to Answer
               Interrogatories, Notice of Garnishment
               Proceedings, and to Prohibit Transfer of Any
               Assets in which the Judgment-Defendants have
               an Interest; serve Hartford Life Insurance
               Company and Prudential Insurance Co. of
               America with order and interrogatories;
               telephonic conference with Maureen Mead,
Case 10-93904-BHL-11          Doc 2591-1       Filed 06/06/14        EOD 06/06/14 15:33:49     Pg 35 of
                                                   323


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       Eastern Livestock Bankruptcy                                                    June 04, 2014
                                                                          ACCOUNT NO:     110034-33
                                                                           INVOICE NO:             3
       re: ECC/Olim (Note)


                                                                           Rate   HOURS
               paralegal at Prudential, regarding entry of order
               and service of interrogatories; diary for follow up
               on receipt of answers to interrogatories.                 175.00     0.70                  55

 01/23/2014
        ADS    Telephonic conference with Maureen Meade at
               Prudential regarding interrogatories.                     175.00     0.10                  57

 02/20/2014
        ADS    Telephonic conference with Liz Lynch regarding


                                                      otential
               550 actions.                                              175.00     0.30                  58
               Amanda D. Stafford                                                  17.60      3,080.00

               FOR CURRENT SERVICES RENDERED                                       18.20      3,185.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                      TOTAL
    Jay P. Kennedy                                       0.60    $175.00                    $105.00
    Amanda D. Stafford                                  17.60     175.00                   3,080.00




               Reproduction of documents                                                         30.94
               Mailing expense                                                                   35.80
               TOTAL EXPENSES THRU 04/30/2014                                                    66.74



 10/04/2013    Overnight mail FEDERAL EXPRESS                                                    14.26    23
               Overnight mail                                                                    14.26

               TOTAL ADVANCES THRU 04/30/2014                                                    14.26

               TOTAL CURRENT WORK THIS STATEMENT                                              3,266.00

               PREVIOUS BALANCE                                                              $5,310.99



 09/30/2013    Payment--Thank you                                                             -1,370.01   1
 12/31/2013    Payment--Thank you                                                             -1,646.50   2
               TOTAL PAYMENTS                                                                 -3,016.51
Case 10-93904-BHL-11        Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 36 of
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      Eastern Livestock Bankruptcy                                          June 04, 2014
                                                               ACCOUNT NO:     110034-33
                                                                INVOICE NO:             3
      re: ECC/Olim (Note)


              BALANCE DUE                                                         $5,560.48

                               AGE OF OUTSTANDING STATEMENTS
           0-30             31-60        61-90       91-180       181-360            361+
       3,266.00              0.00         0.00       597.07          0.00         1,697.41
Case 10-93904-BHL-11           Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49            Pg 37 of
                                                      323


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       Eastern Livestock Bankruptcy                                                           June 04, 2014
                                                                                 ACCOUNT NO:     110034-36
                                                                                  INVOICE NO:             2




       re: Farris, Charlie (Note)
                                                                                             DRAFT STATEMENT

                 [ ]Bill & Mail this statement as is/as modified
                 [ ]Return to ______ for letter
                 [ ]Prepare for sending VIA EMAIL
                 [ ]HOLD/Do not send
                 [ ]Send only previous balance
                 [ ]Close File (only closed if paid in full or balance is written off)
                 [ ]Pay this invoice from TRUST
                 [ ] Other: ______________________________



                                                                                  Rate      HOURS
 09/08/2013
        ADS      Work on judgment collection and obtaining local
                 counsel.                                                      175.00          0.30                 4
                 Amanda D. Stafford                                                            0.30       52.50

                 FOR CURRENT SERVICES RENDERED                                                 0.30       52.50

                                               RECAPITULATION
    TIMEKEEPER                                            HOURS HOURLY RATE                           TOTAL
    Amanda D. Stafford                                       0.30    $175.00                          $52.50


                 TOTAL CURRENT WORK THIS STATEMENT                                                        52.50

                 PREVIOUS BALANCE                                                                       $383.90



 12/31/2013      Payment--Thank you                                                                      -271.95    1


                 BALANCE DUE                                                                            $164.45

                                  AGE OF OUTSTANDING STATEMENTS
               0-30            31-60        61-90       91-180                           181-360          361+
              52.50             0.00         0.00       111.95                              0.00           0.00
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49         Pg 38 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110034-39
                                                                                INVOICE NO:             2




       re: Wilson, Mike (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/06/2013
        ADS    Analyze
                                   (.50). Confer with Jay
               Kennedy and telephonic conference with
               Tennessee counsel (.40). Review Middle Dist
               of Tennessee local rules on procedure for filing
               proofs of claim (.70).                                        175.00      1.80                  4
               Amanda D. Stafford                                                        1.80       315.00

               FOR CURRENT SERVICES RENDERED                                             1.80       315.00

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE                        TOTAL
    Amanda D. Stafford                                     1.80    $175.00                      $315.00




               Reproduction of documents                                                             11.60
               TOTAL EXPENSES THRU 04/30/2014                                                        11.60

               TOTAL CURRENT WORK THIS STATEMENT                                                    326.60

               PREVIOUS BALANCE                                                                    $424.04



 12/31/2013    Payment--Thank you                                                                   -310.80    1


               BALANCE DUE                                                                         $439.84
Case 10-93904-BHL-11        Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49   Pg 39 of
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      Eastern Livestock Bankruptcy                                          June 04, 2014
                                                               ACCOUNT NO:     110034-39
                                                                INVOICE NO:             2
      re: Wilson, Mike (Note)


                              AGE OF OUTSTANDING STATEMENTS
           0-30            31-60        61-90       91-180        181-360          361+
         326.60             0.00         0.00       113.24           0.00           0.00
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 40 of
                                                    323


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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-01
                                                                                INVOICE NO:             4




       re: South Coffeyville Stockyards (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/18/2013
        JLW    Review                                                        175.00      0.40                40

 10/28/2013
        JLW    Prepare for and attend pre-trial conference                   175.00      0.40                41

 10/29/2013
        JLW    Review minute order entry                                     175.00      0.10                42

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30                46

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10                51

 01/13/2014
        JLW    Prepare for and attend status pre-trial
               conference.                                                   175.00      0.30                55

 01/16/2014
        JLW    Review minute entry order.                                    175.00      0.10                56
               Jennifer L. Watt                                                          1.70      297.50

 09/05/2013
        ADS    Conference with J. Watt on case status.                       175.00      0.10                38

 10/02/2013
        ADS    Review
                                                                             175.00      0.10                39

 10/21/2013
        ADS    Meeting with J. Watt regarding
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14       EOD 06/06/14 15:33:49   Pg 41 of
                                                  323


                                                                                           Page: 2
       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-01
                                                                         INVOICE NO:             4
       re: South Coffeyville Stockyards (Preference)


                                                                         Rate   HOURS
                                                                       175.00     0.20                44

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.50                45

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                  175.00     0.10                47

 11/22/2013
        ADS    Conference with J. Watt regarding
                                        review/analyze
               pleadings, discovery production and responses,
               update                                                  175.00     0.40                48

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.           175.00     0.20                49

 02/10/2014
        ADS    Review/analyze                 Update
                                                                       175.00     0.10                57
               Amanda D. Stafford                                                 1.70      297.50

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                               125.00     0.10                43

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                              125.00     0.10                50

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                   125.00     0.10                52

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                              125.00     0.20                53

 01/20/2014
        TJF    Updated file with upcoming telephonic hearings
               and deadlines.                                          125.00     0.10                54
               Tammy J. Froelich                                                  0.60       75.00

               FOR CURRENT SERVICES RENDERED                                      4.00      670.00
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 42 of
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       Eastern Livestock Bankruptcy                                              June 04, 2014
                                                                    ACCOUNT NO:     110035-01
                                                                     INVOICE NO:             4
       re: South Coffeyville Stockyards (Preference)


                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE              TOTAL
    Jennifer L. Watt                                    1.70    $175.00            $297.50
    Amanda D. Stafford                                  1.70     175.00             297.50
    Tammy J. Froelich                                   0.60     125.00              75.00




               Mailing expense                                                              0.48
               TOTAL EXPENSES THRU 04/30/2014                                               0.48



 09/03/2013    Pacer Service Center docket retrieval                                        0.10    6
               Pacer Service Center docket retrieval                                        0.10

               TOTAL ADVANCES THRU 04/30/2014                                               0.10

               TOTAL CURRENT WORK THIS STATEMENT                                         670.58

               PREVIOUS BALANCE                                                        $1,545.84



 09/30/2013    Payment--Thank you                                                        -284.16    2
 12/31/2013    Payment--Thank you                                                        -534.65    3
               TOTAL PAYMENTS                                                            -818.81

               BALANCE DUE                                                             $1,397.61

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180            181-360           361+
          670.58             0.00         0.00       189.87               0.00          537.16
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 43 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-02
                                                                                INVOICE NO:             4




       re: Grove Livestock Sales, Inc. (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/05/2013
        JPK    Reviewed email from K. Goss. Follow up on
               status of service.                                            175.00      0.20                42
               Jay P. Kennedy                                                            0.20       35.00

 10/16/2013
        KDK    Conference with Amanda Stafford to discuss
               and analyze

                                                                             175.00      0.50                44
               Kevin D. Koons                                                            0.50       87.50

 10/09/2013
        JLW    Meeting with M. Stafford regarding pending
                                                 Review
               documents to                                                  175.00      0.60                45
               Jennifer L. Watt                                                          0.60      105.00

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                43

 10/16/2013
        ADS    Review draft of first amended complaint (1.4).
               Analyze               and whether to
                      (.80). Research and analysis on r

                          (2.3).                                             175.00      4.50                46

 02/10/2014
        ADS    Review/analyze
                                                                             175.00      0.10                47
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14       EOD 06/06/14 15:33:49     Pg 44 of
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-02
                                                                         INVOICE NO:             4
       re: Grove Livestock Sales, Inc. (Preference)


                                                                         Rate   HOURS
 03/26/2014
        ADS    Review file; gather factual information regarding
                                 .30). Draft
               analyze


                           (1.7).                                      175.00     2.00                  48
               Amanda D. Stafford                                                 6.70      1,172.50

               FOR CURRENT SERVICES RENDERED                                      8.00      1,400.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                   TOTAL
    Jay P. Kennedy                                       0.20    $175.00                   $35.00
    Kevin D. Koons                                       0.50     175.00                    87.50
    Jennifer L. Watt                                     0.60     175.00                   105.00
    Amanda D. Stafford                                   6.70     175.00                 1,172.50




               Reproduction of documents                                                        0.70
               TOTAL EXPENSES THRU 04/30/2014                                                   0.70



 09/05/2013    Pacer Service Center docket retrieval                                            1.50    6
               Pacer Service Center docket retrieval                                            1.50

               TOTAL ADVANCES THRU 04/30/2014                                                   1.50

               TOTAL CURRENT WORK THIS STATEMENT                                            1,402.20

               PREVIOUS BALANCE                                                            $1,745.22



 09/30/2013    Payment--Thank you                                                             -439.74   2
 12/31/2013    Payment--Thank you                                                             -469.90   3
               TOTAL PAYMENTS                                                                 -909.64

               BALANCE DUE                                                                 $2,237.78

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180                 181-360           361+
        1,402.20             0.00         0.00       165.10                    0.00          670.48
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 45 of
                                                    323


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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-03
                                                                                INVOICE NO:             4




       re: Kent Christenson (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/18/2013
        JLW    Review                                                        175.00      0.40                49
               Jennifer L. Watt                                                          0.40       70.00

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                48

 10/21/2013
        ADS    Review f                                                      175.00      0.20                50

 10/28/2013
        ADS    Draft/file/serve Motion to Reopen case and
               proposed order. Draft email to J. Watt
               regarding                                                     175.00      0.80                51

 10/30/2013
        ADS    Receive/review order reopening case. Draft
               email to paralegal regarding
                                  Update                                     175.00      0.20                52

 11/06/2013
        ADS    Review                                                        175.00      0.80                53

 12/11/2013
        ADS    Review order reopening case; assignment to
               legal assistant to draft motion for relief from
               judgment.                                                     175.00      0.20                54

 12/12/2013
        ADS    Telephonic conference with Liz Lynch (.30).
               Review/analyze documents

               (.70).                                                        175.00      1.00                55
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14      EOD 06/06/14 15:33:49     Pg 46 of
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-03
                                                                         INVOICE NO:             4
       re: Kent Christenson (Preference)


                                                                         Rate   HOURS

 12/17/2013
        ADS    Draft memorandum to Trustee recommending
               dismissal of case (.30). Email from Trustee;
               review/revise motion for relief from
               judgment/order and draft order granting same
               (.60). File to legal assistant to file pleadings
               with court. Diary for follow up on entry of order
               (.10).                                                  175.00     1.00                  56

 02/10/2014
        ADS    Review/analyze                  Update
                                                                       175.00     0.10                  57
               Amanda D. Stafford                                                 4.40       770.00

               FOR CURRENT SERVICES RENDERED                                      4.80       840.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                  TOTAL
    Jennifer L. Watt                                     0.40    $175.00                 $70.00
    Amanda D. Stafford                                   4.40     175.00                 770.00




               Reproduction of documents                                                        1.00
               Mailing expense                                                                  1.17
               TOTAL EXPENSES THRU 04/30/2014                                                   2.17



 01/07/2014    Pacer Service Center docket retrieval                                            0.20    11
               Pacer Service Center docket retrieval                                            0.20

               TOTAL ADVANCES THRU 04/30/2014                                                   0.20

               TOTAL CURRENT WORK THIS STATEMENT                                             842.37

               PREVIOUS BALANCE                                                            $2,800.42



 09/30/2013    Payment--Thank you                                                            -539.75    2
 12/31/2013    Payment--Thank you                                                          -1,041.55    3
               TOTAL PAYMENTS                                                              -1,581.30

               BALANCE DUE                                                                 $2,061.49
Case 10-93904-BHL-11       Doc 2591-1     Filed 06/06/14   EOD 06/06/14 15:33:49   Pg 47 of
                                              323


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      Eastern Livestock Bankruptcy                                           June 04, 2014
                                                                ACCOUNT NO:     110035-03
                                                                 INVOICE NO:             4
      re: Kent Christenson (Preference)


                              AGE OF OUTSTANDING STATEMENTS
           0-30            31-60        61-90       91-180         181-360          361+
         842.37             0.00         0.00       366.92            0.00         852.20
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 48 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-04
                                                                                INVOICE NO:             3




       re: J&L Cattle (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/25/2013
        JPK    Reviewed issue regarding
               Call with J. Graham. Participate in pretrial
               conference.                                                   175.00      0.30                53
               Jay P. Kennedy                                                            0.30       52.50

 10/18/2013
        JLW    Review case file and status                                   175.00      0.40                44

 10/28/2013
        JLW    Prepare for and attend pre-trial conference                   175.00      0.40                45

 10/29/2013
        JLW    Review minute order entry                                     175.00      0.10                46

 11/06/2013
        JLW    Review and draft background of issues for
                                                                             175.00      1.80                51

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30                52

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10                58
               Jennifer L. Watt                                                          3.10      542.50

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                42

 10/02/2013
        ADS    Review file
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 49 of
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-04
                                                                         INVOICE NO:             3
       re: J&L Cattle (Preference)


                                                                         Rate   HOURS
                                                                       175.00     0.10                 43

 10/21/2013
        ADS    Review                                                  175.00     0.20                 48

       ADS     Meeting with J. Watt regarding
                                                                       175.00     0.20                 49

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.40                 50

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                  175.00     0.10                 54

 11/22/2013
        ADS    Conference with J. Watt regarding

                                                                       175.00     0.30                 55

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.           175.00     0.20                 56

 02/10/2014
        ADS    Review/analyze                   Update
                                                                       175.00     0.10                 59
               Amanda D. Stafford                                                 1.70      297.50

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                               125.00     0.10                 47

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                              125.00     0.10                 57
               Tammy J. Froelich                                                  0.20       25.00

               FOR CURRENT SERVICES RENDERED                                      5.30      917.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                  TOTAL
    Jay P. Kennedy                                       0.30    $175.00                 $52.50
    Jennifer L. Watt                                     3.10     175.00                 542.50
    Amanda D. Stafford                                   1.70     175.00                 297.50
    Tammy J. Froelich                                    0.20     125.00                  25.00
Case 10-93904-BHL-11         Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 50 of
                                              323


                                                                                   Page: 3
       Eastern Livestock Bankruptcy                                          June 04, 2014
                                                                ACCOUNT NO:     110035-04
                                                                 INVOICE NO:             3
       re: J&L Cattle (Preference)


               TOTAL CURRENT WORK THIS STATEMENT                                     917.50

               PREVIOUS BALANCE                                                    $2,123.01



 09/30/2013    Payment--Thank you                                                    -303.21    1
 12/31/2013    Payment--Thank you                                                  -1,106.30    2
               TOTAL PAYMENTS                                                      -1,409.51

               BALANCE DUE                                                         $1,631.00

                                AGE OF OUTSTANDING STATEMENTS
            0-30             31-60        61-90       91-180       181-360           361+
          917.50              0.00         0.00       389.18          0.00          324.32
Case 10-93904-BHL-11         Doc 2591-1           Filed 06/06/14      EOD 06/06/14 15:33:49       Pg 51 of
                                                      323


                                                                                                  Page: 1
       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-06
                                                                                INVOICE NO:             3




       re: Blake Stewart (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/05/2013
        JLW    Review clerk's entry of default;                              175.00      0.20                49

 11/08/2013
        JLW    Conference call with opposing counsel
               regarding                                                     175.00      0.50                50
               Jennifer L. Watt                                                          0.70      122.50

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                43

 09/24/2013
        ADS    Prepare for pretrial.                                         175.00      0.10                44

 09/25/2013
        ADS    Attend pretrial status conference.                            175.00      0.10                45

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                             175.00      0.10                46

 02/10/2014
        ADS    Review/analyze                     Update
                                                                             175.00      0.10                52
               Amanda D. Stafford                                                        0.50       87.50

 11/04/2013
        TJF    Uploaded and filed Application for Clerk's Entry
               of Default using ECF system; Received
               reviewed and uploaded recently filed pleadings                125.00      0.30                47
Case 10-93904-BHL-11        Doc 2591-1      Filed 06/06/14     EOD 06/06/14 15:33:49     Pg 52 of
                                                323


                                                                                       Page: 2
       Eastern Livestock Bankruptcy                                              June 04, 2014
                                                                    ACCOUNT NO:     110035-06
                                                                     INVOICE NO:             3
       re: Blake Stewart (Preference)


                                                                     Rate   HOURS
 11/05/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                          125.00     0.10                  48

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                          125.00     0.10                  51
               Tammy J. Froelich                                              0.50        62.50

               FOR CURRENT SERVICES RENDERED                                  1.70       272.50

                                         RECAPITULATION
    TIMEKEEPER                                      HOURS HOURLY RATE                 TOTAL
    Jennifer L. Watt                                   0.70    $175.00               $122.50
    Amanda D. Stafford                                 0.50     175.00                 87.50
    Tammy J. Froelich                                  0.50     125.00                 62.50




               Mailing expense                                                              0.97
               TOTAL EXPENSES THRU 04/30/2014                                               0.97

               TOTAL CURRENT WORK THIS STATEMENT                                         273.47

               PREVIOUS BALANCE                                                        $2,236.38



 09/30/2013    Payment--Thank you                                                        -673.10    1
 12/31/2013    Payment--Thank you                                                        -547.60    2
               TOTAL PAYMENTS                                                          -1,220.70

               BALANCE DUE                                                             $1,289.15

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180             181-360          361+
          273.47             0.00         0.00       195.08                0.00         820.60
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 53 of
                                                    323


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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-07
                                                                                INVOICE NO:             3




       re: Tulsa Stockyards (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/18/2013
        JLW    Review case file and status                                   175.00      0.40                33

 10/28/2013
        JLW    Prepare for and attend pre-trial conference                   175.00      0.40                34

 10/29/2013
        JLW    Review minute order entry                                     175.00      0.10                35

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30                40

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10                45

 01/13/2014
        JLW    Prepare for and attend status pre-trial
               conference.                                                   175.00      0.30                49

 01/16/2014
        JLW    Review minute entry order.                                    175.00      0.10                50
               Jennifer L. Watt                                                          1.70      297.50

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                32

 10/21/2013
        ADS    Review                                                        175.00      0.10                37

       ADS     Meeting with J. Watt regarding
                                                                             175.00      0.20                38
Case 10-93904-BHL-11        Doc 2591-1        Filed 06/06/14       EOD 06/06/14 15:33:49     Pg 54 of
                                                  323


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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-07
                                                                         INVOICE NO:             3
       re: Tulsa Stockyards (Preference)


                                                                         Rate   HOURS
 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.50                  39

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                  175.00     0.10                  41

 11/22/2013
        ADS    Conference with J. Watt regarding
                                        review/analyze
               pleadings, discovery production and responses,
               update                                                  175.00     0.30                  42

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.           175.00     0.20                  43
               Amanda D. Stafford                                                 1.50       262.50

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                               125.00     0.10                  36

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                              125.00     0.10                  44

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                   125.00     0.10                  46

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                              125.00     0.20                  47

 01/20/2014
        TJF    Updated file with upcoming telephonic hearings
               and deadlines.                                          125.00     0.10                  48
               Tammy J. Froelich                                                  0.60        75.00

               FOR CURRENT SERVICES RENDERED                                      3.80       635.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                   TOTAL
    Jennifer L. Watt                                     1.70    $175.00                 $297.50
    Amanda D. Stafford                                   1.50     175.00                  262.50
    Tammy J. Froelich                                    0.60     125.00                   75.00
Case 10-93904-BHL-11        Doc 2591-1     Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 55 of
                                               323


                                                                                    Page: 3
       Eastern Livestock Bankruptcy                                           June 04, 2014
                                                                 ACCOUNT NO:     110035-07
                                                                  INVOICE NO:             3
       re: Tulsa Stockyards (Preference)


               TOTAL CURRENT WORK THIS STATEMENT                                      635.00

               PREVIOUS BALANCE                                                     $1,318.09



 09/30/2013    Payment--Thank you                                                     -269.88    1
 12/31/2013    Payment--Thank you                                                     -586.45    2
               TOTAL PAYMENTS                                                         -856.33

               BALANCE DUE                                                          $1,096.76

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180         181-360           361+
          635.00             0.00         0.00       207.65            0.00          254.11
Case 10-93904-BHL-11           Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49            Pg 56 of
                                                      323


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       Eastern Livestock Bankruptcy                                                           June 04, 2014
                                                                                 ACCOUNT NO:     110035-08
                                                                                  INVOICE NO:             3




       re: Musick Farms, Inc. (Preference)
                                                                                             DRAFT STATEMENT

                 [ ]Bill & Mail this statement as is/as modified
                 [ ]Return to ______ for letter
                 [ ]Prepare for sending VIA EMAIL
                 [ ]HOLD/Do not send
                 [ ]Send only previous balance
                 [ ]Close File (only closed if paid in full or balance is written off)
                 [ ]Pay this invoice from TRUST
                 [ ] Other: ______________________________



                                                                                  Rate      HOURS
 09/05/2013
        ADS      Conference with J. Watt                                       175.00          0.10                 32

 09/08/2013
        ADS      Work on judgment collection and obtaining local
                 counsel.                                                      175.00          0.30                 33
                 Amanda D. Stafford                                                            0.40       70.00

                 FOR CURRENT SERVICES RENDERED                                                 0.40       70.00

                                               RECAPITULATION
    TIMEKEEPER                                            HOURS HOURLY RATE                           TOTAL
    Amanda D. Stafford                                       0.40    $175.00                          $70.00


                 TOTAL CURRENT WORK THIS STATEMENT                                                        70.00

                 PREVIOUS BALANCE                                                                      $1,272.68



 09/30/2013      Payment--Thank you                                                                      -447.68    1
 12/31/2013      Payment--Thank you                                                                      -308.95    2
                 TOTAL PAYMENTS                                                                          -756.63

                 BALANCE DUE                                                                            $586.05

                                  AGE OF OUTSTANDING STATEMENTS
               0-30            31-60        61-90       91-180                           181-360         361+
              70.00             0.00         0.00       108.55                              0.00        407.50
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 57 of
                                                    323


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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-09
                                                                                INVOICE NO:             3




       re: Ricky Beard (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/25/2013
        JPK    Participate in pretrial conference.                           175.00      0.20                46

 04/29/2014
        JPK    Prepared for telephone conference. Called
               defendant's counsel. Reviewed potential
                                                                             175.00      0.40                60
               Jay P. Kennedy                                                            0.60      105.00

 10/18/2013
        JLW    Review case file and status                                   175.00      0.40                38

 10/28/2013
        JLW    Prepare for and attend pre-trial conference                   175.00      0.40                39

 10/29/2013
        JLW    Review minute order entry                                     175.00      0.10                40

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30                45

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10                51

 01/28/2014
        JLW    Review memorandum regarding
               Conference with M. Stafford
                                                                             175.00      0.60                57

 01/29/2014
        JLW    Prepare for and attend pre-trial conference.                  175.00      0.40                58
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14     EOD 06/06/14 15:33:49   Pg 58 of
                                                    323


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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-09
                                                                         INVOICE NO:             3
       re: Ricky Beard (Preference)


                                                                         Rate   HOURS
               Jennifer L. Watt                                                   2.30      402.50

 09/05/2013
        ADS    Conference with J. Watt                                 175.00     0.10                37

 10/21/2013
        ADS    Review file for status.                                 175.00     0.10                42

       ADS     Meeting with J. Watt regarding
                                                                       175.00     0.20                43

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.40                44

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                  175.00     0.10                47

 11/22/2013
        ADS    Conference with J. Watt regarding
                                        update
                                                                       175.00     0.30                48

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.           175.00     0.20                49

 01/28/2014
        ADS    Review correspondence from defendant's
               attorney (.20). Analyze claims and defenses;
               draft memorandum to J. Kennedy and J. Watt
               regarding        (1.0). Draft email to
               defendant's attorney (.10). Update
                             (.20).                                    175.00     1.50                54

       ADS     Office conference with J. Watt regarding
               January 29, 2014 pretrial conferences.                  175.00     0.10                55

 01/29/2014
        ADS    Prepare for, conduct, and participate in
               telephonic pretrial conference.                         175.00     0.30                56

 02/10/2014
        ADS    Review/analyze                   Update
                                                                       175.00     0.10                59

 04/28/2014
        ADS    Prepare for and attend telephonic pretrial
               conference.                                             175.00     0.30                61
Case 10-93904-BHL-11        Doc 2591-1      Filed 06/06/14      EOD 06/06/14 15:33:49     Pg 59 of
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-09
                                                                      INVOICE NO:             3
       re: Ricky Beard (Preference)


                                                                      Rate   HOURS
               Amanda D. Stafford                                              3.70       647.50

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                            125.00     0.10                  41

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                           125.00     0.10                  50

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                125.00     0.10                  52

 01/30/2014
        TJF    Review Minute Entry/Order and update file with
               of same.                                             125.00     0.20                  53
               Tammy J. Froelich                                               0.50        62.50

               FOR CURRENT SERVICES RENDERED                                   7.10      1,217.50

                                         RECAPITULATION
    TIMEKEEPER                                      HOURS HOURLY RATE                  TOTAL
    Jay P. Kennedy                                     0.60    $175.00                $105.00
    Jennifer L. Watt                                   2.30     175.00                 402.50
    Amanda D. Stafford                                 3.70     175.00                 647.50
    Tammy J. Froelich                                  0.50     125.00                  62.50




               Reproduction of documents                                                     1.40
               TOTAL EXPENSES THRU 04/30/2014                                                1.40

               TOTAL CURRENT WORK THIS STATEMENT                                         1,218.90

               PREVIOUS BALANCE                                                         $1,679.64



 09/30/2013    Payment--Thank you                                                         -511.18    1
 12/31/2013    Payment--Thank you                                                         -431.05    2
               TOTAL PAYMENTS                                                             -942.23

               BALANCE DUE                                                              $1,956.31
Case 10-93904-BHL-11       Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49   Pg 60 of
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      Eastern Livestock Bankruptcy                                         June 04, 2014
                                                              ACCOUNT NO:     110035-09
                                                               INVOICE NO:             3
      re: Ricky Beard (Preference)


                              AGE OF OUTSTANDING STATEMENTS
           0-30            31-60        61-90       91-180       181-360          361+
       1,218.90             0.00         0.00       153.89          0.00         583.52
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 61 of
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       Eastern Livestock Bankruptcy                                                          June 04, 2014
                                                                                ACCOUNT NO:     110035-10
                                                                                 INVOICE NO:             3




       re: Fritz Gettlefinger (Preference)
                                                                                        DRAFT STATEMENT

                [ ]Bill & Mail this statement as is/as modified
                [ ]Return to ______ for letter
                [ ]Prepare for sending VIA EMAIL
                [ ]HOLD/Do not send
                [ ]Send only previous balance
                [ ]Close File (only closed if paid in full or balance is written off)
                [ ]Pay this invoice from TRUST
                [ ] Other: ______________________________



                                                                                 Rate   HOURS
 09/25/2013
        JPK     Prepare for and participate in pretrial
                conference.                                                   175.00      0.20                39
                Jay P. Kennedy                                                            0.20       35.00

 10/18/2013
        JLW     Review case file and status                                   175.00      0.40                40

 11/22/2013
        JLW     Conference with M. Stafford regarding
                                                                              175.00      0.30                41

 12/02/2013
        JLW     Review minute entry order.                                    175.00      0.10                45

 01/27/2014
        JLW     Review memorandum regarding                                   175.00      0.20                51

 01/28/2014
        JLW     Conference with M. Stafford regarding
                                                                              175.00      0.50                52

 01/29/2014
        JLW     Prepare for and attend pre-trial conference.                  175.00      0.40                53

 02/11/2014
        JLW     Telephone conference with attorney for
                Gettlefinger regarding             Review email
                from attorney for Gettlefinger regarding
                                                                              175.00      0.40                54

 04/28/2014
        JLW     Prepare for and attend status hearing.                        175.00      0.40                57
Case 10-93904-BHL-11          Doc 2591-1       Filed 06/06/14     EOD 06/06/14 15:33:49   Pg 62 of
                                                   323


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       Eastern Livestock Bankruptcy                                                 June 04, 2014
                                                                       ACCOUNT NO:     110035-10
                                                                        INVOICE NO:             3
       re: Fritz Gettlefinger (Preference)


                                                                        Rate   HOURS
                Jennifer L. Watt                                                 2.70      472.50

 09/05/2013
        ADS     Conference with J. Watt                               175.00     0.10                36

 09/24/2013
        ADS     Prepare for pretrial.                                 175.00     0.10                37

 09/25/2013
        ADS     Attend pretrial status conference.                    175.00     0.20                38

 11/22/2013
        ADS     Conference with J. Watt regarding
                                       update
                                                                      175.00     0.30                42

 11/25/2013
        ADS     Attend telephonic pretrial/status conference.         175.00     0.20                43

 01/27/2014
        ADS     Review file for status; review/analyze
                                            DSI and draft email
                memorandum to J. Kennedy and J. Watt.
                Update                           Draft email to
                opposing counsel regarding telephonic hearing
                set for January 29, 2014.                             175.00     0.50                47

 01/28/2014
        ADS     Office conference with J. Watt regarding
                                                                      175.00     0.10                49

 01/29/2014
        ADS     Prepare for, conduct, and participate in
                telephonic pretrial conference.                       175.00     0.30                50

 02/10/2014
        ADS     Review/analyze                 Update
                                                                      175.00     0.10                55

 02/11/2014
        ADS     Email correspondence regarding defendant's
                offer of settlement.                                  175.00     0.10                56

 04/28/2014
        ADS     Review for status in preparation for pretrial.
                Voicemail to and from defendant's attorney
                regarding              Prepare for and conduct
                pretrial conference.                                  175.00     0.70                58
Case 10-93904-BHL-11          Doc 2591-1       Filed 06/06/14    EOD 06/06/14 15:33:49     Pg 63 of
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       Eastern Livestock Bankruptcy                                                June 04, 2014
                                                                      ACCOUNT NO:     110035-10
                                                                       INVOICE NO:             3
       re: Fritz Gettlefinger (Preference)


                                                                       Rate   HOURS
       ADS      Receive/review and analyze email from
                Defendant's counsel with response to trustee's
                counteroffer.                                        175.00     0.10                  59
                Amanda D. Stafford                                              2.80       490.00

 12/03/2013
        TJF     Received reviewed and uploaded recently filed
                pleadings.                                           125.00     0.10                  44

 12/17/2013
        TJF     Reviewed pleadings and updated diary.                125.00     0.10                  46

 01/30/2014
        TJF     Review Minute Entry/Order and update file with
                of same.                                             125.00     0.20                  48
                Tammy J. Froelich                                               0.40        50.00

                FOR CURRENT SERVICES RENDERED                                   6.10      1,047.50

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE              TOTAL
    Jay P. Kennedy                                         0.20    $175.00             $35.00
    Jennifer L. Watt                                       2.70     175.00             472.50
    Amanda D. Stafford                                     2.80     175.00             490.00
    Tammy J. Froelich                                      0.40     125.00              50.00




                Mailing expense                                                               0.48
                TOTAL EXPENSES THRU 04/30/2014                                                0.48

                TOTAL CURRENT WORK THIS STATEMENT                                         1,047.98

                PREVIOUS BALANCE                                                         $1,753.79



 09/30/2013     Payment--Thank you                                                         -546.10    1
 12/31/2013     Payment--Thank you                                                         -456.95    2
                TOTAL PAYMENTS                                                           -1,003.05

                BALANCE DUE                                                              $1,798.72

                                 AGE OF OUTSTANDING STATEMENTS
            0-30              31-60        61-90       91-180             181-360          361+
        1,047.98               0.00         0.00       162.14                0.00         588.60
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49         Pg 64 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-11
                                                                                INVOICE NO:             3




       re: Walco International (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/30/2013
        ADS    Attention to court imposed default judgment
               deadline; review/revise motion for default
               judgment; obtain executed affidavit and file
               same with court; update                                       175.00      0.70                  54

 10/16/2013
        ADS    Review file for status. Diary for follow up on
               entry of default judgment.                                    175.00      0.30                  56
               Amanda D. Stafford                                                        1.00       175.00

 09/17/2013
        TJF    Augmentation to Motion for Default Judgment,
               Affidavit and Default Judgment Order                          125.00      0.50                  53

 10/02/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                                     125.00      0.20                  55
               Tammy J. Froelich                                                         0.70        87.50

               FOR CURRENT SERVICES RENDERED                                             1.70       262.50

                                              RECAPITULATION
    TIMEKEEPER                                           HOURS HOURLY RATE                       TOTAL
    Amanda D. Stafford                                      1.00    $175.00                     $175.00
    Tammy J. Froelich                                       0.70     125.00                       87.50




               Reproduction of documents                                                              3.00
               Mailing expense                                                                        2.77
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 65 of
                                                  323


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       Eastern Livestock Bankruptcy                                              June 04, 2014
                                                                    ACCOUNT NO:     110035-11
                                                                     INVOICE NO:             3
       re: Walco International (Preference)


               TOTAL EXPENSES THRU 04/30/2014                                               5.77



 10/16/2013    Pacer Service Center docket retrieval                                        1.80    9
               Pacer Service Center docket retrieval                                        1.80

               TOTAL ADVANCES THRU 04/30/2014                                               1.80

               TOTAL CURRENT WORK THIS STATEMENT                                         270.07

               PREVIOUS BALANCE                                                        $2,483.85



 09/30/2013    Payment--Thank you                                                        -195.20    1
 12/31/2013    Payment--Thank you                                                      -1,579.90    2
               TOTAL PAYMENTS                                                          -1,775.10

               BALANCE DUE                                                              $978.82

                                AGE OF OUTSTANDING STATEMENTS
            0-30             31-60        61-90       91-180           181-360           361+
          270.07              0.00         0.00       559.25              0.00          149.50
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 66 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-12
                                                                                INVOICE NO:             3




       re: Cav Excavation (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/21/2013
        JPK    Confer with M. Stafford regarding
                                     Reviewed documents.                     175.00      0.30                39
               Jay P. Kennedy                                                            0.30       52.50

 12/03/2013
        JLW    Review order granting motion to substitute
               named defendant.                                              175.00      0.10                47
               Jennifer L. Watt                                                          0.10       17.50

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                37

 09/25/2013
        ADS    Draft Appearance and motion to continue trial.
               File with court.                                              175.00      0.50                38

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                             175.00      0.10                41

 10/20/2013
        ADS    Review Order Granting Motion to Continue Trial;
               update                                                        175.00      0.10                42

 10/21/2013
        ADS    Draft/revise/finalize Motion to Substitute Named
               Defendant.                                                    175.00      1.20                43

 10/23/2013
        ADS    Reverse and file Motion to Substitute Named
               Defendant pursuant to J. Kennedy's revisions;
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14      EOD 06/06/14 15:33:49   Pg 67 of
                                                    323


                                                                                            Page: 2
       Eastern Livestock Bankruptcy                                                   June 04, 2014
                                                                         ACCOUNT NO:     110035-12
                                                                          INVOICE NO:             3
       re: Cav Excavation (Preference)


                                                                          Rate   HOURS
               draft proposed order and upload to court. Diary
               for follow up.                                           175.00     0.90                44

 11/13/2013
        ADS    Review objection notice issued by court on
               motion to substitute defendant.                          175.00     0.10                45

 12/04/2013
        ADS    Receive and review ORder Granting Motion to
               Substitute Named Defendant. Assignment to
               paralegal to draft request for status conference.
               Review procedures manual for requesting new
               trial date.                                              175.00     0.40                48

       ADS     Review and revise request for status
               conference.                                              175.00     0.20                49

 01/14/2014
        ADS    Confer with J. Watt                     revise
               request for status conference.                           175.00     0.30                50

 02/10/2014
        ADS    Review/analyze                   Update
                                                                        175.00     0.10                51

 02/13/2014
        ADS    Telephone call with K. Goss regarding new trial
               date.                                                    175.00     0.10                52

 04/21/2014
        ADS    Attention to new trial date. Review, revise and
               finalize request for status conference to
               schedule new trial date. File to assistant to file
               same with court.                                         175.00     0.30                53

       ADS     Review order setting hearing; calendar same.             175.00     0.10                54
               Amanda D. Stafford                                                  4.50      787.50

 10/23/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                                125.00     0.10                40

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                               125.00     0.10                46
               Tammy J. Froelich                                                   0.20       25.00

               FOR CURRENT SERVICES RENDERED                                       5.10      882.50
Case 10-93904-BHL-11        Doc 2591-1     Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 68 of
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       Eastern Livestock Bankruptcy                                           June 04, 2014
                                                                 ACCOUNT NO:     110035-12
                                                                  INVOICE NO:             3
       re: Cav Excavation (Preference)


                                         RECAPITULATION
    TIMEKEEPER                                      HOURS HOURLY RATE            TOTAL
    Jay P. Kennedy                                     0.30    $175.00           $52.50
    Jennifer L. Watt                                   0.10     175.00            17.50
    Amanda D. Stafford                                 4.50     175.00           787.50
    Tammy J. Froelich                                  0.20     125.00            25.00




               Reproduction of documents                                               13.60
               Mailing expense                                                          1.95
               TOTAL EXPENSES THRU 04/30/2014                                          15.55

               TOTAL CURRENT WORK THIS STATEMENT                                      898.05

               PREVIOUS BALANCE                                                     $1,523.37



 09/30/2013    Payment--Thank you                                                     -339.73    1
 12/31/2013    Payment--Thank you                                                     -616.05    2
               TOTAL PAYMENTS                                                         -955.78

               BALANCE DUE                                                          $1,465.64

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180         181-360           361+
          898.05             0.00         0.00       220.12            0.00          347.47
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 69 of
                                                    323


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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-14
                                                                                INVOICE NO:             3




       re: Danny Stewart (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/25/2013
        JPK    Prepare for and participate in pretrial
               conference.                                                   175.00      0.10                36
               Jay P. Kennedy                                                            0.10       17.50

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30                38

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10                41

 01/29/2014
        JLW    Prepare for and attend pre-trial conference.                  175.00      0.40                47

 04/28/2014
        JLW    Prepare for and attend status hearing.                        175.00      0.40                49
               Jennifer L. Watt                                                          1.20      210.00

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                33

 09/24/2013
        ADS    Prepare for pretrial.                                         175.00      0.10                34

 09/25/2013
        ADS    Attend pretrial status conference.                            175.00      0.10                35

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                             175.00      0.10                37
Case 10-93904-BHL-11        Doc 2591-1        Filed 06/06/14    EOD 06/06/14 15:33:49    Pg 70 of
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-14
                                                                      INVOICE NO:             3
       re: Danny Stewart (Preference)


                                                                      Rate   HOURS
 11/22/2013
        ADS    Conference with J. Watt regarding
                                      update
                                                                    175.00     0.30                 39

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.        175.00     0.20                 40

 01/28/2014
        ADS    Review file for status and review status of
               Chapter 12 bankruptcy proceeding. Draft email
               to debtor's attorney on status of potential
               settlement of case.                                  175.00     0.50                 44

       ADS     Office conference with J. Watt regarding
                                                                    175.00     0.10                 45

 01/29/2014
        ADS    Prepare for, conduct, and participate in
               telephonic pretrial conference.                      175.00     0.30                 46

 02/10/2014
        ADS    Review/analyze                 Update
                                                                    175.00     0.10                 48

 04/28/2014
        ADS    Prepare for and conduct pretrial conference;
               report settlement to court.                          175.00     0.40                 50
               Amanda D. Stafford                                              2.30      402.50

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                125.00     0.10                 42

 01/30/2014
        TJF    Review Minute Entry/Order and update file with
               of same.                                             125.00     0.20                 43
               Tammy J. Froelich                                               0.30       37.50

               FOR CURRENT SERVICES RENDERED                                   3.90      667.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE               TOTAL
    Jay P. Kennedy                                       0.10    $175.00              $17.50
    Jennifer L. Watt                                     1.20     175.00              210.00
    Amanda D. Stafford                                   2.30     175.00              402.50
    Tammy J. Froelich                                    0.30     125.00               37.50
Case 10-93904-BHL-11        Doc 2591-1       Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 71 of
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       Eastern Livestock Bankruptcy                                             June 04, 2014
                                                                   ACCOUNT NO:     110035-14
                                                                    INVOICE NO:             3
       re: Danny Stewart (Preference)




 09/24/2013    Pacer Service Center docket retrieval                                       0.60    4
               Pacer Service Center docket retrieval                                       0.60

               TOTAL ADVANCES THRU 04/30/2014                                              0.60

               TOTAL CURRENT WORK THIS STATEMENT                                        668.10

               PREVIOUS BALANCE                                                       $1,568.78



 09/30/2013    Payment--Thank you                                                       -461.96    1
 12/31/2013    Payment--Thank you                                                       -447.70    2
               TOTAL PAYMENTS                                                           -909.66

               BALANCE DUE                                                            $1,327.22

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180           181-360           361+
          668.10             0.00         0.00       157.78              0.00          501.34
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49         Pg 72 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-15
                                                                                INVOICE NO:             3




       re: Brad Robinson (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                  32

 09/08/2013
        ADS    Work on judgment collection and obtaining local
               counsel.                                                      175.00      0.30                  33

 09/10/2013
        ADS    Multiple emails with Williams Mullen regarding
               judgment collection.                                          175.00      0.90                  31
               Amanda D. Stafford                                                        1.30       227.50

               FOR CURRENT SERVICES RENDERED                                             1.30       227.50

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE                        TOTAL
    Amanda D. Stafford                                     1.30    $175.00                      $227.50


               TOTAL CURRENT WORK THIS STATEMENT                                                    227.50

               PREVIOUS BALANCE                                                                   $1,123.44



 09/30/2013    Payment--Thank you                                                                   -250.83    1
 12/31/2013    Payment--Thank you                                                                   -471.75    2
               TOTAL PAYMENTS                                                                       -722.58

               BALANCE DUE                                                                         $628.36
Case 10-93904-BHL-11       Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49   Pg 73 of
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      Eastern Livestock Bankruptcy                                         June 04, 2014
                                                              ACCOUNT NO:     110035-15
                                                               INVOICE NO:             3
      re: Brad Robinson (Preference)


                             AGE OF OUTSTANDING STATEMENTS
           0-30           31-60        61-90       91-180        181-360          361+
         227.50            0.00         0.00       169.49           0.00         231.37
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 74 of
                                                    323


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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-17
                                                                                INVOICE NO:             3




       re: Loveland Farms (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/25/2013
        JPK    Participate in pretrial conference.                           175.00      0.20                40
               Jay P. Kennedy                                                            0.20       35.00

 10/18/2013
        JLW    Review case file and status                                   175.00      0.40                37

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30                39

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10                44

 01/27/2014
        JLW    Review memorandum regarding                                   175.00      0.20                50

 01/28/2014
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.50                51

 01/29/2014
        JLW    Prepare for and attend pre-trial conference.                  175.00      0.40                52

 04/28/2014
        JLW    Prepare for and attend status hearing.                        175.00      0.40                54
               Jennifer L. Watt                                                          2.30      402.50

 09/24/2013
        ADS    Prepare for pretrial.                                         175.00      0.10                35
Case 10-93904-BHL-11        Doc 2591-1        Filed 06/06/14    EOD 06/06/14 15:33:49   Pg 75 of
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-17
                                                                      INVOICE NO:             3
       re: Loveland Farms (Preference)


                                                                      Rate   HOURS
 09/25/2013
        ADS    Attend pretrial status conference.                   175.00     0.10                36

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                    175.00     0.10                38

 11/22/2013
        ADS    Conference with J. Watt regarding
                                       update
                                                                    175.00     0.30                41

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.        175.00     0.20                42

 01/27/2014
        ADS    Review file for status; review file documents
               received from DSI and draft email
               memorandum to J. Kennedy and J. Watt.
               Update                                               175.00     0.40                46

 01/28/2014
        ADS    Office conference with J. Watt regarding
               January 29, 2014 pretrial conferences.               175.00     0.10                48

 01/29/2014
        ADS    Prepare for, conduct, and participate in
               telephonic pretrial conference.                      175.00     0.30                49

 02/10/2014
        ADS    Review/analyze                 Update
                                                                    175.00     0.10                53

 04/28/2014
        ADS    Prepare for and conduct pretrial conference.         175.00     0.40                55
               Amanda D. Stafford                                              2.10      367.50

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                           125.00     0.10                43

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                125.00     0.10                45

 01/30/2014
        TJF    Review Minute Entry/Order and update file with
               of same.                                             125.00     0.20                47
               Tammy J. Froelich                                               0.40       50.00
Case 10-93904-BHL-11        Doc 2591-1     Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 76 of
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       Eastern Livestock Bankruptcy                                           June 04, 2014
                                                                 ACCOUNT NO:     110035-17
                                                                  INVOICE NO:             3
       re: Loveland Farms (Preference)


                                                                  Rate   HOURS

               FOR CURRENT SERVICES RENDERED                               5.00       855.00

                                         RECAPITULATION
    TIMEKEEPER                                      HOURS HOURLY RATE             TOTAL
    Jay P. Kennedy                                     0.20    $175.00            $35.00
    Jennifer L. Watt                                   2.30     175.00            402.50
    Amanda D. Stafford                                 2.10     175.00            367.50
    Tammy J. Froelich                                  0.40     125.00             50.00


               TOTAL CURRENT WORK THIS STATEMENT                                      855.00

               PREVIOUS BALANCE                                                     $1,679.66



 09/30/2013    Payment--Thank you                                                     -425.45    1
 12/31/2013    Payment--Thank you                                                     -523.55    2
               TOTAL PAYMENTS                                                         -949.00

               BALANCE DUE                                                          $1,585.66

                              AGE OF OUTSTANDING STATEMENTS
            0-30           31-60        61-90       91-180           181-360          361+
          855.00            0.00         0.00       186.03              0.00         544.63
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 77 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-18
                                                                                INVOICE NO:             3




       re: Circle M Builders (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/02/2013
        JLW    Review email from K. Goss regarding status;                   175.00      0.10                34

 10/23/2013
        JLW    Review email from M. Stafford to K. Goss
               regarding status; Review response email from
               K. Goss to M. Stafford regarding status; Review
               motion for default judgment and related affidavit
               and order                                                     175.00      0.30                35

 12/11/2013
        JLW    Review order on motion for default                            175.00      0.10                40
               Jennifer L. Watt                                                          0.50       87.50

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                33

 10/21/2013
        ADS    Review file for status.                                       175.00      0.10                38

 10/23/2013
        ADS    Review email from K. Goss with request for
               status; review
                             draft email to K. Goss regarding
               status.                                                       175.00      0.30                39
               Amanda D. Stafford                                                        0.50       87.50

 10/23/2013
        TJF    Augmentation to Motion for Default Judgment                   125.00      0.40                36

 10/29/2013
        TJF    Augmentation to Motion for Default Judgment;
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 78 of
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       Eastern Livestock Bankruptcy                                              June 04, 2014
                                                                    ACCOUNT NO:     110035-18
                                                                     INVOICE NO:             3
       re: Circle M Builders (Preference)


                                                                     Rate   HOURS
               uploaded and filed same using ECF; processed
               and served same; received reviewed and
               uploaded recently filed pleadings                   125.00     0.40                  37
               Tammy J. Froelich                                              0.80       100.00

               FOR CURRENT SERVICES RENDERED                                  1.80       275.00

                                            RECAPITULATION
    TIMEKEEPER                                         HOURS HOURLY RATE             TOTAL
    Jennifer L. Watt                                      0.50    $175.00            $87.50
    Amanda D. Stafford                                    0.50     175.00             87.50
    Tammy J. Froelich                                     0.80     125.00            100.00


               TOTAL CURRENT WORK THIS STATEMENT                                         275.00

               PREVIOUS BALANCE                                                        $1,214.07



 09/30/2013    Payment--Thank you                                                        -239.71    1
 12/31/2013    Payment--Thank you                                                        -556.85    2
               TOTAL PAYMENTS                                                            -796.56

               BALANCE DUE                                                              $692.51

                                AGE OF OUTSTANDING STATEMENTS
            0-30             31-60        61-90       91-180            181-360          361+
          275.00              0.00         0.00       197.52               0.00         219.99
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 79 of
                                                    323


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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-21
                                                                                INVOICE NO:             3




       re: Steve Blanton (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/28/2013
        JLW    Prepare for and attend pre-trial conference                   175.00      0.40                44

 10/29/2013
        JLW    Review minute order entry                                     175.00      0.10                45

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30                51

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10                56

 01/03/2014
        JLW    Review                              Review email
               from M. Stafford regarding                                    175.00      0.40                57
               Jennifer L. Watt                                                          1.30      227.50

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                43

 10/21/2013
        ADS    Review                  Review/analyze
               attorney's position statement and supporting
               documentation.                                                175.00      0.40                47

       ADS     Meeting with J. Watt regarding
                                                                             175.00      0.20                48

 10/28/2013
        ADS    Begin drafting memorandum to J. Knauer
               regarding                                                     175.00      0.50                49
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-21
                                                                         INVOICE NO:             3
       re: Steve Blanton (Preference)


                                                                         Rate   HOURS
       ADS     Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.40                  50

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                  175.00     0.10                  52

 11/22/2013
        ADS    Conference with J. Watt regarding
                                                                       175.00     0.30                  53

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.           175.00     0.20                  54

 01/03/2014
        ADS    Review file, correspondence, and documents
               produced by DSI (.30). Draft memorandum to
               J. Knauer with
                          (1.4).                                       175.00     1.70                  58

 02/10/2014
        ADS    Review/analyze                 Update
                                                                       175.00     0.10                  59
               Amanda D. Stafford                                                 4.00       700.00

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                               125.00     0.10                  46

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                              125.00     0.10                  55
               Tammy J. Froelich                                                  0.20        25.00

               FOR CURRENT SERVICES RENDERED                                      5.50       952.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                   TOTAL
    Jennifer L. Watt                                     1.30    $175.00                 $227.50
    Amanda D. Stafford                                   4.00     175.00                  700.00
    Tammy J. Froelich                                    0.20     125.00                   25.00




               Reproduction of documents                                                       0.30
               TOTAL EXPENSES THRU 04/30/2014                                                  0.30
Case 10-93904-BHL-11        Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 81 of
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       Eastern Livestock Bankruptcy                                         June 04, 2014
                                                               ACCOUNT NO:     110035-21
                                                                INVOICE NO:             3
       re: Steve Blanton (Preference)


               TOTAL CURRENT WORK THIS STATEMENT                                    952.80

               PREVIOUS BALANCE                                                   $2,194.05



 09/30/2013    Payment--Thank you                                                   -285.75    1
 12/31/2013    Payment--Thank you                                                 -1,163.65    2
               TOTAL PAYMENTS                                                     -1,449.40

               BALANCE DUE                                                        $1,697.45

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180       181-360           361+
          952.80             0.00         0.00       428.70          0.00          315.95
Case 10-93904-BHL-11         Doc 2591-1          Filed 06/06/14       EOD 06/06/14 15:33:49       Pg 82 of
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-24
                                                                                INVOICE NO:             3




       re: Martin Farms (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/20/2013
        JLW    Review clerk's entry of default                               175.00      0.10                39

 12/04/2013
        JLW    Review order granting default judgment                        175.00                          45
               Jennifer L. Watt                                                          0.10       17.50

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10                40

 10/16/2013
        ADS    Review Application for Entry of Default, clerk's
               entry of default, and update                                  175.00      0.20                43
               Amanda D. Stafford                                                        0.30       52.50

 09/17/2013
        TJF    Draft Application for Default for Default
               Judgment, Affidavit and Order for J. Watt's
               review;                                                       125.00      0.50                36

 09/19/2013
        TJF    Processed Application for Default by Clerk; filed
               same                                                          125.00      0.30                37

 10/23/2013
        TJF    Drafted Motion for Default Judgment, Order and
               Affidavit in Support for J. Watt's review and
               signature                                                     125.00      0.60                41

 10/29/2013
        TJF    Augmentation to Motion for Default Judgment;
               uploaded and filed same using ECF; processed
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                                                                    ACCOUNT NO:     110035-24
                                                                     INVOICE NO:             3
       re: Martin Farms (Preference)


                                                                     Rate   HOURS
               and served same; received reviewed and
               uploaded recently filed pleadings                   125.00     0.40                  42

 12/04/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                           125.00     0.10                  44
               Tammy J. Froelich                                              1.90       237.50

               FOR CURRENT SERVICES RENDERED                                  2.30       307.50

                                         RECAPITULATION
    TIMEKEEPER                                      HOURS HOURLY RATE                TOTAL
    Jennifer L. Watt                                   0.10    $175.00               $17.50
    Amanda D. Stafford                                 0.30     175.00                52.50
    Tammy J. Froelich                                  1.90     125.00               237.50




               Mailing expense                                                              0.48
               TOTAL EXPENSES THRU 04/30/2014                                               0.48

               TOTAL CURRENT WORK THIS STATEMENT                                         307.98

               PREVIOUS BALANCE                                                        $1,270.04



 09/30/2013    Payment--Thank you                                                        -373.06    1
 12/31/2013    Payment--Thank you                                                        -425.50    2
               TOTAL PAYMENTS                                                            -798.56

               BALANCE DUE                                                              $779.46

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180             181-360          361+
          307.98             0.00         0.00       151.10                0.00         320.38
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                                                                                INVOICE NO:             3




       re: Gary Tate/Tate Ranch (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/25/2013
        JPK    Prepare for and participate in conference.
               Follow up with counsel.                                       175.00      0.30                67

 11/25/2013
        JPK    Follow up on potential settlement. Participate in
               pretrial conference.                                          175.00      0.20                72
               Jay P. Kennedy                                                            0.50       87.50

 10/18/2013
        JLW    Review                                                        175.00      0.40                68

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30                71

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10                76

 01/16/2014
        JLW    Review email correspondence regarding
               settlement discussion and relation to objection
               to bond case settlement.                                      175.00      0.30                79

 01/21/2014
        JLW    Review email regarding settlement offer.                      175.00      0.10                84

 01/27/2014
        JLW    Review memorandum                                             175.00      0.20                85

 01/28/2014
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.50                86
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       re: Gary Tate/Tate Ranch (Preference)


                                                                      Rate   HOURS

 01/29/2014
        JLW    Prepare for and attend pre-trial conference.         175.00     0.40                87

 03/05/2014
        JLW    Review documents to                                  175.00     1.00                89

 03/20/2014
        JLW    Investigate
                                                                    175.00     2.00                90

 04/28/2014
        JLW    Prepare for and attend status hearing.               175.00     0.40                91
               Jennifer L. Watt                                                5.70      997.50

 09/05/2013
        ADS    Conference with J. Watt                              175.00     0.10                64

 09/24/2013
        ADS    Prepare for pretrial                                 175.00     0.10                65

 09/25/2013
        ADS    Attend pretrial status conference.                   175.00     0.10                66

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                    175.00     0.10                69

 10/30/2013
        ADS    Receive email from Bryan Johnson regarding
               bond case. Review bond case docket and draft
               email to K. Koons to respond to Johnson.             175.00     0.30                70

 11/22/2013
        ADS    Conference with J. Watt regarding
                                        update
                                                                    175.00     0.30                73

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.        175.00     0.20                74

 01/21/2014
        ADS    Email form and email to Kevin Koons regarding
               settlement discussions with Tate's counsel in
               Eastern bond case.                                   175.00     0.10                81

 01/27/2014
        ADS    Review               review file documents
               received from DSI and draft email
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                                                                        INVOICE NO:             3
       re: Gary Tate/Tate Ranch (Preference)


                                                                        Rate   HOURS
               memorandum to J. Kennedy and J. Watt.
               Update                                                 175.00     0.70                 78

 01/28/2014
        ADS    Office conference with J. Watt regarding
                                                                      175.00     0.10                 82

 01/29/2014
        ADS    Prepare for, conduct, and participate in
               telephonic pretrial conference.                        175.00     0.30                 83

 02/10/2014
        ADS    Review/analyze                  Update
                                                                      175.00     0.10                 88

 04/22/2014
        ADS    Voicemail from and telephone call with court
               regarding rescheduling of hearing; calendar
               updated hearing time.                                  175.00     0.20                 92

 04/28/2014
        ADS    Review file in preparation for telephonic status
               conference; prepare for and conduct pretrial
               conference; obtain and review notice of
               deposition of Lynch in SOLM case as
               referenced by Tate attorney.                           175.00     0.80                 93
               Amanda D. Stafford                                                3.50      612.50

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                             125.00     0.10                 75

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                  125.00     0.10                 77

 01/30/2014
        TJF    Review Minute Entry/Order and update file with
               of same.                                               125.00     0.20                 80
               Tammy J. Froelich                                                 0.40       50.00

               FOR CURRENT SERVICES RENDERED                                    10.10     1,747.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                 TOTAL
    Jay P. Kennedy                                       0.50    $175.00                $87.50
    Jennifer L. Watt                                     5.70     175.00                997.50
    Amanda D. Stafford                                   3.50     175.00                612.50
    Tammy J. Froelich                                    0.40     125.00                 50.00
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       re: Gary Tate/Tate Ranch (Preference)


               TOTAL CURRENT WORK THIS STATEMENT                                         1,747.50

               PREVIOUS BALANCE                                                         $5,286.77



 09/30/2013    Payment--Thank you                                                       -1,338.26    1
 12/31/2013    Payment--Thank you                                                       -1,592.85    2
               TOTAL PAYMENTS                                                           -2,931.11

               BALANCE DUE                                                              $4,103.16

                              AGE OF OUTSTANDING STATEMENTS
            0-30           31-60        61-90       91-180              181-360            361+
        1,747.50            0.00         0.00       563.34                 0.00         1,792.32
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                                                                                INVOICE NO:             3




       re: Chastain Feeds (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/05/2013
        ADS    Conference with J. Watt on case status.                       175.00      0.10                  38

 09/27/2013
        ADS    Email to and from Scott Leisz on status of
               stipulation of dismissal; revise stipulation and
               file same with court.                                         175.00      0.40                  39

 10/20/2013
        ADS    Review Stipulation of Dismissal and SEttlement
               Agreement. Update                                             175.00      0.10                  40
               Amanda D. Stafford                                                        0.60       105.00

               FOR CURRENT SERVICES RENDERED                                             0.60       105.00

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE                        TOTAL
    Amanda D. Stafford                                     0.60    $175.00                      $105.00


               TOTAL CURRENT WORK THIS STATEMENT                                                    105.00

               PREVIOUS BALANCE                                                                   $1,723.64



 09/30/2013    Payment--Thank you                                                                   -447.68    1
 12/31/2013    Payment--Thank you                                                                   -538.35    2
               TOTAL PAYMENTS                                                                       -986.03

               BALANCE DUE                                                                         $842.61
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      re: Chastain Feeds (Preference)


                              AGE OF OUTSTANDING STATEMENTS
           0-30            31-60        61-90       91-180       181-360          361+
         105.00             0.00         0.00       204.85          0.00         532.76
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       re: ADM (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/18/2013
        JPK    Extensive review of order on motion to dismiss
               (.90). Confer with J. Knauer and S. Runyan
               (.20).                                                        175.00      1.10                320

 11/25/2013
        JPK    Discuss               with S. Runyan.
               Reviewed request for motion for extension.                    175.00      0.40                318

 11/26/2013
        JPK    Call from J. Missou. Confer with S. Runyan
               regarding          Reviewed motion for
               extension and issues regarding                                175.00      0.50                317

 11/27/2013
        JPK    Call from J. Missou regarding extension and
               production issues. Confer with S. Runyan.                     175.00      0.30                316

 12/04/2013
        JPK    Telephone conference with
               Confer with S. Runyan.                                        175.00      0.70                345

 12/16/2013
        JPK    Reviewed initial discovery responses.
               Conferred with S. Runyan.                                     175.00      0.40                342

 12/19/2013
        JPK    Participate in status conference with S. Runyan.
               Reviewed
               Participated in status conference.                            175.00      0.80                341

 12/27/2013
        JPK    Reviewed emails from J. Massouh and S.
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       re: ADM (Preference)


                                                                         Rate   HOURS
               Runyan. Reviewed status of discovery request.           175.00     0.20                344

 01/07/2014
        JPK    Reviewed emails from J. Massough and P.
               Hoffman regarding discovery information.
               Reviewed information from S. Runyan.                    175.00     0.50                391

 01/10/2014
        JPK    Prepare and participate in call with
                               Confer with S. Runyan.                  175.00     0.90                390

 01/14/2014
        JPK    Telephone conference with opposing counsel
               (.50). Email with regard
                                              (.30).                   175.00     0.80                389

 01/15/2014
        JPK    Confer with S. Runyan. Reviewed document
               production letter. Reviewed calls with counsel
               for ADM defendants.                                     175.00     0.60                388

 01/23/2014
        JPK    Reviewed letter from J. Massough. Reviewed
               document request.                                       175.00     0.30                371

 01/28/2014
        JPK    Meet with J. Watt. Participate in brief telephone
               conference with counsel for ADM and
               Rufenacht Commodities.                                  175.00     0.30                370

 01/29/2014
        JPK    Prepared for and participated in telephone
               status conference. Met with S. Runyan.                  175.00     0.40                372

 01/31/2014
        JPK    Reviewed initial discovery production from L.
               Zein. Confer with S. Runyan.                            175.00     0.50                387

 02/06/2014
        JPK    Meet with S. Runyan
                         Participate in telephone conference
                                                                       175.00     0.60                437

 02/07/2014
        JPK    Meet with S. Runyan. Conference call on Zeien
               interview.                                              175.00     0.50                436

 02/12/2014
        JPK    Meet with S. Runyan
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       re: ADM (Preference)


                                                                            Rate   HOURS
               Review
               Reviewed                                                   175.00     0.50                399

 02/13/2014
        JPK    Review                           (.20). Participate
               in interview of L. Zein (1.0).                             175.00     1.20                398

 02/14/2014
        JPK    Participate in L. Zeien conference.                        175.00     0.70                435

 03/07/2014
        JPK    Confer with S. Runyan. Follow up on
                        Reviewed email from ADM counsel.                  175.00     0.80                460

 03/14/2014
        JPK    Preparation for and meeting with                           175.00     1.40                466

 03/21/2014
        JPK    Reviewed email from               Meet with
                                                                          175.00     0.30                469

 04/09/2014
        JPK    Meet with S. Runyan
                                Reviewed draft letter.                    175.00     0.70                504

 04/24/2014
        JPK    Follow up on                      Confer with S.
               Runyan.                                                    175.00     0.20                501
               Jay P. Kennedy                                                       15.60     2,730.00

 11/15/2013
        HKM    Conference with Steve Runyan and Jennifer
               Watt.                                                      175.00     0.30                305

 02/13/2014
        HKM    Correspondence from Steve Runyan concerning
                                              reviewed contents
               of Motion in preparation for discussion with
               Steve Runyan.                                              175.00     0.90                405

 02/14/2014
        HKM    Conference with Steve Runyan concerning



                                            (.90). Obtained
               and reviewed 11 U.S.C. section 108 c 2

                                                             (.70).       175.00     1.60                406
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       re: ADM (Preference)


                                                                      Rate   HOURS

 03/05/2014
        HKM    Obtained and reviewed Motion to Modify Plan
               Injunction filed my First Bank; reviewed
               response thereto prepared by special counsel
               for Chapter 11 Trustee, Jim Knauer.
               Conference with Mandy Stafford
                                                                    175.00     0.90                441

 03/07/2014
        HKM    Lenghty conference with Steve Runyan and
               Mandy Stafford

                                                                    175.00     0.90                455
               Harley K. Means                                                 4.60      805.00

 09/27/2013
        SER    Email exchange regarding
                         and email to Liz Lynch.                    175.00     0.20                277

 09/30/2013
        SER    Multiple communications with Liz Lynch;
               communication with Trustee's counsel regarding
               discovery response.                                  175.00     0.70                278

 10/01/2013
        SER    Extended telephone call with L. Lynch and J.
               Watt to discuss

                                         (.60). Continue work
               in preparation for Turley deposition (1.3).          175.00     1.90                284

 10/02/2013
        SER    Review materials relating to Patty Turley
               deposition and draft outline (2.3). Extensive
               discussion with J. Watt
                          (1.4).                                    175.00     3.70                286

 10/03/2013
        SER    Email exchange with J. Watt regarding
                                                                    175.00     0.70                287

 10/06/2013
        SER    Begin work on first request for production of
               documents to opposing parties.                       175.00     1.10                288

 10/07/2013
        SER    Begin review                                         175.00     0.50                289
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       re: ADM (Preference)


                                                                             Rate   HOURS
 10/08/2013
        SER    Email correspondence with

                                                                           175.00     0.20                290

 10/11/2013
        SER    Brief review of Patty Turley deposition transcript.         175.00     0.10                294

 10/15/2013
        SER    Analyze                                        (1.0).

                          (.80).                                           175.00     1.80                295

 11/15/2013
        SER    Brief review of court's order denying motions to
               dismiss.                                                    175.00     0.30                306

 11/17/2013
        SER    Attention to request for production directed
               towards ADMIS.                                              175.00     0.20                307

 11/18/2013
        SER    Detailed review of order denying motion to
               dismiss (.90). Attention to request for
               production (.20).                                           175.00     1.10                308

 11/19/2013
        SER    Attention to discovery request to each
               defendant, finalize and circulate for review and
               comment.                                                    175.00     2.50                309

 11/22/2013
        SER    Attention to discovery requests to Defendants.              175.00     0.40                314

 11/25/2013
        SER    Brief discussion with J. Kennedy regarding
                                               (.30). Research
               regarding                          (.70).                   175.00     1.00                311

 11/26/2013
        SER    Research regarding           brief discussion with
               J. Kennedy regarding
                                                                           175.00     0.60                319

 11/29/2013
        SER    Prepare for and participate in telephone call with

                                                                           175.00     1.20                315
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       re: ADM (Preference)


                                                                          Rate   HOURS
 12/02/2013
        SER    Analysis of
                                                                        175.00     2.10                325

 12/03/2013
        SER    Attention to

                                                                        175.00     2.20                326

 12/04/2013
        SER    Telephone call with                     J. Kennedy
               and M. Stafford regarding
                                                                        175.00     0.50                328

 12/05/2013
        SER    Email exchange                                           175.00     0.10                329

 12/09/2013
        SER    Read
                      (.60). Draft and circulate
                                              (.60).                    175.00     1.20                330

 12/10/2013
        SER    Email exchange with Liz Lynch regarding
                                   review                               175.00     1.60                331

 12/12/2013
        SER    Receive and respond to telephone call from
               court staff regarding status conference.                 175.00     0.20                333

 12/16/2013
        SER    Brief discussion with J. Kennedy and finalize
               letter to                         brief review of
               email forwarded from opposing party regarding
               production of documents.                                 175.00     0.50                334

 12/17/2013
        SER    Receive and review communications from
               Rufenacht's counsel and review documents.                175.00     0.60                338

 12/18/2013
        SER    Participate in status conference with court and
               follow up discussion with J. Kennedy and M.
               Stafford (1.0). Communication with
                               (.20).                                   175.00     1.20                339

 12/19/2013
        SER    Participate in status conference with court and
               follow up discussion with J. Kennedy and M.
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                                                                          INVOICE NO:             3
       re: ADM (Preference)


                                                                          Rate   HOURS
               Stafford (1.0). Communication with
                               (.20).                                   175.00     1.20                358

 12/20/2013
        SER    Telephone call                        draft and
               send letter to
                                                                        175.00     0.30                340

 12/27/2013
        SER    Email exchange with John Massouh.                        175.00     0.10                343

 12/31/2013
        SER    Review                                                   175.00     0.90                359

 01/07/2014
        SER    Telephone conference with                    J.
               Kennedy and M. Stafford regarding
                                                                        175.00     0.30                360

 01/09/2014
        SER    Review email correspondence from defendant's
               counsel regarding telephone conference.                  175.00     0.20                361

 01/10/2014
        SER    Prepare for and participate in telephone
               conference                        brief discussion
               with J. Kennedy regarding same.                          175.00     1.40                362

 01/13/2014
        SER    Attention to
                                                                        175.00     0.20                363

 01/14/2014
        SER    Review
               prepare for and participate in telephone call with
               defendant's counsel regarding additional
               document request (1.2). Begin draft of letter for
               document request (.50).                                  175.00     1.70                365

 01/15/2014
        SER    Attention to letter request for additional
               documents; email exchange with defendant's
               counsel regarding conference call.                       175.00     0.10                366

 01/16/2014
        SER    Review              draft letter to defendant's
               counsel regarding document exchange, finalize
               and sent.                                                175.00     0.80                367
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                                                                       ACCOUNT NO:     110035-27
                                                                        INVOICE NO:             3
       re: ADM (Preference)


                                                                        Rate   HOURS
 01/17/2014
        SER    Prepare for and participate in telephone
               conference call with counsel for Larry Zeien and
               Robert Rufenacht.                                      175.00     0.70                368

 01/29/2014
        SER    Telephone call with all counsel regarding status
               of voluntary discovery items (.30). Brief review
               of                                      (.20).
               Brief review
                    telephone call to ADMIS paralegal
               regarding production (.80).                            175.00     1.30                379

 01/30/2014
        SER    Participate in telephone status conference with
               court; review documents provided by ADMIS.             175.00     0.60                382

 01/31/2014
        SER    Review Minute Order entered by court; continue
               review
                                                                      175.00     0.30                383

 02/04/2014
        SER    Send multiple communications to

                                                                      175.00     0.60                392

 02/05/2014
        SER    Exchange voicemails and emails with

                                                                      175.00     0.50                393

 02/06/2014
        SER    Work on responses to defendant's document
               request (.80). Telephone call with
                          J. Kennedy and M. Stafford (.40).
               Lengthy telephone call with
                                 (1.0).                               175.00     2.20                394

 02/08/2014
        SER    Review of documents provided by defendants

                                                                      175.00     2.10                395

 02/10/2014
        SER    Email to
                                      (.80). Attention to
               trustee's document production (1.9).                   175.00     2.70                396
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                                                                          Rate   HOURS
 02/11/2014
        SER    Continue work on compilation of documents to
               respond to informal discovery request and
               forward email to Liz Lynch.                              175.00     1.00                397

 02/12/2014
        SER    Continue work on identification of documents
               responsive to defendant's request for production
               (1.2). Email exchange with Liz Lynch; email

                               (.40). Review correspondence
               regarding Larry Zeien (.30). Prepare outline of
               questions for Larry Zeien (.90).                         175.00     2.80                400

 02/13/2014
        SER    Attention to defendant's informal discovery
               request (1.4). Prepare for conference call with
               Larry Zeien and counsel (2.3). Telephone call
               with Larry Zeien and counsel (1.5). In-house
               follow up discussion
               (1.3). Communication with all defendants'
               counsel regarding status conference (.80).
               Email exchange with Jim Knauer regarding

               (.20).                                                   175.00     7.60                401

 02/14/2014
        SER    Continue attention to discovery response (2.9).
               Prepare for and participate in telephone
               conference with all parties regarding status of
               disclosures and potential settlement (.40).              175.00     3.30                402

 02/17/2014
        SER    Review Zeien discussion and telephone
               conference with all counsel, draft additional
               request for documents.                                   175.00     1.40                403

 02/18/2014
        SER    Email communications with
               email communications with J. Knauer.                     175.00     0.20                404

 02/19/2014
        SER    Return phone call to ADMIS' counsel (.20).
               Telephone call with J. Knauer regarding
                                      (.30). Review and revise
               supplemental document request (1.2).                     175.00     1.70                407

 02/20/2014
        SER    Telephone conference with                   (.30).
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                                                                       Rate   HOURS
               Work on second discovery letter to all
               defendants (1.2). Draft non-waiver letter
               regarding receiver's charts and send to J.
               Kennedy, et al for review and comment (1.0).
               Compile documents to send to defendants at
               their request separating categories (1.0).            175.00     3.50                408

 02/21/2014
        SER    Review of documents and prepare for and
               participate in telephone conference with
               opposing counsel regarding ongoing settlement
               discussions (1.0). Send letter regarding
               non-waiver of privilege of attorney-client
               privilege and work-product protection to
               Defendants' counsel (.30).                            175.00     1.30                409

 02/23/2014
        SER    Draft proposed stipulated motion and order,
               send to counsel of record.                            175.00     0.90                410

 02/24/2014
        SER    Telephone call with counsel for Robert
               Rufenacht regarding request for production of
               documents.                                            175.00     0.20                411

 02/25/2014
        SER    Review email from
                                                                     175.00     0.20                412

 02/26/2014
        SER    Review and respond to correspondence from
               defendant's counsel regarding proposed
               stipulated order.                                     175.00     0.20                415

 02/27/2014
        SER    Review comments to stipulated order, finalize
               and file stipulation and order (.50). Telephone
               call with
                                  (.50). Research regarding

               (1.6).                                                175.00     2.60                416

 03/03/2014
        SER    Review materials from Liz Lynch regarding
                            and email to Liz Lynch with
                                                                     175.00     1.90                428

 03/04/2014
        SER    Review court's order and prepare documents for
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                                                                       Rate    HOURS
               submission to opposing parties regarding
                                  (1.2). Email and telephone
               call with Liz Lynch regarding            (.30).
               Continue preparing schedules and follow up
               phone call to Liz Lynch regarding i       (.40).
               Receive and review emails from Andrew
               Sossberg (.50).                                        175.00     2.40               440

 03/05/2014
        SER    Continued attention to discovery issues and
               respond to defendant's counsel (.40). Review
               documents provided by Larry Zeien's counsel
               (.70).                                                 175.00     1.10               450

 03/06/2014
        SER    Telephone call with
                                               (.40).
                                       (.20). Status conference
               with court (.40). Multiple email exchanges with
               Liz Lynch (.30). Telephone call
                       (.80).                                         175.00     2.10               451

 03/07/2014
        SER    Attention to informal discovery documents and
               exchange emails with Liz Lynch (1.1).
               Telephone call to                      and J.
               Kennedy (.30). Email to defendant's counsel
               providing documents (.30).                             175.00     1.70               452

 03/08/2014
        SER    Email correspondence to
                       (.80). Telephone call with

                                          (1.1).                      175.00     1.90               453

 03/09/2014
        SER    Telephone call with
                                                                      175.00     0.40               454

 03/11/2014
        SER    Telephone call with
                                      emails with J. Knauer and
               J. Kennedy regarding                                   175.00     0.70               459

 03/13/2014
        SER    Prepare for meeting with           and brief
               discussion with J. Kennedy in preparation for
               meeting.                                               175.00     0.20               461
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                                                                        Rate    HOURS
 03/14/2014
        SER    Meeting with
                                                      (1.0).
               Brief follow up discussion with J. Kennedy (.20).       175.00     1.20               462

 03/17/2014
        SER    Receive correspondence from John Massouh
               and respond.                                            175.00     0.30               465

 03/21/2014
        SER    Research regarding
                                               (3.5). Draft
               response letter to Paul Hoffman (1.0). Forward
               to internal counsel for review and comment
               (.10).                                                  175.00     4.60               467

 03/24/2014
        SER    Review email from          and reference
               case; email exchange with Mandy Stafford
               regarding                                               175.00     0.30               468

 04/03/2014
        SER    Review correspondence and email to Kevin
               Toner regarding
                                                                       175.00     0.30               486

 04/04/2014
        SER    Discussion with J. Knauer regarding

                  (.60). Return telephone call to P. Hoffman
               and email to John Massouh (.50). Research
                                                  and email
                                     (2.2).                            175.00     3.30               487

 04/06/2014
        SER    Review correspondence from               and
               draft extensive response regarding
                                                                       175.00     1.00               485

 04/09/2014
        SER    Strategize plan for

                                                                       175.00     1.60               489

 04/10/2014
        SER    Review
               and finalize and send letter to J. Kennedy and
               M. Stafford for review and comment.                     175.00     2.70               490
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                                                                         Rate    HOURS
 04/14/2014
        SER    Review of

               (.60). Draft
                        (.40). Attention to letter to defendants'
               counsel; email to defendants' counsel
               responding to Paul Hoffman and proposing
               vacating the status conference (.50).                    175.00     1.50                 498

 04/15/2014
        SER    Review emails from defendants' counsel
               regarding vacating status conference and draft
               motion to vacate and reset conference.                   175.00     0.40                 497

 04/17/2014
        SER    Receive, review and return

                                                                        175.00     0.40                 499

 04/24/2014
        SER    Finalize and send                    receive
               response email and brief discussion with J.
               Kennedy.                                                 175.00     0.40                 500

 04/30/2014
        SER    Email correspondence with Liz Lynch regarding
                      email with
                                                                        175.00     0.20                 505
               Steven E. Runyan                                                  104.10     18,217.50

 09/18/2013
        JLW    Review emails regarding Patty Turley
               deposition;                                              175.00     0.20                 279

 09/20/2013
        JLW    Review objection to motion to compromise
               Gibson case;                                             175.00     0.30                 280

 09/24/2013
        JLW    Review court order setting hearing on ADM's
               objection to motion for settlement;                      175.00     0.20                 281

 09/27/2013
        JLW    Review emails regarding scheduling deposition
               of P. Turley;                                            175.00     0.60                 282

 09/30/2013
        JLW    Conference with M. Stafford regarding
                                                        (1.0).
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                                                                          Rate   HOURS
               Review M. Koeler pleadings (1.5).                        175.00     2.50               283

 10/01/2013
        JLW    Conference with S. Runyan regarding
                        (1.4). Conference call with S.
               Runyan and L. Lynch regarding

                           (.80). Conference with J. Kennedy
               regarding
                                         (1.2). Review P. Turley
               sworn statement (.40).                                   175.00     3.80               291

 10/02/2013
        JLW    Conference with S. Runyan regarding
                          (.40). Prepare for P. Turley
               deposition (7.8).                                        175.00     8.20               292

 10/03/2013
        JLW    Travel from Indianapolis to Louisville to attend
               P. Turley Deposition (2.0). Meeting with B.
               Royalty regarding documents (1.4). Attend P.
               Turley Deposition (7.1). Travel from Louisville to
               Indianapolis (2.0).                                      175.00    12.50               293

 10/04/2013
        JLW    Review
                       (1.4). Meeting with J. Knauer, J.
               Kennedy and M. Stafford regarding
                                    (2.1).                              175.00     3.50               296

 10/07/2013
        JLW    Research regarding                        (2.3).
               Research                  (1.9).                         175.00     3.20               297

 10/09/2013
        JLW    Review email regarding

                                                                        175.00     0.50               300

 10/14/2013
        JLW    Review P. Turley deposition (1.0). Continue
               research regarding                       (4.7).          175.00     5.70               301

 10/15/2013
        JLW    Continue review T. Turley deposition (1.0).
               Continue review of                       (4.6).          175.00     5.60               302

 10/16/2013
        JLW    Continue review information regarding
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                                                                        Rate   HOURS
                                                                      175.00     2.80               303

 10/18/2013
        JLW    Continue review information regarding
                                                                      175.00     2.00               304

 11/15/2013
        JLW    Review court ruling on motion to dismiss;
               Conference with S. Runyan, J. Kennedy and M.
               Stafford                                               175.00     0.80               310

 11/20/2013
        JLW    Review draft discovery requests to all
               defendants                                             175.00     3.80               312

 11/21/2013
        JLW    Continue review written discovery requests.            175.00     0.80               313

 11/26/2013
        JLW    Review motion for extension of time filed by
               Zeien.                                                 175.00     0.20               322

 11/29/2013
        JLW    Review email from S. Runyan regarding
                                                                      175.00     0.20               323

 12/03/2013
        JLW    Review order granting motion to extend time to
               file adversary documents.                              175.00     0.10               327

 12/09/2013
        JLW    Review                                                 175.00                        346

 12/13/2013
        JLW    Review order setting pre-trial conference              175.00                        356

 12/17/2013
        JLW    Review email regarding
                                                                      175.00     0.10               357

 01/10/2014
        JLW    Review                                                 175.00     0.20               369

 01/28/2014
        JLW    Attend conference call with opposing counsel
               regarding informal discovery - call continued to
               next day.                                              175.00     0.50               384
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                                                                       Rate    HOURS
 01/29/2014
        JLW    Attend conference call with opposing counsel
               regarding informal discovery - call continued to
               next day; Review email and quickly review
               document drop from ADMIS.                              175.00     0.50               385

 02/12/2014
        JLW    Review email and provide
                                   (.40). Review questions for
               Larry Zeien (.30). Review email from S. Runyan
               and ADMIS documents                     .50).
               Draft responses to document responses
               proposal (1.6).                                        175.00     2.80               420

 02/13/2014
        JLW    Review                                  (1.0).
               Review
                           (.80). Attend conference discussion
               with L. Zeien (3.0).                                   175.00     4.80               421

 02/14/2014
        JLW    Review motion referred to by ADMIS; Review
               email from J. Knauer regarding                         175.00     0.40               422

 02/19/2014
        JLW    Review final letter to defendants regarding
               document requests.                                     175.00     0.60               423

 02/20/2014
        JLW    Review email from S. Runyan regarding
                                                                      175.00     0.40               424

 02/21/2014
        JLW    Review email regarding

                        (.30). Research regarding
                                              (2.7).                  175.00     3.00               425

 02/25/2014
        JLW    Review email regarding
                                                                      175.00     0.10               414

 02/27/2014
        JLW    Review email regarding
                                                                      175.00     0.30               426

 03/05/2014
        JLW    Review email regarding
                         Review emails regarding
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                                                                       Rate   HOURS
                                                                     175.00     0.20                 456

 03/06/2014
        JLW    Review update from ADMIS regarding latest
               document requests; Review minute entry order.         175.00     0.40                 457

 03/07/2014
        JLW    Review email from S. Runyan to opposing
               counsel regarding                   Review
               email from P. Hoffmann regarding damages
               question.                                             175.00     0.20                 458

 03/08/2014
        JLW    Review                                                175.00     0.10                 470

 03/11/2014
        JLW    Conference with S. Runyan regarding
                                                                     175.00     0.60                 471

 03/13/2014
        JLW    Review Response filed by P. Hoffman to motion
               by First Bank to modify plan injunction.              175.00     0.30                 472

 03/17/2014
        JLW    Review letter from Rufenacht Commodities              175.00     0.40                 477

 03/21/2014
        JLW    Review email from S. Runyan regarding
                                                                     175.00     0.10                 478

 03/26/2014
        JLW    Review minute entry regarding motion by First
               Bank                                                  175.00     0.10                 479

 04/14/2014
        JLW    Review email from P. Hoffman regarding
               pending litigation issues; Review email from S.
               Runyan to P. Hoffman regarding hearing and
               schedule.                                             175.00     0.20                 502

 04/15/2014
        JLW    Review emails regarding scheduling.                   175.00     0.20                 503
               Jennifer L. Watt                                                74.00     12,950.00

 09/20/2013
        ADS    Review/analyze ADM, Rufenacht & Zeien's
               limited objection to Motion to Compromise with
               Gibson entities.                                      175.00     0.20                 285
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                                                                       Rate    HOURS
 10/01/2013
        ADS    Email from K. Toner regarding
                                  review/analyze witness
               statement.                                             175.00     0.50               298

 10/14/2013
        ADS    Review/analyze Patti Turley's deposition
               transcript.                                            175.00     0.80               299

 11/15/2013
        ADS    Receive, review, and analyze order denying
               defendants' motions to dismiss.                        175.00     0.70               321

 11/22/2013
        ADS    Review/revise discovery requests to each
               defendant.                                             175.00     0.90               324

 12/02/2013
        ADS    Receive and review email from S. Runyan
               regarding                                              175.00     0.10               347

 12/04/2013
        ADS    Telephonic conference with
                                                                      175.00     0.30               348

 12/05/2013
        ADS    Obtain inmate mailing address for defendant
               Steve McDOnald; receive and review email from
                                                                      175.00     0.20               349

 12/06/2013
        ADS    Receive and review Order Granting Agreed
               Motion for Extension of Time to file Answer to
               Complaint filed by defendants; calendar new
               answer deadline.                                       175.00     0.10               350

 12/10/2013
        ADS    Review                       review and revise
                                                    draft email
               to S. Runyan regarding                                 175.00     0.30               351

 12/15/2013
        ADS    Review Notice of Telephonic Status
               Conference; calendar same.                             175.00     0.10               354

 12/18/2013
        ADS    Email from S. Runyan regarding defendant's
               voluntary production of documents. Review
               production.                                            175.00     0.30               335
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                                                                        Rate    HOURS

 12/19/2013
        ADS    Receive and review minute entry/order .                 175.00     0.10               337

       ADS     Prepare for and conduct telephonic status
               conference. Confer with J. Knauer, J. Kennedy,
               and S. Runyan regarding same.                           175.00     0.70               352

       ADS     Receive and review minute/entry order from
               telephonic status conference.                           175.00     0.10               355

 12/23/2013
        ADS    Review email from S. Runyan regarding
                                                                       175.00     0.10               353

 01/07/2014
        ADS    Telephonic conference                                   175.00     0.40               375

 01/14/2014
        ADS    Review/analyze
                        (.40). Telephonic conference with Jay
               Kennedy, Steve Runyan, Jim Knauer, Paul
               Hoffman, Andrew Stosberg and Jhon Masseauh
               (.90).                                                  175.00     1.30               376

       ADS     Review multiple email correspondence from A.
               Stosberg regarding document production.                 175.00     0.20               386

 01/15/2014
        ADS    Substantial review and analysis of request for
               production of documents to defendants and
               revise same (1.4). Draft email to S. Runyan
               with revised letter to defendant's counsel (.20).       175.00     1.60               377

 01/17/2014
        ADS    Conference call with counsel for Zein and
               Rufenacht.                                              175.00     0.60               378

 01/28/2014
        ADS    Email correspondence with S. Runyan; receive
               and review agenda from Paul Hoffman.                    175.00     0.10               380

 01/29/2014
        ADS    Receive and review email from Kristin Goss
               regarding call in information for telephonic
               status conference.                                      175.00     0.10               373

 01/30/2014
        ADS    Attend telephonic pretrial conference.                  175.00     0.40               381
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                                                                        Rate    HOURS

 02/06/2014
        ADS    Telephonic conference with                 (.60).
               Telephonic conference with
                                                        (.60).         175.00     1.20               419

 02/12/2014
        ADS    Review/analyze response to defendant's
               request for document from trustee and trustee's
               proposed production.                                    175.00     0.80               427

 02/13/2014
        ADS    Review/analyze informal production by
               defendants, ADM and Larry Zeien (1.0).
               Prepare for informal questioning of Larry Zeien,
               prepare proposed questions to Zeien

               (2.0). Conduct and participate in telephonic
               conference with Larry Zeien, Andrew Stosberg,
               and John Massouh (1.7).                                 175.00     4.70               430

 02/14/2014
        ADS    Receive and review multiple emails regarding
               First Bank's Motion to Modify Plan Injunction to
               Permit Naming Debtor as a Defendant in
               Complaint to Determine Validity, Extent, and
               Priority of Liens and for Order Directing
               Payment of Commodities Account Proceeds to
               The First Bank and Trust Company for
               Purposes of Asserting Debtor's Interest (.60).
               Review/analyze First Bank's Motion (.40).
               Telephonic conference with D. DeNeal


                                                   receive
               and review email from D. DeNeal regarding

                     (.30).                                            175.00     1.30               431

 02/19/2014
        ADS    Review/revise letter to Defendant's counsel
               regarding trustee's second request for
               documents; email to S. Runyan with revisions.           175.00     0.40               432

 02/20/2014
        ADS    Second review and revisions to request for
               production to Defendants (1.0). Telephonic
               conference with                and S. Runyan
               (.30). Review/analyze
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                                                                         Rate    HOURS

               (.50). Telephonic conference with Liz Lynch at
               DSI regarding
               (1.0).                                                   175.00     2.80               433

 02/21/2014
        ADS    Review letter to defendants regarding
               production of DSI prepared documents and
                                                 Email from S.
               Runyan on results of telephonic conference with
               defendants' counsel. Review

               and review discovery order
                                                                        175.00     0.40               434

 02/23/2014
        ADS    Receive and review email from S. Runyan and
               stipulated motion regarding exchange of
               documents.                                               175.00     0.20               438

 02/27/2014
        ADS    Telephonic conference with Liz Lynch regarding
                                                           (.60).
               Telephone call to
                                                (.30).
               Telephone conference with
                                                       (.40).
               Receive/review filed Joint Motion for Entry of
               Stipulated Agreement Concerning the Exchange
               of Documents and Information (.40). Email
               from S. Runyan and J. Knauer regarding
                                              (.20). Telephonic
               conference with

               draft email to same with
                                          (1.2).                        175.00     3.10               417

       ADS     Telephonic conference with K. Toner regarding
                                                                        175.00     0.10               418

 02/28/2014
        ADS    Email from
                                                                        175.00     0.10               439

 03/03/2014
        ADS    Obtain service address for Steve McDonald,
               review directions for mailing to federal prisoner,
               forward service address to T. Froelich for
               certificate of service of order.                         175.00     0.20               442
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                                                                        ACCOUNT NO:     110035-27
                                                                         INVOICE NO:             3
       re: ADM (Preference)


                                                                        Rate    HOURS

 03/04/2014
        ADS    Email correspondence with S. Runyan and Liz
               Lynch regarding
               confer with S. Runyan regarding


                      Draft email to
                                                                       175.00     0.60               443

 03/05/2014
        ADS    Telephonic conference with D. Deneal regarding

                                                                       175.00     0.20               444

       ADS     Receive/review/analyze trustee's Objection to
               First Bank's motion to modify plan injunction
               (1.2). Draft email to D. DeNeal
               (.20).                                                  175.00     1.40               445

       ADS     Receive/review email from P. Hoffman
               regarding status of response to request for
               documents.                                              175.00     0.10               446

 03/06/2014
        ADS    Review email from S. Runyan regarding

               Review results of telephonic hearing. Review
               correspondence
                                                                       175.00     0.20               447

 03/07/2014
        ADS    Receive/review email from P. Hoffman
               regarding tracing data and status of claims.            175.00     0.10               448

 03/09/2014
        ADS    Email from S. Runyan regarding
                                                                       175.00     0.10               481

 03/13/2014
        ADS    Review/analyze ADM's response to motion for
               authority to modify plan injunction. Attention to
               status of obtaining
                            Email to S. Runyan with
                                                                       175.00     0.30               463

 03/14/2014
        ADS    Confer with J. Kennedy regarding
Case 10-93904-BHL-11            Doc 2591-1       Filed 06/06/14    EOD 06/06/14 15:33:49    Pg 112
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-27
                                                                         INVOICE NO:             3
       re: ADM (Preference)


                                                                        Rate    HOURS
                      (.20). Review/analyze Koller
                            (.30). Draft email to D. DeNeal
               regarding                               (.20).
               Telephonic conference with D. DeNeal
               regarding                      (.20).
               Review/analyze

                       (.10).                                          175.00     1.00               464

 03/17/2014
        ADS    Review/analyze letter from Rufenacht attorney
               regarding request for documents and additional
               production.                                             175.00     0.20               482

 03/24/2014
        ADS    Review/analyze proposed response to Paul
               Hoffman's email dated March 7, 2014 and draft
               letter in response; draft email to S. Runyan
               regarding
                         Email correspondence with S. Runyan
               regarding scheduling of telephonic conference
               regarding                                               175.00     0.50               473

       ADS     Review/analyze reply to objections filed by First
               Bank and Trust regarding motion to modify plan
               injunction and ADMIS funds; review/analyze
               response in opposition to motion for authority
               filed by Monty Koller.                                  175.00     0.20               480

 03/26/2014
        ADS
                                                                       175.00     0.70               474

 03/28/2014
        ADS
                                                                       175.00     1.00               476

 04/03/2014
        ADS    Continue review of
                                                        (.50).
               Analyze
                                          (1.0). Multiple
               email correspondence with counsel at FBD
               regarding                         (.60).                175.00     2.10               483

 04/04/2014
        ADS    Continue working

                                (.60). Multiple email
Case 10-93904-BHL-11          Doc 2591-1      Filed 06/06/14    EOD 06/06/14 15:33:49    Pg 113
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                                                                                       Page: 24
       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-27
                                                                      INVOICE NO:             3
       re: ADM (Preference)


                                                                     Rate    HOURS
               correspondence with S. Runyan
               (.30). Email from S. Runyan regarding
               conference
                      (.20). Review/analyze

               (.40). Review email

                                 .20).



                                      (.40). Draft email to
               Steve Runyan, Jim Knauer, and Jay Kennedy
               regarding       (.20). Email correspondence
               with K. Toner and S. Runyan regarding
                                      (.20).                        175.00     2.50               484

 04/05/2014
        ADS    Email correspondence

                                                                    175.00     0.20               511

 04/06/2014
        ADS    Email correspondence from Steven Runyan and

                                                                    175.00     0.20               488

 04/09/2014
        ADS    Prepare for and participate in meeting with S.
               Runyan and J. Kennedy
                                                                    175.00     1.90               491

       ADS     Email correspondence with
                                                                    175.00     0.10               510

 04/10/2014
        ADS    Conference call with

                                                                    175.00     0.60               492

 04/11/2014
        ADS    Review/analyze and revise
                           and letter to defendant's counsel
               regarding damages.                                   175.00     1.10               493

 04/14/2014
        ADS    Email correspondence regarding continuation of
               April status conference.                             175.00     0.10               509
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14       EOD 06/06/14 15:33:49    Pg 114
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       Eastern Livestock Bankruptcy                                                     June 04, 2014
                                                                           ACCOUNT NO:     110035-27
                                                                            INVOICE NO:             3
       re: ADM (Preference)


                                                                           Rate    HOURS
 04/28/2014
        ADS    Email from
                                                                          175.00     0.10                508
               Amanda D. Stafford                                                   41.00     7,175.00

 12/12/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                                 125.00     0.10                332

 12/16/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                                 125.00     0.10                336

 01/07/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                                 125.00     0.20                364

 01/30/2014
        TJF    Review of documents recently produced by
               ADMIS;
                                                                          125.00     1.10                374

 02/27/2014
        TJF    Filed Agreed Stipulation on exchange of
               documents and materials using Court's ECF
               System.                                                    125.00     0.30                413

 03/03/2014
        TJF    Preparation of Order for service on Defendants.            125.00     0.40                429

 03/05/2014
        TJF    Drafted Certificate of Service; filed Certificate of
               Service using ECF filing system                            125.00     0.40                449

 04/09/2014
        TJF    Began review of documents

                                                                          125.00     2.00                494

 04/10/2014
        TJF    Continued review of documents

                                                                          125.00     1.00                495

 04/14/2014
        TJF    Continued review of documents

                                                                          125.00     2.00                496
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-27
                                                                      INVOICE NO:             3
       re: ADM (Preference)


                                                                      Rate   HOURS
               Tammy J. Froelich                                               7.60         950.00

               FOR CURRENT SERVICES RENDERED                                 246.90      42,827.50

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE                  TOTAL
    Jay P. Kennedy                                     15.60    $175.00               $2,730.00
    Harley K. Means                                     4.60     175.00                  805.00
    Steven E. Runyan                                  104.10     175.00               18,217.50
    Jennifer L. Watt                                   74.00     175.00               12,950.00
    Amanda D. Stafford                                 41.00     175.00                7,175.00
    Tammy J. Froelich                                   7.60     125.00                  950.00




               Reproduction of documents                                                     31.70
               Mailing expense                                                                5.45
               TOTAL EXPENSES THRU 04/30/2014                                                37.15



 11/25/2013    Pacer Service Center docket retrieval                                          2.80    89
 11/25/2013    Pacer Service Center docket retrieval                                          3.00    90
 12/03/2013    Pacer Service Center docket retrieval                                          0.60    93
 12/03/2013    Pacer Service Center docket retrieval                                          1.60    94
 01/07/2014    Pacer Service Center docket retrieval                                          0.10   103
 02/13/2014    Pacer Service Center docket retrieval                                          5.30   108
 02/27/2014    Pacer Service Center docket retrieval                                          3.00   109
 03/04/2014    Pacer Service Center docket retrieval                                          1.60   111
               Pacer Service Center docket retrieval                                         18.00

 02/27/2014    Overnight mail FEDERAL EXPRESS                                                43.43    97
 02/27/2014    Overnight mail FEDERAL EXPRESS                                                50.15    98
 02/27/2014    Overnight mail FEDERAL EXPRESS                                                51.73    99
 02/27/2014    Overnight mail FEDERAL EXPRESS                                                22.58   100
 02/27/2014    Overnight mail FEDERAL EXPRESS                                                24.13   101
 02/27/2014    Overnight mail FEDERAL EXPRESS                                                15.03   102
 03/06/2014    Overnight mail                                                                15.03   106
               Overnight mail                                                               222.08

 12/20/2013    Parking expense Jay P. Kennedy                                                10.00    91
               Parking expense                                                               10.00

 02/13/2014    Conference Call Fees Intercall                                                57.58   107
               Conference Call Fees                                                          57.58
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                                                                 ACCOUNT NO:     110035-27
                                                                  INVOICE NO:             3
       re: ADM (Preference)


               TOTAL ADVANCES THRU 04/30/2014                                         307.66

               TOTAL CURRENT WORK THIS STATEMENT                                    43,172.31

               PREVIOUS BALANCE                                                 $110,328.80



 09/30/2013    Payment--Thank you                                                 -11,495.09    1
 12/31/2013    Payment--Thank you                                                 -59,662.50    2
               TOTAL PAYMENTS                                                     -71,157.59

               BALANCE DUE                                                       $82,343.52

                                 AGE OF OUTSTANDING STATEMENTS
            0-30              31-60        61-90        91-180      181-360          361+
       43,172.31               0.00         0.00     21,171.95         0.00      17,999.26
Case 10-93904-BHL-11           Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49         Pg 117
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       Eastern Livestock Bankruptcy                                                          June 04, 2014
                                                                                ACCOUNT NO:     110035-30
                                                                                 INVOICE NO:             3




       re: Coffey, Jeremy (Preference)
                                                                                            DRAFT STATEMENT

                [ ]Bill & Mail this statement as is/as modified
                [ ]Return to ______ for letter
                [ ]Prepare for sending VIA EMAIL
                [ ]HOLD/Do not send
                [ ]Send only previous balance
                [ ]Close File (only closed if paid in full or balance is written off)
                [ ]Pay this invoice from TRUST
                [ ] Other: ______________________________




 09/03/2013     Pacer Service Center docket retrieval                                                    0.10   6
                Pacer Service Center docket retrieval                                                    0.10

                TOTAL ADVANCES THRU 04/30/2014                                                           0.10

                TOTAL CURRENT WORK THIS STATEMENT                                                        0.10

                PREVIOUS BALANCE                                                                    $4,021.50



 09/30/2013     Payment--Thank you                                                                  -1,009.65   1
 12/31/2013     Payment--Thank you                                                                  -1,217.30   2
                TOTAL PAYMENTS                                                                      -2,226.95

                BALANCE DUE                                                                         $1,794.65

                                 AGE OF OUTSTANDING STATEMENTS
              0-30            31-60        61-90       91-180                           181-360        361+
              0.10             0.00         0.00       429.09                              0.00     1,365.46
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-31
                                                                                INVOICE NO:             3




       re: PBI Bank (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/03/2013
        JPK    Reviewed email from A. Stossberg. Confer with
               J. Knauer regarding                                           175.00      0.40               34

 10/03/2013
        JPK    Reviewed email from K. Goss. Reviewed email
               from M. Stafford on status pleading.                          175.00      0.30               40

 11/25/2013
        JPK    Reviewed email from A. Stosberg. Participate
               in pretrial conference.                                       175.00      0.30               43

 01/22/2014
        JPK    Reviewed email from A. Stosberg. Forward to
               M. Stafford for processing.                                   175.00      0.30               52

 02/05/2014
        JPK    Reviewed email regarding potential settlement.
               Follow up on settlement of PBI bank case.                     175.00      0.40               62

 03/06/2014
        JPK    Follow up with M. Stafford on settlement.                     175.00      0.30               64
               Jay P. Kennedy                                                            2.00      350.00

 10/02/2013
        JLW    Review email from K. Goss regarding status;
               Review related emails resetting pre-trial hearing             175.00      0.20               36

 10/07/2013
        JLW    Review notice of status hearing scheduled by
               the court;                                                    175.00      0.20               37
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14    EOD 06/06/14 15:33:49    Pg 119
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       Eastern Livestock Bankruptcy                                                June 04, 2014
                                                                      ACCOUNT NO:     110035-31
                                                                       INVOICE NO:             3
       re: PBI Bank (Preference)


                                                                      Rate    HOURS
 10/18/2013
        JLW    Review case file and status                           175.00     0.40               39

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                     175.00     0.30               42

 12/02/2013
        JLW    Review minute entry order.                            175.00     0.10               46

 01/13/2014
        JLW    Prepare for and attend status pre-trial
               conference.                                           175.00     0.30               50

 01/16/2014
        JLW    Review minute entry order.                            175.00     0.10               51

 01/22/2014
        JLW    Review email regarding settlement.                    175.00     0.10               53

 02/05/2014
        JLW    Review proposed settlement agreement.                 175.00     0.10               56
               Jennifer L. Watt                                                 1.80      315.00

 09/05/2013
        ADS    Conference with J. Watt on case status.               175.00     0.10               35

 10/03/2013
        ADS    Receive and review emails from A. Stosberg
               and J. Kennedy. Draft/revise request for
               telephonic status conference; assignment to
               legal assistant to file same. Update
                                                                     175.00     0.40               38

 10/20/2013
        ADS    Review Notice of Status Conference, update
                                                                     175.00     0.10               41

 11/22/2013
        ADS    Conference with J. Watt regarding
                                      update
                                                                     175.00     0.20               44

 01/22/2014
        ADS    Receive and review email from A. Stosberg
               regarding settlement; draft email to J. Kennedy
               in response.                                          175.00     0.20               54
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 120
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       Eastern Livestock Bankruptcy                                                 June 04, 2014
                                                                       ACCOUNT NO:     110035-31
                                                                        INVOICE NO:             3
       re: PBI Bank (Preference)


                                                                       Rate    HOURS
 02/04/2014
        ADS    Begin drafting settlement agreement and mutual
               release.                                               175.00     0.30               58

 02/05/2014
        ADS    Finish drafting settlement agreement and
               mutual release; draft email to A. Stosberg with
               settlement agreement for review. Diary for
               follow up.                                             175.00     0.40               57

 02/10/2014
        ADS    Review/analyze                  Update
                                                                      175.00     0.10               59

 02/12/2014
        ADS    Voicemail to, email correspondence with A.
               Stosberg and K. Goss regarding vacating
               hearing due to settlement.                             175.00     0.20               60

 02/21/2014
        ADS    Email from A. Stosberg, review revisions to
               settlement agreement; conduct search for proof
               of claim filed by PBI Bank in response to
               Stosberg's email; draft email to J. Kennedy
               regarding
                                                                      175.00     0.40               61

 03/06/2014
        ADS    Follow up with J. Kennedy regarding
                                                                      175.00     0.10               63

 03/12/2014
        ADS    Draft/revise and file Motion to Compromise,
               objection notice and proposed order; draft email
               to A. Stosberg regarding settlement agrement.
               Calendar objection deadline to Motion to
               Compromise. Draft email to J. Knauer with
               settlement agreement for signature.                    175.00     0.80               65

 03/18/2014
        ADS    Receive signed settlement agreement from
               trustee.                                               175.00     0.10               66

 04/01/2014
        ADS    Attention to status of settlement and receipt of
               signed settlement agreement from trustee.
               Draft letter to defendant's attorney with signed
               settlement agreement.                                  175.00     0.30               67
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49     Pg 121
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       Eastern Livestock Bankruptcy                                                      June 04, 2014
                                                                            ACCOUNT NO:     110035-31
                                                                             INVOICE NO:             3
       re: PBI Bank (Preference)


                                                                            Rate    HOURS
 04/14/2014
        ADS    Receive/review order granting motion to
               compromise. Follow up on receipt of settlement
               agreement from defendant and settlement
               payment status. Diary for follow up on same.                175.00     0.30                 68

 04/28/2014
        ADS    Follow up on settlement agreement and
               payment with defendant's counsel; assignment
               to legal assistant to draft stipulation of dismissal.
               Review stipulation of dismissal and email same
               to defendant's attorney.                                    175.00     0.40                 69
               Amanda D. Stafford                                                     4.40       770.00

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                                  125.00     0.10                 45

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                       125.00     0.10                 47

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                                  125.00     0.20                 48

 01/20/2014
        TJF    Updated file with upcoming telephonic hearings
               and deadlines.                                              125.00     0.10                 49

 02/18/2014
        TJF    Reviewed Minute Entry/Order; updated diary
               docket                                                      125.00     0.10                 55
               Tammy J. Froelich                                                      0.60        75.00

               FOR CURRENT SERVICES RENDERED                                          8.80      1,510.00

                                            RECAPITULATION
    TIMEKEEPER                                         HOURS HOURLY RATE                      TOTAL
    Jay P. Kennedy                                        2.00    $175.00                    $350.00
    Jennifer L. Watt                                      1.80     175.00                     315.00
    Amanda D. Stafford                                    4.40     175.00                     770.00
    Tammy J. Froelich                                     0.60     125.00                      75.00




               Mailing expense                                                                      5.02
               TOTAL EXPENSES THRU 04/30/2014                                                       5.02
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                                                               ACCOUNT NO:     110035-31
                                                                INVOICE NO:             3
       re: PBI Bank (Preference)


               TOTAL CURRENT WORK THIS STATEMENT                                    1,515.02

               PREVIOUS BALANCE                                                    $1,888.51



 09/30/2013    Payment--Thank you                                                    -434.98   1
 12/31/2013    Payment--Thank you                                                    -667.85   2
               TOTAL PAYMENTS                                                      -1,102.83

               BALANCE DUE                                                         $2,300.70

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180        181-360           361+
        1,515.02             0.00         0.00       238.12           0.00          547.56
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-34
                                                                                INVOICE NO:             4




       re: Macon Stockyard (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/21/2013
        JPK    Reviewed discovery from S. Newbern.
               Conference with J. Watt                                       175.00      0.40               93
               Jay P. Kennedy                                                            0.40       70.00

 09/30/2013
        JLW    Review notice to continue                                     175.00      0.20               69

 10/01/2013
        JLW    Attend pre-trial conference; conference call with
               FBD regarding                        Review
               court minute entry regarding pretrial hearing;
               Review withdrawal of motion for scheduling
               extension; Review motion to extend time to file
               scheduling order                                              175.00      0.60               70

 10/04/2013
        JLW    Meeting with J. Knauer, K. Toner, J. Kennedy
               and M. Safford regarding
                                                                             175.00      0.40               73

 10/15/2013
        JLW    Review minute entry order;                                    175.00      0.10               78

 10/30/2013
        JLW    Meeting with M. Stafford regarding

                                                                             175.00      0.20               79

 11/04/2013
        JLW    Review draft case management order;                           175.00      0.40               89
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       Eastern Livestock Bankruptcy                                              June 04, 2014
                                                                    ACCOUNT NO:     110035-34
                                                                     INVOICE NO:             4
       re: Macon Stockyard (Preference)


                                                                    Rate    HOURS
 11/11/2013
        JLW    Review email from S. Newbern regarding issue
               with scheduling order; Review preliminary
               witness and exhibit lists.                          175.00     0.50                90

 11/14/2013
        JLW    Review order setting pre-trial conference;
               Conference with M. Stafford regarding               175.00     0.40                91

 11/18/2013
        JLW    Review order for relief from Order; Review
               written discovery requests.                         175.00     0.50                92

 12/03/2013
        JLW    Review order setting pre-trial conference.          175.00     0.10               100

 12/11/2013
        JLW    Conference with M. Stafford
                                  Review requests to admit         175.00     0.80               103

 12/12/2013
        JLW    Draft answers to request to admit                   175.00     1.30               104

 12/16/2013
        JLW    Draft answers to request to admit                   175.00     0.80               105

 12/27/2013
        JLW    Review documents and draft answers to request
               to admit;                                           175.00     0.70               106

 12/31/2013
        JLW    Continue draft answers to request to admit          175.00     0.70               107

 01/06/2014
        JLW    Review documents and draft answer to requests
               to admit.                                           175.00     0.90               110

 01/07/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                  175.00     0.90               111

 01/08/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                  175.00     0.80               112

 01/09/2014
        JLW    Conference with J. Kennedy and M. Stafford to
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14      EOD 06/06/14 15:33:49    Pg 125
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       Eastern Livestock Bankruptcy                                                 June 04, 2014
                                                                       ACCOUNT NO:     110035-34
                                                                        INVOICE NO:             4
       re: Macon Stockyard (Preference)


                                                                       Rate    HOURS
                                                 (.30).
               Continue review documents and draft answer to
               requests to admit (1.0).                               175.00     1.30               113

 01/10/2014
        JLW    Finalize and prepare answers to request to
               admit for filing (.90). Final review of all
               discovery responses (.30). Draft notice of
               submission of discovery requests and
               responses (.20).                                       175.00     1.40               114

 01/30/2014
        JLW    Conference with M. Stafford regarding
                          Review email to S. Newbern
               regarding discovery deadlines.                         175.00     0.20               123

 02/18/2014
        JLW    Review draft responses to second discovery
               requests.                                              175.00     0.30               129

 03/03/2014
        JLW    Review order on motion to extend time to file
               dispositive motions; Conference with M. Stafford
               regarding
               Review report to court.                                175.00     0.40               130

 03/05/2014
        JLW    Conference with M. Stafford
                                                                      175.00     0.20               139

 03/20/2014
        JLW    Review                                                 175.00     0.10               142

 03/31/2014
        JLW    Review motion for extension of time;
               Conference with M Stafford regarding                   175.00     0.30               144

 04/02/2014
        JLW    Review order granting motion for extension of
               time.                                                  175.00     0.10               152

 04/07/2014
        JLW    Conference with J. Kennedy regarding
                                  Review deposition of Ed
               Edens; Conference with M. Stafford regarding
                                  Review and analyze
                                    Draft amended Count II;
               Review motion for summary judgment.                    175.00     2.20               151
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-34
                                                                         INVOICE NO:             4
       re: Macon Stockyard (Preference)


                                                                        Rate    HOURS
 04/10/2014
        JLW    Review minute entry order;                              175.00     0.10                153

 04/21/2014
        JLW    Review response to amended complaint.                   175.00     0.20                154
               Jennifer L. Watt                                                  17.10     2,992.50

 10/01/2013
        ADS    Attend pre-trial conference; conference call with
               FBD regarding
                                                                       175.00     0.30                 74

 10/04/2013
        ADS    Prepare for and attend meeting with J. Knauer,
               K. Toner, J. Kennedy and J. Watt regarding
                                                                       175.00     0.40                 75

 10/11/2013
        ADS    Begin drafting proposed case management
               order.                                                  175.00     0.40                 76

 10/14/2013
        ADS    Email from Scott Newbern regarding proposed
               case management order; multiple telephone
               conferences with K. Toner and J. Kennedy
               regarding                  review/revise case
               management order. Draft email to Scott
               Newbern with revised case management order.             175.00     0.40                 77

 10/20/2013
        ADS    Review Motion for Scheduling Extension.                 175.00     0.10                 80

       ADS     Review 10/1/13 and 10/15/13 Minute
               Entry/Orders. Update                                    175.00     0.20                 81

 10/21/2013
        ADS    Review case management order.                           175.00     0.10                 82

 10/30/2013
        ADS    Begin drafting preliminary witness and exhibit
               list; confer with J. Watt regarding     email to
               J. Kennedy and J. Watt with draft for comment.
               Assignment to paralegal to draft Appearance.            175.00     0.60                 83

 10/31/2013
        ADS    Finalize case management order; convert to
               PDF and upload to court through CM/ECF.
               Update                        Calendar pretrial
               deadlines.                                              175.00     0.50                 84
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-34
                                                                         INVOICE NO:             4
       re: Macon Stockyard (Preference)


                                                                        Rate    HOURS

       ADS     Review document production by Trustee and
               defendant; revise and finalize Preliminary
               Witness and Exhibit List. Assignment to legal
               assistant to file with court.                           175.00     0.30                85

 11/08/2013
        ADS    Telephonic conference with K. Goss regarding
               trial date and scheduling status conference;
               revise case management order; file CMO with
               court; and draft email to opposing counsel
               regarding same.                                         175.00     0.30                94

 11/12/2013
        ADS    Emails from opposing counsel regarding
               scheduling order; discuss

                                                                       175.00     0.20                95

 11/13/2013
        ADS    Receive and brief review of Defendant's
               Preliminary Witness and Exhibit List.                   175.00     0.10                96

 11/15/2013
        ADS    Voicemail to W. Newbern and telephonic
               conference with same regarding revisions to
               case management order; telephonic conference
               with K. Goss regarding amending and revising
               case management orders; draft motion for relief
               from judgment/order and order granting same;
               assignment to legal assistant to revise, finalize
               and file with court.                                    175.00     0.40                97

 11/22/2013
        ADS    Revise case management order and file same
               with court.                                             175.00     0.10                98

 12/03/2013
        ADS    Receive and review discovery requests from
               defendant.                                              175.00     0.10               101

 12/15/2013
        ADS    Work on responses to discovery requests.                175.00     0.50               102

 01/03/2014
        ADS    Work on Trustee's Response to defendant's
               discovery requests; attention to expert
               disclosure deadline; draft email to J. Kennedy
               and J. Watt regarding
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       Eastern Livestock Bankruptcy                                                    June 04, 2014
                                                                          ACCOUNT NO:     110035-34
                                                                           INVOICE NO:             4
       re: Macon Stockyard (Preference)


                                                                           Rate   HOURS
                                                                         175.00     0.40               116

       ADS     Receive and review second set of discovery
               from defendant; confer with Jay Kennedy
               regarding                                                 175.00     0.10               124

 01/07/2014
        ADS    Office conference with J. Kennedy regarding

                                                  Telephonic
               conference with K. Toner                                  175.00     0.10               117

       ADS     Draft/revise Trustee's Response to Defendant's
               Interrogatories to trustee.                               175.00     0.50               118

 01/08/2014
        ADS    Continue drafting response to discovery
               requests.                                                 175.00     0.50               119

 01/09/2014
        ADS    Office conference with J. Kennedy and J. Watt


                                                                         175.00     0.40               120

 01/10/2014
        ADS    Review/revise responses to discovery requests
               (.60). Draft/review/finalize trustee's requests for
               production and interrogatories (.50). Conduct
               final review of responses and requests (.30).
               Assignment to legal assistant to prepare
               documents for production (.10). Prepare word
               document of Trustee's requests for processing
               to opposing counsel (.10). Conduct final review
               of documents for production (.20). Draft email
               to Scott Newbern with Trustee's Requests for
               Production, Interrogatories, and Requests for
               Admission (.20). Assignment to legal assistant
               to serve same via regular mail (.10). Draft email
               to Scott Newbern with Trustee's responses
               (.20). Draft and file Notice of Submission of
               Discovery Requests and Responses.
               Correspond with Faegre Baker and Daniels
               regarding                        (.30). Draft email
               to Harmony Mappes with discovery requests for
               uploading to Eastern's document repository
               (.30).                                                    175.00     2.90               121
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       Eastern Livestock Bankruptcy                                                June 04, 2014
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                                                                       INVOICE NO:             4
       re: Macon Stockyard (Preference)


                                                                      Rate    HOURS
 01/30/2014
        ADS    Attention to dispositive motion deadline.
               Correspond with legal assistant regarding
               Office conference with Jay Kennedy regarding

                                    draft email to W. Newbern
               regarding same.                                       175.00     0.20               122

 01/31/2014
        ADS    Draft Notice of extension of time to respond to
               defendant's second set of discovery requests
               and file same with court.                             175.00     0.20               115

 02/04/2014
        ADS    Attention to deadline to amend pleadings and
               add additional parties. Review documents to
               analyze
                                                                     175.00     0.10               126

 02/05/2014
        ADS    Receive/review modification of notice of
               extension of time to respond to defendant's
               second set of discovery, calendar new response
               deadline set by court.                                175.00     0.10               135

 02/06/2014
        ADS    Receive/review notice of submission of
               supplemental production of documents.
               Assignment to legal assistant to upload
               documents to server.                                  175.00     0.10               127

 02/10/2014
        ADS    Attention to deadline to respond to second set
               of discovery requests served by defendant;
               calendar deadline to respond. Draft email to J.
               Kennedy and J. Watt
                                                                     175.00     0.10               125

       ADS     Review/analyze                 Update
                                                                     175.00     0.10               128

 02/17/2014
        ADS    Analyze
                                             Telephonic
               conference with


               receive and review
                                                                     175.00     0.30               131
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-34
                                                                         INVOICE NO:             4
       re: Macon Stockyard (Preference)


                                                                        Rate    HOURS

       ADS     Corrrespond with Jay Kennedy regarding

                                                                       175.00     0.10               134

 02/18/2014
        ADS    Review/analyze second set of discovery (.30).
               Confer
                      (.30). Draft/revise/and finalize responses
               to second set of discovery requests (.50). Draft
               email to J. Knauer with response to review and
               signature (.10). Email from J. Knauer with
               approval of same (.10). Prepare pleadings for
               service on defendant's counsel; draft letter and
               email to Newbern with response to second set
               of discovery and serve same (.20).                      175.00     1.50               132

 02/20/2014
        ADS    Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               case; obtain and provide to J. Kennedy Edens
               fax to Liz Lynch regarding
                      confer with J. Kennedy regarding
               questions for Ed Edens.                                 175.00     0.10               133

 02/28/2014
        ADS    Receive and review Agreed Motion to Extend
               Time to File To File Dispositive Motion                 175.00     0.10               136

 03/03/2014
        ADS    Attention to deadline to amend Count II of
               complaint regarding actual fraud; review/analyze
                                         analyze

                                        draft, revise, and file
               Report to Court on Status of Amendment to
               Count III of the Trustee's Complaint                    175.00     0.60               137

       ADS     Review/analyze order granting motion to extend
               time to file dispositive motions.                       175.00     0.10               145

 03/12/2014
        ADS    Attention to deadline for defendant to respond to
               trustee's discovery requests.                           175.00     0.10               140

 03/26/2014
        ADS    Email from Scott Newbern with responses to
               Trustee's discovery requests.                           175.00     0.10               141
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       Eastern Livestock Bankruptcy                                                   June 04, 2014
                                                                         ACCOUNT NO:     110035-34
                                                                          INVOICE NO:             4
       re: Macon Stockyard (Preference)


                                                                         Rate    HOURS
 03/31/2014
        ADS    Receive and Review agreed motion for
               scheduling extension filed by defendant; analyze
                      confer with J. Watt and email to J.
               Kennedy regarding
               voicemail to Newbern regarding same,
               strategize with J. Watt regarding
                                                                        175.00     0.30                143

 04/02/2014
        ADS    Review Order Granting Agreed Motion to
               Extend Time to File Dispositive Motion                   175.00     0.10                155

 04/04/2014
        ADS    Attention to deadline to amend actual fraud
               count. Draft email to J. Watt and J. Kennedy
               regarding                   Review/analyze
                                                                        175.00     0.20                146

 04/07/2014
        ADS    Review/revise Amended complaint for actual
               fraud (1.2). Assignment to legal assistant to file
               same with court (.10).                                   175.00     1.30                147

 04/08/2014
        ADS    Telephonic conference with Kristin Goss
               regarding April 1, 2014 pretrial conferences.            175.00     0.10                148

       ADS     Receipt of summary judgment motion; calendar
               response deadline.                                       175.00     0.10                156

 04/09/2014
        ADS    Review email from K. Goss regarding continued
               pretrial dates and calendar same.                        175.00     0.10                149

 04/10/2014
        ADS    Attention to deadline to respond to summary
               judgment motion; email to J. Kennedy and J.
               Watt
                                                                        175.00     0.10                150
               Amanda D. Stafford                                                 16.10     2,817.50

 10/02/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                                125.00     0.20                 71

 10/17/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                                125.00     0.10                 72
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       re: Macon Stockyard (Preference)


                                                                      Rate    HOURS

 11/11/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                  86

 11/14/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.20                  87

 11/19/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                  88

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                  99

 01/09/2014
        TJF    Updated diary with Case Management Order
               deadlines.                                            125.00     0.20                 108

 01/14/2014
        TJF    Review of Case Management Order; diared
               same.                                                 125.00     0.20                 109

 03/05/2014
        TJF    Received and reviewed Court Order on
               extending time for dispositive motions; diaried
               same.                                                 125.00     0.10                 138
               Tammy J. Froelich                                                1.30        162.50

               FOR CURRENT SERVICES RENDERED                                   34.90      6,042.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                 TOTAL
    Jay P. Kennedy                                       0.40    $175.00                 $70.00
    Jennifer L. Watt                                    17.10     175.00               2,992.50
    Amanda D. Stafford                                  16.10     175.00               2,817.50
    Tammy J. Froelich                                    1.30     125.00                 162.50




               Reproduction of documents                                                      0.80
               TOTAL EXPENSES THRU 04/30/2014                                                 0.80
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       re: Macon Stockyard (Preference)




 12/09/2013    Outside Copying Expense Xcellence, Inc.                                 127.41    7
 12/09/2013    Outside Copying Expense Xcellence, Inc.                                 127.41    8
               Outside Copying Expense                                                 254.82

               TOTAL ADVANCES THRU 04/30/2014                                          254.82

               TOTAL CURRENT WORK THIS STATEMENT                                      6,298.12

               PREVIOUS BALANCE                                                      $5,302.61



 09/30/2013    Payment--Thank you                                                    -1,528.76   2
 12/31/2013    Payment--Thank you                                                      -974.95   3
               TOTAL PAYMENTS                                                        -2,503.71

               BALANCE DUE                                                           $9,097.02

                              AGE OF OUTSTANDING STATEMENTS
            0-30           31-60        61-90       91-180           181-360         361+
        6,298.12            0.00         0.00       344.15              0.00      2,454.75
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
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                                                                                INVOICE NO:             3




       re: Fort Payne Stockyards (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/18/2013
        JPK    Drafting and revision of scheduling order.
               Confer with M. Stafford.                                      175.00      0.50                75

 04/21/2014
        JPK    Meet with J. Watt. Follow up on summary
               judgment response                                             175.00      0.60               121

 04/24/2014
        JPK    Initial review of response to motion for summary
               judgment (.60). Confer with M. Stafford and J.
               Watt (.50).                                                   175.00      1.10               120

 04/25/2014
        JPK    Extensive review and revision of response in
               opposition to motion for summary judgment
               (2.0). Confer with M. Stafford and J. Watt (.40).             175.00      2.40               119
               Jay P. Kennedy                                                            4.60      805.00

 10/18/2013
        JLW    Review                                                        175.00      0.40                63

 10/28/2013
        JLW    Prepare for and attend pre-trial conference                   175.00      0.40                64

 10/29/2013
        JLW    Review minute order entry                                     175.00      0.10                65

 11/14/2013
        JLW    Review email from A. Adams regarding case
               management order.                                             175.00      0.20                73
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                                                                        INVOICE NO:             3
       re: Fort Payne Stockyards (Preference)


                                                                       Rate    HOURS
 11/18/2013
        JLW    Review email from A. Adams regarding
               scheduling orders; Review proposed case
               management orders; Review email from A.
               Adams regarding case management orders.                175.00     0.50                74

 01/16/2014
        JLW    Review Defendant's witness and exhibit list.           175.00     0.30                83

 02/10/2014
        JLW    Telephone conference with A. Adams regarding
               discovery and settlement.                              175.00     0.30                86

 02/11/2014
        JLW    Review discovery requests sent by defendants.          175.00     0.40                87

 02/24/2014
        JLW    Email correspondence with M. Stafford
               regarding                                              175.00     0.10                88

 02/25/2014
        JLW    Review email from A. Adams regarding expert
               witness disclosures.                                   175.00     0.10                89

 02/26/2014
        JLW    Review and draft revisions to discovery
               requests.                                              175.00     0.50                90

 03/03/2014
        JLW    Draft email to A. Adams regarding expert
               disclosure deadlines; review email and draft
               joint motion regarding disclosure deadlines from
               A. Adams; Draft email to A. Adams regarding
               revisions to joint motion; Review email from A.
               Adams with revised joint motion and request for
               agreement; Review the revised motion from A.
               Adams and respond to email with approval of
               revised motion.                                        175.00     0.50                99

 03/06/2014
        JLW    Review order granting motion to extend expert
               witness disclosure deadline.                           175.00     0.10               107

 03/19/2014
        JLW    Review and revise draft responses to
               interrogatories (.70). Review and revise draft
               responses to production requests (.80).                175.00     1.50               112
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       re: Fort Payne Stockyards (Preference)


                                                                       Rate    HOURS
 03/28/2014
        JLW    Review responses to Trustee's interrogatories
               and production requests (.40). Review
               documents produced by A. Adams (.60).
               Review motion for summary judgment (.60).              175.00     1.60               113

 04/10/2014
        JLW    Review motion for summary judgment and
               exhibits in support (.50). Draft email regarding

               (.20). Research regarding
                                                 (.80).               175.00     1.50               123

 04/11/2014
        JLW    Review supplemental discovery disclosure.              175.00     0.50               124

 04/16/2014
        JLW    Review affidavits supporting claims for Ft.
               Payne (1.0). Review related cases pleadings
               for support for response to motion for summary
               judgment (1.8).                                        175.00     2.80               125

 04/17/2014
        JLW    Review supplemental discovery submission
               (1.0). Draft outline to response to Ft. Payne
               motion for summary judgment (2.5). Continue
               review Edens deposition for support for
               summary judgment response (1.4).                       175.00     4.90               126

 04/18/2014
        JLW    Continue draft response to motion for summary
               judgment (2.0). Research regarding
               authenticating documents by the Trustee (1.0).
               Conference with M. Stafford regarding
                                       (.50). Conference with
               J. Kennedy regarding
                         (.70). Review disclosure email to A.
               Adams and draft revisions (.70).                       175.00     4.90               127

 04/21/2014
        JLW    Continue review Edens deposition and
               pleadings for support for response to motion for
               summary judgment (1.2). Draft response to
               motion for summary judgment (3.6).                     175.00     4.80               129

 04/22/2014
        JLW    Continue draft response to motion for summary
               judgment (3.0). Review case law regarding
               clearing contracts and case law regarding title
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       re: Fort Payne Stockyards (Preference)


                                                                        Rate    HOURS
               (2.5). Review T. Gibson 341 examination
               transcript (1.3).                                       175.00     6.80                130

 04/23/2014
        JLW    Continue draft response to motion for summary
               judgment (6.0). Continue review supporting
               documentation and affidavits for support for
               motion for summary judgment (1.4).                      175.00     7.40                131

 04/24/2014
        JLW    Continue draft response to motion for summary
               judgment (4.0). Continue review supporting
               documentation and affidavits for support for
               motion for summary judgment (2.0).
               Conference with M. Stafford
                                                (.40). Review
               email from M. Stafford regarding
                                (.30).                                 175.00     6.70                132

 04/25/2014
        JLW    Continue draft response to motion for summary
               judgment (2.0). Review supporting
               documentation and briefs for support for
               response to motion for summary judgment (1.0).
               Draft edits to response to motion for summary
               judgment (1.0). Review and pull supporting
               documents and exhibits (.50).                           175.00     4.50                128
               Jennifer L. Watt                                                  51.80     9,065.00

 09/05/2013
        ADS    Conference with J. Watt                                 175.00     0.10                 62

 10/21/2013
        ADS    Review file for status.                                 175.00     0.10                 68

       ADS     Meeting with J. Watt regarding
                                                                       175.00     0.20                 69

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.40                 70

 10/30/2013
        ADS    Review pleadings for order on motion to
               dismiss; draft proposed case management
               order; confer with J. Watt and J. Kennedy
               regarding                                               175.00     0.90                 71

       ADS     Assignment to paralegal to draft Notice of
Case 10-93904-BHL-11          Doc 2591-1        Filed 06/06/14       EOD 06/06/14 15:33:49    Pg 138
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                                                                           INVOICE NO:             3
       re: Fort Payne Stockyards (Preference)


                                                                           Rate   HOURS
               Apperance.                                                175.00     0.10               72

 11/04/2013
        ADS    Email from A. Adams; review/analyze proposed
               revisions to case management orders. Draft
               email to J. Kennedy and J. Watt regarding
                                                                         175.00     0.10               76

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                    175.00     0.10               77

 11/14/2013
        ADS    Email from and draft email to A. Adams
               regarding case management orders.                         175.00     0.10               78

 11/18/2013
        ADS    Revise case management order and email
               same to opposing counsel.                                 175.00     0.60               79

       ADS     Upload case management order; email to
               opposing counsel to confirm same. Draft email
               to K. Goss regarding filing of case management
               orders. Update
                                                                         175.00     0.10               80

 01/15/2014
        ADS    Review documents produced by parties in
               preparation for drafting witness and exhibit lists;
               draft witness and exhibit lists and file same with
               court.                                                    175.00     0.60               84

 01/22/2014
        ADS    Receive and review defendant's preliminary
               witness and exhibit list.                                 175.00     0.10               85

 02/05/2014
        ADS    Attention to discovery completion deadline and
               review case management order. Process
               request for original ELC file. Diary for follow up
               on receipt of same.                                       175.00     0.20               91

 02/10/2014
        ADS    Review/analyze                   Update
                                                                         175.00     0.10               97

 02/12/2014
        ADS    Receive/review Notice of Discovery Requests to
               Trustee. Calendar deadline to respond to
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                                                                        ACCOUNT NO:     110035-35
                                                                         INVOICE NO:             3
       re: Fort Payne Stockyards (Preference)


                                                                         Rate   HOURS
               same.                                                   175.00     0.10                98

 02/20/2014
        ADS    Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               case; obtain and provide to J. Kennedy

                       confer with J. Kennedy regarding
                                                                       175.00     0.10               100

 02/24/2014
        ADS    Begin drafting trustee's request for production.        175.00     0.60               101

       ADS     Attention to deadline for Trustee to send out
               discovery requests.                                     175.00     0.10               102

 02/25/2014
        ADS    Draft Trustee's request for production and
               interrogatories.                                        175.00     2.50                92

       ADS     Email correspondence with D. DeNeal regarding
                                                                       175.00     0.20               103

 02/26/2014
        ADS    Review and revise requests for production and
               interrogatories. Assignment to legal assistant to
               prepare same for service.                               175.00     0.80                93

       ADS     Review/revise discovery requests to defendant.
               Draft email to J. Watt with same for review.            175.00     0.30                94

       ADS     Review/revise and finalize trustee's discovery
               requests and prepare for submission and
               service on defendant's counsel. Draft email to
               A. Adams and L. Delcotto with discovery
               requests. Draft and file Notice of Discovery
               Requests in main bankruptcy case and
               adversary proceeding.                                   175.00     0.90                95

 02/28/2014
        ADS    Multiple email correspondence with H. Mappes
               regarding request for Trustee's discovery
               requests served on defendants. Forward
               Trustee's discovery requests to H. Mappes for
               uploading to Trustee's online discovery
               repository.                                             175.00     0.10                96

 03/03/2014
        ADS    Receive/review email correspondence with A.
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       re: Fort Payne Stockyards (Preference)


                                                                        Rate    HOURS
               Adams with proposed Joint Motion to Strike and
               Reset Deadlines regarding expert witness
               disclosures. Review, analyze and revise same.           175.00     0.50               104

       ADS     Review/analyze Joint Motion to Extend Time to
               File Expert Witness Disclosures and to Strike
               and Reset Deadline Regarding Expert
               Witnesses.                                              175.00     0.10               114

 03/04/2014
        ADS    Review/analyze defendant's discovery requests
               to trustee (1.0). Begin drafting trustee's
               response to same (1.0).                                 175.00     2.00               105

 03/06/2014
        ADS    Receive/review Order Granting Joint Motion to
               Extend Time to File Expert Witness Disclosures
               and to Strike and Reset Deadline Regarding
               Expert Witness Disclosures                              175.00     0.10               115

 03/11/2014
        ADS    Attention to status of settlement; confer with J.
               Watt regarding          telephonic conference
               with A. Adams regarding settlement.                     175.00     0.50               108

 03/18/2014
        ADS    Telephonic conference with Amelia Adams and
               J. Watt regarding settlement status (.50).
               Continue working on trustee's response to
               defendant's interrogatories (1.1).                      175.00     1.60               109

 03/19/2014
        ADS    Continue drafting trustee's response to
               defendant's interrogatories (2.0). Review/revise
               same (.60). Review/analyze requests for
               production of documents (.50). Begin drafting
               trustee's response to defendant's requests for
               production (1.0). Review/analyze gather
               documents responsive to defendant's requests
               (.90). Assignment to legal assistant to begin
               processing same for production to opposing
               counsel (.10). Draft email to J. Knauer with
               interrogatory answers for verification (.20).           175.00     5.30               110

 03/20/2014
        ADS    Review/revise and finalize answers to
               interrogatories and requests for production
               (.60). Draft email to opposing counsel with
               responses (.20). Coordinate with legal assistant
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       re: Fort Payne Stockyards (Preference)


                                                                        Rate    HOURS
               to gather documents for requests for production
               (.50).                                                  175.00     1.30                111

 04/10/2014
        ADS    Attention to deadline to respond to summary
               judgment motion; email to J. Kennedy and J.
               Watt
                                                                       175.00     0.10                116

 04/11/2014
        ADS    Review/analyze
                                (.60). Draft supplemental
               response to defendant's interrogatories and
               requests for production (1.4).                          175.00     2.00                117

 04/18/2014
        ADS    Revise and finalize supplemental discovery
               response. Draft email to Amelia Adams with
               same.                                                   175.00     0.60                122

 04/24/2014
        ADS    Review, analyze, and revise memorandum in
               opposition to summary judgment motion (5.0).
               Confer with J. watt regarding
               (.50). Telephonic conference with K. Toner and
               H. Mappes regarding
                        (.60).                                         175.00     6.10                133

 04/25/2014
        ADS    Review/analyze draft response to summary
               judgment motion (3.0). Substantially revise and
               edit same (4.5). gather evidence in support of
               response (1.2). Draft/revise and finalize
               appendix of exhibits (1.3). Prepare same for
               filing with court (.40).                                175.00    10.40                118

 04/28/2014
        ADS    Calendar defendant's deadline to file reply brief
               to response in opposition to summary judgment
               motion.                                                 175.00     0.10                134
               Amanda D. Stafford                                                40.20     7,035.00

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                               125.00     0.10                 66

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                   125.00     0.40                 81
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       re: Fort Payne Stockyards (Preference)


                                                                      Rate    HOURS
 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                   82

 03/06/2014
        TJF    Received and reviewed Court Order on
               extending time for disclosure of expert
               witnesses; diaried same.                              125.00     0.10                  106
               Tammy J. Froelich                                                0.70         87.50

               FOR CURRENT SERVICES RENDERED                                   97.30     16,992.50

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE                   TOTAL
    Jay P. Kennedy                                      4.60    $175.00                 $805.00
    Jennifer L. Watt                                   51.80     175.00                9,065.00
    Amanda D. Stafford                                 40.20     175.00                7,035.00
    Tammy J. Froelich                                   0.70     125.00                   87.50




               Reproduction of documents                                                     28.60
               TOTAL EXPENSES THRU 04/30/2014                                                28.60

               TOTAL CURRENT WORK THIS STATEMENT                                         17,021.10

               PREVIOUS BALANCE                                                          $4,285.36



 09/30/2013    Payment--Thank you                                                           -400.05    1
 12/31/2013    Payment--Thank you                                                         -2,560.40    2
               TOTAL PAYMENTS                                                             -2,960.45

               BALANCE DUE                                                              $18,346.01

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180               181-360           361+
       17,021.10             0.00         0.00       924.17                  0.00          400.74
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       re: Ashville Stockyard (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 04/07/2014
        JPK    Reviewed amended complaint from M. Stafford.                  175.00      0.30               143
               Jay P. Kennedy                                                            0.30       52.50

 09/30/2013
        JLW    Review notice to continue                                     175.00      0.20                56

 10/01/2013
        JLW    Attend pre-trial conference; conference call with
               FBD regarding pre-trial conference; Review
               court minute entry regarding pretrial hearing;
               Review withdrawal of motion for scheduling
               extension; Review motion to extend time to file
               scheduling order                                              175.00      0.60                57

 10/04/2013
        JLW    Meeting with J. Knauer, K. Toner, J. Kennedy
               and M. Safford regarding
                                                                             175.00      0.40                60

 10/15/2013
        JLW    Review minute entry order;                                    175.00      0.10                65

 10/30/2013
        JLW    Meeting with M. Stafford regarding

                                                                             175.00      0.20                66

 11/11/2013
        JLW    Review email from S. Newbern regarding issue
               with scheduling order; Review preliminary
               witness and exhibit lists.                                    175.00      0.50                76
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       re: Ashville Stockyard (Preference)


                                                                    Rate    HOURS
 11/14/2013
        JLW    Review order setting pre-trial conference;
               Conference with M. Stafford regarding               175.00     0.40                77

 11/18/2013
        JLW    Review order for relief from Order; Review
               written discovery requests.                         175.00     0.50                78

 12/03/2013
        JLW    Review order setting pre-trial conference.          175.00     0.10                85

 12/11/2013
        JLW    Conference with M. Stafford
                                  Review requests to admit;        175.00     0.80                90

 12/12/2013
        JLW    Draft answers to request to admit                   175.00     1.30                91

 12/16/2013
        JLW    Draft answers to request to admit                   175.00     0.80                92

 12/27/2013
        JLW    Review documents and draft answers to request
               to admit                                            175.00     0.70                93

 12/31/2013
        JLW    Continue draft answers to request to admit          175.00     0.70                94

 01/06/2014
        JLW    Review documents and draft answer to requests
               to admit.                                           175.00     0.90                97

 01/07/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                  175.00     0.90                98

 01/08/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                  175.00     0.80                99

 01/09/2014
        JLW    Conference with J. Kennedy and M. Stafford to


                                                 (.50).
               Continue review documents and draft answer to
               requests to admit (.80).                            175.00     1.30               100
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       re: Ashville Stockyard (Preference)


                                                                       Rate    HOURS
 01/10/2014
        JLW    Finalize and prepare answers to request to
               admit for filing (.80). Final review of all
               discovery responses (.40). Draft notice of
               submission of discovery requests and
               responses (.20).                                       175.00     1.40                101

 01/30/2014
        JLW    Conference with M. Stafford regarding
                          Review email to S. Newbern
               regarding discovery deadlines.                         175.00     0.20                110

 02/18/2014
        JLW    Review draft responses to second discovery
               requests.                                              175.00     0.30                116

 03/03/2014
        JLW    Review order on motion to extend time to file
               dispositive motions; Conference with M. Stafford
               regarding
               Review report to court.                                175.00     0.40                117

 03/05/2014
        JLW    Conference with M. Stafford regarding
                                                                      175.00     0.20                127

 03/31/2014
        JLW    Review motion for extension of time;
               Conference with M Stafford regarding                   175.00     0.30                131

 04/02/2014
        JLW    Review order granting motion for extension of
               time.                                                  175.00     0.10                141

 04/07/2014
        JLW    Conference with J. Kennedy regarding
                                   Review deposition of Ed
               Edens; Conference with M. Stafford regarding
                                   Review draft amended
               count II; Review revised draft amended Count II;
               Review motion for summary judgment.                    175.00     0.80                140

 04/10/2014
        JLW    Review minute entry order;                             175.00     0.10                142

 04/21/2014
        JLW    Review response to amended complaint.                  175.00     0.20                144
               Jennifer L. Watt                                                 15.20     2,660.00
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                                                                        Rate    HOURS
 10/01/2013
        ADS    Attend pre-trial conference; conference call with
               FBD regarding
                                                                       175.00     0.30               61

 10/04/2013
        ADS    Prepare for and attend meeting with J. Knauer,
               K. Toner, J. Kennedy and J. Watt regarding
                                                                       175.00     0.40               62

 10/11/2013
        ADS    Begin drafting proposed case management
               order.                                                  175.00     0.40               63

 10/14/2013
        ADS    Email from Scott Newbern regarding proposed
               case management order; multiple telephone
               conferences with K. Toner and J. Kennedy
               regarding                  review/revise case
               management order. Draft email to Scott
               Newbern with revised case management order.             175.00     0.40               64

 10/20/2013
        ADS    Review Motion for Scheduling Extension.                 175.00     0.10               67

       ADS     Review 10/1/13 and 10/15/13 Minute
               Entry/Orders. Update                                    175.00     0.20               68

 10/21/2013
        ADS    Review case management order.                           175.00     0.10               69

 10/30/2013
        ADS    Begin drafting preliminary witness and exhibit
               list; confer with J. Watt regarding     email to
               J. Kennedy and J. Watt with draft for comment.
               Assignment to paralegal to draft Appearance.            175.00     0.60               70

 10/31/2013
        ADS    Finalize case management order; convert to
               PDF and upload to court through CM/ECF.
               Update                        Calendar pretrial
               deadlines.                                              175.00     0.50               71

       ADS     Review document production by Trustee and
               defendant; revise and finalize Preliminary
               Witness and Exhibit List. Assignment to legal
               assistant to file with court.                           175.00     0.50               72
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       re: Ashville Stockyard (Preference)


                                                                        Rate    HOURS
 11/08/2013
        ADS    Telephonic conference with K. Goss regarding
               trial date and scheduling status conference;
               revise case management order; file CMO with
               court; and draft email to opposing counsel
               regarding same.                                         175.00     0.30                79

 11/12/2013
        ADS    Emails from opposing counsel regarding
               scheduling order;               with J. Watt,
               and draft proposed response to opposing
               counsel.                                                175.00     0.20                80

 11/13/2013
        ADS    Receive and brief review of Defendant's
               Preliminary Witness and Exhibit List.                   175.00     0.10                81

 11/15/2013
        ADS    Voicemail to W. Newbern and telephonic
               conference with same regarding revisions to
               case management order; telephonic conference
               with K. Goss regarding amending and revising
               case management orders; draft motion for relief
               from judgment/order and order granting same;
               assignment to legal assistant to revise, finalize
               and file with court.                                    175.00     0.40                82

 11/22/2013
        ADS    Revise case management order and file same
               with court.                                             175.00     0.10                83

 12/03/2013
        ADS    Receive and review discovery requests from
               defendant.                                              175.00     0.10                88

 12/15/2013
        ADS    Work on responses to discovery requests.                175.00     0.50                89

 01/03/2014
        ADS    Work on Trustee's Response to defendant's
               discovery requests; attention to expert
               disclosure deadline; draft email to J. Kennedy
               and J. Watt regarding discovery deadline and
               expert disclosure deadline.                             175.00     0.40               103

       ADS     Receive and review second set of discovery
               from defendant; confer with Jay Kennedy
               regarding same.                                         175.00     0.10               111
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                                                                          Rate    HOURS
 01/07/2014
        ADS    Office conference with J. Kennedy regarding

                                                  Telephonic
               conference with K. Toner                                  175.00     0.10               104

       ADS     Draft/revise Trustee's Response to Defendant's
               Interrogatories to trustee.                               175.00     0.50               105

 01/08/2014
        ADS    Review documents produced by both parties
               and analyze transactions (1.5). Continue
               drafting response to interrogatories and request
               for production (2.4).                                     175.00     3.90               106

 01/09/2014
        ADS    Continue drafting, reviewing, and revising
               response to defendant's discovery requests
               (1.5). Draft/revise Trustee's discovery requests
               to defendant (1.0). Lengthy office conference
               with Jay Kennedy and J. Watt

                                                            (1.0).       175.00     3.50               107

 01/10/2014
        ADS    Review/revise responses to discovery requests
               (.30). Draft/review/finalize trustee's requests for
               production and interrogatories (.40). Conduct
               final review of responses and requests (.20).
               Assignment to legal assistant to prepare
               documents for production (.10). Prepare word
               document of Trustee's requests for processing
               to opposing counsel (.10). Conduct final review
               of documents for production (.20). Draft email
               to Scott Newbern with Trustee's Requests for
               Production, Interrogatories, and Requests for
               Admission; assignment to legal assistant to
               serve same via regular mail (.10). Draft email to
               Scott Newbern with Trustee's responses (.20).
               Draft and file Notice of Submission of Discovery
               Requests and Responses (.20). Correspond
               with Faegre Baker and Daniels regarding
               Trustee's repository; draft email to Harmony
               Mappes with discovery requests for uploading to
               Eastern's document repository (.30).                      175.00     2.10               108

 01/30/2014
        ADS    Attention to dispositive motion deadline.
               Correspond with legal assistant regarding same.
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                                                                      Rate    HOURS
               Office conference with Jay Kennedy regarding
               extension of time to respond to second set of
               discovery requests; draft email to W. Newbern
               regarding same.                                       175.00     0.20               109

 01/31/2014
        ADS    Draft Notice of extension of time to respond to
               defendant's second set of discovery requests
               and file same with court.                             175.00     0.20               102

 02/04/2014
        ADS    Attention to deadline to amend pleadings and
               add additional parties. Review documents to
               analyze whether
                                                                     175.00     0.10               113

 02/05/2014
        ADS    Receive/review modification of notice of
               extension of time to respond to defendant's
               second set of discovery, calendar new response
               deadline set by court.                                175.00     0.10               122

       ADS     Receive/review modification of notice of
               extension of time to respond to defendant's
               second set of discovery, calendar new response
               deadline set by court.                                175.00     0.10               123

 02/06/2014
        ADS    Receive/review notice of submission of
               supplemental production of documents.
               Assignment to legal assistant to upload
               documents to server.                                  175.00     0.10               114

 02/10/2014
        ADS    Attention to deadline to respond to second set
               of discovery requests served by defendant;
               calendar deadline to respond. Draft email to J.
               Kennedy and J. Watt to
                                                                     175.00     0.10               112

       ADS     Review/analyze                 Update
                                                                     175.00     0.10               115

 02/17/2014
        ADS    Analyze
                        with Jennifer Watt. Telephonic
               conference with K. Britton regarding
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       re: Ashville Stockyard (Preference)


                                                                        Rate    HOURS
               receive and review
                                                                       175.00     0.30               118

       ADS     Corrrespond with Jay Kennedy regarding

                                                                       175.00     0.10               121

 02/18/2014
        ADS    Review/analyze second set of discovery (.40).
               Confer with FBD
                      (.30). Draft/revise/and finalize responses
               to second set of discovery requests (.30). Draft
               email to J. Knauer with response to review and
               signature (.10). Email from J. Knauer with
               approval of same (.10). Prepare pleadings for
               service on defendant's counsel (.20). Draft
               letter and email to Newbern with response to
               second set of discovery and serve same (.20).           175.00     1.50               119

 02/20/2014
        ADS    Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               case; obtain and provide to J. Kennedy

                      confer with J. Kennedy regarding
                                                                       175.00     0.10               120

 02/28/2014
        ADS    Receive and review Agreed Motion to Extend
               Time to File To File Dispositive Motion                 175.00     0.10               124

 03/03/2014
        ADS    Attention to deadline to amend Count II of
               complaint regarding actual fraud; review/analyze
               case management order; analyze

                                        draft, revise, and file
               Report to Court on Status of Amendment to
               Count III of the Trustee's Complaint.                   175.00     0.60               125

       ADS     Review/analyze order granting motion to extend
               time to file dispositive motions.                       175.00     0.10               132

 03/12/2014
        ADS    Attention to deadline for defendant to respond to
               trustee's discovery requests.                           175.00     0.10               128

 03/26/2014
        ADS    Email from Scott Newbern with responses to
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                                                                           Rate   HOURS
               Trustee's discovery requests.                             175.00     0.10               129

 03/31/2014
        ADS    Receive and Review agreed motion for
               scheduling extension filed by defendant; analyze
               same; confer with J. Watt and email to J.
               Kennedy regarding
               voicemail to Newbern regarding same,
               strategize with J. Watt regarding
                                                                         175.00     0.30               130

 04/02/2014
        ADS    Review Order Granting Agreed Motion to
               Extend Time to File Dispositive Motion                    175.00     0.10               145

 04/04/2014
        ADS    Attention to deadline to amend actual fraud
               count. Draft email to J. Watt and J. Kennedy
               regarding                   Review/analyze
               badges of fraud and drafting of same.                     175.00     0.20               133

 04/06/2014
        ADS    Review and analyze
               (.60). Draft/revise amended count two of
               complaint for actual fraud (2.2). Draft email to
               JPK and JLW with same (.20).                              175.00     3.00               134

 04/07/2014
        ADS    Review/analyze revised amended complaint for
               actual fraud; assignment to legal assistant to file
               same. Strategize with J. Watt and J. Kennedy
               regarding

                                                                         175.00     0.50               135

 04/08/2014
        ADS    Telephonic conference with Kristin Goss
               regarding April 1, 2014 pretrial conferences.             175.00     0.10               136

       ADS     Receipt of summary judgment motion; calendar
               response deadline.                                        175.00     0.10               146

 04/09/2014
        ADS    Review email from K. Goss regarding continued
               pretrial dates and calendar same.                         175.00     0.10               137

 04/10/2014
        ADS    Attention to deadline to respond to summary
               judgment motion; email to J. Kennedy and J.
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       re: Ashville Stockyard (Preference)


                                                                    Rate    HOURS
               Watt to
                                                                   175.00     0.10                138

 04/14/2014
        ADS    Review Minute Entry/Order re: Telephonic
               Status Conference, confirm continued pretrial
               date is calendared.                                 175.00     0.10                139
               Amanda D. Stafford                                            24.40     4,270.00

 10/02/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                           125.00     0.20                 58

 10/17/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                           125.00     0.10                 59

 11/11/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                          125.00     0.10                 73

 11/14/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                          125.00     0.20                 74

 11/19/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                          125.00     0.10                 75

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                          125.00     0.10                 84

 12/15/2013
        TJF    Review and study documents received by
               Eastern Livestock in response to discovery
               requests by S. Newbern.                             125.00     0.60                 86

 12/16/2013
        TJF    Continued review and study of documents
               received by Eastern Livestock in response to
               discovery requests by S. Newbern.                   125.00     0.40                 87

 01/09/2014
        TJF    Updated diary with Case Management Order
               deadlines                                           125.00     0.20                 95

 01/14/2014
        TJF    Review of Case Management Order; diared
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       re: Ashville Stockyard (Preference)


                                                                       Rate   HOURS
               same.                                                 125.00     0.20                   96

 03/05/2014
        TJF    Received and reviewed Court Order on
               extending time for dispositive motions; diaried
               same.                                                 125.00     0.10                  126
               Tammy J. Froelich                                                2.30        287.50

               FOR CURRENT SERVICES RENDERED                                   42.20      7,270.00

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE               TOTAL
    Jay P. Kennedy                                         0.30    $175.00               $52.50
    Jennifer L. Watt                                      15.20     175.00             2,660.00
    Amanda D. Stafford                                    24.40     175.00             4,270.00
    Tammy J. Froelich                                      2.30     125.00               287.50




               Reproduction of documents                                                     13.00
               TOTAL EXPENSES THRU 04/30/2014                                                13.00



 12/09/2013    Outside Copying Expense Xcellence, Inc.                                      164.87     4
               Outside Copying Expense                                                      164.87

               TOTAL ADVANCES THRU 04/30/2014                                               164.87

               TOTAL CURRENT WORK THIS STATEMENT                                          7,447.87

               PREVIOUS BALANCE                                                          $6,364.30



 09/30/2013    Payment--Thank you                                                         -1,951.04    1
 12/31/2013    Payment--Thank you                                                         -1,315.35    2
               TOTAL PAYMENTS                                                             -3,266.39

               BALANCE DUE                                                              $10,545.78

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180               181-360           361+
        7,447.87             0.00         0.00       462.15                  0.00        2,635.76
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       Eastern Livestock Bankruptcy                                                          June 04, 2014
                                                                                ACCOUNT NO:     110035-39
                                                                                 INVOICE NO:             4




       re: Billingsley Auction Sale, Inc. (Preference)
                                                                                        DRAFT STATEMENT

                [ ]Bill & Mail this statement as is/as modified
                [ ]Return to ______ for letter
                [ ]Prepare for sending VIA EMAIL
                [ ]HOLD/Do not send
                [ ]Send only previous balance
                [ ]Close File (only closed if paid in full or balance is written off)
                [ ]Pay this invoice from TRUST
                [ ] Other: ______________________________



                                                                                 Rate   HOURS
 09/06/2013
        JPK     Reviewed and revised proposed case
                management order (.50). Letter to Scott
                Newbern (.30). Reviewed all Newbern
                adversaries (.50).                                            175.00      1.30                79
                Jay P. Kennedy                                                            1.30      227.50

 09/30/2013
        JLW     Review notice to continue                                     175.00      0.20                80

 10/01/2013
        JLW     Attend pre-trial conference; conference call with
                FBD regarding pre-trial conference; Review
                court minute entry regarding pretrial hearing;
                Review withdrawal of motion for scheduling
                extension; Review motion to extend time to file
                scheduling order                                              175.00      0.60                81

 10/04/2013
        JLW     Meeting with J. Knauer, K. Toner, J. Kennedy
                and M. Safford
                                                                              175.00      0.40                84

 10/15/2013
        JLW     Review minute entry order;                                    175.00      0.10                89

 10/30/2013
        JLW     Meeting with M. Stafford regarding Case
                Management Order and Preliminary Witness
                and Exhibit Lists                                             175.00      0.20                90

 11/04/2013
        JLW     Review draft case management order;                           175.00      0.40               102
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                                                                       ACCOUNT NO:     110035-39
                                                                        INVOICE NO:             4
       re: Billingsley Auction Sale, Inc. (Preference)


                                                                       Rate    HOURS

 11/11/2013
        JLW     Review email from S. Newbern regarding issue
                with scheduling order; Review preliminary
                witness and exhibit lists.                            175.00     0.50               103

 11/14/2013
        JLW     Review order setting pre-trial conference;
                Conference with M. Stafford regarding                 175.00     0.40               104

 11/18/2013
        JLW     Review order for relief from Order; Review
                written discovery requests.                           175.00     0.50               105

 12/03/2013
        JLW     Review order setting pre-trial conference.            175.00     0.10               111

 12/11/2013
        JLW     Conference with M. Stafford
                                   Review requests to admit;          175.00     0.80               117

 12/12/2013
        JLW     Draft answers to request to admit                     175.00     1.30               118

 12/16/2013
        JLW     Draft answers to request to admit                     175.00     0.80               119

 12/27/2013
        JLW     Review documents and draft answers to request
                to admit;                                             175.00     0.70               120

 12/31/2013
        JLW     Continue draft answers to request to admit            175.00     0.70               121

 01/06/2014
        JLW     Review documents and draft answer to requests
                to admit.                                             175.00     0.90               124

 01/07/2014
        JLW     Continue review documents and draft answer to
                requests to admit.                                    175.00     0.90               125

 01/08/2014
        JLW     Continue review documents and draft answer to
                requests to admit.                                    175.00     0.80               126

 01/09/2014
        JLW     Conference with J. Kennedy and M. Stafford to
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                                                                        ACCOUNT NO:     110035-39
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       re: Billingsley Auction Sale, Inc. (Preference)


                                                                        Rate    HOURS

                                                  (.40).
                Continue review documents and draft answer to
                requests to admit (.90).                               175.00     1.30               127

 01/10/2014
        JLW     Finalize and prepare answers to request to
                admit for filing (.60). Final review of all
                discovery responses (.40). Draft notice of
                submission of discovery requests and
                responses (.40).                                       175.00     1.40               128

 01/30/2014
        JLW     Conference with M. Stafford regarding
                           Review email to S. Newbern
                regarding discovery deadlines.                         175.00     0.20               137

 02/18/2014
        JLW     Review draft responses to second discovery
                requests.                                              175.00     0.30               143

 03/03/2014
        JLW     Review order on motion to extend time to file
                dispositive motions; Conference with M. Stafford
                regarding
                Review report to court.                                175.00     0.40               144

 03/05/2014
        JLW     Conference with M. Stafford regarding
                                                                       175.00     0.20               153

 03/20/2014
        JLW     Review                                                 175.00     0.10               156

 03/31/2014
        JLW     Review motion for extension of time;
                Conference with M Stafford                             175.00     0.30               158

 04/02/2014
        JLW     Review order granting motion for extension of
                time.                                                  175.00     0.10               167

 04/07/2014
        JLW     Conference with J. Kennedy regarding
                                   Review deposition of Ed
                Edens; Conference with M. Stafford regarding
                                   Review motion for summary
                judgment.                                              175.00     0.80               166
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       re: Billingsley Auction Sale, Inc. (Preference)


                                                                         Rate    HOURS
 04/10/2014
        JLW     Review minute entry order;                              175.00     0.10                168

 04/21/2014
        JLW     Review response to amended complaint.                   175.00     0.20                169
                Jennifer L. Watt                                                  15.70     2,747.50

 10/01/2013
        ADS     Attend pre-trial conference; conference call with
                FBD regarding pre-trial conference and
                scheduling orders.                                      175.00     0.30                 85

 10/04/2013
        ADS     Prepare for and attend meeting with J. Knauer,
                K. Toner, J. Kennedy and J. Watt regarding
                                                                        175.00     0.40                 86

 10/11/2013
        ADS     Begin drafting proposed case management
                order.                                                  175.00     0.40                 87

 10/14/2013
        ADS     Email from Scott Newbern regarding proposed
                case management order; multiple telephone
                conferences with K. Toner and J. Kennedy
                regarding                  review/revise case
                management order. Draft email to Scott
                Newbern with revised case management order.             175.00     0.40                 88

 10/20/2013
        ADS     Review Motion for Scheduling Extension.                 175.00     0.10                 91

       ADS      Review 10/1/13 and 10/15/13 Minute
                Entry/Orders. Update                                    175.00     0.10                 92

 10/21/2013
        ADS     Review case management order.                           175.00     0.10                 93

 10/29/2013
        ADS     Review/revise final case management order.
                Draft email to W.S. Newbern with same. Diary
                for follow up.                                          175.00     0.70                 94

 10/30/2013
        ADS     Begin drafting preliminary witness and exhibit
                list; confer with J. Watt regarding     email to
                J. Kennedy and J. Watt with draft for comment.
                Assignment to paralegal to draft Appearance.            175.00     0.60                 95
Case 10-93904-BHL-11           Doc 2591-1        Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 158
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                                                                          INVOICE NO:             4
       re: Billingsley Auction Sale, Inc. (Preference)


                                                                         Rate    HOURS
 10/31/2013
        ADS     Finalize case management order; convert to
                PDF and upload to court through CM/ECF.
                Update litigation spreadsheet. Calendar pretrial
                deadlines.                                              175.00     0.50                96

       ADS      Review document production by Trustee and
                defendant; revise and finalize Preliminary
                Witness and Exhibit List. Assignment to legal
                assistant to file with court.                           175.00     0.40                97

 11/08/2013
        ADS     Telephonic conference with K. Goss regarding
                trial date and scheduling status conference;
                revise case management order; file CMO with
                court; and draft email to opposing counsel
                regarding same.                                         175.00     0.30               106

 11/13/2013
        ADS     Receive and brief review of Defendant's
                Preliminary Witness and Exhibit List.                   175.00     0.10               107

 11/15/2013
        ADS     Voicemail to W. Newbern and telephonic
                conference with same regarding revisions to
                case management order; telephonic conference
                with K. Goss regarding amending and revising
                case management orders; draft motion for relief
                from judgment/order and order granting same;
                assignment to legal assistant to revise, finalize
                and file with court.                                    175.00     0.40               108

 11/22/2013
        ADS     Revise case management order and file same
                with court.                                             175.00     0.10               109

 12/03/2013
        ADS     Receive and review discovery requests from
                defendant.                                              175.00     0.10               114

 12/15/2013
        ADS     Work on responses to discovery requests.                175.00     0.50               115

 12/31/2013
        ADS     Review complaint, motion to dismiss, response
                to MTD, demand letter (.30). Review
                documents produced by Trustee and Defendant
                to draft discovery responses (.50).
                Review/analyze interrogatories and requests for
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       re: Billingsley Auction Sale, Inc. (Preference)


                                                                           Rate    HOURS
                production (.40). Begin drafting answers to
                interrogatories and RFP (1.5). Review requests
                for admissions and
                       (.30).                                             175.00     3.00               116

 01/03/2014
        ADS     Work on Trustee's Response to defendant's
                discovery requests; attention to expert
                disclosure deadline; draft email to J. Kennedy
                and J. Watt regarding
                                                                          175.00     0.40               130

       ADS      Receive and review second set of discovery
                from defendant; confer with Jay Kennedy
                regarding                                                 175.00     0.10               138

 01/07/2014
        ADS     Office conference with J. Kennedy regarding

                                                   Telephonic
                conference with K. Toner                                  175.00     0.10               131

       ADS      Draft/revise Trustee's Response to Defendant's
                Interrogatories to trustee.                               175.00     0.50               132

 01/08/2014
        ADS     Continue drafting response to discovery
                requests.                                                 175.00     1.30               133

 01/09/2014
        ADS     Review documents produced by both parties
                and analyze transactions (.30). Continue
                drafting response to interrogatories and request
                for production (.50). Lengthy office conference
                with J. Kennedy and J. Watt to

                                                            (.70).        175.00     1.50               134

 01/10/2014
        ADS     Review/revise responses to discovery requests
                (.30). Draft/review/finalize trustee's requests for
                production and interrogatories (.30). Conduct
                final review of responses and requests (.20).
                Assignment to legal assistant to prepare
                documents for production (.10). Prepare word
                document of Trustee's requests for processing
                to opposing counsel (.10). Conduct final review
                of documents for production (.30). Draft email
                to Scott Newbern with Trustee's Requests for
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       re: Billingsley Auction Sale, Inc. (Preference)


                                                                         Rate    HOURS
                Production, Interrogatories, and Requests for
                Admission (.20). Assignment to legal assistant
                to serve same via regular mail (.10). Draft email
                to Scott Newbern with Trustee's responses
                (.10). Draft and file Notice of Submission of
                Discovery Requests and Responses (.20).
                Correspond with Faegre Baker and Daniels
                regarding Trustee's repository; draft email to
                Harmony Mappes with discovery requests for
                uploading to Eastern's document repository
                (.20).                                                  175.00     2.10               135

 01/30/2014
        ADS     Attention to dispositive motion deadline.
                Correspond with legal assistant regarding same.
                Office conference with Jay Kennedy regarding

                                     draft email to W. Newbern
                regarding same.                                         175.00     0.20               136

 01/31/2014
        ADS     Draft Notice of extension of time to respond to
                defendant's second set of discovery requests
                and file same with court.                               175.00     0.20               129

 02/04/2014
        ADS     Attention to deadline to amend pleadings and
                add additional parties. Review documents to
                analyze
                                                                        175.00     0.10               140

 02/05/2014
        ADS     Receive/review modification of notice of
                extension of time to respond to defendant's
                second set of discovery, calendar new response
                deadline set by court.                                  175.00     0.10               149

 02/06/2014
        ADS     Receive/review notice of submission of
                supplemental production of documents.
                Assignment to legal assistant to upload
                documents to server.                                    175.00     0.10               141

 02/10/2014
        ADS     Attention to deadline to respond to second set
                of discovery requests served by defendant;
                calendar deadline to respond. Draft email to J.
                Kennedy and J. Watt
                                                                        175.00     0.10               139
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                                                                         ACCOUNT NO:     110035-39
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       re: Billingsley Auction Sale, Inc. (Preference)


                                                                         Rate    HOURS

       ADS      Review/analyze                  Update
                                                                        175.00     0.10               142

 02/17/2014
        ADS     Analyze
                                               Telephonic
                conference with



                                                                        175.00     0.30               145

       ADS      Corrrespond with Jay Kennedy regarding

                                                                        175.00     0.10               148

 02/18/2014
        ADS     Review/analyze second set of discovery (.30).
                Confer with
                       (.20). Draft/revise/and finalize responses
                to second set of discovery requests (.60). Draft
                email to J. Knauer with response to review and
                signature (.10). Email from J. Knauer with
                approval of same (.10). Prepare pleadings for
                service on defendant's counsel (.20). Draft
                letter and email to Newbern with response to
                second set of discovery and serve same (.20).           175.00     1.50               146

 02/20/2014
        ADS     Prepare for continued deposition of Ed Edens;
                gather additional documentation for Edens
                case; obtain and provide to J. Kennedy


                                                                        175.00     0.10               147

 02/28/2014
        ADS     Receive and review Agreed Motion to Extend
                Time to File To File Dispositive Motion                 175.00     0.10               150

 03/03/2014
        ADS     Attention to deadline to amend Count II of
                complaint regarding actual fraud; review/analyze
                case management order; analyze with J. Watt

                                              revise, and file
                Report to Court on Status of Amendment to
                Count III of the Trustee's Complaint                    175.00     0.60               151
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       re: Billingsley Auction Sale, Inc. (Preference)


                                                                         Rate    HOURS

       ADS      Review/analyze order granting motion to extend
                time to file dispositive motions.                       175.00     0.10               159

 03/12/2014
        ADS     Attention to deadline for defendant to respond to
                trustee's discovery requests.                           175.00     0.10               154

 03/26/2014
        ADS     Email from Scott Newbern with responses to
                Trustee's discovery requests.                           175.00     0.10               155

 03/31/2014
        ADS     Receive and Review agreed motion for
                scheduling extension filed by defendant; analyze
                same; confer with J. Watt and email to J.
                Kennedy regarding
                voicemail to Newbern regarding same,
                strategize with J. Watt regarding response to
                motion and consent issue.                               175.00     0.30               157

 04/02/2014
        ADS     Review Order Granting Agreed Motion to
                Extend Time to File Dispositive Motion                  175.00     0.10               170

 04/04/2014
        ADS     Attention to deadline to amend actual fraud
                count. Draft email to J. Watt and J. Kennedy
                regarding amending          Review/analyze
                badges of fraud and drafting of same.                   175.00     0.20               160

 04/07/2014
        ADS     Review/analyze defendant's discovery
                responses and transactional documents (1.0).
                Draft/revise/finalize amended complaint for
                actual fraud and file same with court (1.0).            175.00     2.00               161

 04/08/2014
        ADS     Telephonic conference with Kristin Goss
                regarding April 1, 2014 pretrial conferences.           175.00     0.10               162

       ADS      Receipt of summary judgment motion; calendar
                response deadline.                                      175.00     0.10               171

 04/09/2014
        ADS     Review email from K. Goss regarding continued
                pretrial dates and calendar same.                       175.00     0.10               163
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                                                                       ACCOUNT NO:     110035-39
                                                                        INVOICE NO:             4
       re: Billingsley Auction Sale, Inc. (Preference)


                                                                       Rate    HOURS
 04/10/2014
        ADS     Attention to deadline to respond to summary
                judgment motion; email to J. Kennedy and J.
                Watt to
                                                                      175.00     0.10                164

 04/14/2014
        ADS     Review Minute Entry/Order re: Telephonic
                Status Conference, confirm continued pretrial
                date is calendared.                                   175.00     0.10                165
                Amanda D. Stafford                                              21.50     3,762.50

 10/02/2013
        TJF     Received reviewed and uploaded recently filed
                pleadings                                             125.00     0.20                 82

 10/17/2013
        TJF     Received reviewed and uploaded recently filed
                pleadings                                             125.00     0.10                 83

 11/11/2013
        TJF     Received reviewed and uploaded recently filed
                pleadings.                                            125.00     0.10                 98

 11/14/2013
        TJF     Received reviewed and uploaded recently filed
                pleadings.                                            125.00     0.20                 99

 11/19/2013
        TJF     Received reviewed and uploaded recently filed
                pleadings.                                            125.00     0.10                101

 12/03/2013
        TJF     Received reviewed and uploaded recently filed
                pleadings.                                            125.00     0.10                110

 12/15/2013
        TJF     Review and study documents received by
                Eastern Livestock in response to discovery
                requests by S. Newbern.                               125.00     0.50                112

 12/16/2013
        TJF     Continued review and study of documents
                received by Eastern Livestock in response to
                discovery requests by S. Newbern.                     125.00     0.30                113

 01/09/2014
        TJF     Updated diary with Case Management Order
                deadlines                                             125.00     0.20                122
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                                                                       ACCOUNT NO:     110035-39
                                                                        INVOICE NO:             4
       re: Billingsley Auction Sale, Inc. (Preference)


                                                                       Rate    HOURS

 01/14/2014
        TJF     Review of Case Management Order; diared
                same.                                                 125.00     0.20                  123

 03/05/2014
        TJF     Received and reviewed Court Order on
                extending time for dispositive motions; diaried
                same.                                                 125.00     0.10                  152
                Tammy J. Froelich                                                2.10        262.50

                FOR CURRENT SERVICES RENDERED                                   40.60      7,000.00

                                            RECAPITULATION
    TIMEKEEPER                                         HOURS HOURLY RATE                  TOTAL
    Jay P. Kennedy                                        1.30    $175.00                $227.50
    Jennifer L. Watt                                     15.70     175.00               2,747.50
    Amanda D. Stafford                                   21.50     175.00               3,762.50
    Tammy J. Froelich                                     2.10     125.00                 262.50




                Reproduction of documents                                                      1.90
                TOTAL EXPENSES THRU 04/30/2014                                                 1.90



 12/09/2013     Outside Copying Expense Xcellence, Inc.                                      165.13     7
                Outside Copying Expense                                                      165.13

                TOTAL ADVANCES THRU 04/30/2014                                               165.13

                TOTAL CURRENT WORK THIS STATEMENT                                          7,167.03

                PREVIOUS BALANCE                                                          $6,875.74



 09/30/2013     Payment--Thank you                                                         -1,466.85    2
 12/31/2013     Payment--Thank you                                                         -1,959.15    3
                TOTAL PAYMENTS                                                             -3,426.00

                BALANCE DUE                                                              $10,616.77
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                                                                      INVOICE NO:             4
      re: Billingsley Auction Sale, Inc. (Preference)


                                AGE OF OUTSTANDING STATEMENTS
           0-30              31-60        61-90       91-180             181-360         361+
       7,167.03               0.00         0.00       689.95                0.00      2,759.79
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                                                                               ACCOUNT NO:     110035-44
                                                                                INVOICE NO:             4




       re: B&B Land and Livestock (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/09/2013
        JPK    Continued drafting motion for authority to
               compromise. Email with M. Stafford.                           175.00      0.50               123

 09/18/2013
        JPK    Email with A. Adams regarding B&B check.
               Reviewed email. Determine issues regarding
               cashing check.                                                175.00      0.40               122

 10/23/2013
        JPK    Reviewed email from A. Adams. Follow up on
               B&B dismissal.                                                175.00      0.20               130

 10/24/2013
        JPK    Reviewed email from A. Adams. Email to M.
               Stafford on dismissal.                                        175.00      0.20               129

 10/29/2013
        JPK    Reviewed motion to dismiss. Confer with M.
               Stafford.                                                     175.00      0.20               128

 10/30/2013
        JPK    Follow up on dismissal pleadings. Reviewed
               dismissal order.                                              175.00      0.10               131

 11/05/2013
        JPK    Drafting and revision of settlement agreement.
               Call with J. Knauer. Follow up
               issue.                                                        175.00      0.80               136
               Jay P. Kennedy                                                            2.40      420.00

 10/01/2013
        JLW    Review order granting motion to compromise;                   175.00      0.10               126
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       Eastern Livestock Bankruptcy                                                     June 04, 2014
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                                                                            INVOICE NO:             4
       re: B&B Land and Livestock (Preference)


                                                                           Rate    HOURS
               Jennifer L. Watt                                                      0.10        17.50

 09/06/2013
        ADS    Review Motion to Compromise; draft Notice of
               same.                                                      175.00     0.80                 124

 09/09/2013
        ADS    Revise Motion to Compromise and Notice (1.0).
               Draft proposed order (.30). Assignment to legal
               assistant to file (.20).                                   175.00     1.50                 125

 10/20/2013
        ADS    Review Order Approving Motion to
               Compromise. Update                                         175.00     0.10                 132

 10/28/2013
        ADS    Receive and review emails from A. Adams and
               Mark Robinson. Revise stipulation of dismissal.            175.00     0.30                 133

 10/29/2013
        ADS    Review and finalize Stipulation of Dismissal, file
               stipulation with court. Draft email to counsel for
               defendants to confirm filing of dismisal. Update
                                                                          175.00     0.40                 134

 11/20/2013
        ADS    Email from D. DeNeal regarding instruction for
               filing of late-filed proof of claim; review bar date
               order; raft email to A. Adams regarding process
               for filing of proof of claim. Draft email to D
               DeNeal and claims agent regarding B&B's filing
               of proof of claim.                                         175.00     0.60                 135
               Amanda D. Stafford                                                    3.70       647.50

               FOR CURRENT SERVICES RENDERED                                         6.20      1,085.00

                                            RECAPITULATION
    TIMEKEEPER                                         HOURS HOURLY RATE                     TOTAL
    Jay P. Kennedy                                        2.40    $175.00                   $420.00
    Jennifer L. Watt                                      0.10     175.00                     17.50
    Amanda D. Stafford                                    3.70     175.00                    647.50




               Reproduction of documents                                                           0.60
               TOTAL EXPENSES THRU 04/30/2014                                                      0.60
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                                                                   INVOICE NO:             4
       re: B&B Land and Livestock (Preference)


               TOTAL CURRENT WORK THIS STATEMENT                                      1,085.60

               PREVIOUS BALANCE                                                   $20,520.37



 09/30/2013    Payment--Thank you                                                     -5,622.93   2
 12/31/2013    Payment--Thank you                                                     -4,408.55   3
               TOTAL PAYMENTS                                                      -10,031.48

               BALANCE DUE                                                        $11,574.49

                              AGE OF OUTSTANDING STATEMENTS
            0-30           31-60        61-90        91-180           181-360         361+
        1,085.60            0.00         0.00      1,592.73              0.00      8,896.16
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                                                                                INVOICE NO:             4




       re: Northwest Alabama Livestock Auction (Prefrnce)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/20/2013
        ADS    Respond to email from trustee regarding
               settlement check.                                             175.00      0.20                70
               Amanda D. Stafford                                                        0.20       35.00

               FOR CURRENT SERVICES RENDERED                                             0.20       35.00

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE                       TOTAL
    Amanda D. Stafford                                     0.20    $175.00                      $35.00




               Reproduction of documents                                                              0.10
               TOTAL EXPENSES THRU 04/30/2014                                                         0.10

               TOTAL CURRENT WORK THIS STATEMENT                                                    35.10

               PREVIOUS BALANCE                                                                  $4,788.43



 09/30/2013    Payment--Thank you                                                                  -963.61   2
 12/31/2013    Payment--Thank you                                                                -1,343.10   3
               TOTAL PAYMENTS                                                                    -2,306.71

               BALANCE DUE                                                                       $2,516.82
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                                                                 ACCOUNT NO:     110035-46
                                                                  INVOICE NO:             4
      re: Northwest Alabama Livestock Auction (Prefrnce)


                              AGE OF OUTSTANDING STATEMENTS
           0-30            31-60        61-90       91-180           181-360         361+
          35.10             0.00         0.00       510.22              0.00      1,971.50
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                                                                                INVOICE NO:             4




       re: Attorney for Trustee (Special Counsel)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/04/2013
        JPK    Reviewed email from J. Graham in preparation
               of mediation sessions (.60). Review
               substantially contemporaneous cases (.60).                    175.00      1.20               773

 09/05/2013
        JPK    Reviewed email from T. Hall
                         Email with M. Stafford.                             175.00      0.30               772

 09/06/2013
        JPK    Review of all outstanding preference and note
               cases (.50). Meet with M. Stafford (.60).
               Update case information (.30). Update case
               management order (.40).                                       175.00      1.80               771

 09/09/2013
        JPK    Follow up with T. Hall regarding fee order
               information (.30). Meet with J. Knauer (.20).
               Continued review and preparation for mediation
               sessions (.80).                                               175.00      1.30               770

 09/11/2013
        JPK    Reviewed second fee application order. Confer
               with J. Knauer over entry.                                    175.00      0.80               769

 09/16/2013
        JPK    Emails with D. O'Neal and W. Pontenator
               regarding                     Email to P.
               Kunkel.                                                       175.00      0.30               763

 09/18/2013
        JPK    Reviewed email from H. Mappes regarding P.
               Turley deposition. Confer with S. Runyan.                     175.00      0.30               762
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                                                                           INVOICE NO:             4
       re: Attorney for Trustee (Special Counsel)


                                                                          Rate    HOURS

 09/24/2013
        JPK    Reviewed email                       from T. Hall.
               Revised                                  forward to
               T. Hall.                                                  175.00     0.40               792

 09/25/2013
        JPK    Prepare for pretrial conferences (.50). Meet
               with J. Knauer and T. Hall
                                                        (1.0).           175.00     1.50               790

       JPK     Reviewed email from S. Newbern. Reviewed
               memo re: scheduling.                                      175.00     0.30               791

 09/30/2013
        JPK    Prepare for pretrial hearings regarding S.
               Newbern cases. Review proposed dates in
               case management order.                                    175.00     0.60               788

       JPK     Reviewed email from K. Toner. Reviewed draft
               Koller response. Confer with S. Runyan.                   175.00     0.30               789

 10/01/2013
        JPK    Participate in status conferences including E.
               Elder (1.2). Emails with K. Goss (.30).                   175.00     1.50               836

       JPK     Reviewed email from K. Toner. Reviewed P.
               Turley's original statement. Met with J. Watt.            175.00     0.40               837

 10/03/2013
        JPK    Reviewed information regarding P. Turley
               deposition in Louisville. Prepare for meeting
               with K. Toner.                                            175.00     0.30               835

 10/04/2013
        JPK    Meeting with K. Toner, J. Knauer, M. Stafford
               and J. Watt regarding

                                                                         175.00     2.40               833

 10/07/2013
        JPK    Prepare for and participate in omnibus hearing
               (.50). Confer with J. Knauer (.10). Confer with
               M. Stafford regarding        (.20). Call with K.
               Toner (.30).                                              175.00     1.10               820

 10/09/2013
        JPK    Coordinate case management orders with M.
               Stafford. Email with S. Newbern. Email with K.
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       re: Attorney for Trustee (Special Counsel)


                                                                         Rate   HOURS
               Toner.                                                  175.00     0.40               819

 10/11/2013
        JPK    Call with K. Toner. Email with K. Toner. Email
               with S. Newbern.                                        175.00     0.60               818

 10/14/2013
        JPK    Prepare for call with S. Newbern to discuss trial
               dates (.30). Participate in conference call with
               S. Newbern (.80).                                       175.00     1.10               817

 10/15/2013
        JPK    Participate in pretrial conferences.                    175.00     1.00               815

 10/16/2013
        JPK    Reviewed mediation billings from P. Kunkel.
               Email with J. Knauer regarding handling of
               payment of mediation statements.                        175.00     0.30               814

 10/17/2013
        JPK    Preparation for upcoming status conference
               hearings (1.0). Meet with M. Stafford (.20).
               Reviewed mediation schedule (.20).                      175.00     1.40               813

 10/21/2013
        JPK    Meet with J. Watt and M. Stafford regarding
                                            Confer regarding
                                                                       175.00     1.50               811

       JPK     Emails with D. O'Neil and P. Kunkel regarding
               November mediations. Reviewed outstanding
               cases for potential mediation designations.
               Reviewed Newbern case management order.                 175.00     0.40               812

 10/28/2013
        JPK    Reviewed message regarding Gary Tate
               judgment. Refer to M. Stafford.                         175.00     0.20               809

       JPK     Reviewed email from D. O'Neil. Reviewed
               potential mediations for November.                      175.00     0.20               810

 10/29/2013
        JPK    Confer with D. O'Neil concerning potential
               mediation dates. Met with J. Knauer on
                                                                       175.00     0.50               808

 10/30/2013
        JPK    Reviewed draft case management orders.
               Reviewed modifications with M. Stafford with
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       re: Attorney for Trustee (Special Counsel)


                                                                      Rate    HOURS
               regard to second wave of trials. Consider trial
               dates in July, 2014.                                  175.00     0.50               816

 11/12/2013
        JPK    Reviewed preliminary witness list filed by S.
               Newbern. Confer with M. Stafford.                     175.00     0.40               865

 11/15/2013
        JPK    Prepare for and participate in series of
               telephone conferences regarding S. Newbern
               cases (1.2). Confer with M. Stafford (.50).
               Revise case management order (.20).
               Reviewed issues regarding
               (.20).                                                175.00     2.10               864

 11/18/2013
        JPK    Telephone conference with J. Knauer and M.
               Stafford on draft scheduling order regarding
               Newbern cases. Revise scheduling order.               175.00     0.90               863

 11/19/2013
        JPK    Reviewed email from K. Goss regarding case
               management orders (.20). Reviewed emails
               from S. Newbern on case management orders
               (.20). Confer with M. Stafford (.80).                 175.00     1.20               862

 11/20/2013
        JPK    Prepare for upcoming pretrial conferences. Met
               with M. Stafford regarding filing of proof of
               claims on settlement cases. Reviewed K. Toner
                                                                     175.00     0.80               861

 11/22/2013
        JPK    Meet with J. Watt to prepare for upcoming
               pretrial conferences. Reviewed
                                         Reviewed status on
               fee orders.                                           175.00     0.80               860

 11/26/2013
        JPK    Call with J. Knauer regarding any issues
               regarding
               Review case status reports.                           175.00     0.30               859

 11/27/2013
        JPK    Reviewed general settlement language and
               settlement agreement with regard to recent
               cases. Call with J. Knauer. Check on
               mediation dates.                                      175.00     0.60               858
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       re: Attorney for Trustee (Special Counsel)


                                                                        Rate    HOURS
 12/17/2013
        JPK    Reviewed email from M. Stafford on K.
               Christenson. Reviewed email from J. Knauer.
               Confirmed details of E. Edens deposition.               175.00     0.30               887

 12/19/2013
        JPK    Prepare for deposition of E. Edens. Meet with
               M. Stafford.                                            175.00     0.80               886

 12/20/2013
        JPK    Travel to Cincinnati (2.5). Attended morning
               deposition session of Ed Edens (3.0). Attended
               afternoon deposition session of Ed Edens (3.4).
               Returned to Indianapolis (2.5).                         175.00    11.40               885

 01/09/2014
        JPK    Met with A. Stafford and J. Watt
                                                     (1.0).
               Prepared for upcoming status conferences
               (.50).                                                  175.00     1.50               922

 01/13/2014
        JPK    Participate in series of pre-trials (.80). Confer
               with M. Stafford and J. Watt regarding
                            (.60).                                     175.00     1.40               921

 01/27/2014
        JPK    Preparation for upcoming status conference
               hearings. Met with J. Watt and A. Stafford.             175.00     0.40               907

 01/28/2014
        JPK    Confer with J. Watt and M. Stafford regarding
                                               Review
               potential                                               175.00     0.30               906

 02/03/2014
        JPK    Follow up on settlements. Meet with M.
               Stafford. Prepare for status conferences.               175.00     0.40               942

 02/11/2014
        JPK    Call with K. Toner. Reviewed notes from
                                                                       175.00     0.50               926

       JPK     Prepare for pretrial hearings. Met with M.
               Stafford.                                               175.00     0.30               927

 02/20/2014
        JPK    Preparation for E. Edens deposition. Assemble
               trial notebooks.                                        175.00     1.00               941
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       re: Attorney for Trustee (Special Counsel)


                                                                       Rate    HOURS

 02/21/2014
        JPK    Travel to and from Cincinnati (5.0). Attended
               deposition of E. Edens (4.0). Met with counsel
               regarding                       (1.0).                 175.00    10.00                 929

 02/25/2014
        JPK    Follow up on Scott Newbern cases.                      175.00     0.40                 928

 02/28/2014
        JPK    Reviewed discovery information and status of
               settlements. Reviewed new complaints
               regarding apartment complexes.                         175.00     0.80                 940

 03/06/2014
        JPK    Reviewed                               (.20).
               Confer with M. Stafford regarding
                            (1.0). Follow up on outstanding
               settlements (.30).                                     175.00     1.50                 947

 03/17/2014
        JPK    Reviewed discovery responses from Ed Edens's
               counsel. Reviewed status with M. Stafford.             175.00     0.40                 948

 03/26/2014
        JPK    Participated in telephone conference on First
               Bank motion to modify plan injunction.                 175.00     0.50                 949

 04/07/2014
        JPK    Review and status of cases for T. Hall (.70).
               Reviewed                                 (.50).        175.00     1.20                 962

 04/27/2014
        JPK    Prepare for pretrial conferences on April 28.          175.00     0.30                 959

 04/28/2014
        JPK    Participate in series of pretrials.                    175.00     0.40                 958
               Jay P. Kennedy                                                   63.80     11,165.00

 10/02/2013
        SER    Review discovery responses to Monte
               C_________ and telephone call with FBD
               counsel regarding                                      175.00     0.60                 793

 11/04/2013
        SER    Review                      forwarded by J.
               Knauer.                                                175.00     0.30                 846
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       re: Attorney for Trustee (Special Counsel)


                                                                        Rate    HOURS
 11/05/2013
        SER    Attention to email from FBD counsel requesting
               information regarding                                   175.00     0.60               847

 01/15/2014
        SER    Telephone conference with
                                                                       175.00     0.50               903
               Steven E. Runyan                                                   2.00      350.00

 09/05/2013
        JLW    .Conference with M. Stafford to
                                          (.60). Conference
               with T. Froelich regarding
                                  (.60).                               175.00     1.20               645

 09/13/2013
        JLW    Review email from J. Kennedy regarding
                                                                       175.00     0.20               774

 09/24/2013
        JLW    Conference with M. Stafford regarding
                                                                       175.00     0.50               775

 10/21/2013
        JLW    Prepare for and attend meeting with J. Kennedy
               and M. Stafford regarding
                                             (2.0). Follow up
               on action assigned at meeting (.30).                    175.00     2.30               827

 10/28/2013
        JLW    Meeting with M. Stafford regarding
                                                                       175.00     0.40               828

 11/04/2013
        JLW    Review email and attachment from J. Knauer
               regarding                                               175.00     0.50               853

 11/05/2013
        JLW    Review email from J. Knauer regarding
               scheduled mediations; Review email from D.
               DeNeal regarding scheduled mediations.                  175.00     0.20               854

 11/13/2013
        JLW    Review objection to application for fees filed by
               Fifth Third Bank; Review objection to application
               for fees filed by Scott Newbern's clients.              175.00     0.50               855

 11/15/2013
        JLW    Review proposed Agenda for Omnibus hearing;             175.00     0.30               856
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       re: Attorney for Trustee (Special Counsel)


                                                                        Rate    HOURS

 11/18/2013
        JLW    Review minute entry order regarding Omnibus
               hearing.                                                175.00     0.10                857

 12/03/2013
        JLW    Conference with M. Stafford and T. Froelich
               regarding                                               175.00     0.50                879

 01/03/2014
        JLW    Draft email to M. Stafford regarding
               Review response email from M. Stafford
               regarding                                               175.00     0.40                905

 02/10/2014
        JLW    Conference with M. Stafford regarding
                                  Review email from M.
               Stafford regarding
                                                                       175.00     0.30                930

 03/05/2014
        JLW    Review Trustee's objection to First Bank's
               motion to modify plan injunction;                       175.00     0.40                946
               Jennifer L. Watt                                                   7.80     1,365.00

 09/03/2013
        ADS    Confirm with court that September 4, 2013
               hearing was vacated.                                    175.00     0.10                776

       ADS     Work on
                                                                       175.00     1.00                785

 09/05/2013
        ADS    Draft form for Motion to Set Status Conference
               (.30). Assignment to legal assistant to draft for
               each Newbern case and file with court (.20).
               Discuss
                                                  (.40).
               Receive and review email from T. Hall (.20).
               Review new                                for ELC
               adversary proceedings (.70).                            175.00     1.80                777

 09/06/2013
        ADS    Email correspondence with Kayla Britton
               regarding
                                                                       175.00     0.10                778

 09/10/2013
        ADS    Obtain and review discovery responses from
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       re: Attorney for Trustee (Special Counsel)


                                                                         Rate    HOURS
               online repository to draft written discovery for
               preference actions; discuss judgment collection,
               hiring of local counsel, and fee structure with J.
               Kennedy                                                  175.00     0.90               779

 09/12/2013
        ADS    Assignment to legal assistant to update
                                                                        175.00     0.10               780

 09/14/2013
        ADS    Review draft statements and redact same for
               third interim fee application.                           175.00     2.00               644

 09/15/2013
        ADS    Receive and review emails regarding October
               mediations.                                              175.00     0.10               781

       ADS     Fee application:

               Review draft statements and redact privileged,
               confidential, or work product time entries.              175.00     1.50               782

 09/17/2013
        ADS    Finish review of draft statements and redact
               privileged, confidential, or work product time
               entries.                                                 175.00     1.10               783

 09/20/2013
        ADS    Email from H. Mappes regarding Patti Turley
               deposition. Respond to Jay Kennedy. Calendar
               deposition.                                              175.00     0.20               784

 09/27/2013
        ADS    Emails regarding Patti Turley deposition.                175.00     0.10               786

 09/30/2013
        ADS    Confer with J. Watt regarding
                                                                        175.00     0.20               787

 10/01/2013
        ADS    Draft proposed agenda items for omnibus
               hearing; draft email to K. Toner with same.              175.00     0.50               821

 10/10/2013
        ADS    Regarding: Associated Beef

               Email from and telephonic conference with Liz
               Lynch regarding Associated Beef activity.                175.00     0.40               798
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       re: Attorney for Trustee (Special Counsel)


                                                                      Rate    HOURS
       ADS     Lengthy telephonic conference with Liz Lynch
               regarding
                                                                     175.00     0.50               839

       ADS     Regarding: Associated Beef

               Email from Liz Lynch regarding

                              draft email to J. Kennedy and J.
               Knauer regarding                                      175.00     0.30               840

 10/11/2013
        ADS    Receive and review emails from K. Toner and J.
               Kennedy regarding proposed case management
               order for Newbern preference actions. Draft
               email to K. Toner with draft case management
               order. Diary for follow up.                           175.00     0.20               823

       ADS     Receive and review email from K. Toner
               regarding proposed case management order for
               Newbern preference actions. Draft email to S.
               Newbern with proposed order.                          175.00     0.20               824

 10/14/2013
        ADS    Regarding: Associated Beef

               Lengthy telephone conference with Liz Lynch
               regarding
               (1.0). Review/analyze
                    (.60). Analyze potential claims
                                                     (.80).          175.00     2.40               825

 10/15/2013
        ADS    Telephonic conference with Jay Kennedy
               regarding results of hearing regarding proposed
               case management orders. Attention to and
               review Orders on Motions to Dismiss regarding
               trustee's duty to amend actual fraud claims,
               analyze proposed revision to case management
               order to reflect same.                                175.00     0.40               826

 10/18/2013
        ADS    Regarding: Associated Beef:

               Telephonic conference with J. Knauer regarding
                                                       draft
               memorandum to file.                                   175.00     0.40               834
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       re: Attorney for Trustee (Special Counsel)


                                                                        Rate    HOURS
 10/20/2013
        ADS    Review Withdrawal of Motion for SCheduling
               Extension filed in ELC main case by Scott
               Newbern.                                                175.00     0.10               838

 10/24/2013
        ADS    Work with paralegal in filing and processing
               third fee application for KGR.                          175.00     0.30               807

 10/26/2013
        ADS    Regarding: Associated Beef

               Review memorandum from telephonic
               conference with Trustee; draft memo to file
               regarding closure.                                      175.00     0.20               841

 10/28/2013
        ADS    Receive and review notice of hearing on KGR's
               fee application and calendar hearing on same.           175.00     0.10               845

 10/31/2013
        ADS    Telephonic conference with J. Kennedy and S.
               Newbern regarding case management orders.               175.00     0.20               842

       ADS     Multiple email correspondence with K. Toner
               regarding                (.40). Review

                          (.50). Brief research

               (.30). Diary for follow up with Toner
                           (.10).                                      175.00     1.30               843

       ADS     Draft email to K. Goss regarding upload case
               management orders for S. Newbern matters.               175.00     0.10               844

 11/04/2013
        ADS    Receive and review email from K. Toner
               regarding                           Diary for
               follow up with Kevin Toner on same.                     175.00     0.20               866

 11/07/2013
        ADS    Legal research on GIPSA enforcement and
               PASA research regarding ordinary course
               defense (2.4). Review/receive
                          (.50).                                       175.00     2.90               867

 11/08/2013
        ADS    Telephonic conference with and draft email to S.
               O'Neil regarding process for obtaining
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       re: Attorney for Trustee (Special Counsel)


                                                                        Rate   HOURS
               documents from Beth Royalty.                           175.00     0.30               868

 11/12/2013
        ADS    Receive and review Exhibit "A" to settlement
               agreement with Superior in bond case and
               amendments to same (.30). Review and
               compare to pending or potential adversary
               parties in ELC bankruptcy case (.40). Confer
               with K. Koons regarding same (.40). Draft email
               to K. Koons with response (.30).                       175.00     1.40               869

 11/14/2013
        ADS    Email from W. Newbern regarding case
               management order revisions. Draft email to J.
               Kennedy regarding same and expert
               disclosures.                                           175.00     0.20               870

       ADS     Receive and review objections to fee
               application; draft email to J. Kennedy and J.
               Kennedy regarding same and hearing set on
               application and objections thereto.                    175.00     0.30               871

 11/15/2013
        ADS    Telephonic conference with K. Toner regarding

                                                                      175.00     0.30               872

       ADS     Receive and review agenda for omnibus
               hearing; telephonic conference with K. Toner
               regarding same.                                        175.00     0.20               873

 11/18/2013
        ADS    Prepare for and attend omnibus hearing with J.
               Kennedy and J. Knauer.                                 175.00     0.60               874

 11/19/2013
        ADS    Review/analyze revised exhibit "A" to settlement
               agreement with Superior in bond case.                  175.00     0.20               875

 11/25/2013
        ADS    Email correspondence with H. Mappes at FBD
               regarding                                              175.00     0.20               876

 12/03/2013
        ADS    Confer with J. Watt regarding document
               production pursuant to recent discovery
               requests and supplemental production pursuant
               to Procedures Order.                                   175.00     0.20               889
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       re: Attorney for Trustee (Special Counsel)


                                                                       Rate    HOURS
 12/04/2013
        ADS    Confer with Tammy Froelich, paralegal,
               regarding service of order granting applications
               for compensation and certificate of
               service/mailing list.                                  175.00     0.20               890

 12/05/2013
        ADS    Work on scheduling of January mediation.               175.00     0.20               891

 12/06/2013
        ADS    Regarding: Newbern Discovery Requests to
               Trustee:

               Obtain and review

               in preparation for drafting of responses to
               Newbern's discovery requests in seven
               adversary proceedings.                                 175.00     0.60               892

 12/11/2013
        ADS    Regarding: Newbern Discovery Requests:

               Email correspondence with S. Eikenberry
               regarding discovery response (.20). Confer with
               J. Watt regarding same (.30). Telephonic
               conference with J. Watt and S. Eikenberry
               regarding                      (1.1).                  175.00     1.60               893

 12/15/2013
        ADS    Review Notice of Submission Notice of
               Designation of Collected Funds Pursuant to
               Section 6.2(A) of the Plan                             175.00     0.10               901

 12/16/2013
        ADS    Telephonic conference with Kevin Toner
               regarding
                              (.60). Telephonic conference
               with Scott Newbern regarding discovery
               deadlines and global mediation (.60). Draft
               email to Scott Newbern regarding extension of
               time to respond to discovery and extension of
               expert disclosure deadline (.30).                      175.00     1.50               894

 12/17/2013
        ADS    Confer with paralegal regarding request from
                                                  (.50). Email
               correspondence with paralegal regarding same
               (.30). Review and revise
                                (.90).                                175.00     1.70               895
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                                                                       Rate    HOURS

       ADS     Prepare for deposition of James Edward Edens,
               IV ("Ed Edens").                                       175.00     0.60               896

 12/18/2013
        ADS    Email from paralegal regarding open case list
               for                            confer with
               paralegal regarding same.                              175.00     0.20               883

       ADS     Continue preparing for deposition of Ed Edens.         175.00     0.40               897

 12/19/2013
        ADS    Finish preparations for deposition of Ed Edens;
               assignment to legal assistant to create binder
               for deposition; review binder for Jay Kennedy to
               assist in deposition; confer with Jay Kennedy
               regarding deposition.                                  175.00     1.00               898

 12/23/2013
        ADS    Email from S. Runyan regarding
                                     telephonic conference
               with K. Toner

                        Email correspondence with K. Toner
                                                                      175.00     0.60               899

       ADS     Regarding: Newbern Discovery Requests:

               Continue working on discovery responses.               175.00     1.00               900

       ADS     Draft email to Shawna Eikenberry on status of
               Newbern discovery responses.                           175.00     0.10               902

 12/29/2013
        ADS    Review/analyze

                                                                      175.00     0.70               888

 01/03/2014
        ADS    Voicemail from individual (unable to understand
               name) regarding W-9 form received from
               Trustee. Voicemail to same regarding W-9
               form.                                                  175.00     0.20               912

 01/10/2014
        ADS    Voicemail from Dustin DeNeal and draft email to
               same regarding Eastern's FID.                          175.00     0.30               913
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                                                                       Rate    HOURS
 01/14/2014
        ADS    Email from D. DeNeal regarding                         175.00     0.10               920

 01/15/2014
        ADS    Office conference with Jim Knauer and Steve
               Runyan regarding                   voicemail to

               draft email to FBD                   email
               from and voicemail to D. DeNeal regarding
                                                                      175.00     0.50               914

 01/20/2014
        ADS    Telephonic conferences with proposed
                                                                      175.00     0.60               915

 01/22/2014
        ADS    Receive and review notice of continued
               deposition of Ed Edens and calendar same.              175.00     0.10               916

 01/25/2014
        ADS    Review Newbern's third party subpoena to First
               Bank and Trust.                                        175.00     0.10               917

 01/27/2014
        ADS    Receive and review email from Jennifer Watt
               regarding expert disclosure deadlines for
               preference actions.                                    175.00     0.10               910

 01/29/2014
        ADS    Review notice of cancellation of continued
               deposition of Ed Edens. Update calendar and
               draft email to Jay Kennedy regarding same.             175.00     0.20               918

       ADS     Draft memorandum regarding



                                                                      175.00     1.00               919

 01/31/2014
        ADS    Attention to deadline to respond to Newbern's
               second set of discovery requests; draft email to
               Jay Kennedy to contact Newbern for extension
               of time to respond to same; confer with Jay
               Kennedy regarding approval of extension of
               time.                                                  175.00     0.20               909

 02/03/2014
        ADS    Confer with Jay Kennedy and S. Runyan
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                                                                        Rate    HOURS
               regarding
                                                                       175.00     0.20               931

 02/12/2014
        ADS    Voicemail from K. Goss and multiple telephonic
               conferences with same regarding request to
               reschedule status conferences; voicemail to E.
               Nave and draft email to J. Graham and E. Nave
               regarding same. Receive response email from
               J. Graham agreeing to reschedule the hearings.          175.00     0.50               933

       ADS     Compile discovery requests and responses for
               multiple adversary actions and send via email to
               H. Mappes for uploading to online repository.           175.00     0.40               934

       ADS     Assignment to legal assistant to process CD
               with documents produced to Newbern to
               produce to H. Mappes for online discovery
               repository. Review CD with Trustee's
               production and assignment to legal assistant to
               deliver to H. Mappes at FBD.                            175.00     0.10               935

       ADS     Receive/review notice of rescheduled continued
               deposition of Ed Edens. Calendar same. Draft
               email to H. Mappes with additional Ed Edens
               preference cases for inclusion in notice list for
               Edens or related party depositions.                     175.00     0.30               936

 02/14/2014
        ADS    Telephonic conference with D. DeNeal
               regarding

                                                                       175.00     0.10               937

 02/20/2014
        ADS                       Lengthy telephone
               conference with Liz Lynch regarding


                                                                       175.00     0.50               938

       ADS     Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               cases; obtain and provide to J. Kennedy

                      confer with J. Kennedy regarding
                                                                       175.00     0.10               939
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                                                                        Rate    HOURS
 02/28/2014
        ADS    Email correspondence with Kevin Toner
               regarding
                                                    Receive
               and review motion for extension of time.
               Telephonic conference with K. Toner regarding
                      Telephonic conference with J. KNauer
               regarding                      Telephonic
               conference with Scott Newbern regarding
               motion for extension of time and deadline for his
               response to discovery requests.                         175.00     0.50               932

 03/04/2014
        ADS    Attention to deadline to respond/object to First
               Bank's Motion to Modify Plan Injunction.
               Voicemail to Wendy Ponader regarding

                                                                       175.00     0.30               943

 03/05/2014
        ADS    Multiple emails from K. Toner's paralegal with
               Ed Eden's deposition transcript and exhibits for
               first day of deposition. Begin review and
               analysis of deposition transcript.                      175.00     1.00               944

 03/06/2014
        ADS    Continue review/analysis of Ed Edens'
               deposition transcript.                                  175.00     1.00               945

 03/24/2014
        ADS    Email from and draft email to H. Mappes
               regarding Shane Stierwalt/Stierwalt Ranch
               and/or Kirkland Feedyard/Triangle Calf Growers
               and deposition of same.                                 175.00     0.20               950

 03/31/2014
        ADS    Review/analyze Clearing Contract between ELC
               and E4 Cattle/Edens. Receive and review
               Trustee's Supplemental Discovery Responses
               regarding same served in Ed Edens adversary
               proceeding.                                             175.00     0.60               951

 04/01/2014
        ADS    Email correspondence with Kevin Toner
               regarding                                               175.00     0.20               952

       ADS     Review/analyze Fifth Third Bank's response to
               motion for summary judgment on clearing issue
               filed in Fredin adversary proceeding.                   175.00     0.80               953
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                                                                       Rate    HOURS

 04/03/2014
        ADS    Review/analyze ECF filing for last week of
               March 2014 in main case.                               175.00     0.20                954

 04/06/2014
        ADS    Review/analyze transcript for second day of
               deposition of Ed Edens

                                                    (2.0).
               Draft summary of second day of testimony
                                      (.50). Gather additional
               facts for

                                  (1.3). Email correspondence
               with J. Watt regarding

                       (.30).                                         175.00     4.10                955

 04/09/2014
        ADS    Review notice of deposition of Karla Robbins;
               email correspondence with Jay Kennedy
               regarding attendance at same.                          175.00     0.20                956

 04/10/2014
        ADS    Email correspondence with D. DeNeal regarding
               request for list of opt-in creditors (regarding:
               ELC Chapter 11 Plan).                                  175.00     0.20                957

 04/16/2014
        ADS    Telephone call with K. Toner regarding
                                                                      175.00     0.30                960

 04/17/2014
        ADS    Lengthy telephone conference with
                                                                      175.00     0.70                961

 04/22/2014
        ADS    Prepare for and conduct meeting with J.
               Kennedy and J. Watt regarding
                                                                      175.00     1.00                963

 04/28/2014
        ADS    Prepare for pretrial conferences.                      175.00     0.50                964
               Amanda D. Stafford                                               51.70     9,047.50

 09/05/2013
        TJF    Conference with J Watt regarding
                                                                      125.00     0.30                646
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                                                                       Rate    HOURS

 09/11/2013
        TJF    Augmentation to second fee application order
               (.20). Began drafting Third Fee Application and
               Order for J. Kennedy's review (.70). Uploaded
               2nd Fee Application Order (.10).                       125.00     1.00               647

 09/12/2013
        TJF    Augmentation to Trustee's fourth fee application
               (.20). Conference with J. Kennedy regarding
               same (.20). Email to J. Knauer regarding
               approval of fourth fee application (.20). Began
               drafting fifth fee application (.40).                  125.00     1.00               648

 09/16/2013
        TJF    Reviewed Orders on Fee Applications for FBD
               and KGR, calculated 20% holdback; email
               communication with J. Knauer regarding same.           125.00     0.50               649

 09/17/2013
        TJF    Studied and reviewed Eastern Livestock Bank
               Statements from 2012 and 2013 for deposits
               made concerning specific settlements (1.5).
               Email communications to/from J. Knauer
               regarding same (.50).                                  125.00     2.00               650

 09/23/2013
        TJF    Email from Shelly at DSI regarding renewal of
               Regus lease; conference with J. Knauer
               regarding same; follow up email with Shelly            125.00     0.30               764

 09/25/2013
        TJF    Work on Third Fee Application and exhibits.            125.00     1.00               765

 09/26/2013
        TJF    Work on third fee application; recalculate time
               entries for each case (2.5). Begin calculating
               and categorizing expenses incurred for fee
               application time period (1.5).                         125.00     4.00               766

 09/30/2013
        TJF    Work on third fee application (1.0). Review of
               research expenses for chargeability (1.0).
               Request new statements and recalculate time
               entries for each case (.40). Continued
               calculating and categorizing expenses incurred
               for fee application time period (1.0). Numerous
               conferences with D. Frewer (KGR bookkeeper)
               concerning fee allocations (.60). Conference
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                                                                      Rate    HOURS
               with J. Kennedy concerning billable expenses
               (.20).                                                125.00     4.20               767

       TJF     Email communication from J. Knauer
               concerning checks for fee applications
               approved; began processing same.                      125.00     0.50               768

 10/01/2013
        TJF    Numerous conferences with P. Hamm regarding
               fee allocations and payment made in 12/2012
               (.40). Calculations of same; follow up
               conference with P. Hamm concerning same
               (1.0).                                                125.00     1.40               794

       TJF     Continue work on third fee application (.30).
               Began redaction of W/P as well as attorney
               client entries on bills (.90).                        125.00     1.20               795

 10/02/2013
        TJF    Continued redaction of W/P and attorney client
               time entries (3.0). Conference with D. Frewer
               regarding fee applications (.50). Conference
               with P. hamm regarding same (.50).                    125.00     4.00               796

 10/03/2013
        TJF    Finalized draft Fee Applications and supporting
               exhibits (2.0). Conference with J. Kennedy
               regarding same (.60).                                 125.00     2.60               797

 10/08/2013
        TJF    Conference with J. Kennedy regarding fee
               applications.                                         125.00     0.30               799

 10/09/2013
        TJF    Augmentation to Fee Applications and
               Supporting Exhibits                                   125.00     2.70               800

 10/10/2013
        TJF    Drafted Trustee J. Knauer Fifth Fee Application
               and all Supporting Documentation (2.0).
               Conference with J. Kennedy and J. Knauer
               regarding same (.80).                                 125.00     2.80               801

       TJF     Telephone call to Humana regarding insurance
               premium rebate check                                  125.00     0.20               802

       TJF     Conference with J. Knauer regarding payment
               to DSI on fee application; email communication
               to/from Liz Lynch regarding same.                     125.00     0.40               803
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                                                                        Rate    HOURS

 10/15/2013
        TJF    Analyzed amounts paid by former employees to
               insurance premium (.40). Calculated rebate
               check amounts for each employee (.40).
               Prepared checks (1.0).                                  125.00     1.80               804

 10/17/2013
        TJF    Draft Letter to former ELC employees regarding
               Humana insurance premium rebate (.60).
               Processed letter and checks for mailing (.40).          125.00     1.00               805

 10/21/2013
        TJF    Review of Adversary files to determine status
               (1.2). Drafted Memo to J. Watt regarding

               (1.0). Diaried matters for telephonic
               conferences (.30).                                      125.00     2.50               806

 10/22/2013
        TJF    Augmentation to exhibits to Fee Application             125.00     2.30               829

 10/23/2013
        TJF    Outstanding fee application calculations for P.
               Hamm regarding all fee apps in drafting stage.          125.00     0.10               830

 10/24/2013
        TJF    Uploaded and filed 3rd Interim Fee Application
               for Kroger, Gardis & Regas, LLP; augmentation
               to JAK FEE App; uploaded and filed same                 125.00     0.70               831

 10/28/2013
        TJF    Augmentation to Notice of Hearing for JAK Fee
               App; filed same using ECF system;
               Augmentation to Notice of hearing for KGR Fee
               App; filed same using ECF system                        125.00     0.50               832

 11/05/2013
        TJF    Updated diary calendar with upcoming status
               conference hearings                                     125.00     0.30               848

 11/06/2013
        TJF    Prepared list of all counsel involved in ELC case
               for Beth Royalty.                                       125.00     0.50               849

 11/13/2013
        TJF    Received and processed AgriBeef Settlement;
               travel to Bank to deposit AgriBeef Settlement;
               email to D. Fogle regarding settlement check.           125.00     0.40               850
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                                                                         Rate    HOURS

 11/14/2013
        TJF    Augmentation to Orders Granting Fee
               Applications for KGR and J. Knauer reflecting
               objections filed by various parties.                     125.00     0.70               851

 11/21/2013
        TJF    Conference with M. Stafford regarding
                                                                        125.00     0.30               852

 12/03/2013
        TJF    Conference with J. Kennedy, J. Watt and M.
               Stafford concerning supplementing pretrial
               document production for cases.                           125.00     0.80               877

 12/04/2013
        TJF    Research                         (1.0). Email
               communication to K. Toner
               (.20).                                                   125.00     1.20               878

 12/05/2013
        TJF    Filed Certificate of Service re: Service of Orders
               using Court's ECF System                                 125.00     0.20               880

 12/09/2013
        TJF    Drafted letter to K. Pry enclosing settlement
               from J. Gibson                                           125.00     0.20               881

 12/12/2013
        TJF    Conference with J. Kennedy regarding balance
               of monies collected from ELC defendants (.40).
               Review and analyzed ledger (.40). Conference
               with J. Kennedy regarding same (.20).                    125.00     1.00               882

 12/17/2013
        TJF    Email from
                                                   (.30).
               Began preparation of same (1.7). Email to M.
               Stafford regarding     (.20).                            125.00     2.20               884

 01/15/2014
        TJF    Processed invoices and payments; conference
               with J. Knauer regarding same.                           125.00     0.50               904

 01/27/2014
        TJF    Letter to D. Brumley enclosing original Partial
               Release of Mortgage executed by J. Knauer                125.00     0.20               908
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                                                                         Rate    HOURS
 01/30/2014
        TJF    Augmentations to PDF Post Confirmation
               Trustee Report; uploaded filed same using
               Court's ECF System.                                      125.00     0.30                 911

 02/04/2014
        TJF    Email from J. Knauer and D. DeNeal regarding
               distribution on Opt-in Claims (.30). Began
               preparation of letter to Opt-in Claimants (1.0).
               Preparation of distribution of checks (1.5). Email
               communication to/from J. Knauer regarding
               same (.20).                                              125.00     3.00                 923

 02/10/2014
        TJF    Began final preparation of opt-in distribution
               checks for mailing                                       125.00     0.90                 924

 02/11/2014
        TJF    Completed preparation of opt-in distribution
               checks for mailing.                                      125.00     3.00                 925
               Tammy J. Froelich                                                  55.00      6,875.00

               FOR CURRENT SERVICES RENDERED                                     180.30     28,802.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                  TOTAL
    Jay P. Kennedy                                      63.80    $175.00              $11,165.00
    Steven E. Runyan                                     2.00     175.00                  350.00
    Jennifer L. Watt                                     7.80     175.00                1,365.00
    Amanda D. Stafford                                  51.70     175.00                9,047.50
    Tammy J. Froelich                                   55.00     125.00                6,875.00




               Reproduction of documents                                                     1,127.74
               Mailing expense                                                                 667.17
               TOTAL EXPENSES THRU 04/30/2014                                                1,794.91



 03/27/2012    Intuit Software                                                                 42.75    157
 04/04/2012    Intuit Software                                                                 40.55    158
 04/26/2012    Intuit software                                                                 42.75    159
 05/03/2012    Intuit software                                                                 40.55    160
 05/27/2012    Intuit QB Online                                                                42.75    169
 06/01/2012    Intuit QB Online                                                                40.55    170
 08/26/2012    Intuit                                                                          42.75    186
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 09/01/2012    Intuit                                                                    40.55   187
                                                                                        333.20

 07/25/2013    Pacer Service Center docket retrieval                                     22.20   232
 08/01/2013    Pacer Service Center docket retrieval                                      9.10   234
 09/05/2013    Pacer Service Center docket retrieval                                      0.80   231
 09/19/2013    Pacer Service Center docket retrieval                                      9.50   233
 10/10/2013    Pacer Service Center docket retrieval                                      1.90   241
 10/24/2013    Pacer Service Center docket retrieval                                      2.30   256
 10/31/2013    Pacer Service Center docket retrieval                                      4.60   242
 10/31/2013    Pacer Service Center docket retrieval                                      1.50   254
 11/04/2013    Pacer Service Center docket retrieval                                      1.00   262
 11/07/2013    Pacer Service Center docket retrieval                                      2.40   261
 11/17/2013    Pacer Service Center docket retrieval                                      0.50   267
 12/18/2013    Pacer Service Center docket retrieval                                      9.40   275
 01/27/2014    Pacer Service Center docket retrieval                                     11.70   287
 01/28/2014    Pacer Service Center docket retrieval                                      2.20   288
 01/30/2014    Pacer Service Center docket retrieval                                      3.60   289
 02/11/2014    Pacer Service Center docket retrieval                                      0.20   294
 02/26/2014    Pacer Service Center docket retrieval                                      7.80   293
 03/14/2014    Pacer Service Center docket retrieval                                      2.70   308
 03/28/2014    Pacer Service Center docket retrieval                                      6.30   309
               Pacer Service Center docket retrieval                                     99.70

 04/26/2012    Overnight mail                                                            13.91   162
 05/30/2012    Overnight mail                                                            13.97   165
 06/27/2012    Overnight mail FEDERAL EXPRESS                                            13.97   174
 10/31/2012    Overnight mail FEDERAL EXPRESS                                            13.85   192
 10/31/2012    Overnight mail FEDERAL EXPRESS                                            15.74   193
 11/27/2012    Overnight mail FEDERAL EXPRESS                                            13.91   200
 05/23/2013    Overnight mail FEDERAL EXPRESS                                            16.12   113
 11/25/2013    Overnight mail FEDERAL EXPRESS                                            29.92   246
 11/25/2013    Overnight mail FEDERAL EXPRESS                                            29.92   248
 11/25/2013    Overnight mail FEDERAL EXPRESS                                            32.31   249
 11/25/2013    Overnight mail FEDERAL EXPRESS                                            32.73   250
 11/25/2013    Overnight mail FEDERAL EXPRESS                                            34.32   251
 11/25/2013    Overnight mail FEDERAL EXPRESS                                            35.30   252
 11/25/2013    Overnight mail FEDERAL EXPRESS                                            35.30   253
 11/26/2013    Overnight mail FEDERAL EXPRESS                                            18.60   247
 11/27/2013    Overnight mail FEDERAL EXPRESS                                            20.72   245
 02/27/2014    Overnight mail FEDERAL EXPRESS                                            41.57   283
 02/27/2014    Overnight mail FEDERAL EXPRESS                                            41.57   284
 02/27/2014    Overnight mail FEDERAL EXPRESS                                            38.02   285
 02/27/2014    Overnight mail FEDERAL EXPRESS                                            41.57   286
 04/01/2014    Overnight mail                                                            22.21   304
 04/01/2014    Overnight mail                                                            22.21   305
 04/02/2014    Overnight mail                                                            32.49   306
 04/02/2014    Overnight mail                                                            35.86   307
               Overnight mail                                                           646.09
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       Eastern Livestock Bankruptcy                                                June 04, 2014
                                                                      ACCOUNT NO:     110035-53
                                                                       INVOICE NO:             4
       re: Attorney for Trustee (Special Counsel)


 04/19/2012    UCC Search and/or Browse Fee and Copies                                       3.00   163
               UCC Search and/or Browse Fee and Copies                                       3.00

 02/21/2013    Travel Expenses Meeting Room                                               392.96     71
               Travel Expenses                                                            392.96

 03/25/2013    Service of Process Fee Express Process Service, Inc.                        88.00     69
               Service of Process Fee                                                      88.00

 02/21/2014    Parking expense Jay P. Kennedy                                              10.00    290
               Parking expense                                                             10.00

 07/06/2012    Conference Call Fees                                                        87.23    181
 10/25/2012    Conference Call Fees Conference Call.Com                                    32.04     10
 03/27/2013    Conference Call Fees Intercall                                               3.36     80
 03/27/2013    Conference Call Fees Intercall                                               8.95     81
 03/27/2013    Conference Call Fees Intercall                                               7.55     82
 03/27/2013    Conference Call Fees Intercall                                               0.58     83
 05/09/2013    Conference Call Fees Intercall                                               4.50    109
 05/09/2013    Conference Call Fees Intercall                                               7.16    110
 05/09/2013    Conference Call Fees Intercall                                               0.23    111
 01/17/2014    Conference Call Fees                                                        14.43    281
 04/28/2014    Conference Call Fees                                                         0.35    315
               Conference Call Fees                                                       166.38

               TOTAL ADVANCES THRU 04/30/2014                                            1,739.33

               TOTAL CURRENT WORK THIS STATEMENT                                        32,336.74

               PREVIOUS BALANCE                                                      $153,357.75



 09/30/2013    Payment--Thank you                                                      -32,005.85    2
 12/31/2013    Payment--Thank you                                                      -41,854.40    4
               TOTAL PAYMENTS                                                          -73,860.25

               BALANCE DUE                                                           $111,834.24

                                AGE OF OUTSTANDING STATEMENTS
            0-30             31-60        61-90        91-180            181-360          361+
       32,336.74              0.00         0.00     14,705.60               0.00      64,791.90
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-54
                                                                                INVOICE NO:             4




       re: Kevin Manthey (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/05/2013
        JPK    Participate in meeting with J. Graham to review
               potential settlements. Meet with J. Knauer.                   175.00      0.80               49

 09/20/2013
        JPK    Reviewed email from J. Graham. Forward
               counter offer to J. Knauer.                                   175.00      0.30               48

 11/25/2013
        JPK    Call with J. Graham. Participate in pretrial
               conference.                                                   175.00      0.30               54
               Jay P. Kennedy                                                            1.40      245.00

 11/22/2013
        JLW    Review email form Trustee regarding
                         Conference with M. Stafford
               regarding                                                     175.00      0.40               53

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10               59

 01/13/2014
        JLW    Review settlement offer; Prepare for and attend
               status pre-trial conference.                                  175.00      0.40               63

 01/16/2014
        JLW    Review minute entry order.                                    175.00      0.10               64

 01/27/2014
        JLW    Review email from opposing counsel regarding
               status of settlement.                                         175.00      0.10               65
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       Eastern Livestock Bankruptcy                                                June 04, 2014
                                                                      ACCOUNT NO:     110035-54
                                                                       INVOICE NO:             4
       re: Kevin Manthey (Preference)


                                                                      Rate    HOURS
 02/10/2014
        JLW    Review email from E. Nave regarding status of
               settlement offer.                                     175.00     0.10               67

 02/12/2014
        JLW    Attend pre-trial hearing on status; Review case
               management order.                                     175.00     0.30               71

 02/27/2014
        JLW    Review proposed settlement agreement and
               requests revisions from E. Nave; Conference
               with M. Stafford regarding requested revisions.       175.00     0.40               73

 03/26/2014
        JLW    Review minute entry order                             175.00     0.10               79
               Jennifer L. Watt                                                 2.00      350.00

 09/24/2013
        ADS    Prepare for pretrial.                                 175.00     0.10               50

 09/25/2013
        ADS    Attend pretrial status conference.                    175.00     0.10               51

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                     175.00     0.10               52

 11/22/2013
        ADS    Conference with J. Watt regarding
                                      update
                                                                     175.00     0.30               55

       ADS     Telephonic conference with Jeff Graham and
               Jay Kennedy regarding settlement.                     175.00     0.10               56

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.         175.00     0.10               57

 02/10/2014
        ADS    Email from E. Nave regarding settlement status.
               Telephonic conference with Jeff Graham
               regarding case status for upcoming pretrial
               conference.                                           175.00     0.20               68

       ADS     Review/analyze                 Update
                                                                     175.00     0.10               72

 02/12/2014
        ADS    Prepare for and conduct pretrial conference;
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14      EOD 06/06/14 15:33:49    Pg 198
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       re: Kevin Manthey (Preference)


                                                                       Rate    HOURS

                                                                      175.00     0.20               74

 02/24/2014
        ADS    Draft/revise and finalize settlement agreement
               and motion to compromise (.70). Draft email to
               defendant's counsel with settlement documents
               for review (.30).                                      175.00     1.00               75

 02/27/2014
        ADS    Email from Erin Nave regarding settlement
               agreement and motion to compromise. Review
               opposing counsel's revisions to same. Revise
               settlement agreement and send revised
               settlement to E. Nave via email for review.            175.00     0.40               69

 02/28/2014
        ADS    Telephonic conference with Erin Nave regarding
               her revisions to settlement agreement and my
               revisions to same (.30). Forward revised
               settlement agreement to E. Nave for review
               (.10). Receive email from E. Nave with
               approval to final version of settlement
               agreement (.10). Draft, revise and finalize
               notice of motion and objection deadline to
               Motion to Compromise; revise and finalize
               settlement agreement and Motion to
               Compromise (.30). File Motion to Compromise,
               objection notice, and proposed order with court
               (.20). Diary for follow up on order entry (.10).       175.00     1.10               70

 03/12/2014
        ADS    Draft email to J. Knauer with settlement
               agreement for signature.                               175.00     0.10               76

 03/14/2014
        ADS    Email correspondence with Erin Nave regarding
               settlement agreement and payment. Review
               and revise Motion to Compromise and Settle.
               Draft notice of motion and proposed order.
               Assignment to legal assistant to file same with
               court.                                                 175.00     0.80               77

 03/18/2014
        ADS    Receive signed settlement agreement from
               trustee.                                               175.00     0.10               80

 03/26/2014
        ADS    Prepare for and conduct telephonic status
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                                                                          INVOICE NO:             4
       re: Kevin Manthey (Preference)


                                                                          Rate   HOURS
               conference.                                              175.00     0.20                 78

 04/01/2014
        ADS    Receive and review Order granting motion to
               compromise. Draft and review letter to
               defendant's attorney with signed settlement
               agreement. Draft/revise stipulation of dismissal.        175.00     0.90                 81

 04/05/2014
        ADS    Attention to deadline to file stipulation of
               dismissal with court; review/revise Stipulation of
               Dismissal of Adversary Proceeding With
               Prejudice; draft email to Jeff Graham and Erin
               Nave with proposed stipulation of dismissal for
               review and approval.                                     175.00     0.20                 83

 04/14/2014
        ADS    Attention to status of settlement; draft email to
               defendant's counsel to follow up on approval of
               stipulation of dismissal.                                175.00     0.20                 82
               Amanda D. Stafford                                                  6.30      1,102.50

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                               125.00     0.10                 58

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                    125.00     0.10                 60

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                               125.00     0.20                 61

 01/20/2014
        TJF    Updated file with upcoming telephonic hearings
               and deadlines.                                           125.00     0.10                 62

 02/18/2014
        TJF    Reviewed Minute Entry/Order; updated diary
               docket                                                   125.00     0.10                 66
               Tammy J. Froelich                                                   0.60        75.00

               FOR CURRENT SERVICES RENDERED                                      10.30      1,772.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                    TOTAL
    Jay P. Kennedy                                       1.40    $175.00                  $245.00
    Jennifer L. Watt                                     2.00     175.00                   350.00
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                                                               INVOICE NO:             4
       re: Kevin Manthey (Preference)


    TIMEKEEPER                                    HOURS HOURLY RATE           TOTAL
    Amanda D. Stafford                              6.30      175.00         1,102.50
    Tammy J. Froelich                               0.60      125.00            75.00




               Mailing expense                                                         4.54
               TOTAL EXPENSES THRU 04/30/2014                                          4.54

               TOTAL CURRENT WORK THIS STATEMENT                                   1,777.04

               PREVIOUS BALANCE                                                   $1,487.67



 09/30/2013    Payment--Thank you                                                   -219.08   2
 12/31/2013    Payment--Thank you                                                   -551.30   3
               TOTAL PAYMENTS                                                       -770.38

               BALANCE DUE                                                        $2,494.33

                              AGE OF OUTSTANDING STATEMENTS
            0-30           31-60        61-90       91-180        181-360           361+
        1,777.04            0.00         0.00       214.86           0.00          502.43
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-55
                                                                                INVOICE NO:             4




       re: Salem Livestock (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/25/2013
        JPK    Participate in pretrial conference.                           175.00      0.20               76

 03/26/2014
        JPK    Follow up with M. Stafford                                    175.00      0.20               92
               Jay P. Kennedy                                                            0.40       70.00

 10/18/2013
        JLW    Review case file and status                                   175.00      0.40               73

 11/22/2013
        JLW    Conference with M. Stafford regarding
               preparation for pre-trial conferences.                        175.00      0.30               75

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10               81

 01/13/2014
        JLW    Prepare for and attend status pre-trial
               conference.                                                   175.00      0.30               85

 01/16/2014
        JLW    Review minute entry order.                                    175.00      0.10               86

 02/12/2014
        JLW    Attend pre-trial hearing on status; Review case
               management order.                                             175.00      0.30               88

 03/26/2014
        JLW    Review minute entry order                                     175.00      0.10               94
               Jennifer L. Watt                                                          1.60      280.00
Case 10-93904-BHL-11          Doc 2591-1       Filed 06/06/14   EOD 06/06/14 15:33:49    Pg 202
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-55
                                                                      INVOICE NO:             4
       re: Salem Livestock (Preference)


                                                                     Rate    HOURS
 09/24/2013
        ADS    Prepare for pretrial.                                175.00     0.10               71

 09/25/2013
        ADS    Attend pretrial status conference.                   175.00     0.10               72

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                    175.00     0.10               74

 11/22/2013
        ADS    Conference with J. Watt regarding

                                                                    175.00     0.30               77

       ADS     Telephonic conference with Jeff Graham and
               Jay Kennedy regarding settlement.                    175.00     0.10               78

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.        175.00     0.10               79

 02/10/2014
        ADS    Telephonic conference with Jeff Graham
               regarding case status for upcoming pretrial
               conference.                                          175.00     0.10               87

       ADS     Review/analyze                 Update
                                                                    175.00     0.10               89

 02/12/2014
        ADS    Prepare for and conduct pretrial conference;

                                                                    175.00     0.20               90

 02/20/2014
        ADS    Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               case; obtain and provide to J. Kennedy

                      confer with J. Kennedy regarding
                                                                    175.00     0.10               91

 03/26/2014
        ADS    Prepare for and conduct telephonic status
               conference.                                          175.00     0.20               93
               Amanda D. Stafford                                              1.50      262.50

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
Case 10-93904-BHL-11         Doc 2591-1      Filed 06/06/14     EOD 06/06/14 15:33:49     Pg 203
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                                                                      INVOICE NO:             4
       re: Salem Livestock (Preference)


                                                                      Rate   HOURS
               pleadings.                                           125.00     0.10                 80

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                125.00     0.10                 82

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                           125.00     0.20                 83

 01/20/2014
        TJF    Updated file with upcoming telephonic hearings
               and deadlines.                                       125.00     0.10                 84
               Tammy J. Froelich                                               0.50        62.50

               FOR CURRENT SERVICES RENDERED                                   4.00       675.00

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE                TOTAL
    Jay P. Kennedy                                      0.40    $175.00               $70.00
    Jennifer L. Watt                                    1.60     175.00               280.00
    Amanda D. Stafford                                  1.50     175.00               262.50
    Tammy J. Froelich                                   0.50     125.00                62.50


               TOTAL CURRENT WORK THIS STATEMENT                                          675.00

               PREVIOUS BALANCE                                                         $3,223.87



 09/30/2013    Payment--Thank you                                                         -195.26   2
 12/31/2013    Payment--Thank you                                                         -745.55   3
               TOTAL PAYMENTS                                                             -940.81

               BALANCE DUE                                                              $2,958.06

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180              181-360          361+
          675.00             0.00         0.00       263.55                 0.00       2,019.51
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                                                                                INVOICE NO:             3




       re: Alabama Livestock Auction (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 01/10/2014
        JPK    Confer with M. Stafford. Reviewed discovery
               responses.                                                    175.00      0.40               125
               Jay P. Kennedy                                                            0.40       70.00

 09/30/2013
        JLW    Review notice to continue                                     175.00      0.20                66

 10/01/2013
        JLW    Attend pre-trial conference; conference call with
               FBD regarding                        Review
               court minute entry regarding pretrial hearing;
               Review withdrawal of motion for scheduling
               extension; Review motion to extend time to file
               scheduling order                                              175.00      0.60                67

 10/04/2013
        JLW    Meeting with J. Knauer, K. Toner, J. Kennedy
               and M. Safford regarding
                                                                             175.00      0.40                70

 10/15/2013
        JLW    Review minute entry order;                                    175.00      0.10                75

 10/30/2013
        JLW    Meeting with M. Stafford regarding Case
               Management Order and Preliminary Witness
               and Exhibit Lists                                             175.00      0.20                76

 10/31/2013
        JLW    Review draft preliminary witness and exhibit lists            175.00      0.40                77
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                                                                     INVOICE NO:             3
       re: Alabama Livestock Auction (Preference)


                                                                    Rate    HOURS
 11/04/2013
        JLW    Review draft case management order;                 175.00     0.40                87

 11/14/2013
        JLW    Review order setting pre-trial conference;
               Conference with M. Stafford regarding               175.00     0.50                88

 12/03/2013
        JLW    Review order setting pre-trial conference.          175.00     0.10                95

 12/11/2013
        JLW    Conference with M. Stafford
                                  Review requests to admit;        175.00     0.80               103

 12/12/2013
        JLW    Draft answers to request to admit                   175.00     1.30               104

 12/16/2013
        JLW    Draft answers to request to admit                   175.00     0.80               105

 12/27/2013
        JLW    Review draft discovery (.50). Review
               documents and draft answers to request to
               admit (1.1).                                        175.00     1.60               106

 12/31/2013
        JLW    Continue draft answers to request to admit          175.00     0.70               107

 01/03/2014
        JLW    Review email from M. Stafford regarding
                         (.20). Review draft proposed
               requests for production and interrogatory
               requests (1.3).                                     175.00     1.50               110

 01/06/2014
        JLW    Review documents and draft answer to requests
               to admit.                                           175.00     0.90               111

 01/07/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                  175.00     0.90               112

 01/08/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                  175.00     0.80               113

 01/09/2014
        JLW    Conference with J. Kennedy and M. Stafford to
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14      EOD 06/06/14 15:33:49    Pg 206
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                                                                       ACCOUNT NO:     110035-58
                                                                        INVOICE NO:             3
       re: Alabama Livestock Auction (Preference)


                                                                       Rate    HOURS

                                                 (.50).
               Continue review documents and draft answer to
               requests to admit (.80).                               175.00     1.30                114

 01/10/2014
        JLW    Finalize and prepare answers to request to
               admit for filing (.70). Final review of all
               discovery responses (.50). Draft notice of
               submission of discovery requests and
               responses (.20).                                       175.00     1.40                115

 02/18/2014
        JLW    Review draft responses to second discovery
               requests.                                              175.00     0.30                131

 03/03/2014
        JLW    Review order on motion to extend time to file
               dispositive motions; Conference with M. Stafford
               regarding
               Review report to court.                                175.00     0.40                132

 03/05/2014
        JLW    Conference with M. Stafford regarding
                                                                      175.00     0.20                141

 03/31/2014
        JLW    Review motion for extension of time;
               Conference with M Stafford regarding                   175.00     0.30                145

 04/02/2014
        JLW    Review order granting motion for extension of
               time.                                                  175.00     0.10                156

 04/07/2014
        JLW    Conference with J. Kennedy regarding
                                  Review deposition of Ed
               Edens; Conference with M. Stafford regarding
                                  Review motion for summary
               judgment.                                              175.00     0.80                154

 04/10/2014
        JLW    Review minute entry order;                             175.00     0.10                157

 04/21/2014
        JLW    Review response to amended complaint.                  175.00     0.20                158
               Jennifer L. Watt                                                 17.30     3,027.50
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       Eastern Livestock Bankruptcy                                                    June 04, 2014
                                                                          ACCOUNT NO:     110035-58
                                                                           INVOICE NO:             3
       re: Alabama Livestock Auction (Preference)


                                                                          Rate    HOURS
 10/01/2013
        ADS    Attend pre-trial conference; conference call with
               FBD regarding
                                                                         175.00     0.30               71

 10/04/2013
        ADS    Prepare for and attend meeting with J. Knauer,
               K. Toner, J. Kennedy and J. Watt regarding
                                                                         175.00     0.40               72

 10/11/2013
        ADS    Begin drafting proposed case management
               order.                                                    175.00     0.40               73

 10/14/2013
        ADS    Email from Scott Newbern regarding proposed
               case management order; multiple telephone
               conferences with K. Toner and J. Kennedy
               regarding                  review/revise case
               management order. Draft email to Scott
               Newbern with revised case management order.               175.00     0.40               74

 10/20/2013
        ADS    Review Motion for Scheduling Extension.                   175.00     0.10               78

       ADS     Review 10/1/13 and 10/15/13 Minute
               Entry/Orders. Update                                      175.00     0.20               79

 10/21/2013
        ADS    Review case management order.                             175.00     0.10               80

 10/30/2013
        ADS    Begin drafting preliminary witness and exhibit
               list; confer with J. Watt regarding     email to
               J. Kennedy and J. Watt with draft for comment.
               Assignment to paralegal to draft Appearance.              175.00     0.60               81

 10/31/2013
        ADS    Finalize case management order; convert to
               PDF and upload to court through CM/ECF.
               Update                        Calendar pretrial
               deadlines.                                                175.00     0.50               82

       ADS     Revise and finalize Preliminary Witness and
               Exhibit List. Assignment to legal assistant to file
               with court.                                               175.00     0.30               83

 11/08/2013
        ADS    Telephonic conference with K. Goss regarding
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       re: Alabama Livestock Auction (Preference)


                                                                        Rate    HOURS
               trial date and scheduling status conference;
               revise case management order; file CMO with
               court; and draft email to opposing counsel
               regarding same.                                         175.00     0.30                89

 11/12/2013
        ADS    Emails from opposing counsel regarding
               scheduling order;                   J. Watt,

                                                                       175.00     0.20                90

 11/13/2013
        ADS    Receive and brief review of Defendant's
               Preliminary Witness and Exhibit List.                   175.00     0.10                91

 11/15/2013
        ADS    Voicemail to W. Newbern and telephonic
               conference with same regarding revisions to
               case management order; telephonic conference
               with K. Goss regarding amending and revising
               case management orders; draft motion for relief
               from judgment/order and order granting same;
               assignment to legal assistant to revise, finalize
               and file with court.                                    175.00     0.40                92

 11/22/2013
        ADS    Revise case management order and file same
               with court.                                             175.00     0.10                93

 12/03/2013
        ADS    Receive and review discovery requests from
               defendant.                                              175.00     0.10                98

 12/15/2013
        ADS    Work on responses to discovery requests.                175.00     0.50               102

 12/16/2013
        ADS    Begin drafting requests for production to
               defendant and interrogatories.                          175.00     0.60                99

 12/26/2013
        ADS    Review documents contained in original ELC
               loan file, documents produced by the defendant,
               and initials document production by Trustee
               (1.0). Analyze complaint and answer in
               preparation for drafting of discovery requests
               (2.5). Begin drafting requests for production of
               documents and interrogatories to defendant
               (7.0).                                                  175.00    10.50               100
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       re: Alabama Livestock Auction (Preference)


                                                                          Rate    HOURS

       ADS     Continue drafting requests for production and
               interrogatories (2.0). Draft requests for
               admission to defendant; review, revise and
               finalize same (3.0). Gather exhibits for
               discovery requests to defendant (.50). Email
               draft discovery requests to J. Watt and J.
               Kennedy (.10).                                            175.00     5.60               101

 01/03/2014
        ADS    Work on Trustee's Response to defendant's
               discovery requests; attention to expert
               disclosure deadline; draft email to J. Kennedy
               and J. Watt regarding
                                 deadline.                               175.00     0.40               117

       ADS     Receive and review second set of discovery
               from defendant; confer with Jay Kennedy
               regarding                                                 175.00     0.10               124

 01/07/2014
        ADS    Office conference with J. Kennedy regarding

                                                Telephonic
               conference with K. Toner regarding                        175.00     0.10               118

       ADS     Draft/revise Trustee's Response to Defendant's
               Interrogatories to trustee.                               175.00     0.50               119

 01/08/2014
        ADS    Review and revise trustee's response to
               interrogatories, begin drafting answer to request
               for production (1.5). Review/analyze and revise
               responses to requests for admissions (1.9).               175.00     3.40               120

 01/09/2014
        ADS    Review, revise and analyze Trustee's response
               to discovery requests (2.0). Lengthy office
               conference with Jay Kennedy and J. Watt to


                         (1.5).                                          175.00     3.50               121

 01/10/2014
        ADS    Review/revise responses to discovery requests
               (.40). Draft/review/finalize trustee's requests for
               production and interrogatories (.30). Conduct
               final review of responses and requests (.20).
               Assignment to legal assistant to prepare
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                                                                        Rate    HOURS
               documents for production (.10). Prepare word
               document of Trustee's requests for processing
               to opposing counsel (.10). Conduct final review
               of documents for production (.20). Draft email
               to Scott Newbern with Trustee's Requests for
               Production, Interrogatories, and Requests for
               Admission (.20). Assignment to legal assistant
               to serve same via regular mail (.10). Draft email
               to Scott Newbern with Trustee's responses
               (.20). Draft and file Notice of Submission of
               Discovery Requests and Responses (.20).
               Correspond with Faegre Baker and Daniels
               regarding Trustee's repository; draft email to
               Harmony Mappes with discovery requests for
               uploading to Eastern's document repository
               (.20).                                                  175.00     2.20               122

 01/30/2014
        ADS    Attention to dispositive motion deadline.
               Correspond with legal assistant regarding same.
               Office conference with Jay Kennedy regarding

                                   draft email to W. Newbern
               regarding same.                                         175.00     0.20               123

 01/31/2014
        ADS    Draft Notice of extension of time to respond to
               defendant's second set of discovery requests
               and file same with court.                               175.00     0.20               116

 02/03/2014
        ADS    Receive and review notice of deficiency
               regarding notice of submission, receive and
               review notice of cancellation of notice of
               deficiency.                                             175.00     0.10               126

 02/04/2014
        ADS    Attention to deadline to amend pleadings and
               add additional parties. Review documents to
               analyze
                                                                       175.00     0.10               128

 02/05/2014
        ADS    Receive/review modification of notice of
               extension of time to respond to defendant's
               second set of discovery, calendar new response
               deadline set by court.                                  175.00     0.10               137
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                                                                        Rate    HOURS
 02/06/2014
        ADS    Receive/review notice of submission of
               supplemental production of documents.
               Assignment to legal assistant to upload
               documents to server.                                    175.00     0.10               129

 02/10/2014
        ADS    Attention to deadline to respond to second set
               of discovery requests served by defendant;
               calendar deadline to respond. Draft email to J.
               Kennedy and J. Watt to
                                                                       175.00     0.10               127

       ADS     Review/analyze                  Update
                                                                       175.00     0.10               130

 02/17/2014
        ADS    Analyze proposed response to send set of
               discovery with Jennifer Watt. Telephonic
               conference with


               receive and review FBD
                                                                       175.00     0.30               133

       ADS     Corrrespond with Jay Kennedy regarding

                                                                       175.00     0.10               136

 02/18/2014
        ADS    Review/analyze second set of discovery (.40).
               Confer with FBD
                      (.20). Draft/revise/and finalize responses
               to second set of discovery requests (.30). Draft
               email to J. Knauer with response to review and
               signature (.10). Email from J. Knauer with
               approval of same (.10). Prepare pleadings for
               service on defendant's counsel (.20). Draft
               letter and email to Newbern with response to
               second set of discovery and serve same (.20).           175.00     1.50               134

 02/20/2014
        ADS    Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               case; obtain and provide to J. Kennedy

                     confer with J. Kennedy regarding
                                                                       175.00     0.10               135
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                                                                        Rate    HOURS
 02/28/2014
        ADS    Receive and review Agreed Motion to Extend
               Time to File To File Dispositive Motion                 175.00     0.10               138

 03/03/2014
        ADS    Attention to deadline to amend Count II of
               complaint regarding actual fraud; review/analyze
               case management order; analyze with J. Watt

                                        draft, revise, and file
               Report to Court on Status of Amendment to
               Count III of the Trustee's Complaint                    175.00     0.60               139

       ADS     Review/analyze order granting motion to extend
               time to file dispositive motions.                       175.00     0.10               146

 03/12/2014
        ADS    Attention to deadline for defendant to respond to
               trustee's discovery requests.                           175.00     0.10               142

 03/26/2014
        ADS    Email from Scott Newbern with responses to
               Trustee's discovery requests.                           175.00     0.10               143

 03/31/2014
        ADS    Receive and Review agreed motion for
               scheduling extension filed by defendant; analyze
               same; confer with J. Watt and email to J.
               Kennedy regarding
               voicemail to Newbern regarding same,
               strategize with J. Watt regarding
                                                                       175.00     0.30               144

 04/02/2014
        ADS    Review Order Granting Agreed Motion to
               Extend Time to File Dispositive Motion                  175.00     0.10               159

 04/04/2014
        ADS    Attention to deadline to amend actual fraud
               count. Draft email to J. Watt and J. Kennedy
               regarding amending          Review/analyze
                                                                       175.00     0.20               147

 04/06/2014
        ADS    Review/analyze Defendant's responses to
               trustee's interrogatories, request for production
               and requests to admit in preparation for drafting
               amended complaint regarding: actual fraud.              175.00     1.00               148
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                                                                     Rate    HOURS
 04/07/2014
        ADS    Continue review and analysis of defendant's
               discovery responses and transactional
               documents (.80). Draft/revise/finalize amended
               complaint for actual fraud and file same with
               court (1.1).                                         175.00     1.90                149

 04/08/2014
        ADS    Telephonic conference with Kristin Goss
               regarding April 1, 2014 pretrial conferences.        175.00     0.10                150

       ADS     Receipt of summary judgment motion; calendar
               response deadline.                                   175.00     0.10                160

 04/09/2014
        ADS    Review email from K. Goss regarding continued
               pretrial dates and calendar same.                    175.00     0.10                151

 04/10/2014
        ADS    Attention to deadline to respond to summary
               judgment motion; email to J. Kennedy and J.
               Watt to
                                                                    175.00     0.10                152

 04/14/2014
        ADS    Review Minute Entry/Order re: Telephonic
               Status Conference, confirm continued pretrial
               date is calendared.                                  175.00     0.10                153

 04/17/2014
        ADS    Begin review and analysis of summary
               judgment motion.                                     175.00     0.60                155
               Amanda D. Stafford                                             40.50     7,087.50

 10/02/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                            125.00     0.20                 68

 10/17/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                            125.00     0.10                 69

 11/11/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                           125.00     0.10                 84

 11/14/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                           125.00     0.20                 85
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                                                                      Rate    HOURS

 11/19/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                  86

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                  94

 12/15/2013
        TJF    Review and study documents received by
               Eastern Livestock in response to discovery
               requests by S. Newbern.                               125.00     0.60                  96

 12/16/2013
        TJF    Continued review and study of documents
               received by Eastern Livestock in response to
               discovery requests by S. Newbern.                     125.00     0.40                  97

 01/09/2014
        TJF    Updated diary with Case Management Order
               deadlines.                                            125.00     0.20                 108

 01/14/2014
        TJF    Review of Case Management Order; diared
               same.                                                 125.00     0.20                 109

 03/05/2014
        TJF    Received and reviewed Court Order on
               extending time for dispositive motions; diaried
               same.                                                 125.00     0.10                 140
               Tammy J. Froelich                                                2.30        287.50

               FOR CURRENT SERVICES RENDERED                                   60.50     10,472.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                 TOTAL
    Jay P. Kennedy                                       0.40    $175.00                 $70.00
    Jennifer L. Watt                                    17.30     175.00               3,027.50
    Amanda D. Stafford                                  40.50     175.00               7,087.50
    Tammy J. Froelich                                    2.30     125.00                 287.50




               Reproduction of documents                                                     16.90
               TOTAL EXPENSES THRU 04/30/2014                                                16.90
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 12/09/2013    Outside Copying Expense Xcellence, Inc.                                  158.75    8
               Outside Copying Expense                                                  158.75

 01/24/2014    Overnight mail FEDERAL EXPRESS                                            22.38    11
               Overnight mail                                                            22.38

               TOTAL ADVANCES THRU 04/30/2014                                           181.13

               TOTAL CURRENT WORK THIS STATEMENT                                      10,670.53

               PREVIOUS BALANCE                                                       $6,618.33



 09/30/2013    Payment--Thank you                                                     -2,036.76   1
 12/31/2013    Payment--Thank you                                                     -1,341.25   2
               TOTAL PAYMENTS                                                         -3,378.01

               BALANCE DUE                                                        $13,910.85

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180           181-360         361+
       10,670.53             0.00         0.00       473.90              0.00      2,766.42
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       re: Kropf, Amos (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 02/12/2014
        JPK    Reviewed status of discovery. Met with M.
               Stafford on                                                   175.00      0.30               103

 03/11/2014
        JPK    Work with M. Stafford on settlement offers.
               Reviewed                                                      175.00      0.40               121

 04/10/2014
        JPK    Prepare for telephonic conference. Participate
               in telephonic conference regarding discovery
               and other issues. Called A. Adams.                            175.00      0.60               153

 04/11/2014
        JPK    Call with A. Adams. Establish deposition
               schedules. Establish pretrial dates.                          175.00      0.60               152

 04/16/2014
        JPK    Prepare for deposition (.90). Confer with A.
               Adams (.20).                                                  175.00      1.10               138

       JPK     Email with A. Adams regarding scheduling of
               deposition and other issues. Confer with M.
               Stafford.                                                     175.00      0.30               139

 04/22/2014
        JPK    Prepare for deposition. Emails with A. Adams.                 175.00      0.60               142

 04/28/2014
        JPK    Prepared for upcoming deposition. Reviewed
               prior invoices. Drafting of questions.                        175.00      0.60               141
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       re: Kropf, Amos (Preference)


                                                                      Rate    HOURS
 04/29/2014
        JPK    Reviewed amended case management order.
               Reviewed emails with A. Adams. Continued
               preparation for deposition.                           175.00     0.40                151

 04/30/2014
        JPK    Preparation for deposition of Kropf Farms. Met
               with M. Stafford. Drafting of questions.              175.00     1.70                150
               Jay P. Kennedy                                                   6.60     1,155.00

 10/18/2013
        JLW    Review case file and status                           175.00     0.40                 84

 10/28/2013
        JLW    Prepare for and attend pre-trial conference           175.00     0.40                 85

 10/29/2013
        JLW    Review minute order entry                             175.00     0.10                 86

 11/14/2013
        JLW    Review email from A. Adams regarding case
               management order.                                     175.00     0.50                 92

 11/18/2013
        JLW    Review email from A. Adams regarding
               scheduling orders; Review proposed case
               management orders; Review email from A.
               Adams regarding case management orders.               175.00     0.50                 93

 02/10/2014
        JLW    Telephone conference with A. Adams regarding
               discovery and settlement.                             175.00     0.30                104

 02/11/2014
        JLW    Review discovery requests sent by defendants.         175.00     0.40                105

 02/24/2014
        JLW    Email correspondence with M. Stafford
               regarding                                             175.00     0.10                106

 02/25/2014
        JLW    Review email from A. Adams regarding expert
               witness disclosures.                                  175.00     0.10                107

 02/26/2014
        JLW    Review and draft edits to discovery requests to
               Amos Kropf (1.0). Conference with M. Stafford
               regarding                     (.30). Review
               documents for discovery requests (.40).               175.00     1.70                108
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       re: Kropf, Amos (Preference)


                                                                       Rate    HOURS

 03/03/2014
        JLW    Draft email to A. Adams regarding expert
               disclosure deadlines; review email and draft
               joint motion regarding disclosure deadlines from
               A. Adams; Draft email to A. Adams regarding
               revisions to joint motion; Review email from A.
               Adams with revised joint motion and request for
               agreement; Review the revised motion from A.
               Adams and respond to email with approval of
               revised motion.                                        175.00     0.50               116

 03/06/2014
        JLW    Review order granting motion to extend expert
               witness disclosure deadline; Conference call
               with A. Adams regarding status of settlement
               negotiations.                                          175.00     0.40               120

 03/18/2014
        JLW    Review email from M. Stafford regarding
                                   Review email regarding
               counteroffer; Telephone call with A. Adams
               regarding settlement offer                             175.00     0.40               128

 03/19/2014
        JLW    Review draft responses to interrogatories;
               Review draft responses to production requests          175.00     0.80               129

 03/28/2014
        JLW    Telephone conference with A. Adams regarding
               request to extend discovery deadline (.50).
               Review and revise draft motion for extension of
               time (1.0). Follow up call with A. Adams
               regarding discovery deadline (.30). Review
               response to Trustee's interrogatories, requests
               for production and requests to admit (1.0).
               Review emails containing Kropf documents
               from A. Adams (.90).                                   175.00     3.70               130

 03/31/2014
        JLW    Review objection on motion for extension of
               time filed by A. Adams.                                175.00     0.30               131

 04/02/2014
        JLW    Review notice of hearing.                              175.00     0.10               146

 04/09/2014
        JLW    Meeting with M. Stafford regarding
                                      (.50). Draft reply in
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       re: Kropf, Amos (Preference)


                                                                          Rate   HOURS
               support of motion of extension of time (1.5).            175.00     2.00                147

 04/10/2014
        JLW    Review minute entry order; Conference with M.
               Stafford regarding
                                                                        175.00     0.40                148

 04/11/2014
        JLW    Review email from A. Adams regarding
               discovery deadlines and deposition availability.         175.00     0.10                149
               Jennifer L. Watt                                                   13.20     2,310.00

 10/21/2013
        ADS    Meeting with J. Watt regarding
                                                                        175.00     0.20                 88

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                              175.00     0.40                 89

 10/30/2013
        ADS    Review pleadings for order on motion to
               dismiss; draft proposed case management
               order; confer with J. Watt and J. Kennedy
               regarding                           Draft email to
               opposing counsel with proposed case
               management order and proposed revision to
               Kropf matter regarding amending Count II of
               Complaint for actual fraud.                              175.00     0.90                 90

       ADS     Assignment to paralegal to draft Notice of
               Apperance.                                               175.00     0.10                 91

 11/04/2013
        ADS    Email from A. Adams; review/analyze proposed
               revisions to case management orders. Draft
               email to J. Kennedy and J. Watt regarding
                                                                        175.00     0.10                 94

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                   175.00     0.10                 95

 11/14/2013
        ADS    Email from and draft email to A. Adams
               regarding case management orders.                        175.00     0.10                 96

 11/18/2013
        ADS    Revise case management order and email to
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       re: Kropf, Amos (Preference)


                                                                           Rate   HOURS
               opposing counsel.                                         175.00     0.40                97

       ADS     Upload case management order; email to
               opposing counsel to confirm same. Draft email
               to K. Goss regarding filing of case management
               orders. Update
                                                                         175.00     0.20                98

 01/15/2014
        ADS    Review documents produced by parties in
               preparation for drafting witness and exhibit lists;
               draft witness and exhibit lists and file same with
               court.                                                    175.00     0.80               101

 01/22/2014
        ADS    Receive and review defendant's preliminary
               witness and exhibit list.                                 175.00     0.10               102

 02/05/2014
        ADS    Attention to discovery completion deadline and
               review case management order. Process
               request for original ELC file. Diary for follow up
               on receipt of same.                                       175.00     0.20               109

 02/10/2014
        ADS    Review/analyze                   Update
                                                                         175.00     0.10               114

 02/12/2014
        ADS    Receive/review Notice of Discovery Requests to
               Trustee. Calendar deadline to respond to
               same.                                                     175.00     0.10               115

 02/24/2014
        ADS    Attention to deadline for Trustee to send out
               discovery requests.                                       175.00     0.10               117

 02/26/2014
        ADS    Review

                                                for drafting
               discovery requests (1.0). Draft/revise requests
               for production and interrogatories to defendant
               (2.0).                                                    175.00     3.00               110

       ADS     Review/revise discovery requests.                         175.00     0.50               111

       ADS     Review/revise and finalize trustee's discovery
               requests and prepare for submission and
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14      EOD 06/06/14 15:33:49    Pg 221
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       Eastern Livestock Bankruptcy                                                 June 04, 2014
                                                                       ACCOUNT NO:     110035-59
                                                                        INVOICE NO:             3
       re: Kropf, Amos (Preference)


                                                                       Rate    HOURS
               service on defendant's counsel. Draft email to
               A. Adams and L. Delcotto with discovery
               requests. Draft and file Notice of Discovery
               Requests in main bankruptcy case and
               adversary proceeding.                                  175.00     0.60               112

 02/28/2014
        ADS    Multiple email correspondence with H. Mappes
               regarding request for Trustee's discovery
               requests served on defendants. Forward
               Trustee's discovery requests to H. Mappes for
               uploading to Trustee's online discovery
               repository.                                            175.00     0.10               113

 03/03/2014
        ADS    Email correspondence with A. Adams with
               proposed Joint Motion to Strike and Reset
               Deadlines regarding expert witness disclosures.
               Review, analyze and revise same.                       175.00     0.50               118

       ADS     Review/analyze Joint Motion to Extend Time to
               File Expert Witness Disclosures and to Strike
               and Reset Deadline Regarding Expert
               Witnesses.                                             175.00     0.10               132

 03/06/2014
        ADS    Receive/review Order Granting Joint Motion to
               Extend Time to File Expert Witness Disclosures
               and to Strike and Reset Deadline Regarding
               Expert Witness Disclosures                             175.00     0.10               133

 03/11/2014
        ADS    Attention to request from opposing counsel
               regarding last offer of settlement (.20).
               Telephonic conference with Trustee regarding
                           (.30). Analyze
                                   (.50). Telephonic conference
               with A. Adams regarding settlement (.40). Draft
               lengthy email to J. Knauer with
                                                   (.60).             175.00     2.00               122

 03/18/2014
        ADS    Follow up with trustee on response to
               defendant's counteroffer. Analyze


                                Telephonic conferences with
               Amelia Adams and Jennifer Watt.                        175.00     0.60               123
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14      EOD 06/06/14 15:33:49    Pg 222
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                                                                       ACCOUNT NO:     110035-59
                                                                        INVOICE NO:             3
       re: Kropf, Amos (Preference)


                                                                       Rate    HOURS
 03/19/2014
        ADS    Review and analyze defendant's discovery
               requests (1.5). Begin drafting answers to
               interrogatories (2.5).                                 175.00     4.00               124

 03/20/2014
        ADS    Review/revise and finalize answers to
               interrogatories and requests for production
               (1.2). Draft email to opposing counsel with
               responses (.20). Coordinate with legal assistant
               to gather documents for requests for production
               (.40).                                                 175.00     1.80               125

 03/27/2014
        ADS    Strategize with Jen Watt regarding
                                                                      175.00     0.10               126

 03/28/2014
        ADS    Work on                   (.30). Analyze

                           (.30). Telephonic conference with
               A. Adams and J. Watt regarding extension of
               time (.30). Draft/revise Motion to Extend
               Discovery Deadline (.80).                              175.00     1.70               127

 04/02/2014
        ADS    Review order setting hearing on Motion to
               Extend Time to File Discovery and defendant's
               objection thereto.                                     175.00     0.10               159

 04/09/2014
        ADS    Review/analyze/revise reply in support of motion
               to extend discovery deadline; assignment to
               legal assistant to file same; review case
               management order, calendar deadline to amend
               count 2 of complaint.                                  175.00     0.50               135

 04/10/2014
        ADS    Prepare for and conduct hearing on Motion to
               Extend Discovery Deadline and defendant's
               objection thereto.                                     175.00     0.70               136

 04/11/2014
        ADS    Email correspondence with Amelia Adams and
               Jay Kennedy regarding scheduling of deposition
               of Amos Kropf and new case management
               deadlines.                                             175.00     0.20               134
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       Eastern Livestock Bankruptcy                                                 June 04, 2014
                                                                       ACCOUNT NO:     110035-59
                                                                        INVOICE NO:             3
       re: Kropf, Amos (Preference)


                                                                       Rate    HOURS
 04/14/2014
        ADS    Review Minute Entry/Order re: Telephonic
               Hearing Re: Motion to Extend Time to File
               Discovery and defendant's objection thereto.
               Calendar new hearing date, and update
                                                                      175.00     0.10                137

 04/15/2014
        ADS    Telephone call with A. Adams regarding Kropf
               deposition. Draft email to A. Adams confirming
               date of deposition.                                    175.00     0.30                143

 04/16/2014
        ADS    Draft/revise order granting motion to extend
               discovery deadline. File same with court.              175.00     0.60                144

 04/18/2014
        ADS    Draft amended case management order.                   175.00     1.20                145

 04/22/2014
        ADS    Receive and review Order Granting Motion to
               Extend Time to File Discovery                          175.00     0.10                158

 04/23/2014
        ADS    Email correspondence with opposing counsel
               regarding amended case management order;
               review and revise amended case management
               order. Assignment to legal assistant to draft
               notice of deposition of amos kropf for filing in
               main bankruptcy case.                                  175.00     0.30                154

 04/24/2014
        ADS    Email correspondence with Amelia Adams
               regarding amended case management order;
               review Adams' revisions to same.                       175.00     0.20                155

 04/28/2014
        ADS    Review and revise notice of deposition.
               Assignment to legal assistant to file same.            175.00     0.20                156

 04/29/2014
        ADS    Upload amended case management order to
               court for filing. Email correspondence with A.
               Adams regarding CMO and deposition time.
               Draft, revise, and file Amended Notice of
               Deposition.                                            175.00     0.60                157
               Amanda D. Stafford                                               24.10     4,217.50
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                                                                    ACCOUNT NO:     110035-59
                                                                     INVOICE NO:             3
       re: Kropf, Amos (Preference)


                                                                    Rate    HOURS
 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                           125.00     0.10                    87

 01/09/2014
        TJF    Updated diary with Case Management Order
               deadlines                                           125.00     0.10                    99

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                          125.00     0.10                   100

 03/06/2014
        TJF    Received and reviewed Court Order on
               extending time for disclosure of expert
               witnesses; diaried same.                            125.00     0.10                   119

 04/23/2014
        TJF    Drafted Notice of Deposition for J. Kennedy's
               review                                              125.00     0.40                   140
               Tammy J. Froelich                                              0.80         100.00

               FOR CURRENT SERVICES RENDERED                                 44.70        7,782.50

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE                 TOTAL
    Jay P. Kennedy                                      6.60    $175.00              $1,155.00
    Jennifer L. Watt                                   13.20     175.00               2,310.00
    Amanda D. Stafford                                 24.10     175.00               4,217.50
    Tammy J. Froelich                                   0.80     125.00                 100.00




               Reproduction of documents                                                    11.20
               Mailing expense                                                               0.50
               TOTAL EXPENSES THRU 04/30/2014                                               11.70



 02/26/2014    Pacer Service Center docket retrieval                                          5.20    10
               Pacer Service Center docket retrieval                                          5.20

               TOTAL ADVANCES THRU 04/30/2014                                                 5.20

               TOTAL CURRENT WORK THIS STATEMENT                                          7,799.40
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                                                               ACCOUNT NO:     110035-59
                                                                INVOICE NO:             3
       re: Kropf, Amos (Preference)


               PREVIOUS BALANCE                                                $15,169.84



 09/30/2013    Payment--Thank you                                                  -3,125.79   1
 12/31/2013    Payment--Thank you                                                  -5,612.90   2
               TOTAL PAYMENTS                                                      -8,738.69

               BALANCE DUE                                                     $14,230.55

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90        91-180       181-360         361+
        7,799.40             0.00         0.00      1,986.17          0.00      4,444.98
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                                                                                INVOICE NO:             3




       re: Peoples Livestock Auction (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/30/2013
        JLW    Review notice to continue                                     175.00      0.20               53

 10/01/2013
        JLW    Attend pre-trial conference; conference call with
               FBD regarding                        Review
               court minute entry regarding pretrial hearing;
               Review withdrawal of motion for scheduling
               extension; Review motion to extend time to file
               scheduling order                                              175.00      0.60               54

 10/04/2013
        JLW    Meeting with J. Knauer, K. Toner, J. Kennedy
               and M. Safford regarding
                                                                             175.00      0.40               57

 10/15/2013
        JLW    Review minute entry order;                                    175.00      0.10               62

 10/30/2013
        JLW    Meeting with M. Stafford regarding

                                                                             175.00      0.20               63

 11/04/2013
        JLW    Review draft case management order;                           175.00      0.40               73

 11/11/2013
        JLW    Review email from S. Newbern regarding issue
               with scheduling order; Review preliminary
               witness and exhibit lists.                                    175.00      0.50               74
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                                                                     INVOICE NO:             3
       re: Peoples Livestock Auction (Preference)


                                                                    Rate    HOURS
 11/14/2013
        JLW    Review order setting pre-trial conference;
               Conference with M. Stafford regarding               175.00     0.40               75

 11/18/2013
        JLW    Review order for relief from Order; Review
               written discovery requests.                         175.00     0.50               76

 12/03/2013
        JLW    Review order setting pre-trial conference.          175.00     0.10               83

 12/11/2013
        JLW    Conference with M. Stafford on
                                  Review requests to admit         175.00     0.80               87

 12/12/2013
        JLW    Draft answers to request to admit                   175.00     1.30               88

 12/16/2013
        JLW    Draft answers to request to admit                   175.00     0.80               89

 12/27/2013
        JLW    Review documents and draft answers to request
               to admit;                                           175.00     0.70               90

 12/31/2013
        JLW    Continue draft answers to request to admit          175.00     0.70               91

 01/06/2014
        JLW    Review documents and draft answer to requests
               to admit.                                           175.00     0.90               94

 01/07/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                  175.00     0.90               95

 01/08/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                  175.00     0.80               96

 01/09/2014
        JLW    Conference with J. Kennedy and M. Stafford


                                                 (.40).
               Continue review documents and draft answer to
               requests to admit (.90).                            175.00     1.30               97
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                                                                        INVOICE NO:             3
       re: Peoples Livestock Auction (Preference)


                                                                       Rate    HOURS
 01/10/2014
        JLW    Finalize and prepare answers to request to
               admit for filing (.80). Final review of all
               discovery responses (.40). Draft notice of
               submission of discovery requests and
               responses (.20).                                       175.00     1.40                98

 01/30/2014
        JLW    Conference with M. Stafford regarding
                          Review email to S. Newbern
               regarding discovery deadlines.                         175.00     0.20               106

 02/18/2014
        JLW    Review draft responses to second discovery
               requests.                                              175.00     0.30               112

 03/03/2014
        JLW    Review order on motion to extend time to file
               dispositive motions; Conference with M. Stafford
               regarding
               Review report to court.                                175.00     0.40               113

 03/05/2014
        JLW    Conference with M. Stafford regarding
                                                                      175.00     0.20               122

 03/20/2014
        JLW    Review Edens clearing contract                         175.00     0.10               125

 03/31/2014
        JLW    Review motion for extension of time;
               Conference with M Stafford regarding                   175.00     0.30               127

 04/02/2014
        JLW    Review order granting motion for extension of
               time.                                                  175.00     0.10               136

 04/07/2014
        JLW    Conference with J. Kennedy regarding
                                  (.30). Review deposition of
               Ed Edens (.30). Conference with M. Stafford
                                            (.20). Review and
               analyze discovery documents (.50). Draft
               amended Count II (.50). Review motion for
               summary judgment (.20).                                175.00     2.00               135

 04/10/2014
        JLW    Review minute entry order;                             175.00     0.10               137
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14      EOD 06/06/14 15:33:49    Pg 229
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       re: Peoples Livestock Auction (Preference)


                                                                        Rate    HOURS
 04/21/2014
        JLW    Review response to amended complaint.                   175.00     0.20                138
               Jennifer L. Watt                                                  16.90     2,957.50

 10/01/2013
        ADS    Attend pre-trial conference; conference call with
               FBD regarding
                                                                       175.00     0.30                 58

 10/04/2013
        ADS    Prepare for and attend meeting with J. Knauer,
               K. Toner, J. Kennedy and J. Watt regarding
                                                                       175.00     0.40                 59

 10/11/2013
        ADS    Begin drafting proposed case management
               order.                                                  175.00     0.40                 60

 10/14/2013
        ADS    Email from Scott Newbern regarding proposed
               case management order; multiple telephone
               conferences with K. Toner and J. Kennedy
               regarding                  review/revise case
               management order. Draft email to Scott
               Newbern with revised case management order.             175.00     0.40                 61

 10/20/2013
        ADS    Review Motion for Scheduling Extension.                 175.00     0.10                 64

       ADS     Review 10/1/13 and 10/15/13 Minute
               Entry/Orders. Update                                    175.00     0.20                 65

 10/21/2013
        ADS    Review case management order.                           175.00     0.10                 66

 10/30/2013
        ADS    Begin drafting preliminary witness and exhibit
               list; confer with J. Watt regarding     email to
               J. Kennedy and J. Watt with draft for comment.
               Assignment to paralegal to draft Appearance.            175.00     0.60                 67

 10/31/2013
        ADS    Finalize case management order; convert to
               PDF and upload to court through CM/ECF.
               Update                        Calendar pretrial
               deadlines.                                              175.00     0.50                 68

       ADS     Review document production by Trustee and
               defendant; revise and finalize Preliminary
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       re: Peoples Livestock Auction (Preference)


                                                                        Rate    HOURS
               Witness and Exhibit List. Assignment to legal
               assistant to file with court.                           175.00     0.60               69

 11/08/2013
        ADS    Telephonic conference with K. Goss regarding
               trial date and scheduling status conference;
               revise case management order; file CMO with
               court; and draft email to opposing counsel
               regarding same.                                         175.00     0.30               77

 11/12/2013
        ADS    Emails from opposing counsel regarding
               scheduling order; discuss      with J. Watt,
               and draft
                                                                       175.00     0.20               78

 11/13/2013
        ADS    Receive and brief review of Defendant's
               Preliminary Witness and Exhibit List.                   175.00     0.10               79

 11/15/2013
        ADS    Voicemail to W. Newbern and telephonic
               conference with same regarding revisions to
               case management order; telephonic conference
               with K. Goss regarding amending and revising
               case management orders; draft motion for relief
               from judgment/order and order granting same;
               assignment to legal assistant to revise, finalize
               and file with court.                                    175.00     0.40               80

 11/22/2013
        ADS    Revise case management order and file same
               with court.                                             175.00     0.10               81

 12/03/2013
        ADS    Receive and review discovery requests from
               defendant.                                              175.00     0.10               84

 12/11/2013
        ADS    Follow up with J. Kennedy regarding service of
               discovery request from Newbern.                         175.00     0.10               85

 12/15/2013
        ADS    Work on responses to discovery requests.                175.00     0.50               86

 01/03/2014
        ADS    Work on Trustee's Response to defendant's
               discovery requests; attention to expert
               disclosure deadline; draft email to J. Kennedy
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       re: Peoples Livestock Auction (Preference)


                                                                          Rate    HOURS
               and J. Watt regarding
                                                                         175.00     0.40               100

       ADS     Receive and review second set of discovery
               from defendant; confer with Jay Kennedy
               regarding                                                 175.00     0.10               107

 01/07/2014
        ADS    Office conference with J. Kennedy regarding

                                                Telephonic
               conference with K. Toner regarding                        175.00     0.10               101

       ADS     Draft/revise Trustee's Response to Defendant's
               Interrogatories to trustee.                               175.00     0.50               102

 01/09/2014
        ADS    Office conference with J. Kennedy and J. Watt
               to

                                                                         175.00     0.40               103

 01/10/2014
        ADS    Review/revise responses to discovery requests
               (.30). Draft/review/finalize trustee's requests for
               production and interrogatories (.30). Conduct
               final review of responses and requests (.30).
               Assignment to legal assistant to prepare
               documents for production (.10). Prepare word
               document of Trustee's requests for processing
               to opposing counsel (.10). Conduct final review
               of documents for production (.20). Draft email to
               Scott Newbern with Trustee's Requests for
               Production, Interrogatories, and Requests for
               Admission (.20). Assignment to legal assistant
               to serve same via regular mail (.10). Draft email
               to Scott Newbern with Trustee's responses
               (.20). Draft and file Notice of Submission of
               Discovery Requests and Responses (.20).
               Correspond with Faegre Baker and Daniels
               regarding Trustee's repository; draft email to
               Harmony Mappes with discovery requests for
               uploading to Eastern's document repository
               (.20).                                                    175.00     2.10               104

 01/30/2014
        ADS    Attention to dispositive motion deadline.
               Correspond with legal assistant regarding same.
               Office conference with Jay Kennedy regarding
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       re: Peoples Livestock Auction (Preference)


                                                                      Rate    HOURS

                                   draft email to W. Newbern
               regarding same.                                       175.00     0.20               105

 01/31/2014
        ADS    Draft Notice of extension of time to respond to
               defendant's second set of discovery requests
               and file same with court.                             175.00     0.20                99

 02/04/2014
        ADS    Attention to deadline to amend pleadings and
               add additional parties. Review

                                                                     175.00     0.10               109

 02/05/2014
        ADS    Receive/review modification of notice of
               extension of time to respond to defendant's
               second set of discovery, calendar new response
               deadline set by court.                                175.00     0.10               118

 02/06/2014
        ADS    Receive/review notice of submission of
               supplemental production of documents.
               Assignment to legal assistant to upload
               documents to server.                                  175.00     0.10               110

 02/10/2014
        ADS    Attention to deadline to respond to second set
               of discovery requests served by defendant;
               calendar deadline to respond. Draft email to J.
               Kennedy and J. Watt to
                                                                     175.00     0.10               108

       ADS     Review/analyze                 Update
                                                                     175.00     0.10               111

 02/17/2014
        ADS    Analyze
                                             Telephonic
               conference with K. Britton regarding


               receive and review FBD sample responses to
               second set of discovery requests.                     175.00     0.30               114

       ADS     Corrrespond with Jay Kennedy regarding

                                                                     175.00     0.10               117
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       re: Peoples Livestock Auction (Preference)


                                                                         Rate    HOURS

 02/18/2014
        ADS    Review/analyze second set of discovery (.30).
               Confer with FBD
                      (.20). Draft/revise/and finalize responses
               to second set of discovery requests (.30). Draft
               email to J. Knauer with response to review and
               signature (.10). Email from J. Knauer with
               approval of same (.10). Prepare pleadings for
               service on defendant's counsel (.30). Draft letter
               and email to Newbern with response to second
               set of discovery and serve same (.20).                   175.00     1.50               115

 02/20/2014
        ADS    Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               case; obtain and provide to J. Kennedy

                      confer with J. Kennedy regarding
                                                                        175.00     0.10               116

 02/28/2014
        ADS    Receive and review Agreed Motion to Extend
               Time to File To File Dispositive Motion                  175.00     0.10               119

 03/03/2014
        ADS    Attention to deadline to amend Count II of
               complaint regarding actual fraud; review/analyze
               case management order; analyze

                                        draft, revise, and file
               Report to Court on Status of Amendment to
               Count III of the Trustee's Complaint                     175.00     0.60               120

       ADS     Review/analyze order granting motion to extend
               time to file dispositive motions.                        175.00     0.10               128

 03/12/2014
        ADS    Attention to deadline for defendant to respond to
               trustee's discovery requests.                            175.00     0.10               123

 03/26/2014
        ADS    Email from Scott Newbern with responses to
               Trustee's discovery requests.                            175.00     0.10               124

 03/31/2014
        ADS    Receive and Review agreed motion for
               scheduling extension filed by defendant; analyze
               same; confer with J. Watt and email to J.
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                                                                      INVOICE NO:             3
       re: Peoples Livestock Auction (Preference)


                                                                     Rate    HOURS
               Kennedy regarding
               voicemail to Newbern regarding same,
               strategize with J. Watt regarding
                                                                    175.00     0.30                126

 04/02/2014
        ADS    Review Order Granting Agreed Motion to
               Extend Time to File Dispositive Motion               175.00     0.10                139

 04/04/2014
        ADS    Attention to deadline to amend actual fraud
               count. Draft email to J. Watt and J. Kennedy
               regarding                   Review/analyze
                                                                    175.00     0.20                129

 04/07/2014
        ADS    Review/revise Amended complaint for actual
               fraud. Assignment to legal assistant to file
               same with court.                                     175.00     0.80                130

 04/08/2014
        ADS    Telephonic conference with Kristin Goss
               regarding April 1, 2014 pretrial conferences.        175.00     0.10                131

       ADS     Receipt of summary judgment motion; calendar
               response deadline.                                   175.00     0.10                140

 04/09/2014
        ADS    Review email from K. Goss regarding continued
               pretrial dates and calendar same.                    175.00     0.10                132

 04/10/2014
        ADS    Attention to deadline to respond to summary
               judgment motion; email to J. Kennedy and J.
               Watt to
                                                                    175.00     0.10                133

 04/14/2014
        ADS    Review Minute Entry/Order re: Telephonic
               Status Conference, confirm continued pretrial
               date is calendared.                                  175.00     0.10                134
               Amanda D. Stafford                                             14.80     2,590.00

 10/02/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                            125.00     0.20                 55

 10/17/2013
        TJF    Received reviewed and uploaded recently filed
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       Eastern Livestock Bankruptcy                                                June 04, 2014
                                                                      ACCOUNT NO:     110035-60
                                                                       INVOICE NO:             3
       re: Peoples Livestock Auction (Preference)


                                                                       Rate   HOURS
               pleadings                                             125.00     0.10                    56

 11/11/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                    70

 11/14/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.20                    71

 11/19/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                    72

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                    82

 01/09/2014
        TJF    Updated diary with Case Management Order
               deadlines.                                            125.00     0.20                    92

 01/14/2014
        TJF    Review of Case Management Order; diared
               same.                                                 125.00     0.20                    93

 03/05/2014
        TJF    Received and reviewed Court Order on
               extending time for dispositive motions; diaried
               same.                                                 125.00     0.10                   121
               Tammy J. Froelich                                                1.30         162.50

               FOR CURRENT SERVICES RENDERED                                   33.00        5,710.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                  TOTAL
    Jennifer L. Watt                                    16.90    $175.00               $2,957.50
    Amanda D. Stafford                                  14.80     175.00                2,590.00
    Tammy J. Froelich                                    1.30     125.00                  162.50




               Reproduction of documents                                                        5.00
               TOTAL EXPENSES THRU 04/30/2014                                                   5.00
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                                                                   ACCOUNT NO:     110035-60
                                                                    INVOICE NO:             3
       re: Peoples Livestock Auction (Preference)




 12/09/2013    Outside Copying Expense Xcellence, Inc.                                   167.77    7
               Outside Copying Expense                                                   167.77

               TOTAL ADVANCES THRU 04/30/2014                                            167.77

               TOTAL CURRENT WORK THIS STATEMENT                                        5,882.77

               PREVIOUS BALANCE                                                        $5,585.75



 09/30/2013    Payment--Thank you                                                      -1,925.64   1
 12/31/2013    Payment--Thank you                                                        -784.40   2
               TOTAL PAYMENTS                                                          -2,710.04

               BALANCE DUE                                                             $8,758.48

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180            181-360         361+
        5,882.77             0.00         0.00       277.20               0.00      2,598.51
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                                                                               ACCOUNT NO:     110035-61
                                                                                INVOICE NO:             4




       re: Robert Rawls Livestock (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 12/31/2013
        JPK    Reviewed second set of discovery from W.
               Scott Newbern. Initial comparison to first set of
               discovery.                                                    175.00      0.30               109

 03/24/2014
        JPK    Reviewed email from K. Toner (.20). Reviewed
               emails from Scott Newbern (.30). Follow up on
               discovery information (.50).                                  175.00      1.00               152

 03/25/2014
        JPK    Reviewed email from S. Newbern. Follow up on
               Rawls status.                                                 175.00      0.40               154

 03/27/2014
        JPK    Follow up on litigation status. Reviewed email
               from Kayla
                          Meet with M. Stafford.                             175.00      0.60               153

 04/07/2014
        JPK    Participate in brief telephonic conference.                   175.00      0.30               180

 04/09/2014
        JPK    Prepared for hearing on motion for temporary
               stay (.50). Call with S. Newbern (.30).
               Participate in telephonic pretrial hearing (.40).             175.00      1.20               179
               Jay P. Kennedy                                                            3.80      665.00

 09/30/2013
        JLW    Review notice to continue                                     175.00      0.20                75

 10/01/2013
        JLW    Attend pre-trial conference; conference call with
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       Eastern Livestock Bankruptcy                                                 June 04, 2014
                                                                       ACCOUNT NO:     110035-61
                                                                        INVOICE NO:             4
       re: Robert Rawls Livestock (Preference)


                                                                       Rate    HOURS
               FBD regarding                        Review
               court minute entry regarding pretrial hearing;
               Review withdrawal of motion for scheduling
               extension; Review motion to extend time to file
               scheduling order                                       175.00     0.60                76

 10/04/2013
        JLW    Meeting with J. Knauer, K. Toner, J. Kennedy
               and M. Safford regarding
                                                                      175.00     0.40                79

 10/15/2013
        JLW    Review minute entry order;                             175.00     0.10                84

 10/30/2013
        JLW    Meeting with M. Stafford regarding

                                                                      175.00     0.20                85

 11/04/2013
        JLW    Review draft case management order;                    175.00     0.40                95

 11/11/2013
        JLW    Review email from S. Newbern regarding issue
               with scheduling order; Review preliminary
               witness and exhibit lists.                             175.00     0.50                96

 11/14/2013
        JLW    Review order setting pre-trial conference;
               Conference with M. Stafford regarding                  175.00     0.40                97

 11/18/2013
        JLW    Review order for relief from Order; Review
               written discovery requests.                            175.00     0.50                98

 12/03/2013
        JLW    Review order setting pre-trial conference.             175.00     0.10               105

 12/11/2013
        JLW    Conference with M. Stafford
                                  Review requests to admit            175.00     0.80               114

 12/12/2013
        JLW    Draft answers to request to admit                      175.00     1.30               115

 12/16/2013
        JLW    Draft answers to request to admit                      175.00     0.80               116
Case 10-93904-BHL-11         Doc 2591-1          Filed 06/06/14   EOD 06/06/14 15:33:49    Pg 239
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                                                                       ACCOUNT NO:     110035-61
                                                                        INVOICE NO:             4
       re: Robert Rawls Livestock (Preference)


                                                                       Rate    HOURS
 12/27/2013
        JLW    Review documents and draft answers to request
               to admit;                                              175.00     0.70               117

 12/31/2013
        JLW    Continue draft answers to request to admit             175.00     0.70               118

 01/03/2014
        JLW    Review draft answers to interrogatories and
               production requests.                                   175.00     1.20               121

 01/06/2014
        JLW    Review documents and draft answer to requests
               to admit.                                              175.00     0.90               122

 01/07/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                     175.00     0.90               123

 01/08/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                     175.00     0.80               124

 01/09/2014
        JLW    Conference with J. Kennedy and M. Stafford to
               review

                                                 (.40).
               Continue review documents and draft answer to
               requests to admit (.90).                               175.00     1.30               125

 01/10/2014
        JLW    Finalize and prepare answers to request to
               admit for filing (.60). Final review of all
               discovery responses (.60). Draft notice of
               submission of discovery requests and
               responses (.20).                                       175.00     1.40               126

 01/30/2014
        JLW    Conference with M. Stafford regarding
                          Review email to S. Newbern
               regarding discovery deadlines.                         175.00     0.20               134

 02/18/2014
        JLW    Review draft responses to second discovery
               requests.                                              175.00     0.30               140

 03/03/2014
        JLW    Review order on motion to extend time to file
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       Eastern Livestock Bankruptcy                                                 June 04, 2014
                                                                       ACCOUNT NO:     110035-61
                                                                        INVOICE NO:             4
       re: Robert Rawls Livestock (Preference)


                                                                       Rate    HOURS
               dispositive motions; Conference with M. Stafford
               regarding
               Review report to court.                                175.00     0.40                141

 03/05/2014
        JLW    Conference with M. Stafford regarding
                                                                      175.00     0.20                150

 03/20/2014
        JLW    Review Edens clearing contract                         175.00     0.10                157

 03/31/2014
        JLW    Review motion for extension of time;
               Conference with M Stafford regarding
               Review email correspondence regarding status
               of Rawls business.                                     175.00     0.50                160

 04/02/2014
        JLW    Conference with M. Stafford regarding
                                   Review order granting
               motion for extension of time.                          175.00     0.30                175

       JLW     Conference with J. Isaac regarding
                                                                      175.00     0.30                176

 04/07/2014
        JLW    Conference with J. Kennedy regarding
                                   (.20). Review deposition of
               Ed Edens (.50). Conference with M. Stafford
               regarding                     (.20). Review and
               analyze discovery documents (.40). Draft
               amended Count II (.50). Review motion for
               entry of bridge order (.20).                           175.00     2.00                173

 04/08/2014
        JLW    Review order granting motion for entry of bridge
               order; Conference with M. Stafford on status of
               objection to motion to stay proceedings; Review
               minute entry regarding stay proceedings.               175.00     0.60                174

 04/09/2014
        JLW    Review minute entry order on motion for stay.          175.00     0.10                177

 04/10/2014
        JLW    Review minute entry order; Review order
               granting motion for temporary stay;                    175.00     0.20                178
               Jennifer L. Watt                                                 19.40     3,395.00
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                                                                        ACCOUNT NO:     110035-61
                                                                         INVOICE NO:             4
       re: Robert Rawls Livestock (Preference)


                                                                        Rate    HOURS
 10/01/2013
        ADS    Attend pre-trial conference; conference call with
               FBD regarding
                                                                       175.00     0.30               80

 10/04/2013
        ADS    Prepare for and attend meeting with J. Knauer,
               K. Toner, J. Kennedy and J. Watt regarding
                                                                       175.00     0.40               81

 10/11/2013
        ADS    Begin drafting proposed case management
               order.                                                  175.00     0.40               82

 10/14/2013
        ADS    Email from Scott Newbern regarding proposed
               case management order; multiple telephone
               conferences with K. Toner and J. Kennedy
               regarding                  review/revise case
               management order. Draft email to Scott
               Newbern with revised case management order.             175.00     0.40               83

 10/20/2013
        ADS    Review Motion for Scheduling Extension.                 175.00     0.10               86

       ADS     Review 10/1/13 and 10/15/13 Minute
               Entry/Orders. Update                                    175.00     0.20               87

 10/21/2013
        ADS    Review case management order.                           175.00     0.10               88

 10/30/2013
        ADS    Begin drafting preliminary witness and exhibit
               list; confer with J. Watt regarding     email to
               J. Kennedy and J. Watt
               Assignment to paralegal to draft Appearance.            175.00     0.60               89

 10/31/2013
        ADS    Finalize case management order; convert to
               PDF and upload to court through CM/ECF.
               Update                        Calendar pretrial
               deadlines.                                              175.00     0.50               90

       ADS     Review document production by Trustee and
               defendant; revise and finalize Preliminary
               Witness and Exhibit List. Assignment to legal
               assistant to file with court.                           175.00     0.60               91
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       re: Robert Rawls Livestock (Preference)


                                                                        Rate    HOURS
 11/08/2013
        ADS    Telephonic conference with K. Goss regarding
               trial date and scheduling status conference;
               revise case management order; file CMO with
               court; and draft email to opposing counsel
               regarding same.                                         175.00     0.30                99

 11/12/2013
        ADS    Emails from opposing counsel regarding
               scheduling order; discuss       with J. Watt,
               and draft proposed response to opposing
               counsel.                                                175.00     0.20               100

 11/13/2013
        ADS    Receive and brief review of Defendant's
               Preliminary Witness and Exhibit List.                   175.00     0.10               101

 11/15/2013
        ADS    Voicemail to W. Newbern and telephonic
               conference with same regarding revisions to
               case management order; telephonic conference
               with K. Goss regarding amending and revising
               case management orders; draft motion for relief
               from judgment/order and order granting same;
               assignment to legal assistant to revise, finalize
               and file with court.                                    175.00     0.40               102

 11/22/2013
        ADS    Revise case management order and file same
               with court.                                             175.00     0.10               103

 12/03/2013
        ADS    Receive and review discovery requests from
               defendant.                                              175.00     0.10               110

 12/15/2013
        ADS    Work on responses to discovery requests.                175.00     0.50               112

 12/29/2013
        ADS    Review/analyze defendant's discovery requests
               to Trustee (1.0). Begin drafting responses to
               same (1.5).                                             175.00     2.50               108

 12/30/2013
        ADS    Draft responses to defendant's requests for
               production and interrogatories to Trustee (5.0).
               Lengthy telephonic conference with Liz Lynch
               regarding
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14      EOD 06/06/14 15:33:49    Pg 243
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       re: Robert Rawls Livestock (Preference)


                                                                          Rate    HOURS
                                       (1.0). Extensive review
               of                                         (3.5).         175.00     9.50               111

 12/31/2013
        ADS    Review/revise and augment answers to
               interrogatories and requests for production
               (3.0). Confer with J. Watt regarding       (.60).
               Email correspondence with Liz Lynch

                                               (.30).                    175.00     3.90               113

 01/03/2014
        ADS    Work on Trustee's Response to defendant's
               discovery requests; attention to expert
               disclosure deadline; draft email to J. Kennedy
               and J. Watt regarding
                                                                         175.00     0.40               128

       ADS     Receive and review second set of discovery
               from defendant; confer with Jay Kennedy
               regarding                                                 175.00     0.10               135

 01/07/2014
        ADS    Office conference with J. Kennedy regarding

                                                Telephonic
               conference with K. Toner regarding                        175.00     0.10               129

       ADS     Draft/revise Trustee's Response to Defendant's
               Interrogatories to trustee.                               175.00     0.50               130

 01/09/2014
        ADS    Office conference with J. Kennedy and J. Watt


                                                                         175.00     0.40               131

 01/10/2014
        ADS    Review/revise responses to discovery requests
               (.40). Draft/review/finalize trustee's requests for
               production and interrogatories (.40). Conduct
               final review of responses and requests (.30).
               Assignment to legal assistant to prepare
               documents for production (.10). Prepare word
               document of Trustee's requests for processing
               to opposing counsel (.10). Conduct final review
               of documents for production (.20). Draft email
               to Scott Newbern with Trustee's Requests for
               Production, Interrogatories, and Requests for
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       re: Robert Rawls Livestock (Preference)


                                                                        Rate    HOURS
               Admission (.20). Assignment to legal assistant
               to serve same via regular mail (.10). Draft email
               to Scott Newbern with Trustee's responses
               (.20). Draft and file Notice of Submission of
               Discovery Requests and Responses (.20).
               Correspond with Faegre Baker and Daniels
               regarding Trustee's repository; draft email to
               Harmony Mappes with discovery requests for
               uploading to Eastern's document repository
               (.20).                                                  175.00     2.40               132

 01/30/2014
        ADS    Attention to dispositive motion deadline.
               Correspond with legal assistant regarding same.
               Office conference with Jay Kennedy regarding

                                   draft email to W. Newbern
               regarding same.                                         175.00     0.20               133

 01/31/2014
        ADS    Draft Notice of extension of time to respond to
               defendant's second set of discovery requests
               and file same with court.                               175.00     0.20               127

 02/04/2014
        ADS    Attention to deadline to amend pleadings and
               add additional parties. Review            to
               analyze
                                                                       175.00     0.10               137

 02/05/2014
        ADS    Receive/review modification of notice of
               extension of time to respond to defendant's
               second set of discovery, calendar new response
               deadline set by court.                                  175.00     0.10               146

 02/06/2014
        ADS    Receive/review notice of submission of
               supplemental production of documents.
               Assignment to legal assistant to upload
               documents to server.                                    175.00     0.10               138

 02/10/2014
        ADS    Attention to deadline to respond to second set
               of discovery requests served by defendant;
               calendar deadline to respond. Draft email to J.
               Kennedy and J. Watt to
                                                                       175.00     0.10               136
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                                                                          INVOICE NO:             4
       re: Robert Rawls Livestock (Preference)


                                                                         Rate    HOURS
       ADS     Review/analyze                    Update
                                                                        175.00     0.10               139

 02/17/2014
        ADS    Analyze proposed response to send set of
               discovery with Jennifer Watt. Telephonic
               conference with K. Britton regarding


               receive and review
                                                                        175.00     0.30               142

       ADS     Corrrespond with Jay Kennedy regarding

                                                                        175.00     0.10               145

 02/18/2014
        ADS    Review/analyze second set of discovery; confer
               with FBD
               (.40). Draft/revise/and finalize responses to
               second set of discovery requests (.50). Draft
               email to J. Knauer with response to review and
               signature (.10). Email from J. Knauer with
               approval of same (.10). Prepare pleadings for
               service on defendant's counsel (.20). Draft letter
               and email to Newbern with response to second
               set of discovery and serve same (.20).                   175.00     1.50               143

 02/20/2014
        ADS    Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               case; obtain and provide to J. Kennedy

                      confer with J. Kennedy regarding
                                                                        175.00     0.10               144

 02/28/2014
        ADS    Receive and review Agreed Motion to Extend
               Time to File To File Dispositive Motion                  175.00     0.10               147

 03/03/2014
        ADS    Attention to deadline to amend Count II of
               complaint regarding actual fraud; review/analyze
               case management order; analyze with J. Watt

                                        draft, revise, and file
               Report to Court on Status of Amendment to
               Count III of the Trustee's Complaint                     175.00     0.60               148
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                                                                        ACCOUNT NO:     110035-61
                                                                         INVOICE NO:             4
       re: Robert Rawls Livestock (Preference)


                                                                        Rate    HOURS
       ADS     Review/analyze order granting motion to extend
               time to file dispositive motions.                       175.00     0.10               161

 03/12/2014
        ADS    Attention to deadline for defendant to respond to
               trustee's discovery requests.                           175.00     0.10               151

 03/25/2014
        ADS    Receive/review multiple email correspondence
               from Newbern, J. Kennedy, and J. Knauer
               regarding closure of Rawls' business by
               PSA/GIPSA                                               175.00     0.20               155

 03/26/2014
        ADS    Email from Scott Newbern with responses to
               Trustee's discovery requests.                           175.00     0.10               156

 03/31/2014
        ADS    Receive and Review agreed motion for
               scheduling extension filed by defendant; analyze
               same; confer with J. Watt and email to J.
               Kennedy regarding
               voicemail to Newbern regarding same,
               strategize with J. Watt regarding
                                                                       175.00     0.30               159

 04/02/2014
        ADS    Email from and confer with legal assistant
               regarding
                                                     (.20).
               Review/analyze previous emails received
               regarding shut down of Robert Rawls' business
               by PSA (.30). Draft lengthy email to Trustee
               regarding

                                  (.60). Email from Trustee
               regarding        (.20).                                 175.00     1.30               162

       ADS     Review Order Granting Agreed Motion to
               Extend Time to File Dispositive Motion                  175.00     0.10               183

 04/03/2014
        ADS    Telephonic conference with Scott Newbern
               regarding trustee's objection to stay litigation;
               confer with J. Knauer regarding                         175.00     0.20               163

 04/04/2014
        ADS    Multiple email correspondence regarding
               hearing on motion to stay litigation/request for
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                                                                        INVOICE NO:             4
       re: Robert Rawls Livestock (Preference)


                                                                       Rate    HOURS
               emergency hearing; receive, review and analyze
               Newbern's motion to stay litigation.                   175.00     0.50               164

       ADS     Attention to deadline to amend actual fraud
               count. Draft email to J. Watt and J. Kennedy
               regarding amending          Review/analyze
                                                                      175.00     0.20               165

       ADS     Draft email to Jay regarding
                                                                      175.00     0.20               181

       ADS     Review order setting hearing on Motion For
               Temporary Stay Of Proceedings                          175.00     0.10               182

 04/07/2014
        ADS    Review/analyze Motion for Entry of Bridge Order
               regarding summary judgment deadline.                   175.00     0.10               166

       ADS     Review/revise Amended complaint for actual
               fraud. Assignment to legal assistant to file
               same with court.                                       175.00     0.60               168

 04/08/2014
        ADS    Review/analyze Order Granting Motion for Entry
               of Bridge Order to 4/9/14                              175.00     0.10               167

       ADS     Telephonic conference with Kristin Goss
               regarding April 1, 2014 pretrial conferences.          175.00     0.10               169

       ADS     Legal research on

                        (1.0). Review/analyze case law


                                   (.50). Confer with J.
               Kennedy regarding
                        (.30). Draft/revise Trustee's Objection
               to Emergency Motion for Temporary Stay of
               Proceedings (1.0).                                     175.00     2.80               170

 04/09/2014
        ADS    Prepare for, attend and conduct hearing on
               Defendant's Emergency Motion for Temporary
               Stay of Proceedings and Trustee's objection
               thereto (.50). Review minute entry/order (.10).
               Calendar deadline for Newbern to withdraw as
               counsel or file summary judgment (.10).
               Review proposed order granting temporary stay
               of proceedings (.10). Email from K. Goss
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                                                                       ACCOUNT NO:     110035-61
                                                                        INVOICE NO:             4
       re: Robert Rawls Livestock (Preference)


                                                                       Rate    HOURS
               regarding continued pretrial dates and calendar
               same (.20).                                            175.00     1.00                171

 04/14/2014
        ADS    Review Minute Entry/Order re: Telephonic
               Status Conference, confirm continued pretrial
               date is calendared.                                    175.00     0.10                172
               Amanda D. Stafford                                               36.90     6,457.50

 10/02/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                              125.00     0.20                 77

 10/17/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                              125.00     0.10                 78

 11/11/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                             125.00     0.10                 92

 11/14/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                             125.00     0.20                 93

 11/19/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                             125.00     0.10                 94

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                             125.00     0.10                104

 12/15/2013
        TJF    Review and study documents received by
               Eastern Livestock in response to discovery
               requests by S. Newbern.                                125.00     0.40                106

 12/16/2013
        TJF    Continued review and study of documents
               received by Eastern Livestock in response to
               discovery requests by S. Newbern.                      125.00     0.20                107

 01/09/2014
        TJF    Updated diary with Case Management Order
               deadlines                                              125.00     0.20                119

 01/14/2014
        TJF    Review of Case Management Order; diared
Case 10-93904-BHL-11         Doc 2591-1          Filed 06/06/14   EOD 06/06/14 15:33:49      Pg 249
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       Eastern Livestock Bankruptcy                                                 June 04, 2014
                                                                       ACCOUNT NO:     110035-61
                                                                        INVOICE NO:             4
       re: Robert Rawls Livestock (Preference)


                                                                        Rate   HOURS
               same.                                                  125.00     0.20                  120

 03/05/2014
        TJF    Received and reviewed Court Order on
               extending time for dispositive motions; diaried
               same.                                                  125.00     0.10                  149
               Tammy J. Froelich                                                 1.90        237.50

               FOR CURRENT SERVICES RENDERED                                    62.00     10,755.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                   TOTAL
    Jay P. Kennedy                                       3.80    $175.00                 $665.00
    Jennifer L. Watt                                    19.40     175.00                3,395.00
    Amanda D. Stafford                                  36.90     175.00                6,457.50
    Tammy J. Froelich                                    1.90     125.00                  237.50




               Reproduction of documents                                                       6.40
               TOTAL EXPENSES THRU 04/30/2014                                                  6.40



 12/09/2013    Outside Copying Expense Xcellence, Inc.                                        63.07     6
               Outside Copying Expense                                                        63.07

               TOTAL ADVANCES THRU 04/30/2014                                                 63.07

               TOTAL CURRENT WORK THIS STATEMENT                                          10,824.47

               PREVIOUS BALANCE                                                          $10,443.44



 09/30/2013    Payment--Thank you                                                          -3,817.94    2
 12/31/2013    Payment--Thank you                                                            -884.30    3
               TOTAL PAYMENTS                                                              -4,702.24

               BALANCE DUE                                                               $16,565.67

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180                181-360           361+
       10,824.47             0.00         0.00       312.30                   0.00        5,428.90
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 250
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-64
                                                                                INVOICE NO:             4




       re: Brandon Zeisler (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/05/2013
        JPK    Conduct mediation conference with J. Graham
               and J. Knauer. Review offers.                                 175.00      0.70               51

 09/20/2013
        JPK    Reviewed email from J. Graham. Reviewed
                                 Forward email to J. Knauer.                 175.00      0.30               50

 11/25/2013
        JPK    Call with J. Graham. Participate in pretrial
               conference.                                                   175.00      0.30               57

 01/27/2014
        JPK    Reviewed email regarding potential settlements.
               Forward email from E. Nave.                                   175.00      0.30               68

 02/20/2014
        JPK    Reviewed email from J. Graham. Confirm
               settlement with J. Knauer.                                    175.00      0.30               78

 03/26/2014
        JPK    Follow up with M. Stafford on settlement and
               conference call.                                              175.00      0.20               80
               Jay P. Kennedy                                                            2.10      367.50

 11/22/2013
        JLW    Review email form Trustee regarding
                         Conference with M. Stafford
               regarding                                                     175.00      0.40               56

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10               62
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       Eastern Livestock Bankruptcy                                                June 04, 2014
                                                                      ACCOUNT NO:     110035-64
                                                                       INVOICE NO:             4
       re: Brandon Zeisler (Preference)


                                                                      Rate    HOURS
 01/13/2014
        JLW    Review settlement offer; Prepare for and attend
               status pre-trial conference.                          175.00     0.40               66

 01/16/2014
        JLW    Review minute entry order.                            175.00     0.10               67

 01/27/2014
        JLW    Review email from opposing counsel regarding
               status of settlement.                                 175.00     0.10               69

 02/10/2014
        JLW    Review email from E. Nave regarding status of
               settlement offer.                                     175.00     0.10               71

 02/12/2014
        JLW    Attend pre-trial hearing on status; Review case
               management order.                                     175.00     0.30               76

 03/26/2014
        JLW    Review minute entry order                             175.00     0.10               82
               Jennifer L. Watt                                                 1.60      280.00

 09/24/2013
        ADS    Prepare for pretrial.                                 175.00     0.10               52

 09/25/2013
        ADS    Attend pretrial status conference.                    175.00     0.10               53

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                     175.00     0.10               54

 10/21/2013
        ADS    Review                                                175.00     0.10               55

 11/22/2013
        ADS    Conference with J. Watt regarding
                                      update
                                                                     175.00     0.30               58

       ADS     Telephonic conference with Jeff Graham and
               Jay Kennedy regarding settlement.                     175.00     0.10               59

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.         175.00     0.10               60

 02/10/2014
        ADS    Email from E. Nave. Review documents
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14   EOD 06/06/14 15:33:49    Pg 252
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       Eastern Livestock Bankruptcy                                              June 04, 2014
                                                                    ACCOUNT NO:     110035-64
                                                                     INVOICE NO:             4
       re: Brandon Zeisler (Preference)


                                                                    Rate    HOURS
               produced in preparation for settlement
               discussions. Telephonic conference with Jeff
               Graham regarding settlement status.                 175.00     0.30               72

       ADS     Review/analyze                 Update
                                                                   175.00     0.10               75

 02/12/2014
        ADS    Prepare for and conduct pretrial conference;
               update
                                                                   175.00     0.20               77

 02/26/2014
        ADS    Attention to status of outstanding settlement
               offer. Review email from J. Graham accepting
               trustee's counteroffer. Assignment to legal
               assistant to draft settlement agreement and
               motion to compromise.                               175.00     0.20               73

 02/27/2014
        ADS    Review and revise settlement agreement and
               motion to compromise. Draft email to Jeff
               Graham and Erin Nave regarding same. Diary
               for follow up on response.                          175.00     0.40               74

 03/18/2014
        ADS    Receive/review letter from Erin Nave, signed
               settlement agreement and payment from
               defendant. Process payment for deposit into
               ELC trust account. Draft email to trustee for
               signature on settlement agreement; receive
               signed settlement agreement from Trustee.
               Draft letter to Erin Nave with executed
               settlement agreement.                               175.00     0.70               79

 03/26/2014
        ADS    Prepare for and conduct telephonic status
               conference.                                         175.00     0.20               81
               Amanda D. Stafford                                             3.00      525.00

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                          125.00     0.10               61

 12/17/2013
        TJF    Reviewed pleadings and updated diary.               125.00     0.10               63

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
Case 10-93904-BHL-11         Doc 2591-1      Filed 06/06/14     EOD 06/06/14 15:33:49     Pg 253
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-64
                                                                      INVOICE NO:             4
       re: Brandon Zeisler (Preference)


                                                                      Rate   HOURS
               pleadings.                                           125.00     0.20                 64

 01/20/2014
        TJF    Updated file with upcoming telephonic hearings
               and deadlines.                                       125.00     0.10                 65

 02/18/2014
        TJF    Reviewed Minute Entry/Order; updated diary
               docket                                               125.00     0.10                 70
               Tammy J. Froelich                                               0.60        75.00

               FOR CURRENT SERVICES RENDERED                                   7.30      1,247.50

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE                 TOTAL
    Jay P. Kennedy                                      2.10    $175.00               $367.50
    Jennifer L. Watt                                    1.60     175.00                280.00
    Amanda D. Stafford                                  3.00     175.00                525.00
    Tammy J. Froelich                                   0.60     125.00                 75.00




               Reproduction of documents                                                     5.90
               TOTAL EXPENSES THRU 04/30/2014                                                5.90

               TOTAL CURRENT WORK THIS STATEMENT                                         1,253.40

               PREVIOUS BALANCE                                                         $1,905.61



 09/30/2013    Payment--Thank you                                                         -219.08   2
 12/31/2013    Payment--Thank you                                                         -875.05   3
               TOTAL PAYMENTS                                                           -1,094.13

               BALANCE DUE                                                              $2,064.88

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180              181-360          361+
        1,253.40             0.00         0.00       309.05                 0.00         502.43
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 254
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       Eastern Livestock Bankruptcy                                                         June 05, 2014
                                                                               ACCOUNT NO:     110035-65
                                                                                INVOICE NO:             4




       re: Carroll County L/S Sale Barn, Inc.(Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 04/07/2014
        JPK    Participate in telephonic conference. Email to J.
               Knauer regarding                     Draft
               settlement letter.                                            175.00      0.60               150

 04/17/2014
        JPK    Reviewed letter from S. Newbern. Draft memo
               to J. Knauer regarding                                        175.00      0.40               147
               Jay P. Kennedy                                                            1.00      175.00

 09/30/2013
        JLW    Review notice to continue                                     175.00      0.20                66

 10/01/2013
        JLW    Attend pre-trial conference; conference call with
               FBD regarding                         Review
               court minute entry regarding pretrial hearing;
               Review withdrawal of motion for scheduling
               extension; Review motion to extend time to file
               scheduling order                                              175.00      0.60                67

 10/04/2013
        JLW    Meeting with J. Knauer, K. Toner, J. Kennedy
               and M. Safford regarding
                                                                             175.00      0.40                70

 10/15/2013
        JLW    Review minute entry order;                                    175.00      0.10                75

 10/30/2013
        JLW    Meeting with M. Stafford regarding

                                                                             175.00      0.20                76
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       Eastern Livestock Bankruptcy                                                      June 05, 2014
                                                                            ACCOUNT NO:     110035-65
                                                                             INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


                                                                            Rate    HOURS

 11/04/2013
        JLW    Review draft case management order;                         175.00     0.40                86

 11/11/2013
        JLW    Review email from S. Newbern regarding issue
               with scheduling order; Review preliminary
               witness and exhibit lists.                                  175.00     0.50                87

 11/14/2013
        JLW    Review order setting pre-trial conference;
               Conference with M. Stafford regarding                       175.00     0.40                88

 11/18/2013
        JLW    Review order for relief from Order; Review
               written discovery requests.                                 175.00     0.50                89

 12/03/2013
        JLW    Review order setting pre-trial conference.                  175.00     0.10                96

 01/06/2014
        JLW    Review documents and draft answer to requests
               to admit.                                                   175.00     0.90               104

 01/07/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                          175.00     0.90               105

 01/08/2014
        JLW    Continue review documents and draft answer to
               requests to admit.                                          175.00     0.80               106

 01/09/2014
        JLW    Conference with J. Kennedy and M. Stafford to


                                                 (.30).
               Continue review documents and draft answer to
               requests to admit (1.0).                                    175.00     1.30               107

 01/10/2014
        JLW    Finalize and prepare answers to request to
               admit for filing (.60). Final review of all discovery
               responses (.60). Draft notice of submission of
               discovery requests and responses (.20).                     175.00     1.40               108

 01/30/2014
        JLW    Conference with M. Stafford regarding
                        Review email to S. Newbern
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       Eastern Livestock Bankruptcy                                                  June 05, 2014
                                                                        ACCOUNT NO:     110035-65
                                                                         INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


                                                                         Rate   HOURS
               regarding discovery deadlines.                          175.00     0.20                117

 02/18/2014
        JLW    Review draft responses to second discovery
               requests.                                               175.00     0.30                123

 03/03/2014
        JLW    Review order on motion to extend time to file
               dispositive motions; Conference with M. Stafford
               regarding
               Review report to court.                                 175.00     0.40                124

 03/05/2014
        JLW    Conference with M. Stafford regarding
                                                                       175.00     0.20                133

 03/20/2014
        JLW    Review Edens clearing contract                          175.00     0.10                136

 03/31/2014
        JLW    Review motion for extension of time;
               Conference with M Stafford regarding                    175.00     0.30                139

 04/02/2014
        JLW    Review order granting motion for extension of
               time.                                                   175.00     0.10                148

 04/07/2014
        JLW    Review motion for summary judgment.                     175.00     0.30                146

 04/10/2014
        JLW    Review minute entry order;                              175.00     0.10                149
               Jennifer L. Watt                                                  10.70     1,872.50

 10/01/2013
        ADS    Attend pre-trial conference; conference call with
               FBD regarding
                                                                       175.00     0.30                 71

 10/04/2013
        ADS    Prepare for and attend meeting with J. Knauer,
               K. Toner, J. Kennedy and J. Watt regarding
                                                                       175.00     0.40                 72

 10/11/2013
        ADS    Begin drafting proposed case management
               order.                                                  175.00     0.40                 73
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       Eastern Livestock Bankruptcy                                                 June 05, 2014
                                                                       ACCOUNT NO:     110035-65
                                                                        INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


                                                                       Rate    HOURS
 10/14/2013
        ADS    Email from Scott Newbern regarding proposed
               case management order; multiple telephone
               conferences with K. Toner and J. Kennedy
               regarding                              case
               management order. Draft email to Scott
               Newbern with revised case management order.            175.00     0.40               74

 10/20/2013
        ADS    Review Motion for Scheduling Extension.                175.00     0.10               77

       ADS     Review 10/1/13 and 10/15/13 Minute
               Entry/Orders. Update                                   175.00     0.20               78

 10/21/2013
        ADS    Review case management order.                          175.00     0.10               79

 10/30/2013
        ADS    Begin drafting preliminary witness and exhibit
               list; confer with J. Watt regarding     email to
               J. Kennedy and J. Watt with
               Assignment to paralegal to draft Appearance.           175.00     0.60               80

 10/31/2013
        ADS    Finalize case management order; convert to
               PDF and upload to court through CM/ECF.
               Update litigation spreadsheet. Calendar pretrial
               deadlines.                                             175.00     0.50               81

       ADS     Review document production by Trustee and
               defendant; revise and finalize Preliminary
               Witness and Exhibit List. Assignment to legal
               assistant to file with court.                          175.00     0.40               82

 11/08/2013
        ADS    Telephonic conference with K. Goss regarding
               trial date and scheduling status conference;
               revise case management order; file CMO with
               court; and draft email to opposing counsel
               regarding same.                                        175.00     0.20               90

 11/12/2013
        ADS    Emails from opposing counsel regarding
               scheduling order; discuss      with J. Watt,
               and draft
                                                                      175.00     0.10               91

 11/13/2013
        ADS    Receive and brief review of Defendant's
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       Eastern Livestock Bankruptcy                                                  June 05, 2014
                                                                        ACCOUNT NO:     110035-65
                                                                         INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


                                                                         Rate   HOURS
               Preliminary Witness and Exhibit List.                   175.00     0.10                92

 11/15/2013
        ADS    Voicemail to W. Newbern and telephonic
               conference with same regarding revisions to
               case management order; telephonic conference
               with K. Goss regarding amending and revising
               case management orders; draft motion for relief
               from judgment/order and order granting same;
               assignment to legal assistant to revise, finalize
               and file with court.                                    175.00     0.40                93

 11/22/2013
        ADS    Revise case management order and file same
               with court.                                             175.00     0.10                94

 12/03/2013
        ADS    Receive and review discovery requests from
               defendant.                                              175.00     0.10                99

 12/15/2013
        ADS    Work on responses to discovery requests.                175.00     0.50               100

 12/31/2013
        ADS    Review document productions by Trustee and
               Defendant in preparation to draft answers to
               discovery requests; begin drafting responses to
               interrogatories.                                        175.00     0.60               101

 01/03/2014
        ADS    Work on Trustee's Response to defendant's
               discovery requests; attention to expert
               disclosure deadline; draft email to J. Kennedy
               and J. Watt regarding
                                                                       175.00     0.40               110

       ADS     Receive and review second set of discovery
               from defendant; confer with Jay Kennedy
               regarding                                               175.00     0.10               118

 01/07/2014
        ADS    Office conference with J. Kennedy regarding

                                                Telephonic
               conference with K. Toner regarding                      175.00     0.10               111

       ADS     Draft/revise Trustee's Response to Defendant's
               Interrogatories to trustee.                             175.00     0.50               112
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       Eastern Livestock Bankruptcy                                                  June 05, 2014
                                                                        ACCOUNT NO:     110035-65
                                                                         INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


                                                                        Rate    HOURS
 01/08/2014
        ADS    Continue drafting response to discovery
               requests.                                               175.00     1.50               113

 01/09/2014
        ADS    Continue drafting, reviewing and revising
               response to defendant's discovery requests,
               draft/revise Trustee's discovery requests to
               defendant (1.4). Lengthy office conference with
               J. Kennedy and J. Watt

                                                (1.0).
               Assignment to legal assistant to finalize
               formatting of trustee's discovery requests (.10).       175.00     2.50               114

 01/10/2014
        ADS    Review/revise responses to discovery requests;
               draft/review/finalize trustee's requests for
               production and interrogatories (.20). Conduct
               final review of responses and requests (.20).
               Assignment to legal assistant to prepare
               documents for production (.10). Prepare word
               document of Trustee's requests for processing
               to opposing counsel (.10). Conduct final review
               of documents for production (.20). Draft email
               to Scott Newbern with Trustee's Requests for
               Production, Interrogatories, and Requests for
               Admission (.20). Assignment to legal assistant
               to serve same via regular mail; draft email to
               Scott Newbern with Trustee's responses (.10).
               Draft and file Notice of Submission of Discovery
               Requests and Responses (.20). Correspond
               with Faegre Baker and Daniels regarding
               Trustee's repository; draft email to Harmony
               Mappes with discovery requests for uploading to
               Eastern's document repository (.20).                    175.00     1.50               115

 01/30/2014
        ADS    Attention to dispositive motion deadline.
               Correspond with legal assistant regarding
               Office conference with Jay Kennedy regarding

                                    draft email to W. Newbern
               regarding same.                                         175.00     0.20               116

 01/31/2014
        ADS    Draft Notice of extension of time to respond to
               defendant's second set of discovery requests
               and file same with court.                               175.00     0.20               109
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       Eastern Livestock Bankruptcy                                                 June 05, 2014
                                                                       ACCOUNT NO:     110035-65
                                                                        INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


                                                                       Rate    HOURS

 02/04/2014
        ADS    Attention to deadline to amend pleadings and
               add additional parties. Review            to
               analyze
                                                                      175.00     0.10               120

 02/05/2014
        ADS    Receive/review modification of notice of
               extension of time to respond to defendant's
               second set of discovery, calendar new response
               deadline set by court.                                 175.00     0.10               129

 02/06/2014
        ADS    Receive/review notice of submission of
               supplemental production of documents.
               Assignment to legal assistant to upload
               documents to server.                                   175.00     0.10               121

 02/10/2014
        ADS    Attention to deadline to respond to second set
               of discovery requests served by defendant;
               calendar deadline to respond. Draft email to J.
               Kennedy and J. Watt to
                                                                      175.00     0.10               119

       ADS     Review/analyze                 Update
                                                                      175.00     0.10               122

 02/17/2014
        ADS    Analyze
                                             Telephonic
               conference with K. Britton regarding


               receive and review
                                                                      175.00     0.30               125

       ADS     Corrrespond with Jay Kennedy regarding

                                                                      175.00     0.10               128

 02/18/2014
        ADS    Review/analyze second set of discovery (.40).
               Confer with FBD
                     (.20). Draft/revise/and finalize responses
               to second set of discovery requests (.30). Draft
               email to J. Knauer with response to review and
               signature (.10). Email from J. Knauer with
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14    EOD 06/06/14 15:33:49    Pg 261
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       Eastern Livestock Bankruptcy                                                  June 05, 2014
                                                                        ACCOUNT NO:     110035-65
                                                                         INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


                                                                        Rate    HOURS
               approval of same (.10). Prepare pleadings for
               service on defendant's counsel (.20). Draft
               letter and email to Newbern with response to
               second set of discovery and serve same (.20).           175.00     1.50               126

 02/20/2014
        ADS    Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               case; obtain and provide to J. Kennedy

                      confer with J. Kennedy regarding
                                                                       175.00     0.10               127

 02/28/2014
        ADS    Receive and review Agreed Motion to Extend
               Time to File To File Dispositive Motion                 175.00     0.10               130

 03/03/2014
        ADS    Attention to deadline to amend Count II of
               complaint regarding actual fraud; review/analyze
               case management order; analyze

                                        draft, revise, and file
               Report to Court on Status of Amendment to
               Count III of the Trustee's Complaint                    175.00     0.50               131

       ADS     Review/analyze order granting motion to extend
               time to file dispositive motions.                       175.00     0.10               140

 03/12/2014
        ADS    Attention to deadline for defendant to respond to
               trustee's discovery requests.                           175.00     0.10               134

 03/26/2014
        ADS    Email from Scott Newbern with responses to
               Trustee's discovery requests.                           175.00     0.10               135

 03/31/2014
        ADS    Receive and Review agreed motion for
               scheduling extension filed by defendant; analyze
               same; confer with J. Watt and email to J.
               Kennedy regarding
               voicemail to Newbern regarding same,
               strategize with J. Watt regarding
                                                                       175.00     0.30               138

 04/02/2014
        ADS    Review Order Granting Agreed Motion to
               Extend Time to File Dispositive Motion                  175.00     0.10               151
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       Eastern Livestock Bankruptcy                                                June 05, 2014
                                                                      ACCOUNT NO:     110035-65
                                                                       INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


                                                                      Rate    HOURS

 04/04/2014
        ADS    Attention to deadline to amend actual fraud
               count. Draft email to J. Watt and J. Kennedy
               regarding amending          Review/analyze
                                                                     175.00     0.20                141

 04/08/2014
        ADS    Telephonic conference with Kristin Goss
               regarding April 1, 2014 pretrial conferences.         175.00     0.10                142

       ADS     Receipt of summary judgment motion; calendar
               response deadline.                                    175.00     0.10                152

 04/09/2014
        ADS    Conduct telephone pretrial conference; review
               email from K. Goss regarding continued pretrial
               dates and calendar same.                              175.00     0.20                143

 04/10/2014
        ADS    Attention to deadline to respond to summary
               judgment motion; email to J. Kennedy and J.
               Watt to
                                                                     175.00     0.10                144

 04/14/2014
        ADS    Review Minute Entry/Order re: Telephonic
               Status Conference, confirm continued pretrial
               date is calendared.                                   175.00     0.10                145
               Amanda D. Stafford                                              17.10     2,992.50

 10/02/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                             125.00     0.20                 68

 10/17/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                             125.00     0.10                 69

 11/11/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                 83

 11/14/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.20                 84

 11/19/2013
        TJF    Received reviewed and uploaded recently filed
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       Eastern Livestock Bankruptcy                                                June 05, 2014
                                                                      ACCOUNT NO:     110035-65
                                                                       INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


                                                                       Rate   HOURS
               pleadings.                                            125.00     0.10                  85

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                  95

 12/15/2013
        TJF    Review and study documents received by
               Eastern Livestock in response to discovery
               requests by S. Newbern.                               125.00     0.40                  97

 12/16/2013
        TJF    Continued review and study of documents
               received by Eastern Livestock in response to
               discovery requests by S. Newbern.                     125.00     0.30                  98

 01/09/2014
        TJF    Updated diary with Case Management Order
               deadlines                                             125.00     0.20                 102

 01/14/2014
        TJF    Review of Case Management Order; diared
               same.                                                 125.00     0.20                 103

 03/05/2014
        TJF    Received and reviewed Court Order on
               extending time for dispositive motions; diaried
               same.                                                 125.00     0.10                 132
               Tammy J. Froelich                                                2.00        250.00

               FOR CURRENT SERVICES RENDERED                                   30.80      5,290.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                  TOTAL
    Jay P. Kennedy                                       1.00    $175.00                $175.00
    Jennifer L. Watt                                    10.70     175.00               1,872.50
    Amanda D. Stafford                                  17.10     175.00               2,992.50
    Tammy J. Froelich                                    2.00     125.00                 250.00




               Reproduction of documents                                                      0.10
               TOTAL EXPENSES THRU 04/30/2014                                                 0.10



 12/09/2013    Outside Copying Expense Xcellence, Inc.                                      106.51    5
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       Eastern Livestock Bankruptcy                                              June 05, 2014
                                                                    ACCOUNT NO:     110035-65
                                                                     INVOICE NO:             4
       re: Carroll County L/S Sale Barn, Inc.(Preference)


               Outside Copying Expense                                                    106.51

               TOTAL ADVANCES THRU 04/30/2014                                             106.51

               TOTAL CURRENT WORK THIS STATEMENT                                         5,396.61

               PREVIOUS BALANCE                                                         $4,794.34



 09/30/2013    Payment--Thank you                                                       -1,344.61   2
 12/31/2013    Payment--Thank you                                                         -949.05   3
               TOTAL PAYMENTS                                                           -2,293.66

               BALANCE DUE                                                              $7,897.29

                                AGE OF OUTSTANDING STATEMENTS
            0-30             31-60        61-90       91-180            181-360         361+
        5,396.61              0.00         0.00       334.84               0.00      2,165.84
Case 10-93904-BHL-11           Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49         Pg 265
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       Eastern Livestock Bankruptcy                                                          June 04, 2014
                                                                                ACCOUNT NO:     110035-66
                                                                                 INVOICE NO:             3




       re: Abilene Tx Foods, Inc. (Note)
                                                                                            DRAFT STATEMENT

                [ ]Bill & Mail this statement as is/as modified
                [ ]Return to ______ for letter
                [ ]Prepare for sending VIA EMAIL
                [ ]HOLD/Do not send
                [ ]Send only previous balance
                [ ]Close File (only closed if paid in full or balance is written off)
                [ ]Pay this invoice from TRUST
                [ ] Other: ______________________________




 01/22/2014     Pacer Service Center docket retrieval                                                    0.80   13
                Pacer Service Center docket retrieval                                                    0.80

                TOTAL ADVANCES THRU 04/30/2014                                                           0.80

                TOTAL CURRENT WORK THIS STATEMENT                                                        0.80

                PREVIOUS BALANCE                                                                    $4,548.16


                BALANCE DUE                                                                         $4,548.96

                                 AGE OF OUTSTANDING STATEMENTS
              0-30            31-60        61-90       91-180                           181-360        361+
              0.80             0.00         0.00         0.00                              0.00     4,548.16
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       Eastern Livestock Bankruptcy                                                         June 05, 2014
                                                                               ACCOUNT NO:     110035-67
                                                                                INVOICE NO:             3




       re: Don Garrett (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/28/2013
        JPK    Confer with M. Stafford on hearing. Prepare for
               participation in settlement conference.                       175.00      0.20               33

 10/29/2013
        JPK    Met with M. Stafford. Reviewed
                         Conference call with Garret counsel.
               Reviewed                                                      175.00      0.90               32

 12/12/2013
        JPK    Met with M. Stafford. Prepared for and
               participated in telephonic pretrial hearing.                  175.00      0.50               44

 01/09/2014
        JPK    Reviewed letter from J. Olshecki regarding
                              . Confer with M. Stafford.                     175.00      0.30               51
               Jay P. Kennedy                                                            1.90      332.50

 09/10/2013
        ADS    Email from Liz Lynch and review attached
               documents. Telephonic conference with Liz
               Lynch regarding                                               175.00      0.80               28

 09/17/2013
        ADS    Draft Reply to Counterclaim.                                  175.00      1.00               29

 09/18/2013
        ADS    Review/revise Reply to Counterclaim and
               Affirmative Defenses.                                         175.00      0.90               30

 09/19/2013
        ADS    Finalize Reply to Counterclaim and file with
               court.                                                        175.00      0.70               31
Case 10-93904-BHL-11            Doc 2591-1      Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 267
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                                                                        ACCOUNT NO:     110035-67
                                                                         INVOICE NO:             3
       re: Don Garrett (Note)


                                                                        Rate    HOURS

 10/16/2013
        ADS    Review                 update                           175.00     0.10               34

 10/21/2013
        ADS    Review                                                  175.00     0.20               35

       ADS     Meeting with J. Watt regarding
                                                                       175.00     0.20               36

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference; telephonic conference with
               Defendant's attorney to schedule telephone
               conference; voicemail to D. DeNeal on status of
               mediations. Calendar telephonic conference
               with defendant's attorney and J. Kennedy.               175.00     0.50               37

 10/29/2013
        ADS    Prepare for and participate in telephonic
               conference with defendant's attorney and Jay
               Kennedy.                                                175.00     1.20               38

 11/05/2013
        ADS    Review Minute Entry/Order; update
                                                                       175.00     0.10               39

 11/07/2013
        ADS    Email from defendant's attorney (.10). Gather
               and prepare personal financial statement to be
               completed by defendant (.30). Review loan
               documents (.20). Draft lengthy email to
               opposing counsel regarding             (.40).           175.00     1.00               40

 11/08/2013
        ADS    Review and revise email to opposing counsel
               regarding settlement. Diary for follow up on
               response.                                               175.00     0.50               41

 12/06/2013
        ADS    Office conference with Jim Knauer regarding
                                                                       175.00     0.20               45

 12/12/2013
        ADS    Prepare for and participate in pretrial
               conference.                                             175.00     0.60               46

 12/13/2013
        ADS    Prepare for, conduct, and participate in
Case 10-93904-BHL-11            Doc 2591-1     Filed 06/06/14     EOD 06/06/14 15:33:49      Pg 268
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                                                                       ACCOUNT NO:     110035-67
                                                                        INVOICE NO:             3
       re: Don Garrett (Note)


                                                                        Rate   HOURS
               continued telephonic pretrial conference.              175.00     0.50                 42

 12/23/2013
        ADS    Review minute entry/order; calendar new
               hearing date; review file for status; update
                                                                      175.00     0.20                 43

 01/03/2014
        ADS    Email from Jessica Olsheski on status of
               producing defendant's                                  175.00     0.10                 50

 01/09/2014
        ADS    Emails from Jessica Olsheski with
               documentation regarding
                                                                      175.00     0.20                 48

 01/27/2014
        ADS    Telephonic conference with opposing counsel
               regarding receipt of p
                                                                      175.00     0.20                 47

 02/05/2014
        ADS    Process request for                    Diary for
               follow up on receipt of same.                          175.00     0.10                 52

 02/10/2014
        ADS    Review/analyze                  Update
                                                                      175.00     0.10                 53

 02/13/2014
        ADS    Begin review and analysis of

                                    (.40). Confer with J.
               Kennedy regarding
                                            (.30). Prepare for
               and conduct pretrial conference (.80).                 175.00     1.50                 54

       ADS     Receive/review Minute Entry/Order from pretrial
               conference; calendar deadline to submit case
               management order.                                      175.00     0.10                 55
               Amanda D. Stafford                                               11.00      1,925.00

               FOR CURRENT SERVICES RENDERED                                    12.90      2,257.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                   TOTAL
    Jay P. Kennedy                                       1.90    $175.00                 $332.50
    Amanda D. Stafford                                  11.00     175.00                1,925.00
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                                                                  ACCOUNT NO:     110035-67
                                                                   INVOICE NO:             3
       re: Don Garrett (Note)




               Reproduction of documents                                                 11.40
               TOTAL EXPENSES THRU 04/30/2014                                            11.40

               TOTAL CURRENT WORK THIS STATEMENT                                       2,268.90

               PREVIOUS BALANCE                                                       $6,549.23



 09/30/2013    Payment--Thank you                                                     -1,011.24   1
 12/31/2013    Payment--Thank you                                                     -2,924.85   2
               TOTAL PAYMENTS                                                         -3,936.09

               BALANCE DUE                                                            $4,882.04

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90        91-180          181-360         361+
        2,268.90             0.00         0.00      1,299.80             0.00      1,313.34
Case 10-93904-BHL-11            Doc 2591-1        Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 270
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       Eastern Livestock Bankruptcy                                                          June 04, 2014
                                                                                ACCOUNT NO:     110035-68
                                                                                 INVOICE NO:             3




       re: Ernie Elder (Note)
                                                                                        DRAFT STATEMENT

                [ ]Bill & Mail this statement as is/as modified
                [ ]Return to ______ for letter
                [ ]Prepare for sending VIA EMAIL
                [ ]HOLD/Do not send
                [ ]Send only previous balance
                [ ]Close File (only closed if paid in full or balance is written off)
                [ ]Pay this invoice from TRUST
                [ ] Other: ______________________________



                                                                                 Rate   HOURS
 10/31/2013
        JPK     Follow up on issues relating to
                Confer with M. Stafford.                                      175.00      0.30               61

 11/15/2013
        JPK     Prepare case management order. Reviewed
                issues regarding               Call with S.
                Newbern.                                                      175.00      0.50               64
                Jay P. Kennedy                                                            0.80      140.00

 09/05/2013
        ADS     Conference with J. Watt                                       175.00      0.10               58

 10/01/2013
        ADS     Attend pre-trial conference; telephonic
                conference with D. DeNeal regarding proposed
                November mediation scheduling.                                175.00      0.30               59

 10/16/2013
        ADS     Telephonic conference with J. Knauer regarding
                                                                              175.00      0.10               60

 10/18/2013
        ADS     Draft email to D. DeNeal regarding mediation.                 175.00      0.20               62

 10/20/2013
        ADS     Review 10/1/13 and 10/15/13 Minute
                Entry/Orders. Update                                          175.00      0.10               63

 11/18/2013
        ADS     Draft email to opposing counsel regarding

                                               diary for follow up
Case 10-93904-BHL-11            Doc 2591-1    Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 271
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       Eastern Livestock Bankruptcy                                              June 04, 2014
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                                                                     INVOICE NO:             3
       re: Ernie Elder (Note)


                                                                     Rate   HOURS
                on status.                                         175.00     0.30                 65

 12/06/2013
        ADS     Office conference with Jim Knauer regarding
                                                                   175.00     0.10                 66

 02/10/2014
        ADS     Review/analyze               . Update
                                                                   175.00     0.10                 68

 02/28/2014
        ADS     Telephonic conference with Scott Newbern
                regarding status of
                                           or purposes of
                settlement discussions.                            175.00     0.10                 67

       ADS      Email from Newbern with       for defendant;
                review same.                                       175.00     0.20                 69
                Amanda D. Stafford                                            1.60       280.00

                FOR CURRENT SERVICES RENDERED                                 2.40       420.00

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE                TOTAL
    Jay P. Kennedy                                      0.80    $175.00              $140.00
    Amanda D. Stafford                                  1.60     175.00               280.00




                Reproduction of documents                                                   1.20
                TOTAL EXPENSES THRU 04/30/2014                                              1.20

                TOTAL CURRENT WORK THIS STATEMENT                                        421.20

                PREVIOUS BALANCE                                                       $9,047.66



 09/30/2013     Payment--Thank you                                                     -2,940.05   1
 12/31/2013     Payment--Thank you                                                     -1,542.90   2
                TOTAL PAYMENTS                                                         -4,482.95

                BALANCE DUE                                                            $4,985.91
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      Eastern Livestock Bankruptcy                                             June 04, 2014
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                                                                   INVOICE NO:             3
      re: Ernie Elder (Note)


                                  AGE OF OUTSTANDING STATEMENTS
           0-30                31-60        61-90       91-180       181-360          361+
         421.20                 0.00         0.00       542.10          0.00       4,022.61
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
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                                                                                INVOICE NO:             3




       re: Chad Schuchmann (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/15/2013
        JPK    Reviewed email from N. Montell. Follow up with
               M. Stafford                                                   175.00      0.30               86

 10/16/2013
        JPK    Reviewed email from M. Stafford regarding
                              Confer with J. Knauer.                         175.00      0.30               85

 10/31/2013
        JPK    Follow up on settlement affidavit with M.
               Stafford.                                                     175.00      0.20               91

 11/22/2013
        JPK    Confer with M. Stafford on
                                      Reviewed settlement
               agreement.                                                    175.00      0.30               95
               Jay P. Kennedy                                                            1.10      192.50

 09/03/2013
        ADS    Receive/review Minute Entry/Order. Update
               calendar with deadline to file settlement
               documents.                                                    175.00      0.10               79

 09/05/2013
        ADS    Brief status conference with J. Kennedy on
                                                                             175.00      0.20               80

       ADS     Conference with J. Watt                                       175.00      0.10               81

 09/26/2013
        ADS    Draft, revise and refine Settlement Agreement.                175.00      4.00               82
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                                                                           INVOICE NO:             3
       re: Chad Schuchmann (Note)


                                                                          Rate    HOURS
 09/27/2013
        ADS    Draft Affidavit of Financial Condition and
               prepare schedules to same (1.5). Revise
               settlement documents and email to Natalie
               Montell (.60). Diary for follow up on documents
               (.10).                                                    175.00     2.20               83

 10/07/2013
        ADS    Voicemail from N. Montell on status of
               settlement documents.                                     175.00     0.10               84

 10/08/2013
        ADS    Telephonic conference with N. Montell
               regarding affidavits of financial condition.              175.00     0.20               87

 10/11/2013
        ADS    Two telephone calls with N. Montell regarding
               settlement agreement language. Brief
               conference with J. Kennedy regarding
                                            Draft email to N.
               Montell with revised language.                            175.00     0.50               88

 10/15/2013
        ADS    Receive and review email from and voicemail
               from N. Montell regarding status of completed
               financial affidavit and initial payment.
               Telephonic conference with N. Montell
               regarding same.                                           175.00     0.30               89

 10/16/2013
        ADS    Draft email to N. Montell with wiring instructions,
               email to and from accounting department
               regarding wire transfer, multiple emails with N.
               Montell.                                                  175.00     0.40               90

 10/18/2013
        ADS    Multiple emails with N. Montell regarding wire
               transfer; emails to and from accounting
               department regarding same.                                175.00     0.30               92

 10/21/2013
        ADS    Review                                                    175.00     0.10               93

 10/31/2013
        ADS    Receive email from N. Montell with signed
               Settlement Agreement and affidavit (.20).
               Review/analyze affidavit of financial condition
               and schedules (.40). Compare
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                                                                         ACCOUNT NO:     110035-69
                                                                          INVOICE NO:             3
       re: Chad Schuchmann (Note)


                                                                         Rate    HOURS
               (.40). Draft email to J. Kennedy with
                                         (.20).                         175.00     1.20                94

 11/05/2013
        ADS    Begin drafting agreed judgment entry and
               related pleadings pursuant to settlement
               agreement.                                               175.00     0.80                96

 11/07/2013
        ADS    Continue drafting and revising Agreed Consent
               to Judgment and Agreed Judgment (3.5).
               Review and revise settlement agreement and
               draft email to N. Montell (.70).                         175.00     4.20                97

       ADS     Email from N. Montell regarding original affidavit
               and schedules; voicemail to N. Montell
               regarding trustee's approval of affidavit,
               retention of original affidavit, and schedules.          175.00     0.20               106

 11/08/2013
        ADS    Confer with J. Kennedy regarding

               Draft email to J. Knauer and receive email from
               same to proceed with settlement. Email from
               and draft email to N. Montell regarding same.            175.00     0.60                98

 11/12/2013
        ADS    Draft email to J Kennedy regarding
                                                                        175.00     0.10                99

 11/14/2013
        ADS    Final revisions to settlement agreement and
               email same to N. Montell. Receive email from
               N. Montell regarding same.                               175.00     0.80               100

 11/15/2013
        ADS    Draft Motion to Compromise and Settle
               Pursuant to Rule 9019.                                   175.00     2.10               101

 11/18/2013
        ADS    Finalize, revise and augment Motion to Approve
               Compromise and Settlement.                               175.00     1.10               102

       ADS     Draft email to N. Montell regarding settlement
               agreement and motion to compromise.                      175.00     0.10               103

 11/20/2013
        ADS    Email from N. Montell, finalize Motion to
               Compromise, draft Notice and order. File
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-69
                                                                         INVOICE NO:             3
       re: Chad Schuchmann (Note)


                                                                        Rate    HOURS
               pleadings with court. Draft email to N. Montell
               regarding filing of motion. Assignment to legal
               assistant to serve notice. Calendar deadline for
               objections to motion.                                   175.00     0.60               104

 11/25/2013
        ADS    Email from N. Montell with signed settlement
               agreement and agreed judgment pleadings.                175.00     0.10               105

 12/04/2013
        ADS    Email correspondence with Kristin Goss, court
               deputy, regarding filing of settlement
               documents.                                              175.00     0.20               112

 12/11/2013
        ADS    Voicemail from and voicemail to Melissa
               Giverson, Fifth Third counsel, regarding
               settlement; confer with J. Kennedy regarding
                                                                       175.00     0.20               113

 12/12/2013
        ADS    Multiple telephone calls with Melissa Giverson,
               attorney for Fifth Third, regarding settlement
               with Schuchmann; multiple telephone calls and
               email correspondence with N. Montell regarding
               settlement and potential objection by Fifth Third
               Bank.                                                   175.00     0.80               114

 12/15/2013
        ADS    Review status of receipt of original settlement
               documents; diary for follow up and to draft
               dismissal of adversary proceeding. Email from
               and email to N. Montell regarding dismissal.            175.00     0.20               117

 12/17/2013
        ADS    Email from N. Montell regarding original
               settlement agreement documents; voicemail
               from and telephonic conference with N. Montell
               regarding same.                                         175.00     0.30               107

       ADS     Review file for receipt of original consent to
               judgment; email correspondence with N. Montell
               to follow up on same. Voicemail from and
               telephonic conference with N. Montell regarding
               original consent to judgment.                           175.00     0.40               115

 12/18/2013
        ADS    Review settlement agreement dismssal
               language (.20). Draft/revise/finalize Notice of
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14       EOD 06/06/14 15:33:49      Pg 277
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                                                                         ACCOUNT NO:     110035-69
                                                                          INVOICE NO:             3
       re: Chad Schuchmann (Note)


                                                                         Rate    HOURS
               Dismissal (.40). Assignment to legal assistant to
               file same (.10). Draft fax cover letter to N.
               Montell with signature page of settlement
               agreement and review same (.20). Draft email
               to N. Montell regarding notice of dismissal (.20).
               Diary for follow up on closure of case and
               receipt of original documents from opposing
               counsel (.10).                                           175.00     1.20                 108

       ADS     Email correspondence from N. Montell
               regarding settlement, dismissal, and status of
               original documents.                                      175.00     0.10                 109

 12/19/2013
        ADS    Email from N. Montell regarding agreed consent
               to judgment; receive and review fax from same
               with signed settlement agreement. File
               documents to legal assistant for filing.                 175.00     0.20                 110

 12/20/2013
        ADS    Receive and review email from N. Montell
               regarding sending of Agreed Consent to
               Judgment. Diary for follow up on receipt of
               same.                                                    175.00     0.10                 111

 12/30/2013
        ADS    Receive/review original, signed Agreed Consent
               to Judgment.                                             175.00     0.10                 116

 01/03/2014
        ADS    Receive and review memorandum from Jay
               Kennedy regarding agreed consent to judgment.
               Assignment to legal assistant to file to J. Knauer
               for signature.                                           175.00     0.20                 118
               Amanda D. Stafford                                                 24.40      4,270.00

 09/24/2013
        TJF    Assignment from Mandy Stafford; drafted
               Settlement Agreement for Mandy's review.                 125.00     1.00                  78
               Tammy J. Froelich                                                   1.00        125.00

               FOR CURRENT SERVICES RENDERED                                      26.50      4,587.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                     TOTAL
    Jay P. Kennedy                                       1.10    $175.00                   $192.50
    Amanda D. Stafford                                  24.40     175.00                  4,270.00
    Tammy J. Froelich                                    1.00     125.00                    125.00
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 278
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       Eastern Livestock Bankruptcy                                             June 04, 2014
                                                                   ACCOUNT NO:     110035-69
                                                                    INVOICE NO:             3
       re: Chad Schuchmann (Note)




               Reproduction of documents                                                  31.70
               Mailing expense                                                             8.70
               TOTAL EXPENSES THRU 04/30/2014                                             40.40



 11/08/2013    Pacer Service Center docket retrieval                                        2.40   25
               Pacer Service Center docket retrieval                                        2.40

               TOTAL ADVANCES THRU 04/30/2014                                               2.40

               TOTAL CURRENT WORK THIS STATEMENT                                        4,630.30

               PREVIOUS BALANCE                                                        $9,825.22



 09/30/2013    Payment--Thank you                                                      -2,382.84   1
 12/31/2013    Payment--Thank you                                                      -3,100.60   2
               TOTAL PAYMENTS                                                          -5,483.44

               BALANCE DUE                                                             $8,972.08

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90        91-180           181-360         361+
        4,630.30             0.00         0.00      1,098.76              0.00      3,243.02
Case 10-93904-BHL-11           Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 279
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       Eastern Livestock Bankruptcy                                                          June 04, 2014
                                                                                ACCOUNT NO:     110035-70
                                                                                 INVOICE NO:             3




       re: Bill Chase (Note)
                                                                                        DRAFT STATEMENT

                [ ]Bill & Mail this statement as is/as modified
                [ ]Return to ______ for letter
                [ ]Prepare for sending VIA EMAIL
                [ ]HOLD/Do not send
                [ ]Send only previous balance
                [ ]Close File (only closed if paid in full or balance is written off)
                [ ]Pay this invoice from TRUST
                [ ] Other: ______________________________



                                                                                 Rate   HOURS
 04/10/2014
        ADS     Review file; draft memorandum to J. Kennedy
                regarding
                                                                              175.00      0.40                6
                Amanda D. Stafford                                                        0.40       70.00

                FOR CURRENT SERVICES RENDERED                                             0.40       70.00

                                              RECAPITULATION
    TIMEKEEPER                                           HOURS HOURLY RATE                       TOTAL
    Amanda D. Stafford                                      0.40    $175.00                      $70.00




                Reproduction of documents                                                              0.20
                TOTAL EXPENSES THRU 04/30/2014                                                         0.20

                TOTAL CURRENT WORK THIS STATEMENT                                                    70.20

                PREVIOUS BALANCE                                                                  $1,391.60



 09/30/2013     Payment--Thank you                                                                  -577.85   1
 12/31/2013     Payment--Thank you                                                                   -64.75   2
                TOTAL PAYMENTS                                                                      -642.60

                BALANCE DUE                                                                        $819.20
Case 10-93904-BHL-11          Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49    Pg 280
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      Eastern Livestock Bankruptcy                                            June 04, 2014
                                                                 ACCOUNT NO:     110035-70
                                                                  INVOICE NO:             3
      re: Bill Chase (Note)


                                 AGE OF OUTSTANDING STATEMENTS
           0-30               31-60        61-90       91-180       181-360          361+
          70.20                0.00         0.00        22.75          0.00         726.25
Case 10-93904-BHL-11           Doc 2591-1        Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 281
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-71
                                                                                INVOICE NO:             3




       re: Daren Berg (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/25/2013
        JPK    Prepare for and participate in pretrial
               conference.                                                   175.00      0.20               5
               Jay P. Kennedy                                                            0.20       35.00

 10/31/2013
        ADS    Multiple emails to Liz Lynch regarding

               Review language and propose revisions. Email
               revisions to L. Lynch for consideration by DSI
               in-house counsel.                                             175.00      0.40               6

 11/04/2013
        ADS    Revise/finalize motion for default judgment;
               execute affidavit of attorneys' fees and costs;
               draft proposed default judgment; and file default
               judgment pleadings with court.                                175.00      0.60               7
               Amanda D. Stafford                                                        1.00      175.00

               FOR CURRENT SERVICES RENDERED                                             1.20      210.00

                                             RECAPITULATION
    TIMEKEEPER                                          HOURS HOURLY RATE                       TOTAL
    Jay P. Kennedy                                         0.20    $175.00                      $35.00
    Amanda D. Stafford                                     1.00     175.00                      175.00




 10/26/2013    Pacer Service Center docket retrieval                                                 3.80   2
               Pacer Service Center docket retrieval                                                 3.80
Case 10-93904-BHL-11           Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49    Pg 282
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       Eastern Livestock Bankruptcy                                            June 04, 2014
                                                                  ACCOUNT NO:     110035-71
                                                                   INVOICE NO:             3
       re: Daren Berg (Note)


               TOTAL ADVANCES THRU 04/30/2014                                           3.80

               TOTAL CURRENT WORK THIS STATEMENT                                      213.80

               PREVIOUS BALANCE                                                      $228.50



 12/31/2013    Payment--Thank you                                                    -168.35   1


               BALANCE DUE                                                           $273.95

                                  AGE OF OUTSTANDING STATEMENTS
            0-30               31-60        61-90       91-180       181-360          361+
          213.80                0.00         0.00        59.15          0.00           1.00
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 283
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-75
                                                                                INVOICE NO:             4




       re: Gene Stoops (Note)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/23/2013
        JPK    Reviewed
               Meet with M. Stafford.                                        175.00      0.30               50

 09/25/2013
        JPK    Prepare for pretrial conference. Participate in
               pretrial conference with J. Rogers.                           175.00      0.30               49

 11/25/2013
        JPK    Reviewed
                           Call with J. Rogers. Participate in
               pretrial conference.                                          175.00      0.40               57
               Jay P. Kennedy                                                            1.00      175.00

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30               56

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10               61

 01/29/2014
        JLW    Prepare for and attend pre-trial conference.                  175.00      0.40               70
               Jennifer L. Watt                                                          0.80      140.00

 09/03/2013
        ADS    Receive/review multiple pleadings filed in
               adversary case.                                               175.00      0.20               43

 09/06/2013
        ADS    Review order on amended motion for extension
               of time to file answer; calendar new answer
Case 10-93904-BHL-11          Doc 2591-1        Filed 06/06/14       EOD 06/06/14 15:33:49    Pg 284
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                                                                                             Page: 2
       Eastern Livestock Bankruptcy                                                    June 04, 2014
                                                                          ACCOUNT NO:     110035-75
                                                                           INVOICE NO:             4
       re: Gene Stoops (Note)


                                                                          Rate    HOURS
               deadline. Review Order on Extension of Time
               to File Pretrial Statement; discuss language in
               order with Jay Kennedy.                                   175.00     0.40               44

 09/23/2013
        ADS    Begin drafting Trustee's statement for joint
               pretrial statement.                                       175.00     0.40               45

 09/24/2013
        ADS    Finalize Joint Pretrial Statement and email
               same to John Rogers.                                      175.00     1.20               46

 09/25/2013
        ADS    Email from opposing counsel; review revised
               joint pretrial statement, and file same with court.       175.00     0.50               47

       ADS     Attend pretrial status conference.                        175.00     0.10               48

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                         175.00     0.10               54

 10/16/2013
        ADS    Review/analyze Minute Entry/Order, update
                                                                         175.00     0.10               51

       ADS     Review/analyze defendant's answer to
               complaint, legal and factual issues (.30). Draft
               memorandum to file regarding              (.40).
               Multiple emails with Liz Lynch regarding
                                  (.30).                                 175.00     1.00               52

 10/17/2013
        ADS    Email from Liz Lynch regarding
                       (.30). Review/analyze
                                     (.70).                              175.00     1.00               53

 10/21/2013
        ADS    Review/analyze                                            175.00     1.30               55

 11/22/2013
        ADS    Conference with J. Watt regarding

                                                                         175.00     0.30               58

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.             175.00     0.20               59
Case 10-93904-BHL-11             Doc 2591-1     Filed 06/06/14       EOD 06/06/14 15:33:49    Pg 285
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       Eastern Livestock Bankruptcy                                                    June 04, 2014
                                                                          ACCOUNT NO:     110035-75
                                                                           INVOICE NO:             4
       re: Gene Stoops (Note)


                                                                          Rate    HOURS
 12/04/2013
        ADS    Receive and review
                                                   (.30).
               Review/analyze documents (.50). Begin
               drafting response to request for production
               (.30).                                                    175.00     1.10                63

 12/06/2013
        ADS    Continue review of
               (.50). Continue drafting, revising, and finalize
               response to requests for production (2.3).                175.00     2.80                64

 12/09/2013
        ADS    Revise and finalize response to request for
               production (.50). Draft, review, and sign letter to
               opposing counsel (.30). Analyze
                                                  confer with
               Jay Kennedy regarding

                        (.50).                                           175.00     1.30                65

 01/27/2014
        ADS    Review file for status in preparation for
               continued pretrial status conference.                     175.00     0.20                66

 01/28/2014
        ADS    Office conference with J. Watt regarding
                                                                         175.00     0.10                68

 01/29/2014
        ADS    Prepare for, conduct, and participate in
               telephonic pretrial conference.                           175.00     0.30                69

 02/10/2014
        ADS    Review/analyze                   Update
                                                                         175.00     0.10                71
               Amanda D. Stafford                                                  12.70     2,222.50

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                                125.00     0.10                60

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                     125.00     0.10                62

 01/30/2014
        TJF    Review Minute Entry/Order and update file with
               of same.                                                  125.00     0.20                67
Case 10-93904-BHL-11        Doc 2591-1     Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 286
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       Eastern Livestock Bankruptcy                                          June 04, 2014
                                                                ACCOUNT NO:     110035-75
                                                                 INVOICE NO:             4
       re: Gene Stoops (Note)


                                                                 Rate   HOURS
               Tammy J. Froelich                                          0.40         50.00

               FOR CURRENT SERVICES RENDERED                             14.90       2,587.50

                                       RECAPITULATION
    TIMEKEEPER                                    HOURS HOURLY RATE                TOTAL
    Jay P. Kennedy                                   1.00    $175.00              $175.00
    Jennifer L. Watt                                 0.80     175.00               140.00
    Amanda D. Stafford                              12.70     175.00             2,222.50
    Tammy J. Froelich                                0.40     125.00                50.00




               Reproduction of documents                                               48.80
               Mailing expense                                                          3.49
               TOTAL EXPENSES THRU 04/30/2014                                          52.29

               TOTAL CURRENT WORK THIS STATEMENT                                     2,639.79

               PREVIOUS BALANCE                                                     $1,553.58



 09/30/2013    Payment--Thank you                                                      -77.79   2
 12/31/2013    Payment--Thank you                                                     -475.45   3
               TOTAL PAYMENTS                                                         -553.24

               BALANCE DUE                                                          $3,640.13

                              AGE OF OUTSTANDING STATEMENTS
            0-30           31-60        61-90       91-180          181-360           361+
        2,639.79            0.00         0.00       194.54             0.00          805.80
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 287
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-76
                                                                                INVOICE NO:             4




       re: River Bend Cattle Co. (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/10/2013
        JPK    Call with S. Tschudy. Email correspondence
               regarding default judgment.                                   175.00      0.60               57

 09/20/2013
        JPK    Call with Scott Tschudy regarding
               representation. Confer with J. Knauer over
                                                                             175.00      0.30               56

 09/24/2013
        JPK    Reviewed email from S. Schuddy. Meet with J.
               Knauer and email to S. Schuddy regarding
               representation.                                               175.00      0.30               60

 10/23/2013
        JPK    Follow up on default judgment. Reviewed email
               from S. Tschudy. Follow up on application to
               employ.                                                       175.00      0.20               61
               Jay P. Kennedy                                                            1.40      245.00

 09/05/2013
        ADS    Conference with J. Watt                                       175.00      0.10               58

 09/08/2013
        ADS    Work on judgment collection and obtaining local
               counsel.                                                      175.00      0.30               59

 10/08/2013
        ADS    Receive and review email from J. Kennedy
               regarding certified judgment, assignment to
               legal assistant to request same, diary for follow
               up.                                                           175.00      0.30               62
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 288
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       Eastern Livestock Bankruptcy                                                   June 04, 2014
                                                                         ACCOUNT NO:     110035-76
                                                                          INVOICE NO:             4
       re: River Bend Cattle Co. (Preference)


                                                                         Rate    HOURS
       ADS     Receive and review email from legal assistant
               regarding certified judgment; assignment to
               legal assistant to proceed; draft email to local
               counsel regarding status. Diary for follow up.           175.00     0.30               63

 10/23/2013
        ADS    Receive and review certified judgment, update
                                draft email to local counsel
               regarding receipt of judgment. Assignment to
               legal assistant to overnight same.
               Draft/review/revise letter to local counsel.             175.00     0.70               64

 12/05/2013
        ADS    Receive and review letter and attachments from
               local counsel regarding certification of judgment.       175.00     0.20               66

 12/09/2013
        ADS    Draft Certification of Judgment for Registration
               in Another District.                                     175.00     0.30               67

 12/12/2013
        ADS    Gather certification of judgment forms and
               attachments; assignment to legal assistant to
               have bankruptcy court complete and execute
               certification of judgment forms.                         175.00     0.20               68

 12/18/2013
        ADS    Receive and review process for obtaining
               exemplification certificate for default judgment
               for registration in Platte County, Missouri (.30).
               Draft, review, and finalize exemplification
               certificate (.40). Assignment to legal assistant
               to process same with the bankruptcy court clerk
               (.10). Draft email to local counsel, B. Scott
               Tschudy on status of certifications of judgments
               (.20). Diary for follow up on receipt of executed
               exemplification certificate (.10).                       175.00     1.10               65

 12/23/2013
        ADS    Receive and review email from S. Tschudy;
               draft letter to same regarding certification of
               judgment for registration in another district;
               review and sign letter.                                  175.00     0.60               69

 01/21/2014
        ADS    Receive and review original exemplification
               certification from court; draft letter to local
               counsel regarding same.                                  175.00     0.30               70
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14   EOD 06/06/14 15:33:49       Pg 289
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-76
                                                                         INVOICE NO:             4
       re: River Bend Cattle Co. (Preference)


                                                                         Rate   HOURS
 01/25/2014
        ADS    Review and revise letter to local counsel.              175.00     0.10                 71
               Amanda D. Stafford                                                 4.50       787.50

               FOR CURRENT SERVICES RENDERED                                      5.90      1,032.50

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                   TOTAL
    Jay P. Kennedy                                       1.40    $175.00                 $245.00
    Amanda D. Stafford                                   4.50     175.00                  787.50




               Reproduction of documents                                                        2.50
               Mailing expense                                                                  1.87
               TOTAL EXPENSES THRU 04/30/2014                                                   4.37



 10/23/2013    Overnight mail FEDERAL EXPRESS                                                 21.79     8
 12/23/2013    Overnight mail FEDERAL EXPRESS                                                 10.82    15
               Overnight mail                                                                 32.61

 01/15/2014    Certification Fee Clerk, U.S. Bankruptcy Court                                   1.00   16
               Certification Fee                                                                1.00

 12/18/2013    Filing Fee Clerk, U.S. Bankruptcy Court Exemplification Fee                    21.00    11
               Filing Fee                                                                     21.00

 10/09/2013    Copies at Court Clerk, U.S. Bankruptcy Court                                   12.00    5
               Copies at Court                                                                12.00

               TOTAL ADVANCES THRU 04/30/2014                                                 66.61

               TOTAL CURRENT WORK THIS STATEMENT                                            1,103.48

               PREVIOUS BALANCE                                                            $2,543.99



 09/30/2013    Payment--Thank you                                                            -658.81   2
 12/31/2013    Payment--Thank you                                                            -338.55   3
               TOTAL PAYMENTS                                                                -997.36

               BALANCE DUE                                                                 $2,650.11
Case 10-93904-BHL-11        Doc 2591-1         Filed 06/06/14   EOD 06/06/14 15:33:49   Pg 290
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      Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                    ACCOUNT NO:     110035-76
                                                                     INVOICE NO:             4
      re: River Bend Cattle Co. (Preference)


                              AGE OF OUTSTANDING STATEMENTS
           0-30            31-60        61-90       91-180              181-360         361+
       1,103.48             0.00         0.00       122.36                 0.00      1,424.27
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 291
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-81
                                                                                INVOICE NO:             4




       re: Scotts Hill Stockyard (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/02/2013
        JLW    Review email from K. Goss regarding status;                   175.00      0.10               44

 10/18/2013
        JLW    Review                                                        175.00      0.40               45

 10/23/2013
        JLW    Review email from M. Stafford to K. Goss
               regarding status; Review response email from
               K. Goss;                                                      175.00      0.20               46
               Jennifer L. Watt                                                          0.70      122.50

 09/05/2013
        ADS    Conference                                                    175.00      0.10               43

 10/21/2013
        ADS    Review                                                        175.00      0.10               47

 10/23/2013
        ADS    Review email from K. Goss with request for
               status; review
                             draft email to K. Goss regarding
               status.                                                       175.00      0.30               48

 02/10/2014
        ADS    Review/analyze                    Update
                                                                             175.00      0.10               49
               Amanda D. Stafford                                                        0.60      105.00

               FOR CURRENT SERVICES RENDERED                                             1.30      227.50
Case 10-93904-BHL-11          Doc 2591-1        Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 292
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-81
                                                                      INVOICE NO:             4
       re: Scotts Hill Stockyard (Preference)


                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE              TOTAL
    Jennifer L. Watt                                     0.70    $175.00            $122.50
    Amanda D. Stafford                                   0.60     175.00             105.00




               Reproduction of documents                                                      4.00
               TOTAL EXPENSES THRU 04/30/2014                                                 4.00

               TOTAL CURRENT WORK THIS STATEMENT                                           231.50

               PREVIOUS BALANCE                                                          $1,328.86



 09/30/2013    Payment--Thank you                                                          -230.19   2
 12/31/2013    Payment--Thank you                                                          -395.90   3
               TOTAL PAYMENTS                                                              -626.09

               BALANCE DUE                                                                $934.27

                                AGE OF OUTSTANDING STATEMENTS
            0-30             31-60        61-90       91-180             181-360           361+
          231.50              0.00         0.00       141.11                0.00          561.66
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 293
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-84
                                                                                INVOICE NO:             3




       re: Bradbury, Mike (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 03/17/2014
        JPK    Reviewed settlement discussions. Confer with
               M. Stafford
               Revise settlement offer.                                      175.00      0.40               140
               Jay P. Kennedy                                                            0.40       70.00

 10/18/2013
        JLW    Review                                                        175.00      0.40                97

 11/14/2013
        JLW    Review email from A. Adams regarding case
               management order.                                             175.00      0.50               103

 11/18/2013
        JLW    Review email from A. Adams regarding
               scheduling orders; Review proposed case
               management orders; Review email from A.
               Adams regarding case management orders.                       175.00      0.50               104

 01/14/2014
        JLW    Review draft witness and exhibit lists and
               provide comments.                                             175.00      0.40               111

 02/10/2014
        JLW    Telephone conference with A. Adams regarding
               discovery and settlement; Review email and
               settlement offer.                                             175.00      0.30               115

 02/11/2014
        JLW    Review discovery requests sent by defendants.                 175.00      0.40               116

 02/24/2014
        JLW    Email correspondence with M. Stafford
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 294
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       Eastern Livestock Bankruptcy                                                June 04, 2014
                                                                      ACCOUNT NO:     110035-84
                                                                       INVOICE NO:             3
       re: Bradbury, Mike (Preference)


                                                                       Rate   HOURS
               regarding                                             175.00     0.10               117

 02/25/2014
        JLW    Review email from A. Adams regarding expert
               witness disclosures; Review email from A.
               Adams regarding settlement offer.                     175.00     0.20               118

 02/26/2014
        JLW    Conference with M. Stafford regarding
                         Review and draft revisions to
               discovery requests.                                   175.00     0.60               119

 02/27/2014
        JLW    Review email from A. Adams regarding
               response to settlement offer.                         175.00     0.10               127

 03/03/2014
        JLW    Draft email to A. Adams regarding expert
               disclosure deadlines and response to settlement
               offer; review email and draft joint motion
               regarding disclosure deadlines from A. Adams;
               Draft email to A. Adams regarding revisions to
               joint motion; Review email from A. Adams with
               revised joint motion and request for agreement;
               Review the revised motion from A. Adams and
               respond to email with approval of revised
               motion.                                               175.00     0.50               129

 03/04/2014
        JLW    Review
                                                                     175.00     0.20               135

 03/05/2014
        JLW    Review email regarding settlement counteroffer;
               Conference with M. Stafford regarding
                                                                     175.00     0.50               136

 03/06/2014
        JLW    Review order granting motion to extend expert
               witness disclosure deadline; Conference call
               with A. Adams regarding status of settlement
               offer.                                                175.00     0.60               137

 03/17/2014
        JLW    Draft email to M. Stafford regarding
                     Review email from M. Stafford to J.
               Knauer regarding                                      175.00     0.20               145
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14      EOD 06/06/14 15:33:49    Pg 295
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-84
                                                                         INVOICE NO:             3
       re: Bradbury, Mike (Preference)


                                                                        Rate    HOURS
 03/18/2014
        JLW    Conference with M. Stafford regarding
                                      (.30). Multiple calls with
               J. Knauer and A. Adams regarding settlement
               negotiations (1.0).                                     175.00     1.30                146

 03/25/2014
        JLW    Review email from A. Adams regarding motion
               to amend case management order and review
               related documents (.30). Draft email to A.
               Adams approving motion (.20). Draft settlement
               agreement (.80).                                        175.00     1.30                147

 03/31/2014
        JLW    Review email from A. Adams regarding
               settlement.                                             175.00     0.10                148

 04/15/2014
        JLW    Draft email to M. Stafford regarding
                                                                       175.00     0.20                156

 04/16/2014
        JLW    Review email from M. Stafford regarding
                                                                       175.00     0.10                157

 04/18/2014
        JLW    Review email from A. Adams regarding status
               of settlement agreement; Review email from M.
               Stafford                                                175.00     0.40                158

 04/21/2014
        JLW    Review email from A. Adams regarding
               correction needed in settlement agreement;
               Draft revisions to settlement agreement; Draft
               email to A. Adams with revised settlement
               agreement and review response email.                    175.00     0.40                159

 04/22/2014
        JLW    Review email from A Adams regarding
               comments to settlement agreement.                       175.00     0.10                160
               Jennifer L. Watt                                                   9.40     1,645.00

 06/20/2013
        ADS    Draft Election Notice and prepare Exhibit A.
               Assignment to legal assistant to file same with
               court. Receive and review filed Election Notice.        175.00     0.20                 75

 08/27/2013
        ADS    Receive and review Notice of Submission of
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14    EOD 06/06/14 15:33:49    Pg 296
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-84
                                                                         INVOICE NO:             3
       re: Bradbury, Mike (Preference)


                                                                        Rate    HOURS
               Mediator's Report and exhibit. Assignment to
               paralegal to file same. Update
                                                                       175.00     0.20                95

 09/05/2013
        ADS    Conference with J. Watt                                 175.00     0.10                96

 10/21/2013
        ADS    Meeting with J. Watt regarding
                                                                       175.00     0.20                99

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.40               100

 10/30/2013
        ADS    Review pleadings for order on motion to
               dismiss; draft proposed case management
               order; confer with J. Watt and J. Kennedy
                                                                       175.00     0.90               101

       ADS     Assignment to paralegal to draft Notice of
               Apperance.                                              175.00     0.10               102

 11/04/2013
        ADS    Email from A. Adams; review/analyze proposed
               revisions to case management orders. Draft
               email to J. Kennedy and J. Watt regarding
                                                                       175.00     0.10               105

 11/14/2013
        ADS    Email from and draft email to A. Adams
               regarding case management orders.                       175.00     0.10               106

 11/18/2013
        ADS    Revise case management order and email
               same to opposing counsel.                               175.00     0.50               107

       ADS     Upload case management order; email to
               opposing counsel to confirm same. Draft email
               to K. Goss regarding filing of case management
               orders. Update
                                                                       175.00     0.10               108

 01/14/2014
        ADS    Review documents produced by both parties
               and analyze                 (.90). Review case
               management order (.30). Draft preliminary
               witness and exhibit list (.50). Draft email to J.
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                                                                         ACCOUNT NO:     110035-84
                                                                          INVOICE NO:             3
       re: Bradbury, Mike (Preference)


                                                                          Rate   HOURS
               Watt for review of same (.10).                           175.00     1.80               112

 01/15/2014
        ADS    Review and finalize preliminary witness and
               exhibit list; file same with Court.                      175.00     0.30               113

 01/22/2014
        ADS    Receive and review defendant's preliminary
               witness and exhibit list.                                175.00     0.10               114

 02/05/2014
        ADS    Attention to discovery completion deadline and
               review case management order. Process
               request for original ELC file. Diary for follow up
               on receipt of same.                                      175.00     0.20               120

 02/10/2014
        ADS    Review/analyze                   Update
                                                                        175.00     0.10               126

       ADS     Email correspondence regarding
                                                                        175.00     0.10               131

 02/12/2014
        ADS    Receive/review Notice of Discovery Requests to
               Trustee. Calendar deadline to respond to
               same.                                                    175.00     0.10               128

 02/24/2014
        ADS    Attention to deadline for Trustee to send out
               discovery requests.                                      175.00     0.10               130

 02/25/2014
        ADS    Review pleadings, correspondence, and
               documents produced in preparation for drafting
               of trustee's discovery requests.                         175.00     0.70               121

 02/26/2014
        ADS    Review pleadings, documents produced and
               correspondence between counsel and DSI in
               preparation for drafting discovery requests (1.0).
               Draft/revise requests for production and
               interrogatories to defendant Mike Bradbury
               (1.0). Confer with J. Watt regarding       (.30).        175.00     2.30               122

       ADS     Draft requests for production and interrogatories
               to Bradbury & York. Assignment to legal
               assistant to format same.                                175.00     0.50               123
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14    EOD 06/06/14 15:33:49    Pg 298
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                                                                     ACCOUNT NO:     110035-84
                                                                      INVOICE NO:             3
       re: Bradbury, Mike (Preference)


                                                                     Rate    HOURS
       ADS     Review/revise and finalize trustee's discovery
               requests and prepare for submission and
               service on defendant's counsel. Draft email to
               A. Adams and L. Delcotto with discovery
               requests. Draft and file Notice of Discovery
               Requests in main bankruptcy case and
               adversary proceeding.                                175.00     0.60               124

 02/28/2014
        ADS    Multiple email correspondence with H. Mappes
               regarding request for Trustee's discovery
               requests served on defendants. Forward
               Trustee's discovery requests to H. Mappes for
               uploading to Trustee's online discovery
               repository.                                          175.00     0.10               125

 03/03/2014
        ADS    Receive/review email correspondence with A.
               Adams with proposed Joint Motion to Strike and
               Reset Deadlines regarding expert witness
               disclosures. Review, analyze and revise same.        175.00     0.50               132

       ADS     Review/analyze Joint Motion to Extend Time to
               File Expert Witness Disclosures and to Strike
               and Reset Deadline Regarding Expert
               Witnesses.                                           175.00     0.10               149

 03/04/2014
        ADS    Review/analyze
               review/analyze
                                draft email memorandum to
               JPK and Jim Knauer regarding
                                                                    175.00     0.90               133

 03/05/2014
        ADS    Review email from trustee
                                                                    175.00     0.10               152

 03/06/2014
        ADS    Receive/review Order Granting Joint Motion to
               Extend Time to File Expert Witness Disclosures
               and to Strike and Reset Deadline Regarding
               Expert Witness Disclosures                           175.00     0.10               150

 03/10/2014
        ADS    Receive and review email from J. Knauer with
                                                     Draft
               email to J. Kennedy and J. Watt regarding
                                                                    175.00     0.30               138
Case 10-93904-BHL-11          Doc 2591-1        Filed 06/06/14    EOD 06/06/14 15:33:49    Pg 299
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                                                                       ACCOUNT NO:     110035-84
                                                                        INVOICE NO:             3
       re: Bradbury, Mike (Preference)


                                                                       Rate    HOURS

 03/11/2014
        ADS    Attention to settlement status, confer with J.
               Knauer,J. Kennedy, and J. Watt regarding
                                  telephonic conference with A.
               Adams regarding settlement.                            175.00     0.80               139

 03/17/2014
        ADS    Email correspondence with J. Watt regarding
                                email to J. Knauer regarding
                                                                      175.00     0.20               141

 03/18/2014
        ADS    Follow up with trustee
                                      (.20). Email to and
               from D. DeNeal regarding

                           (.20). Telephonic conferences with
               Amelia Adams and Jennifer Watt (.20).
               Telephonic conference with Trustee regarding
                           (.20). Strategize with J. Watt
                                                 (.20).               175.00     1.00               142

 03/24/2014
        ADS    Correspond with J. Watt regarding
                            draft language for insertion into
               settlement agreement regarding
               retention/allowance of proof of claim.                 175.00     0.50               143

 03/25/2014
        ADS    Receive/review email correspondence regarding
               extension of case management order deadlines
               due to pending settlement.                             175.00     0.10               144

       ADS     Receive/review Joint Motion to Extend Time to
               File Discovery and Dispositive Motions.                175.00     0.10               151

 04/04/2014
        ADS    Voicemail and email from A. Adams regarding
               settlement agreement status; draft email to A.
               Adams regarding same.                                  175.00     0.20               153

 04/14/2014
        ADS    Email correspondence with Amelia Adams
               regarding settlement agreement.                        175.00     0.20               154

 04/18/2014
        ADS    Review/revise settlement agreement. Draft
               email to A. Adams with settlement agreement.           175.00     0.50               155
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-84
                                                                      INVOICE NO:             3
       re: Bradbury, Mike (Preference)


                                                                     Rate    HOURS

 04/21/2014
        ADS    Review email from A. Adams regarding
               correction needed in settlement agreement;
               correspond with J. Watt regarding
                                                                    175.00     0.20                162

 04/28/2014
        ADS    Review revisions to settlement agreement;
               revise same. Draft email to A. Adams regarding
               settlement agreement. Draft memorandum to
               Trustee and J. Kennedy regarding
                                                                    175.00     0.50                161
               Amanda D. Stafford                                             16.20     2,835.00

 03/04/2013
        TJF    Review and organization of recently filed
               pleadings.                                           125.00     0.10                 49

 03/06/2013
        TJF    Review and organization of recently filed
               pleadings.                                           125.00     0.30                 50

 03/11/2013
        TJF    Review and organization of recently filed
               pleadings.                                           125.00     0.30                 51

 03/13/2013
        TJF    Review and organization of recently filed
               pleadings.                                           125.00     0.10                 52

 03/26/2013
        TJF    Received and uploaded documentation from E
               Lynch                                                125.00     0.10                 53

 04/25/2013
        TJF    Began compilation of documents to provide
               defendant pursuant to Procedures Order               125.00     0.20                 58

 05/13/2013
        TJF    Preparation of documents for production
               pursuant to Procedures Order.                        125.00     0.20                 66

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                            125.00     0.10                 98

 01/09/2014
        TJF    Updated diary with Case Management Order
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       Eastern Livestock Bankruptcy                                              June 04, 2014
                                                                    ACCOUNT NO:     110035-84
                                                                     INVOICE NO:             3
       re: Bradbury, Mike (Preference)


                                                                     Rate   HOURS
               deadlines                                           125.00     0.10                  109

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                          125.00     0.10                  110

 03/06/2014
        TJF    Received and reviewed Court Order on
               extending time for disclosure of expert
               witnesses; diaried same.                            125.00     0.10                  134
               Tammy J. Froelich                                              1.70        212.50

               FOR CURRENT SERVICES RENDERED                                 27.70      4,762.50

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE                TOTAL
    Jay P. Kennedy                                      0.40    $175.00                $70.00
    Jennifer L. Watt                                    9.40     175.00              1,645.00
    Amanda D. Stafford                                 16.20     175.00              2,835.00
    Tammy J. Froelich                                   1.70     125.00                212.50




               Reproduction of documents                                                    3.70
               TOTAL EXPENSES THRU 04/30/2014                                               3.70

               TOTAL CURRENT WORK THIS STATEMENT                                        4,766.20

               PREVIOUS BALANCE                                                       $20,034.30



 09/30/2013    Payment--Thank you                                                       -4,797.43    1
 12/31/2013    Payment--Thank you                                                       -6,138.30    2
               TOTAL PAYMENTS                                                          -10,935.73

               BALANCE DUE                                                            $13,864.77

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90        91-180            181-360           361+
        4,766.20             0.00         0.00      2,159.62               0.00        6,938.95
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 302
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-85
                                                                                INVOICE NO:             4




       re: Krantz, Gary (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/05/2013
        JPK    Participate in mediation session with J. Graham
               and J. Knauer (1.0). Review
                           (.20).                                            175.00      1.20               46

 11/25/2013
        JPK    Call with J. Graham. Participate in pretrial
               conference.                                                   175.00      0.20               52
               Jay P. Kennedy                                                            1.40      245.00

 10/18/2013
        JLW    Review                                                        175.00      0.40               49

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30               51

 11/25/2013
        JLW    Review email from T. Froelich regarding
                                                                             175.00      0.10               53

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10               58

 02/12/2014
        JLW    Attend pre-trial hearing on status; Review case
               management order                                              175.00      0.30               62
               Jennifer L. Watt                                                          1.20      210.00

 09/24/2013
        ADS    Prepare for pretrial.                                         175.00      0.10               47
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14    EOD 06/06/14 15:33:49    Pg 303
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       Eastern Livestock Bankruptcy                                                June 04, 2014
                                                                      ACCOUNT NO:     110035-85
                                                                       INVOICE NO:             4
       re: Krantz, Gary (Preference)


                                                                      Rate    HOURS
 09/25/2013
        ADS    Attend pretrial status conference.                    175.00     0.10               48

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                     175.00     0.10               50

 11/22/2013
        ADS    Conference with J. Watt regarding
                                      review/analyze

               update                                                175.00     0.50               54

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.         175.00     0.10               55

 02/10/2014
        ADS    Telephonic conference with Jeff Graham
               regarding case status for upcoming pretrial
               conference.                                           175.00     0.10               61

       ADS     Review/analyze                 Update
                                                                     175.00     0.10               63

 02/12/2014
        ADS    Prepare for and conduct pretrial conference;
               update
                        Review file for defendant's production
               for informal discovery and voicemail to E. Nave
               with request for same.                                175.00     0.40               64

       ADS     Email from Erin Nave regarding document
               production.                                           175.00     0.10               65

 02/21/2014
        ADS    Email from Erin Nave with defendant's pretrial
               production; review same and save to file.             175.00     0.20               66
               Amanda D. Stafford                                               1.80      315.00

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10               56

       TJF     Review analyze
                            conference with J. Watt and M.
               Stafford                                              125.00     1.00               57

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                 125.00     0.10               59
Case 10-93904-BHL-11         Doc 2591-1     Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 304
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                                                                   INVOICE NO:             4
       re: Krantz, Gary (Preference)


                                                                  Rate    HOURS

 02/18/2014
        TJF    Reviewed Minute Entry/Order; updated diary
               docket                                            125.00     0.10                 60
               Tammy J. Froelich                                            1.30       162.50

               FOR CURRENT SERVICES RENDERED                                5.70       932.50

                                         RECAPITULATION
    TIMEKEEPER                                      HOURS HOURLY RATE               TOTAL
    Jay P. Kennedy                                     1.40    $175.00             $245.00
    Jennifer L. Watt                                   1.20     175.00              210.00
    Amanda D. Stafford                                 1.80     175.00              315.00
    Tammy J. Froelich                                  1.30     125.00              162.50




 12/09/2013    Outside Copying Expense Xcellence, Inc.                                    4.95   9
               Outside Copying Expense                                                    4.95

               TOTAL ADVANCES THRU 04/30/2014                                             4.95

               TOTAL CURRENT WORK THIS STATEMENT                                       937.45

               PREVIOUS BALANCE                                                      $1,177.46



 09/30/2013    Payment--Thank you                                                      -195.26   2
 12/31/2013    Payment--Thank you                                                      -486.55   3
               TOTAL PAYMENTS                                                          -681.81

               BALANCE DUE                                                           $1,433.10

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180           181-360          361+
          937.45             0.00         0.00       172.97              0.00         322.68
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-92
                                                                                INVOICE NO:             3




       re: Hoover and Son, Randy
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 10/28/2013
        JPK    Confer with M. Stafford regarding results of
                                                                             175.00      0.20               51

 11/21/2013
        JPK    Prepared for and participate in extensive
               conference call regarding potential settlement.
               Call with J. Graham.                                          175.00      0.60               62

 12/27/2013
        JPK    Reviewed email from M. Montell. Check on
               status                                                        175.00      0.30               69

 01/30/2014
        JPK    Follow up with M. Stafford regarding
                                    Reviewed                                 175.00      0.40               76

 02/10/2014
        JPK    Call with N. Montell. Call with J. Knauer. Call
               with J. Graham.                                               175.00      0.50               77

 03/10/2014
        JPK    Reviewed email from J. Graham. Follow up on
               settlement.                                                   175.00      0.30               86

 03/25/2014
        JPK    Meet with J. Watt. Reviewed email from K. Goff
               on status.                                                    175.00      0.30               89

 03/26/2014
        JPK    Follow up on settlement.                                      175.00      0.20               88
               Jay P. Kennedy                                                            2.80      490.00
Case 10-93904-BHL-11         Doc 2591-1        Filed 06/06/14      EOD 06/06/14 15:33:49    Pg 306
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-92
                                                                         INVOICE NO:             3
       re: Hoover and Son, Randy


                                                                        Rate    HOURS
 10/18/2013
        JLW    Review                                                  175.00     0.40               52

 10/28/2013
        JLW    Prepare for and attend pre-trial conference             175.00     0.40               53

 10/29/2013
        JLW    Review minute order entry                               175.00     0.10               54

 11/05/2013
        JLW    Conference with M. Stafford regarding
               Draft email regarding settlement conference;            175.00     0.50               59

 11/21/2013
        JLW    Draft email to N. Montell and J. Graham
               regarding availability for conference call (.20).
               Review response email and draft email
               proposing alternative time (.10). Review
                                              (.60). Conference
               call with opposing counsel regarding settlement
               (.40).                                                  175.00     1.30               60

 11/22/2013
        JLW    Review email form Trustee regarding
                         Conference with M. Stafford
               regarding                                               175.00     0.40               61

 12/02/2013
        JLW    Review minute entry order.                              175.00     0.10               67

 01/16/2014
        JLW    Review minute entry order.                              175.00     0.10               72

 02/03/2014
        JLW    Review email regarding status of settlement.            175.00     0.10               79

 02/12/2014
        JLW    Attend pre-trial hearing on status; Review case
               management order                                        175.00     0.30               82

 03/25/2014
        JLW    Telephone call with N. Montell regarding
               settlement agreement and hearing; Telephone
               call with court clerk regarding hearing and
               settlement; Draft email confirming settlement
               and vacating hearing; Review email from clerk
               of court confirming vacating hearing.                   175.00     0.50               94
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-92
                                                                         INVOICE NO:             3
       re: Hoover and Son, Randy


                                                                        Rate    HOURS
 03/26/2014
        JLW    Review minute entry order                               175.00     0.10               95
               Jennifer L. Watt                                                   4.30      752.50

 10/21/2013
        ADS    Review                                                  175.00     0.10               56

       ADS     Meeting with J. Watt regarding
                                                                       175.00     0.20               57

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.40               58

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                             Draft email
               to J. Watt regarding                                    175.00     0.20               63

 11/22/2013
        ADS    Conference with J. Watt regarding preparation

                                                                       175.00     0.30               64

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.           175.00     0.10               65

 01/13/2014
        ADS    Receive and review email correspondence form
               Jay Kennedy to opposing counsel regarding
               Trustee's settlement offer.                             175.00     0.10               74

 01/16/2014
        ADS    Email correspondence from Natalie Montell
               regarding defendant's response to Trustee's
               offer of settlement.                                    175.00     0.10               73

 01/30/2014
        ADS    Email correspondence from N. Montell on status
               of settlement.                                          175.00     0.10               75

 02/03/2014
        ADS    Attention to deadline to file Case Management
               Order. Draft email to J. Kennedy regarding
                                                                       175.00     0.20               80

 02/10/2014
        ADS    Email correspondence with N. Montell regarding
               settlement status.                                      175.00     0.10               81
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-92
                                                                         INVOICE NO:             3
       re: Hoover and Son, Randy


                                                                        Rate    HOURS

       ADS     Review/analyze                 Update
                                                                       175.00     0.10               83

 02/12/2014
        ADS    Telephonic conference with N. Montell
               regarding rescheduling hearing.                         175.00     0.10               84

       ADS     Prepare for and conduct pretrial conference;
               update
                                                                       175.00     0.20               85

 03/18/2014
        ADS    Email correspondence from opposing counsel.
               Draft settlement agreement.                             175.00     0.70               87

 03/25/2014
        ADS    Receive and review voicemail from Natalie
               Montell regarding settlement status and pretrial.
               Email to and email from Jen Watt regarding
                                                                       175.00     0.30               90

       ADS     Email from Jen Watt regarding vacating hearing
               and filing of settlement documents with court.
               Calendar deadline to file settlement documents.         175.00     0.10               91

 03/26/2014
        ADS    Prepare for and conduct telephonic status
               conference.                                             175.00     0.20               92

       ADS     Review/revise and finalize settlement
               agreement. Draft email to opposing counsel
               with same.                                              175.00     0.50               93

 04/01/2014
        ADS    Draft Motion to Compromise.                             175.00     0.40               96

 04/02/2014
        ADS    Draft email to opposing counsel with motion to
               compromise.                                             175.00     0.10               97

 04/08/2014
        ADS    Review/analyze email form N. Montell regarding
               proposed revisions/objections to proposed
               settlement agreement (.40). Substantially
               revise settlement agreement (.60).
               Review/analyze proof of claim filed by Randy
               Hoover and Sons (.60).                                  175.00     1.60               98
Case 10-93904-BHL-11         Doc 2591-1       Filed 06/06/14     EOD 06/06/14 15:33:49     Pg 309
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       Eastern Livestock Bankruptcy                                                June 04, 2014
                                                                      ACCOUNT NO:     110035-92
                                                                       INVOICE NO:             3
       re: Hoover and Son, Randy


                                                                      Rate    HOURS
 04/11/2014
        ADS    Draft email to D. DeNeal regarding Hoover proof
               of claim and objection thereto by Trustee.            175.00     0.10                  99

 04/14/2014
        ADS    Email correspondence with Dustin DeNeal
               regarding allowance of Hoover's proof of claim.       175.00     0.20                 102

 04/16/2014
        ADS    Revise settlement agreement. Begin drafting
               email to N. Montell regarding revisions to
               settlement agreement.                                 175.00     0.80                 100

 04/17/2014
        ADS    Review/revise email to N. Montell regarding
               revisions to settlement agreement.                    175.00     0.20                 101
               Amanda D. Stafford                                               7.50      1,312.50

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                             125.00     0.10                  55

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.10                  66

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                 125.00     0.10                  68

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                            125.00     0.20                  70

 01/20/2014
        TJF    Updated file with upcoming telephonic hearings
               and deadlines.                                        125.00     0.10                  71

 02/18/2014
        TJF    Reviewed Minute Entry/Order; updated diary
               docket                                                125.00     0.10                  78
               Tammy J. Froelich                                                0.70        87.50

               FOR CURRENT SERVICES RENDERED                                   15.30      2,642.50

                                          RECAPITULATION
    TIMEKEEPER                                       HOURS HOURLY RATE                  TOTAL
    Jay P. Kennedy                                      2.80    $175.00                $490.00
    Jennifer L. Watt                                    4.30     175.00                 752.50
Case 10-93904-BHL-11        Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 310
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       Eastern Livestock Bankruptcy                                        June 04, 2014
                                                              ACCOUNT NO:     110035-92
                                                               INVOICE NO:             3
       re: Hoover and Son, Randy


    TIMEKEEPER                                    HOURS HOURLY RATE           TOTAL
    Amanda D. Stafford                              7.50      175.00         1,312.50
    Tammy J. Froelich                               0.70      125.00            87.50


               TOTAL CURRENT WORK THIS STATEMENT                                   2,642.50

               PREVIOUS BALANCE                                                   $4,182.77



 09/30/2013    Payment--Thank you                                                 -1,293.81   1
 12/31/2013    Payment--Thank you                                                   -926.85   2
               TOTAL PAYMENTS                                                     -2,220.66

               BALANCE DUE                                                        $4,604.61

                              AGE OF OUTSTANDING STATEMENTS
            0-30           31-60        61-90       91-180        181-360         361+
        2,642.50            0.00         0.00       328.85           0.00      1,633.26
Case 10-93904-BHL-11            Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49           Pg 311
                                                     of 323


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       Eastern Livestock Bankruptcy                                                           June 04, 2014
                                                                                 ACCOUNT NO:     110035-93
                                                                                  INVOICE NO:             3




       re: Hoover, John (Preference)
                                                                                             DRAFT STATEMENT

                 [ ]Bill & Mail this statement as is/as modified
                 [ ]Return to ______ for letter
                 [ ]Prepare for sending VIA EMAIL
                 [ ]HOLD/Do not send
                 [ ]Send only previous balance
                 [ ]Close File (only closed if paid in full or balance is written off)
                 [ ]Pay this invoice from TRUST
                 [ ] Other: ______________________________



                                                                                  Rate      HOURS
 12/27/2013
        JLW      Review email from J. Graham regarding
                 settlement offer                                              175.00          0.10                26
                 Jennifer L. Watt                                                              0.10       17.50

                 FOR CURRENT SERVICES RENDERED                                                 0.10       17.50

                                               RECAPITULATION
    TIMEKEEPER                                            HOURS HOURLY RATE                           TOTAL
    Jennifer L. Watt                                         0.10    $175.00                          $17.50


                 TOTAL CURRENT WORK THIS STATEMENT                                                        17.50

                 PREVIOUS BALANCE                                                                       $511.09



 09/30/2013      Payment--Thank you                                                                      -120.65   3


                 BALANCE DUE                                                                            $407.94

                                  AGE OF OUTSTANDING STATEMENTS
               0-30            31-60        61-90       91-180                           181-360         361+
              17.50             0.00         0.00         0.00                              0.00        390.44
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 312
                                                   of 323


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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-97
                                                                                INVOICE NO:             3




       re: Witt, Brian (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 11/25/2013
        JPK    Reviewed status with M. Stafford. Participate in
               pretrial conference.                                          175.00      0.30               51

 04/28/2014
        JPK    Reviewed                         Call with B.
               Robinson. Participated in pretrial conference.                175.00      0.60               65
               Jay P. Kennedy                                                            0.90      157.50

 10/18/2013
        JLW    Review                                                        175.00      0.40               43

 10/28/2013
        JLW    Prepare for and attend pre-trial conference                   175.00      0.40               44

 10/29/2013
        JLW    Review minute order entry                                     175.00      0.10               45

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30               50

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10               56

 01/28/2014
        JLW    Review memorandum regarding
               Conference with M. Stafford regarding case
                                                                             175.00      0.60               62

 01/29/2014
        JLW    Prepare for and attend pre-trial conference.                  175.00      0.40               63
Case 10-93904-BHL-11          Doc 2591-1        Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 313
                                                  of 323


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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-97
                                                                         INVOICE NO:             3
       re: Witt, Brian (Preference)


                                                                        Rate    HOURS
               Jennifer L. Watt                                                   2.30      402.50

 09/05/2013
        ADS    Conference with J. Watt                                 175.00     0.10               41

 10/02/2013
        ADS    Review                 and update
                                                                       175.00     0.10               42

 10/21/2013
        ADS    Review                                                  175.00     0.10               47

       ADS     Meeting with J. Watt regarding
                                                                       175.00     0.20               48

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.40               49

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                  175.00     0.10               52

 11/22/2013
        ADS    Conference with J. Watt regarding preparation
                                        review/analyze

                                                                       175.00     0.40               53

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.           175.00     0.20               54

 01/28/2014
        ADS    Review correspondence from Defendant's
               attorney; analyze                      draft
               email to J. Kennedy and J. Watt regarding
                       Update                                          175.00     0.60               59

       ADS     Office conference with J. Watt regarding
                                                                       175.00     0.10               60

 01/29/2014
        ADS    Prepare for, conduct, and participate in
               telephonic pretrial conference.                         175.00     0.30               61

 02/10/2014
        ADS    Review/analyze                   Update
                                                                       175.00     0.10               64
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14     EOD 06/06/14 15:33:49     Pg 314
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       Eastern Livestock Bankruptcy                                                   June 04, 2014
                                                                         ACCOUNT NO:     110035-97
                                                                          INVOICE NO:             3
       re: Witt, Brian (Preference)


                                                                         Rate    HOURS
 04/28/2014
        ADS    Review file for status in preparation for pretrial
               conference and settlement discussions.                   175.00     0.60                 66

       ADS     Prepare for and attend telephonic pretrial
               conference.                                              175.00     0.30                 67
               Amanda D. Stafford                                                  3.60       630.00

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                                125.00     0.10                 46

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                               125.00     0.10                 55

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                    125.00     0.10                 57

 01/30/2014
        TJF    Review Minute Entry/Order and update file with
               of same.                                                 125.00     0.20                 58
               Tammy J. Froelich                                                   0.50        62.50

               FOR CURRENT SERVICES RENDERED                                       7.30      1,252.50

                                            RECAPITULATION
    TIMEKEEPER                                         HOURS HOURLY RATE                   TOTAL
    Jay P. Kennedy                                        0.90    $175.00                 $157.50
    Jennifer L. Watt                                      2.30     175.00                  402.50
    Amanda D. Stafford                                    3.60     175.00                  630.00
    Tammy J. Froelich                                     0.50     125.00                   62.50




               Reproduction of documents                                                         5.90
               TOTAL EXPENSES THRU 04/30/2014                                                    5.90

               TOTAL CURRENT WORK THIS STATEMENT                                             1,258.40

               PREVIOUS BALANCE                                                             $4,248.67



 09/30/2013    Payment--Thank you                                                             -368.30   1
 12/31/2013    Payment--Thank you                                                           -2,599.25   2
Case 10-93904-BHL-11         Doc 2591-1   Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 315
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      Eastern Livestock Bankruptcy                                          June 04, 2014
                                                               ACCOUNT NO:     110035-97
                                                                INVOICE NO:             3
      re: Witt, Brian (Preference)


              TOTAL PAYMENTS                                                       -2,967.55

              BALANCE DUE                                                          $2,539.52

                               AGE OF OUTSTANDING STATEMENTS
           0-30             31-60        61-90       91-180        181-360           361+
       1,258.40              0.00         0.00       918.92           0.00          362.20
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 316
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-98
                                                                                INVOICE NO:             3




       re: Cornelison Farms, FLP (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/13/2013
        JPK    Email to P. Kunkel. Email to D. O'Neil regarding
               mediation.                                                    175.00      0.30               39

 09/17/2013
        JPK    Conference with C. Turner regarding updating
               mediation. Reviewed
                                                                             175.00      0.30               38

 09/20/2013
        JPK    Prepare for mediation. Email with P. Kunkel
               and C. Turner regarding mediation issues.
               Confer with J. Knauer.                                        175.00      0.40               37

 09/27/2013
        JPK    Emails with C. Turner regarding case law.
               Participate in premediation conference with
               Trustee.                                                      175.00      0.80               42

 09/30/2013
        JPK    Reviewed email from P. Kunkel continuing
               mediation session.                                            175.00      0.30               41

 10/04/2013
        JPK    Reviewed message from C. Turner. Follow up
               with M. Stafford                                              175.00      0.20               51

 10/23/2013
        JPK    Reviewed email from M. Stafford. Reviewed
               proposed settlement agreement and release.                    175.00      0.30               43

 10/30/2013
        JPK    Confer with M. Stafford. Reviewed proposed
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 317
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-98
                                                                         INVOICE NO:             3
       re: Cornelison Farms, FLP (Preference)


                                                                         Rate   HOURS
               dismissal and proposed modification.                    175.00     0.30               44

 11/27/2013
        JPK    Meet briefly with M. Stafford regarding
                                                                       175.00     0.20               56
               Jay P. Kennedy                                                     3.10      542.50

 10/28/2013
        JLW    Prepare for and attend pre-trial conference             175.00     0.40               46

 10/29/2013
        JLW    Review minute order entry                               175.00     0.10               47

 10/30/2013
        JLW    Meeting with M. Stafford regarding

                                                                       175.00     0.20               49

 12/11/2013
        JLW    Review                                                  175.00     0.10               65
               Jennifer L. Watt                                                   0.80      140.00

 09/05/2013
        ADS    Conference with J. Watt                                 175.00     0.10               40

 10/02/2013
        ADS    Review file for status and update
                             Draft email to J. Kennedy
               regarding mediation.                                    175.00     0.30               45

 10/18/2013
        ADS    Draft/review/finalize settlement agreement and
               mutual release.                                         175.00     2.00               50

 10/21/2013
        ADS    Meeting with J. Watt regarding
                                                                       175.00     0.20               52

 10/23/2013
        ADS    Follow up with J. Kennedy on status of review of
               settlement agreement draft. Diary for follow up.        175.00     0.10               53

 10/28/2013
        ADS    Prepare for and attend telephonic pretrial status
               conference.                                             175.00     0.50               54

 10/30/2013
        ADS    Review settlement agreement; revise same; and
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14     EOD 06/06/14 15:33:49    Pg 318
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       Eastern Livestock Bankruptcy                                                  June 04, 2014
                                                                        ACCOUNT NO:     110035-98
                                                                         INVOICE NO:             3
       re: Cornelison Farms, FLP (Preference)


                                                                        Rate    HOURS
               draft email to Chrissie Turner with Settlement
               Agreement for review.                                   175.00     0.30               55

 11/04/2013
        ADS    Receive and review email from Chrissie Turner;
               review/analyze changes to settlement
               agreement and mutual release; file to J.
               Kennedy for review of same.                             175.00     0.60               57

 11/05/2013
        ADS    Receive and review Minute Entry/Order and
               update                                                  175.00     0.10               58

 11/15/2013
        ADS    Review email from C. Turner and revised
               settlement language; confer briefly with J. Watt
               regarding       draft email to C. Turner.               175.00     0.40               59

 11/18/2013
        ADS    Receive email from C. Turner. Review revised
               settlement agreement. Draft email to and
               confer with J. Kennedy regarding
                                                  Draft email
               to C. Turner and email from C. Turner regarding
               same.                                                   175.00     0.90               60

 11/22/2013
        ADS    Email from opposing counsel with signed
               settlement agreement and check, forward same
               to J. Kennedy. Received original settlement
               agreement and check; process check with
               accounting department.                                  175.00     0.30               61

 11/27/2013
        ADS    Draft, revise, and finalize Motion to Compromise
               and Settle, Notice, and proposed order, and file
               same with court (.70). Settlement agreement to
               J. Kennedy for signature (.10). Assignment to
               legal assistant to serve Notice on parties (.10).
               Draft email to defendant's counsel regarding
               filing of motion (.10). Calendar objection
               deadline (.10).                                         175.00     1.10               62

 12/11/2013
        ADS    Obtain trustee's signature on settlement
               agreement; assignment to paralegal to draft
               cover letter to opposing counsel; review/sign
               letter to C. Turner.                                    175.00     0.40               63
Case 10-93904-BHL-11         Doc 2591-1         Filed 06/06/14      EOD 06/06/14 15:33:49      Pg 319
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       Eastern Livestock Bankruptcy                                                   June 04, 2014
                                                                         ACCOUNT NO:     110035-98
                                                                          INVOICE NO:             3
       re: Cornelison Farms, FLP (Preference)


                                                                         Rate    HOURS
 12/30/2013
        ADS    Review/revise stipulation of dismissal; email
               correspondence with opposing counsel
               regarding same; file stipulation of dismissal with
               court.                                                   175.00     0.30                  64
               Amanda D. Stafford                                                  7.60      1,330.00

 10/29/2013
        TJF    Received reviewed and uploaded recently filed
               pleadings                                                125.00     0.10                  48
               Tammy J. Froelich                                                   0.10         12.50

               FOR CURRENT SERVICES RENDERED                                      11.60      2,025.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                     TOTAL
    Jay P. Kennedy                                       3.10    $175.00                   $542.50
    Jennifer L. Watt                                     0.80     175.00                    140.00
    Amanda D. Stafford                                   7.60     175.00                  1,330.00
    Tammy J. Froelich                                    0.10     125.00                     12.50




               Reproduction of documents                                                         6.10
               Mailing expense                                                                   1.18
               TOTAL EXPENSES THRU 04/30/2014                                                    7.28

               TOTAL CURRENT WORK THIS STATEMENT                                             2,032.28

               PREVIOUS BALANCE                                                             $1,679.54



 09/30/2013    Payment--Thank you                                                              -452.44   1
 12/31/2013    Payment--Thank you                                                              -538.35   2
               TOTAL PAYMENTS                                                                  -990.79

               BALANCE DUE                                                                  $2,721.03

                               AGE OF OUTSTANDING STATEMENTS
            0-30            31-60        61-90       91-180                  181-360           361+
        2,032.28             0.00         0.00       191.59                     0.00          497.16
Case 10-93904-BHL-11          Doc 2591-1         Filed 06/06/14        EOD 06/06/14 15:33:49       Pg 320
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       Eastern Livestock Bankruptcy                                                         June 04, 2014
                                                                               ACCOUNT NO:     110035-99
                                                                                INVOICE NO:             3




       re: Arab Livestock Market, Inc. (Preference)
                                                                                       DRAFT STATEMENT

               [ ]Bill & Mail this statement as is/as modified
               [ ]Return to ______ for letter
               [ ]Prepare for sending VIA EMAIL
               [ ]HOLD/Do not send
               [ ]Send only previous balance
               [ ]Close File (only closed if paid in full or balance is written off)
               [ ]Pay this invoice from TRUST
               [ ] Other: ______________________________



                                                                                Rate   HOURS
 09/03/2013
        JPK    Letter to J. Graham in preparation of mediation
               session. Reviewed
                                                                             175.00      0.40               53

 09/05/2013
        JPK    Meet with J. Graham. Meet with J. Knauer.
               Conduct premediation session.                                 175.00      0.70               52

 11/25/2013
        JPK    Participate in pretrial conference.                           175.00      0.20               59
               Jay P. Kennedy                                                            1.30      227.50

 10/18/2013
        JLW    Review                                                        175.00      0.40               56

 11/22/2013
        JLW    Conference with M. Stafford regarding
                                                                             175.00      0.30               58

 12/02/2013
        JLW    Review minute entry order.                                    175.00      0.10               64

 01/13/2014
        JLW    Prepare for and attend status pre-trial
               conference.                                                   175.00      0.30               68

 01/16/2014
        JLW    Review minute entry order.                                    175.00      0.10               69

 02/12/2014
        JLW    Attend pre-trial hearing on status; Review case
               management order.                                             175.00      0.30               73
Case 10-93904-BHL-11          Doc 2591-1       Filed 06/06/14   EOD 06/06/14 15:33:49    Pg 321
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-99
                                                                      INVOICE NO:             3
       re: Arab Livestock Market, Inc. (Preference)


                                                                     Rate    HOURS
               Jennifer L. Watt                                                1.50      262.50

 09/24/2013
        ADS    Prepare for pretrial.                                175.00     0.10               54

 09/25/2013
        ADS    Attend pretrial status conference.                   175.00     0.10               55

 10/01/2013
        ADS    Review 9/25/13 Minute Entry/Order. Update
                                                                    175.00     0.10               57

 11/22/2013
        ADS    Conference with J. Watt regarding


                                                                    175.00     0.40               60

       ADS     Telephonic conference with Jeff Graham and
               Jay Kennedy regarding settlement.                    175.00     0.10               61

 11/25/2013
        ADS    Attend telephonic pretrial/status conference.        175.00     0.10               62

 02/10/2014
        ADS    Telephonic conference with Jeff Graham
               regarding case status for upcoming pretrial
               conference.                                          175.00     0.10               71

       ADS     Review/analyze                  Update
                                                                    175.00     0.10               72

 02/12/2014
        ADS    Prepare for and conduct pretrial conference;
               update
                                                                    175.00     0.20               74

 02/20/2014
        ADS    Prepare for continued deposition of Ed Edens;
               gather additional documentation for Edens
               case; obtain and provide to J. Kennedy

                      confer with J. Kennedy regarding
                                                                    175.00     0.10               75
               Amanda D. Stafford                                              1.40      245.00

 12/03/2013
        TJF    Received reviewed and uploaded recently filed
Case 10-93904-BHL-11          Doc 2591-1       Filed 06/06/14   EOD 06/06/14 15:33:49     Pg 322
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       Eastern Livestock Bankruptcy                                               June 04, 2014
                                                                     ACCOUNT NO:     110035-99
                                                                      INVOICE NO:             3
       re: Arab Livestock Market, Inc. (Preference)


                                                                      Rate   HOURS
               pleadings.                                           125.00     0.10                 63

 12/17/2013
        TJF    Reviewed pleadings and updated diary.                125.00     0.10                 65

 01/16/2014
        TJF    Received reviewed and uploaded recently filed
               pleadings.                                           125.00     0.20                 66

 01/20/2014
        TJF    Updated file with upcoming telephonic hearings
               and deadlines.                                       125.00     0.10                 67

 02/18/2014
        TJF    Reviewed Minute Entry/Order; updated diary
               docket                                               125.00     0.10                 70
               Tammy J. Froelich                                               0.60        75.00

               FOR CURRENT SERVICES RENDERED                                   4.80       810.00

                                           RECAPITULATION
    TIMEKEEPER                                        HOURS HOURLY RATE                TOTAL
    Jay P. Kennedy                                       1.30    $175.00              $227.50
    Jennifer L. Watt                                     1.50     175.00               262.50
    Amanda D. Stafford                                   1.40     175.00               245.00
    Tammy J. Froelich                                    0.60     125.00                75.00




               Reproduction of documents                                                     0.80
               TOTAL EXPENSES THRU 04/30/2014                                                0.80

               TOTAL CURRENT WORK THIS STATEMENT                                          810.80

               PREVIOUS BALANCE                                                         $2,848.58



 09/30/2013    Payment--Thank you                                                         -277.81   1
 12/31/2013    Payment--Thank you                                                       -1,705.70   2
               TOTAL PAYMENTS                                                           -1,983.51

               BALANCE DUE                                                              $1,675.87
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      Eastern Livestock Bankruptcy                                              June 04, 2014
                                                                   ACCOUNT NO:     110035-99
                                                                    INVOICE NO:             3
      re: Arab Livestock Market, Inc. (Preference)


                               AGE OF OUTSTANDING STATEMENTS
           0-30             31-60        61-90       91-180            181-360          361+
         810.80              0.00         0.00       601.38               0.00         263.69
